Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 1 of 217




05/11/2017

KERRIE L. SMITH
HANOVER INSURANCE GROUP
WORCESTER OFFICE
MAIL STOP S316


RE: CERTIFIED COPY OF THE POLICY


TO: WHOM IT MAY CONCERN


This is to certify that I am a Commercial Lines Manager of Citizens/Hanover Insurance
Company duly authorized to keep the company’s records. The attached copy is certified
as a true and correct copy of the company’s record of policy.


Policy Number:       ZBS 9632488 02

Policy Issued To:    ALBANY AIRPORT HIE LLC

Date Span:           08/01/2014- 08/01/2015



Any questions can be initiated in the Process Support Department by contacting
Lesly Horton at 1-508-855-3348.


Sincerely,


PAT LYNN
COMMERCIAL LINES MANAGER
           Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 2 of 217




                                                      ZBS 9632488 02

            Citizens Insurance Company Of America, 440 Lincoln Street, Worcester MA 01605
                                         Commercial Line Policy
                                         Common Declarations
                                                                                                          CM
   Policy Number                  Policy Period                 Coverage is Provided in the:             Agency Code
                       From                            To
   ZBS 9632488 02      08/01/2014               08/01/2015        Citizens Insurance Company Of           5502701
                                                                              America


   Named Insured and Address :                     Agent :
   ALBANY AIRPORT HIE LLC                         ARTHUR J GALLAGHER RISK
   400 HIE LLC &/OR                               CAPITAL BAUER
   7A JOHNSON RD                                  677 BROADWAY, 4TH FLOOR
   LATHAM NY 12110                                ALBANY NY 12207



                   Branch : New York Region: Upstate
            Policy Period : From 08/01/2014 To 08/01/2015
                            12:01 A.M. Standard Time at Your Mailing Address Shown Above.
      Business Description: Hotels
              Legal Entity: Limited Liability Corporation


 In Consideration of the premium, insurance is provided the Named Insured with respect to those premises described in
 the attached schedule(s) for which a specific limit of insurance is shown. This is subject to all terms of this policy including
 Common Policy Conditions. Coverage Parts, Forms and Endorsements may be subject to adjustment and/or a policy
 minimum premium.

                       Commercial Property Coverage                                                   $25,962.00
              Commercial General Liability Coverage                                                  $23,538.00
                Commercial Inland Marine Coverage                                                   Not Covered
                         Commercial Crime Coverage                                                  Not Covered
                          Commercial Auto Coverage                                                  Not Covered
                           Total Surcharges Premium                                                     $162.48
             Additional Premium For Policy Minimum                                                          N/A
                                              ** Total                                               $49,662.48
 **INCLUDES PREMIUM, IF ANY, FOR TERRORISM; REFER TO DISCLOSURE NOTICE

Countersigned ____________________________________ By ___________________________________________

                                                                                                     10 Pay - 20% Down

  Group Number ZBD




 401-0151 01/05                                        Page 1                                           Issued 08/21/2014

                                                        Agent
          Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 3 of 217




ALBANY AIRPORT HIE LLC                       ZBS 9632488 02


                                       ARTHUR J GALLAGHER RISK


                                        Commercial Lines Surcharges



         State:   New York


         New York Fire Fee Premium:                                            $162.48


         Total New York Surcharge Premium:                                     $162.48




401-0151 01/05                               Page 2                      Issued 08/21/2014

                                             Agent
           Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 4 of 217




ALBANY AIRPORT HIE LLC                             ZBS 9632488 02


                                            ARTHUR J GALLAGHER RISK




                           Locations of All Premises You Own, Rent or Occupy



    Location: 1
    400 Old Loudon Road
    Latham NY
    12110




                                  Forms Applicable to all Coverage Parts:
*Asterisk denotes new or changed form
Form Number               Edition Date       Description

  221-0163                10/03              Change Endorsement Form
  401-1127                01/08              Notice - Disclosure of Premium - Acceptance of Coverage
  IL 00 17                11/98              Common Policy Conditions
  IL 01 83                07/02              New York Changes - Fraud
* IL 02 68                01/14              New York Changes - Cancellation And Nonrenewal
  IL 09 35                07/02              Exclusion of Certain Computer-Related Losses
  IL 09 52                03/08              Cap On Losses From Certified Acts Of Terrorism
* SIG 11 00               08/14              Signature Page




401-0152 01/05                                      Page 3                                         Issued 08/21/2014

                                                     Agent
          Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 5 of 217




ALBANY AIRPORT HIE LLC                              ZBS 9632488 02
                                             ARTHUR J GALLAGHER RISK



                          Commercial Property Coverage Part Declaration


                                           Total Property Premium                        $25,962.00
Coverages Provided:
Insurance at the Described Premises applies only for the coverage shown below:


Blanket Building and Contents For Premises
Location 1 -     Building 1

       Coverage:                                Cause of Loss:                                  Premiums:
       Blanket Building and Contents            Special                                         $17,387.00
        Limit of Insurance:                     $16,880,000
       Replacement Cost
        Coinsurance:                            100%
        Agreed Value                            Agreed Expiration 08/01/2015




Blanket LOC      BLDG     APPLICABLE DEDUCTIBLE
          ALL    ALL       Windstorm/HailDeductible                                                   $10,000.00
                          Theft Deductible                                                            $10,000.00

                          Other Deductible:                                                           $10,000.00

 LOC      BLDG
 1        1                     Occupancy:                        Hotels and Motels -w/Restaurants- 4 stories or more
                                Territory:                        010
                                Construction:                     Frame
                                Protection Class:                 4
 LOC      BLDG                  Coverage:                                      Cause of Loss:                Premiums:
 1        1                     Business Income                                Special                       $5,818.00




411-0542 01/05                                         Page 4                                                Issued 08/21/2014
                                                          Agent
             Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 6 of 217




ALBANY AIRPORT HIE LLC                               ZBS 9632488 02

                                              ARTHUR J GALLAGHER RISK



                           Commercial Property Coverage Part Declaration
                               Limit Of Insurance:                    $4,475,000.00
                               Coinsurance:                           100%
                               Extended Period of Indemnity           60 Days Included
                               Agreed Value                           Agreed Expiration: 08/01/2015
                                                                      Applicable Coverage Options
                               Agreed Amount
 LOC    BLDG      DED BY       APPLICABLE DEDUCTIBLE
                  LOC
 1       1                     Windstorm/HailDeductible                                         $10,000.00
                               Theft Deductible:                                                $10,000.00
                               Other Deductible:                                                $10,000.00




Additional Premium for Property Minimum :                                                         N/A

Miscellaneous/Optional Property Coverages:                                                  PREMIUM
Data Breach                                                                                    $50.00
Boiler / Machinery / Equipment Breakdown                                                    $2,018.00

Terrorism Premium                                                                             $169.00
Gold Property Broadening Endorsement                                                          $440.00
Hospitality Property Broadening Endorsement                                                     $80.00




     411-0542 01/05                                  Page 5                                      Issued 08/21/2014

                                                      Agent
          Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 7 of 217




ALBANY AIRPORT HIE LLC                              ZBS 9632488 02
                                             ARTHUR J GALLAGHER RISK



                              Forms Applicable to Property Coverage Parts:


          *Asterisk denotes new or changed form

 Form Number         Edition Date    Description
     411-0669        12/09           Data Breach Coverage Form
     411-0679        04/10           Associates And Family Members Additional Coverage Endorsement
     411-0681        12/09           Identity Theft Resolution Services
 *   411-0793        04/14           Gold Property Broadening Endorsement
 *   411-0801        04/14           Hospitality Property Broadening Endorsement
 *   411-0827        04/14           NY Changes - Property Broadening Endorsement
 *   411-0885        04/14           Hospitality Property Broadening Endorsement - Notice To Policyholder
 *   411-0891        04/14           Gold Property Broadening Endorsement - Notice To Policyholder
 *   411-0897        04/14           Property Multi State Revision- Notice To Policy Holders
     451-0038        11/04           Equipment Breakdown Coverage
     451-0052        12/06           New York Changes
 *   CP 00 10        10/12           Building And Personal Property Coverage Form
 *   CP 00 30        10/12           Business Income (And Extra Expense) Coverage Form
     CP 00 90        07/88           Commercial Property Conditions
 *   CP 01 33        10/12           NY Changes
 *   CP 01 64        10/12           NY Changes - Fungus, Wet Rot And Dry Rot
     CP 01 78        08/08           New York - Exclusion Of Loss Due To Virus or Bacteria
 *   CP 04 11        10/12           Protective Safeguards
 *   CP 10 30        10/12           Cause Of Loss - Special Form
 *   CP 12 18        10/12           Loss Payable Provisions
     CP 99 93        10/90           Tentative Rate




411-0542 01/05                                      Page 6                                         Issued 08/21/2014

                                                     Agent
          Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 8 of 217




ALBANY AIRPORT HIE LLC                        ZBS 9632488 02

                                        ARTHUR J GALLAGHER RISK


                          Property Schedule of Additional Interest




Location: 1 Building: 1                    Location: 1 Building: 1
1st Mortgagee                              Loss Payable
SEFCU ISAOA                                BERKSHIRE BANK ISAOA
ATTN: COMMERCIAL SERVICES                  41 STATE STREET
SEFCU SQUARE 469 STATE STREET              ALBANY NY 12207
SCHENECTADY NY 12305                       BLANKET BLDG & BPP
Location: 1 Building: 1                    Location: 1 Building: 1
2nd Mortgagee                              Loss Payable
BERKSHIRE BANK ISAOA                       SEFCU ISAOA
41 STATE STREET                            ATTN: COMMERCIAL SERVICES
ALBANY NY 12207                            SEFCU SQUARE 469 STATE STREET
BLANKET BLDG & BPP                         SCHENECTADY NY 12305




411-0543 01/05                              Page 7                          Issued 08/21/2014

                                            Agent
            Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 9 of 217




    ALBANY AIRPORT HIE LLC                        ZBS 9632488 02

                                           ARTHUR J GALLAGHER RISK

                   Commercial General Liability Coverage Part Declaration

Audit Frequency:                 Annual
                   Limits of Insurance:
                   General Aggregate Limit                                                               $2,000,000

                   Products-Completed Operations Aggregate Limit                                         $2,000,000


                   Each Occurrence Limit                                                                 $1,000,000

                   Personal and Advertising Injury Limit                                                 $1,000,000

                   Fire Damage Limit, Any One Fire                                                         $100,000
                   Medical Expense Limit, Any One Person                                                     $5,000
                   General Liability Deductible:
                   Total Advance Commercial General Liability Premium                                    $23,538.00



                      Forms Applicable to General Liability Coverage Parts:

     *Asterisk denotes new or changed form
Form Number        Edition Date          Description
     421-0017      06/89                Employee Benefits Liability Insurance
     421-0022      12/90                Asbestos Liability Exclusion
     421-0146      09/03                Commercial General Liability Special Broadening Endorsement ( New
                                        York)
*    421-0478      01/08                New York Hospitality Services Errors & Omission Insurance
     CG 00 01      12/07                Commercial General Liability Coverage Form
     CG 00 68      05/09                Recording And Distribution of Material or Information In Violation of Law
                                        Exclusion
     CG 01 04      12/04                New York Changes - Premium Audit
     CG 01 63      07/11                New York Changes - Commercial General Liability Coverage Form
     CG 21 47      12/07                Employment - Related Practices Exclusion
     CG 21 70      01/08                Cap On Losses From Certified Acts Of Terrorism
     CG 22 45      07/98                Exclusion - Specified Therapeutic or Cosmetic Services
     CG 24 07      01/96                Products/Completed Operations Hazard Redefined
     CG 24 16      12/07                Canoes or Rowboats
     CG 26 21      10/91                New York Changes - Transfer Of Duties When A Limit Of Insurance Is
                                        Used Up
     IL 00 23      07/02                Nuclear Energy Liability Exclusion Endorsement (Broad Form)




421-0340 01/05                                         Page 8                                        Issued 08/21/2014

                                                       Agent
               Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 10 of 217




    ALBANY AIRPORT HIE LLC                               ZBS 9632488 02

                                                  ARTHUR J GALLAGHER RISK

                      Commercial General Liability Classification Schedule Declaration


LOC       ST         TERR      CODE     SUBLINE   PREMIUM BASIS               PER      RATE          ADVANCE PREMIUM
1         NY         018       16910    334       $1,700,000 Receipts (Sales) 1,000    2.121                 $3,606.00
1         NY         018       16910    336       $1,700,000 Receipts (Sales) 1,000    .181                    $308.00
Restaurants w/sale of alcoholic beverages < 30% w/table service
LOC       ST         TERR      CODE     SUBLINE   PREMIUM BASIS               PER      RATE          ADVANCE PREMIUM
1         NY         018       45191    334       $4,800,000 Receipts (Sales) 1,000    3.468                $16,646.00
Products – Completed Operations are Included in the General Aggregate Limit
Hotels and Motels with pools or beaches four stories or more



Miscellaneous/Optional General Liability Coverages                                              Advance Premium
Employee Benefits Coverage                                                                                  $275.00
General Liability Special Broadening Endorsement                                                            $275.00
Hospitality Services Errors and Omissions Insurance Endorsement                                             $337.00
Terrorism Premium                                                                                            $55.00




                      Additional Premium for Coverage Minimum:                   N/A

                            Total Advance General Liability Premium                            $23,538.00


       Subline       334                 Premises and Operations
       Subline       336           Products and/or Completed Operations




    421-0341 01/05                                         Page 9                                     Issued 08/21/2014

                                                            Agent
           Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 11 of 217




ALBANY AIRPORT HIE LLC                                   ZBS 9632488 02

                                                  ARTHUR J GALLAGHER RISK


                                         Liquor Liability Coverage Declaration

      Limits of Insurance:
                               Liquor Liability Aggregate Limit                                  $2,000,000

                               Each Common Cause                                                 $1,000,000



 LOC      ST      TERR   CODE         SUBLINE      PREMIUM BASIS           PER      RATE           ADVANCE PREMIUM
  1       NY      018    58161          332      500000 Gross Sales        1000     4.072                     $2,036.00




                                                Additional for Coverage Minimum                            N/A

                             Total Advance Commercial Liquor Liability Premium                      $2,036.00




                                      Forms Applicable to Liquor Coverage Parts

  Form Number                Edition Date          Description
       CG 00 33               12/07                Liquor Liability Coverage Form (Occurrence Version)
       CG 00 64               12/02                War Liability Exclusion - Liquor, RR
       CG 01 04               12/04                New York Changes - Premium Audit
       CG 26 03               04/09                New York Changes Liquor Liability Coverage Form
       CG 26 35               12/93                New York Changes - Transfer Of Duties When A Limit Of Insurance Is
                                                   Used Up




   421-0342 01/05                                        Page 10                                      Issued 08/21/2014

                                                          Agent
               Case 1:17-cv-00554-DNH-CFH
                     CA'RCAR., 1329'75:2, :rn3, C9-!l!-UDocument 31-11 Filed 09/05/18 Page 129632488
                                                                                         ZBS  of 217 00 5502701
  ~
   ~\\Hanover
       Insurance Group.


                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ THIS CAREFULLY.

   IT IS HEREBY AGREED NAMED INSURED READS AS FOLLOWS:

   ALBANY AIRPORT HIE LLC DBA ALBANY AIRPORT HOTEL
   946 LOUDON LLC                                  .
   400 OLD LOUDON ROAD REALTY LLC
   BULLOCK HOSPITALITY LLC
   400 HIE LLC DBA ALBANY AIRPORT HOLIDAY INN EXPRESS AND SUITES
   TUSCANY MANAGEMENT LLC
   BULLOCK BOYS LLC DBA ON TAP
   BULLOCK BOYS LLC DBA GAZEBO BANQUET HALL AND RENTALS
   Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, agreements or
   limitations of the policy other than as above stated.

   (Completion of the following, including countersignature, is required to make this endorsement effective only when it is
   issued subsequent to preparation of the Policy.)
   Effective    08/01/2012                                   this endorsement forms a part of Policy No. ZBS 9632488 00
   Issued to
   By    Citizens Insurance Company Of America
   Date of Issue                            Countersigned by
                                                                          Authorized Representative of the Company




  221-0163 (1 0-03)


0012
               Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page
                                                                          ZBS139632488
                                                                                of 217 00 5502701

       THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
       RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
       INSURANCE ACT, AS AMENDED. THIS ENDORSEMENT DOES NOT GRANT ANY
       COVERAGE OR CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE
       UNDER THIS POLICY.

       Policy Number: ZBS 9632488 00


                                      NOTICE -OFFER OF TERRORISM COVERAGE
                                         NOTICE - DISCLOSURE OF PREMIUM
                                            ACCEPTANCE OF COVERAGE

       Coverage for "acts of terrorism," as defined in Section 102(1) of the Terrorism Risk Insurance Act ("Acf') is
       included in your policy. You are hereby notified that under the Act, as amended in 2007, the definition of act
       of terrorism has changed. The term "act of terrorism" means any act that is certified by the Secretary of the
       Treasury-in concurrence with the Secretary of Stale, and the Attorney General of the United Stales-to be
       an act of terrorism; to be a violent act or an act that is dangerous to human life, property, or infrastructure; to
       have resulted in damage within the United States, or outside the United States in the case of certain air
       carriers or vessels or the premises of a United States mission; and to have been committed by an individual
       or individuals as part of an effort to coerce the civilian population of the United States or to influence the
       policy or affect the conduct of the United States Government by coercion.



       DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES
       Under your coverage, any losses resulting from certified acts of terrorism may be partially reimbursed by the
       United Slates Government under a formula established by the Act, as amended. Your policy, however, may
       contain other exclusions which might affect your coverage, such as an exclusion for nuclear events. Under
       the formula, the United States Government generally reimburses 85% of covered terrorism losses exceeding
       the statutorily established deductible paid by the insurance company providing the coverage.



       DISCLOSURE OF $100 BILLION CAP

       The Terrorism Risk Insurance Act, as amended, contains a $100 billion cap that limits U.S. Government
       reimbursement as well as insurers' liability for losses resulting from certified acts of terrorism when the
       amount of such losses exceeds $100 billion in any one calendar year. If the aggregate insured losses for all
       insurers exceed $100 billion, your coverage may be reduced.


       Premium for terrorism, if any, is stated below :


       DISCLOSURE OF PREMIUM
       Total Terrorism Premium                             $.0:2':'6":'8'----------
           Fire Following Premium                          $.-71":2':'8'----------
           0ther than Fire Following Premium               $._,1-'4-'"0_________




       401-1127 (01/08)


0013
       Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 14 of 217


                                                                                                                IL 00 17 11 98


                            COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                            b. Give you reports on the conditions we find; and
    1. The first Named Insured shown in the Declarations                   c. Recommend changes.
       may cancel this policy by mailing or delivering to us           2. We are not obligated to make any inspections,
       advance written notice of cancellation.                            surveys, reports or recommendations and any such
    2. We may cancel this policy by mailing or delivering                 actions we do undertake relate only to insurability
       to the first Named Insured written notice of                       and the premiums to be charged. We do not make
       cancellation at least:                                             safety inspections. We do not undertake to perform
        a. 10 days before the effective date of cancellation              the duty of any person or organization to provide for
           if we cancel for nonpayment of premium; or                     the health or safety of workers or the public. And
                                                                          we do not warrant that conditions:
       b. 30 days before the effective date of cancellation
          if we cancel for any other reason.                               a. Are safe or healthful; or
    3. We will mail or deliver our notice to the first                     b. Comply with laws, regulations, codes or
       Named Insured's last mailing address known to us.                      standards.
    4. Notice of cancellation will state the effective date of         3. Paragraphs 1. and 2. of this condition apply not only
       cancellation. The policy period will end on that                   to us, but also to any rating, advisory, rate service or
       date.                                                              similar organization which makes insurance
                                                                          inspections, surveys, reports or recommendations.
    5. If this policy is cancelled, we will send the first
       Named Insured any premium refund due. If we                     4. Paragraph 2. of this condition does not apply to any
       cancel, the refund will be pro rata. If the first                  inspections, surveys, reports or recommendations
       Named Insured cancels, the refund may be less than                 we may make relative to certification, under state or
       pro rata. The cancellation will be effective even if               municipal statutes, ordinances or regulations, of
       we have not made or offered a refund.                              boilers, pressure vessels or elevators.
    6. If notice is mailed, proof of mailing will be suffi-        E. Premiums
       cient proof of notice.                                          The first Named Insured shown in the Declarations:
B. Changes                                                             1. Is responsible for the payment of all premiums; and
   This policy contains all the agreements between you                 2. Will be the payee for any return premiums we pay.
   and us concerning the insurance afforded. The first             F. Transfer Of Your Rights And Duties Under This
   Named Insured shown in the Declarations is authorized              Policy
   to make changes in the terms of this policy with our
   consent. This policy's terms can be amended or waived               Your rights and duties under this policy may not be
   only by endorsement issued by us and made a part of                 transferred without our written consent except in the
   this policy.                                                        case of death of an individual named insured.
C. Examination Of Your Books And Records                               If you die, your rights and duties will be transferred to
                                                                       your legal representative but only while acting within
   We may examine and audit your books and records as                  the scope of duties as your legal representative. Until
   they relate to this policy at any time during the policy            your legal representative is appointed, anyone having
   period and up to three years afterward.                             proper temporary custody of your property will have
D. Inspections And Surveys                                             your rights and duties but only with respect to that
    1. We have the right to:                                           property.
        a. Make inspections and surveys at any time;




IL 00 17 11 98                         Copyright, Insurance Services Office, Inc., 1998                              Page 1 of 1
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 15 of 217



                                                                                                 IL 01 83 07 02

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         NEW YORK CHANGES – FRAUD
This endorsement modifies insurance provided under the following:

   BOILER AND MACHINERY COVERAGE PART
   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   FARM COVERAGE PART – FARM PROPERTY – OTHER FARM PROVISIONS FORM – ADDITIONAL
   COVERAGES, CONDITIONS, DEFINITIONS
   FARM COVERAGE PART – MOBILE AGRICULTURAL MACHINERY AND EQUIPMENT COVERAGE
   FORM
   FARM COVERAGE PART – LIVESTOCK COVERAGE FORM

The CONCEALMENT, MISREPRESENTATION OR FRAUD Condition is replaced by the following:
FRAUD
We do not provide coverage for any insured ("insured") who has made fraudulent statements or engaged in
fraudulent conduct in connection with any loss ("loss") or damage for which coverage is sought under this policy.
However, with respect to insurance provided under the COMMERCIAL AUTOMOBILE COVERAGE PART, we will
provide coverage to such "insured" for damages sustained by any person who has not made fraudulent state-
ments or engaged in fraudulent conduct if such damages are otherwise covered under the policy.




IL 01 83 07 02                            © ISO Properties, Inc., 2001                              Page 1 of 1
                                                                                                   ZBS 9632488 02 5502701
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 16 of 217



                                                                                                     IL 02 68 01 14

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NEW YORK CHANGES – CANCELLATION
                        AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. Paragraphs 1., 2., 3. and 5. of the Cancellation                   (2) Conviction of a crime arising out of acts
   Common Policy Condition are replaced by the                            increasing the hazard insured against;
   following:                                                         (3) Discovery of fraud or material
   1. The first Named Insured shown in the                                misrepresentation in the obtaining of the
       Declarations may cancel this entire policy by                      policy or in the presentation of a claim;
       mailing or delivering to us advance written                    (4) After issuance of the policy or after the
       notice of cancellation.                                            last renewal date, discovery of an act or
   2. Cancellation Of Policies In Effect                                  omission, or a violation of any policy
        a. 60 Days Or Less                                                condition,    that    substantially    and
                                                                          materially increases the hazard insured
           We may cancel this policy by mailing or                        against, and which occurred subsequent
           delivering to the first Named Insured written                  to inception of the current policy period;
           notice of cancellation at least:
                                                                      (5) Material physical change in the property
          (1) 30 days before the effective date of                        insured, occurring after issuance or last
               cancellation if we cancel for any reason                   annual renewal anniversary date of the
               not included in Paragraph A.2.b. below.                    policy, which results in the property
         (2) 15 days before the effective date of                         becoming uninsurable in accordance
             cancellation if we cancel for any of the                     with our objective, uniformly applied
             reasons included in Paragraph A.2.b.                         underwriting standards in effect at the
             below.                                                       time the policy was issued or last
                                                                          renewed; or material change in the
       b. For More Than 60 Days
                                                                          nature or extent of the risk, occurring
          If this policy has been in effect for more                      after issuance or last annual renewal
          than 60 days, or if this policy is a renewal or                 anniversary date of the policy, which
          continuation of a policy we issued, we may                      causes the risk of loss to be
          cancel only for any of the reasons listed                       substantially and materially increased
          below, provided we mail the first Named                         beyond that contemplated at the time
          Insured written notice at least 15 days                         the policy was issued or last renewed;
          before the effective date of cancellation:
                                                                      (6) Required pursuant to a determination by
         (1) Nonpayment of premium, provided                              the Superintendent that continuation of
             however, that a notice of cancellation on                    our present premium volume would
             this ground shall inform the first Named                     jeopardize our solvency or be
             Insured of the amount due;                                   hazardous to the interest of our
                                                                          policyholders, our creditors or the public;




IL 02 68 01 14                         © Insurance Services Office, Inc., 2013                          Page 1 of 5
                                                                                                   ZBS 9632488 02 5502701
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 17 of 217



         (7) A determination by the Superintendent                 b. A change in type of coverage;
             that the continuation of the policy would             c. A reduction of coverage;
             violate, or would place us in violation of,
             any provision of the Insurance Code; or               d. An increased deductible;
          (8) Where we have reason to believe, in                  e. An addition of exclusion; or
              good faith and with sufficient cause, that           f. Increased premiums in excess of 10%,
              there is a probable risk of danger that                 exclusive of any premium increase due to
              the insured will destroy, or permit to be               and commensurate with insured value
              destroyed, the insured property for the                 added or increased exposure units; or as a
              purpose of collecting the insurance                     result of experience rating, loss rating,
              proceeds. If we cancel for this reason,                 retrospective rating or audit;
              you may make a written request to the                we will send notice as provided in Paragraph
              Department of Financial Services, within             C.3. below.
              10 days of receipt of this notice, to
              review our cancellation decision. Also,           3. Notices Of Nonrenewal And Conditional
              we will simultaneously send a copy of                Renewal
              this    cancellation   notice    to    the           a. If we decide not to renew this policy or to
              Department of Financial Services.                       conditionally renew this policy as provided
   3. We will mail or deliver our notice, including the               in Paragraphs C.1. and C.2. above, we will
      reason for cancellation, to the first Named                     mail or deliver written notice to the first
      Insured at the address shown in the policy and                  Named Insured shown in the Declarations
      to the authorized agent or broker.                              at least 60 but not more than 120 days
                                                                      before:
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                    (1) The expiration date; or
      cancel, the refund will be pro rata. If the first              (2) The anniversary date if this is a
      Named Insured cancels, the refund may be                            continuous policy.
      less than pro rata.
                                                                   b. Notice will be mailed or delivered to the first
      However, when the premium is advanced                           Named Insured at the address shown in the
      under a premium finance agreement, the                          policy and to the authorized agent or
      cancellation refund will be pro rata. Under such                broker. If notice is mailed, proof of mailing
      financed policies, we will be entitled to retain a              will be sufficient proof of notice.
      minimum earned premium of 10% of the total
      policy premium or $60, whichever is greater.                 c. Notice will include the specific reason(s) for
      The cancellation will be effective even if we                   nonrenewal       or   conditional     renewal,
      have not made or offered a refund.                              including the amount of any premium
                                                                      increase for conditional renewal and
B. The following is added to the Cancellation                         description of any other changes.
   Common Policy Condition:
                                                                   d. If we violate any of the provisions of
   7. If one of the reasons for cancellation in                       Paragraph C.3.a., b. or c. above by sending
      Paragraph A.2.b. or D.2.b.(2) exists, we may                    the first Named Insured an incomplete or
      cancel this entire policy, even if the reason for               late conditional renewal notice or a late
      cancellation pertains only to a new coverage or                 nonrenewal notice:
      endorsement initially effective subsequent to
      the original issuance of this policy.                          (1) And if notice is provided prior to the
                                                                          expiration date of this policy, coverage
C. The following conditions are added:                                    will remain in effect at the same terms
   1. Nonrenewal                                                          and conditions of this policy at the lower
                                                                          of the current rates or the prior period's
      If we decide not to renew this policy we will                       rates until 60 days after such notice is
      send notice as provided in Paragraph C.3.                           mailed or delivered, unless the first
      below.                                                              Named Insured, during this 60-day
   2. Conditional Renewal                                                 period, has replaced the coverage or
      If we conditionally renew this policy subject to:                   elects to cancel;
      a. A change of limits;




Page 2 of 5                            © Insurance Services Office, Inc., 2013                       IL 02 68 01 14
                                                                                                 ZBS 9632488 02 5502701
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 18 of 217



         (2) And if the notice is provided on or after             c. The portion of the annual premium
             the expiration date of this policy,                      attributable    to    the    property     and
             coverage will remain in effect at the                    contingencies described in 1.b. exceeds the
             same terms and conditions of this policy                 portion applicable to other property and
             for another policy period, at the lower of               contingencies.
             the current rates or the prior period's            2. Paragraph 2. of the Cancellation Common
             rates, unless the first Named Insured,                Policy Condition is replaced by the following:
             during this additional policy period, has
             replaced the coverage or elects to                    2. Procedure And Reasons For
             cancel.                                                  Cancellation
       e. If you elect to renew on the basis of a late                 a. We may cancel this entire policy by
          conditional renewal notice, the terms,                          mailing or delivering to the first Named
          conditions and rates set forth in such notice                   Insured written notice of cancellation at
          shall apply:                                                    least:
         (1) Upon expiration of the 60-day period,                       (1) 15 days before the effective date of
             unless Subparagraph (2) below applies;                          cancellation if we cancel for
             or                                                              nonpayment of premium, provided
                                                                             however, that a notice of cancellation
         (2) Notwithstanding the provisions in                               on this ground shall inform the first
             Paragraphs d.(1) and d.(2), as of the                           Named Insured of the amount due;
             renewal date of the policy if the                               or
             conditional renewal notice was sent at
             least 30 days prior to the expiration or                    (2) 30 days before the effective date of
             anniversary date of the policy.                                 cancellation if we cancel for any
                                                                             other reason.
       f. We will not send you notice of nonrenewal
          or conditional renewal if you, your                          b. But if this policy:
          authorized agent or broker or another                          (1) Has been in effect for more than 60
          insurer of yours mails or delivers notice that                     days; or
          the policy has been replaced or is no longer
                                                                         (2) Is a renewal of a policy we issued;
          desired.
                                                                          we may cancel this policy only for one or
D. The following provisions apply when the                                more of the following reasons:
   Commercial Property Coverage Part, the Farm
   Coverage Part or the Capital Assets Program                           (1) Nonpayment of premium, provided
   (Output Policy) Coverage Part is made a part of                           however, that a notice of cancellation
   this policy:                                                              on this ground shall inform the first
                                                                             Named Insured of the amount due;
   1. Items D.2. and D.3. apply if this policy meets
       the following conditions:                                         (2) Conviction of a crime arising out of
                                                                             acts increasing the risk of loss;
       a. The policy is issued or issued for delivery in
           New York State covering property located                      (3) Discovery of fraud or material
           in this state; and                                                misrepresentation in obtaining the
                                                                             policy or in making a claim;
       b. The policy insures:
                                                                         (4) Discovery of willful or reckless acts
          (1) For loss of or damage to structures,                           or omissions increasing the risk of
               other than hotels or motels, used                             loss;
               predominantly for residential purposes
               and consisting of no more than four                       (5) Physical changes in the covered
               dwelling units; or                                            property that make that property
                                                                             uninsurable in accordance with our
          (2) For loss of or damage to personal                              objective and uniformly applied
               property other than farm personal
                                                                             underwriting standards in effect
               property or business property; or                             when we:
          (3) Against damages arising from liability for                    (a) Issued the policy; or
               loss of, damage to or injury to persons
               or property, except liability arising from                   (b) Last voluntarily renewed the
               business or farming; and                                         policy;




IL 02 68 01 14                         © Insurance Services Office, Inc., 2013                        Page 3 of 5
                                                                                                   ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 19 of 217



              (6) The Superintendent of Financial           E. The following is added to the Farm Property –
                  Services'       determination   that         Other Farm Provisions Form – Additional
                  continuing the policy would violate          Coverages,     Conditions,   Definitions,   the
                  Chapter 28 of the Insurance Law; or          Commercial Property Coverage Part and the
              (7) Required        pursuant    to    a          Capital Assets Program (Output Policy) Coverage
                  determination by the Superintendent          Part:
                  of Financial Services that the               When the property is subject to the Anti-arson
                  continuation of our present premium          Application in accordance with New York
                  volume would be hazardous to the             Department of Financial Services' Insurance
                  interests of our policyholders, our          Regulation No. 96, the following provisions are
                  creditors or the public.                     added:
   3. The following are added:                                 If you fail to return the completed, signed and
      a. Conditional Continuation                              affirmed anti-arson application to us:
         Instead of cancelling this policy, we may             1. Or our broker or agent within 45 days of the
         continue it on the condition that:                        effective date of a new policy, we will cancel
                                                                   the entire policy by giving 20 days' written
        (1) The policy limits be changed; or                       notice to you and to the mortgageholder shown
        (2) Any coverage not required by law be                    in the Declarations.
             eliminated.                                       2. Before the expiration date of any policy, we will
         If this policy is conditionally continued, we             cancel the policy by giving written notice to you
         will mail or deliver to the first Named                   and to the mortgageholder shown in the
         Insured written notice at least 20 days                   Declarations at least 15 days before the
         before the effective date of the change or                effective date of cancellation.
         elimination. We will mail or deliver our              The cancellation provisions set forth in E.1. and
         notice to the first Named Insured's last              E.2. above supersede any contrary provisions in
         mailing address known to us. If notice is             this policy including this endorsement.
         mailed, proof of mailing will be sufficient
         proof of notice. Delivery of the notice will be       If the notice in E.1. or E.2. above is mailed, proof
         the same as mailing.                                  of mailing will be sufficient proof of notice. Delivery
                                                               of the notice will be the same as mailing.
      b. Nonrenewal
                                                            F. The following applies to the Commercial Property
         If, as allowed by the laws of New York                Coverage Part, the Farm Coverage Part and the
         State, we:                                            Capital Assets Program (Output Policy) Coverage
         (1) Do not renew this policy; or                      Part:
         (2) Condition policy renewal upon:                    Paragraphs f. and g. of the Mortgageholders
                                                               Condition are replaced by the following:
             (a) Change of limits; or
                                                                    f. Cancellation
             (b) Elimination of coverage;
                                                                      (1) If we cancel this policy, we will give
          we will mail or deliver written notice of
                                                                           written notice to the mortgageholder at
          nonrenewal or conditional renewal:
                                                                           least:
             (a) At least 45 days; but
                                                                          (a) 10 days before the effective date of
             (b) Not more than 60 days;                                        cancellation if we cancel for your
          before the expiration date of the policy. We                         nonpayment of premium; or
          will mail or deliver our notice to the first                   (b) 30 days before the effective date of
          Named Insured's last mailing address                               cancellation if we cancel for any
          known to us. If notice is mailed, proof of                         other reason.
          mailing will be sufficient proof of notice.
          Delivery of the notice will be the same as
          mailing.




Page 4 of 5                           © Insurance Services Office, Inc., 2013                         IL 02 68 01 14
                                                                                                ZBS 9632488 02 5502701
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 20 of 217



         (2) If you cancel this policy, we will give       G. The following provisions apply when the following
             written notice to the mortgageholder.            are made a part of this policy:
             With respect to the mortgageholder's             Commercial General Liability Coverage Part
             interest only, cancellation will become
                                                              Employment-Related Practices Liability Coverage
             effective on the later of:
                                                              Part
            (a) The effective date of cancellation of         Farm Liability Coverage Form
                 the insured's coverage; or
                                                              Liquor Liability Coverage Part
            (b) 10 days after we give notice to the           Products/Completed Operations Liability Coverage
                 mortgageholder.                              Part
      g. Nonrenewal                                           1. The aggregate limits of this policy as shown in
        (1) If we elect not to renew this policy, we             the Declarations will be increased in proportion
            will give written notice to the                      to any policy extension provided in accordance
            mortgageholder at least 10 days before               with Paragraph C.3.d. above.
            the expiration date of this policy.               2. The last sentence of Limits Of Insurance does
         (2) If you elect not to renew this policy, we           not apply when the policy period is extended
             will give written notice to the                     because we sent the first Named Insured an
             mortgageholder. With respect to the                 incomplete or late conditional renewal notice or
             mortgageholder's       interest      only,          a late nonrenewal notice.
             nonrenewal will become effective on the
             later of:
            (a) The expiration date of the policy; or
            (b) 10 days after we give notice to the
                 mortgageholder.




IL 02 68 01 14                       © Insurance Services Office, Inc., 2013                        Page 5 of 5
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 21 of 217



                                                                                                 IL 09 35 07 02

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES
This endorsement modifies insurance provided under the following:

   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   STANDARD PROPERTY POLICY


A. We will not pay for loss ("loss") or damage caused         2. Any advice, consultation, design, evaluation,
   directly or indirectly by the following. Such loss            inspection, installation, maintenance, repair,
   ("loss") or damage is excluded regardless of any              replacement or supervision provided or done by
   other cause or event that contributes concurrently            you or for you to determine, rectify or test for,
   or in any sequence to the loss ("loss") or damage.            any potential or actual problems described in
   1. The failure, malfunction or inadequacy of:                 Paragraph A.1. of this endorsement.
      a. Any of the following, whether belonging to        B. If an excluded Cause of Loss as described in
         any insured or to others:                            Paragraph A. of this endorsement results:
         (1) Computer hardware, including micro-              1. In a Covered Cause of Loss under the Crime
             processors;                                         and Fidelity Coverage Part, the Commercial
                                                                 Inland Marine Coverage Part or the Standard
         (2) Computer application software;                      Property Policy; or
         (3) Computer operating systems and related           2. Under the Commercial Property Coverage Part:
             software;
                                                                  a. In a "Specified Cause of Loss", or in eleva-
         (4) Computer networks;                                      tor collision resulting from mechanical
         (5) Microprocessors (computer chips) not                    breakdown, under the Causes of Loss –
             part of any computer system; or                         Special Form; or
         (6) Any other computerized or electronic                 b. In a Covered Cause of Loss under the
             equipment or components; or                             Causes Of Loss – Basic Form or the
      b. Any other products, and any services, data                  Causes Of Loss – Broad Form;
         or functions that directly or indirectly use or      we will pay only for the loss ("loss") or damage
         rely upon, in any manner, any of the items           caused by such "Specified Cause of Loss", eleva-
         listed in Paragraph A.1.a. of this endorse-          tor collision, or Covered Cause of Loss.
         ment;                                             C. We will not pay for repair, replacement or modifi-
      due to the inability to correctly recognize, proc-      cation of any items in Paragraphs A.1.a. and
      ess, distinguish, interpret or accept one or            A.1.b. of this endorsement to correct any deficien-
      more dates or times. An example is the inability        cies or change any features.
      of computer software to recognize the year
      2000.




IL 09 35 07 02                             © ISO Properties, Inc., 2001                              Page 1 of 1
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 22 of 217



                                                                                                    IL 09 52 03 08

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             CAP ON LOSSES FROM CERTIFIED ACTS OF
                         TERRORISM
This endorsement modifies insurance provided under the following:

   BOILER AND MACHINERY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   STANDARD PROPERTY POLICY


A. Cap On Certified Terrorism Losses                            If aggregate insured losses attributable to terrorist
   "Certified act of terrorism" means an act that is            acts certified under the Terrorism Risk Insurance
   certified by the Secretary of the Treasury, in con-          Act exceed $100 billion in a Program Year (Janu-
   currence with the Secretary of State and the Attor-          ary 1 through December 31) and we have met our
   ney General of the United States, to be an act of            insurer deductible under the Terrorism Risk Insur-
   terrorism pursuant to the federal Terrorism Risk             ance Act, we shall not be liable for the payment of
   Insurance Act. The criteria contained in the Terror-         any portion of the amount of such losses that ex-
   ism Risk Insurance Act for a "certified act of terror-       ceeds $100 billion, and in such case insured
   ism" include the following:                                  losses up to that amount are subject to pro rata
                                                                allocation in accordance with procedures estab-
   1. The act resulted in insured losses in excess of           lished by the Secretary of the Treasury.
      $5 million in the aggregate, attributable to all
      types of insurance subject to the Terrorism           B. Application Of Exclusions
      Risk Insurance Act; and                                   The terms and limitations of any terrorism exclu-
   2. The act is a violent act or an act that is dan-           sion, or the inapplicability or omission of a terror-
      gerous to human life, property or infrastructure          ism exclusion, do not serve to create coverage for
      and is committed by an individual or individuals          any loss which would otherwise be excluded under
      as part of an effort to coerce the civilian popu-         this Coverage Part or Policy, such as losses ex-
      lation of the United States or to influence the           cluded by the Nuclear Hazard Exclusion or the
      policy or affect the conduct of the United States         War And Military Action Exclusion.
      Government by coercion.




IL 09 52 03 08                         © Insurance Services Office, Inc., 2008                          Page 1 of 1
                                                                                          ZBS 9632488 02 5502701
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 23 of 217


THE ONLY SIGNATURES APPLICABLE TO THIS POLICY ARE THOSE REPRESENTING THE COMPANY
NAMED ON THE FIRST PAGE OF THE DECLARATIONS.




In Witness Whereof, this company has caused this policy to be signed by its President and Secretary and
countersigned on the declarations page, where required, by a duly authorized agent of the company.




                 Frederick H. Eppinger                         Charles Frederick Cronin
                      President                                       Secretary




SIG-1100 08 14                                                                                 Page 1 of 1
                 Case 1:17-cv-00554-DNH-CFH
                      CARCAR., l~9i5:/.,l:!R,I.l9-l.W-UDocument 31-11 Filed 09/05/18 Page 249632488
                                                                                        ZBS  of 217 00 5502701
                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            DATA BREACH COVERAGE FORM

       Various provisions in this Coverage Form restrict coverage. Read the entire Coverage Form carefully to
       determine rights, duties and what is and is not covered.
       Throughout this coverage form the words "we", "us" and "our'' refer to the Company providing this
       insurance. Other words and phrases that appear in quotation marks have special meaning. Refer to
       Section F- Definitions.
       The terms and conditions of the Cancellation Clause of the Common Policy Conditions IL 00 17 are
       hereby incorporated herein and shall apply to coverage as is afforded by this Data Breach Coverage
       Form, unless specifically stated otherwise in an endorsement(s) attached hereto.
                                                                SCHEDULE

        Data Breach Coverage Annual Aggregate Limit of Insurance                                           $10,000
        Additional Expense Coverages Annual Aggregate Limit of Insurance                                   $10,000
        Data Breach Coverage Deductible                                                                    $1000
        Premium                                                                                            $50.00


       SECTION A - COVERAGES                                                            (3) Fraud Alert
       We will provide Data Breach Services, Data                                             A "potentially-identified person" who
       Breach Expense Coverages and Additional                                                contacts our Designated Service
       Expense Coverages as described below if you                                            Provider can place a Fraud Alert on
       have a "data breach" that:                                                             his or her credit file(s) with the main
                                                                                              credit bureaus warning potential
       a.   Is discovered during the coverage period of
                                                                                              credit grantors to check with the
            this Data Breach Coverage Form; and
                                                                                              "potentially-identified person" before
       b.   Is reported to us within 30 days of your                                          ex1ending credit in his or her name
            discovery of the "data breach".                                                   or on his or her behalf.
       1. Data    Breach Covered                Services       and                      (4) Identity Restoration              Case
            Covered Expenses                                                                Management
            a.    Data Breach Services                                                        An "identified person" who contacts
                                                                                              our Designated Service Provider
                  (1) Consulting Services                                                     can have the services of an identity
                     Consulting Services to assist you                                        restoration professional who will
                     regarding:                                                               assist that "identified person" to
                                                                                              correct his or her credit and other
                     (a) Notification       requirements                                      records and, within the constraints
                         pursuant to state and federal                                        of what is possible and reasonable,
                         laws and regulations;                                                to restore control over his or her
                     (b) Drafting your notification letters;                                  personal identity.
                         and                                                            These Data Breach Services will be
                     (c) Media interface            and      press                      provided by our Designated Service
                         release drafting.                                              Provider as described in Section E.2.
                                                                                        Additional Conditions for a period of
                  (2) Help Line                                                         12 consecutive months from the
                                                                                        inception of the Data Breach Services.
                     A toll-free telephone line for
                                                                                        These Data Breach Services are only
                     "potentially-identified persons" with
                                                                                        available within the Coverage Territory
                     questions about the "data breach".




       411-066912 09              Includes copyrighted material of Insurance Services Office, Inc.             Page 1 of 10
                                                        With its permission

0014
              Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 259632488
                                                                          ZBS  of 21700 5502701
              and will only be provided for data                                            incur through our         Designated
              records created and housed in the                                             Service Provider.
              United States with data on "potentially-
                                                                                  c. Additional Expense Coverage
              identified persons" with a valid social
              security number.                                                         We will pay your reasonable and
          b. Data Breach Expense Coverages                                             necessary expenses incurred for the
                                                                                       following    Additional    Expense
              We will pay your reasonable and                                          Coverages.    These expenses are
              necessary expenses incurred for the                                      subject to the limits of insurance
              following Covered Expenses up to the                                     described in Section C - Limits of
              limits of insurance described in Section                                 Insurance.
              C - Limits of Insurance:
                                                                                       (1) Legal       Services         Expenses
              (1) Notification      to     Potentially-                                    incurred within the first six months
                  Identified Persons        expenses to                                    following the discovery of a "data
                  provide notification of the "data                                        breach" for outside professional
                  breach"    to    "potentially-identified                                 legal counsel review of the "data
                  persons":                                                                breach" and recommendations as to
                                                                                           how you should best respond to it
                  (a) As required by a federal or state                                    including final legal review of the
                      statute, regulation or directive                                     proposed        breach     notification
                      or                                                                   letter(s). However, we will not pay
                  (b) As reasonably          necessary        to                           for expenses for legal counsel to
                      your business.                                                       review any third party liability
                                                                                           litigation or notification of potential
                  Covered expenses include but are                                         litigation.
                  not limited to the printing, postage
                  and handling of notification letters to                              (2) Public Relations            expenses
                  "potentially-identified persons".                                        incurred within the first six months
                                                                                           following the discovery of a "data
              (2) Forensic Analysis -           expenses to                                breach" for an outside public
                  assess:                                                                  relations    firm    or    a    crisis
                  (a) The severity         of     the     "data                            management firm for restoring the
                      breach";                                                             confidence of your customers and
                                                                                           investors in the security of your
                  (b) The nature and extent of the                                         company and its systems.
                      "data breach";
                                                                                       (3) Third Party "Data Breach" -
                  Forensic Analysis expenses do not                                        expenses        for      notification to
                  include the cost of restoration.                                         "potentially-identified persons" with
              (3) Proactive     Monitoring       Services                                  whom you have a direct relationship
                  Expense Coverage - Expenses for                                          for a "data breach" when the "data
                  "proactive     monitoring       services"                                breach" occurs at a third party
                  provided    to    "potentially-identified                                where you have sent "private
                  persons" through our Designated                                          personal data" to be under that third
                  Service Provider.                                                        party's care, custody and controL
                                                                                           This includes a "data breach" that
              (4) Services    provided   for Covered                                       occurs      while      transmitting   or
                  Expenses provided in b.(1), b.(2)                                        transporting the data to that third
                  and b.(3) above must be approved                                         party. Covered expenses for this
                  by us as described in Section E.2.                                       Additional Covered Expense are
                  Additional Conditions, "Paragraph                                        limited to the printing, postage and
                  d., Service Providers.                                                   handling of notification letters to
                                                                                           "potentially-identified persons".
                  Under b.(3) Proactive Monitoring
                  Services Expense Coverage, we                                             Service providers for Additional
                  will only pay for expenses that you                                       Expense Coverage provided in
                                                                                            paragraphs c.(1), c.(2)and c.(3)




       411-0669 12 09         Includes copyrighted material of Insurance SeJVices Office, Inc.               Page2 of10
                                                   With its permission

0015
             Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 269632488
                                                                         ZBS  of 217 00 5502701


                  must be approved by us as                                                        approve in advance         of that
                  described     in   Section       E.2.                                            disclosure.
                  Additional Conditions, Paragraph
                                                                                           (5) Data Breach Reward Coverage -
                  d., Service Providers.
                                                                                               monies you pay for information
              (4) Data Breach Ransom Coverage -                                                leading to the arrest and conviction
                  monies extorted from and paid by                                             of any individual(s) who committed
                  you because or a threat or                                                   an illegal act(s) related to a "data
                  connected series of threats to                                               breach"     covered      under    this
                  commit an intentional attack on your                                         Coverage Form. Under this Data
                  computer systems that if so                                                  Breach Reward Coverage, we will
                  committed, would result in a "data                                           not pay for information that was
                  breach". This Data Breach Ransom                                             provide.d by you, your internal or
                  Coverage is subject to the following                                         external auditors, any vendor or
                  conditions:                                                                  independent contractor hired by
                 (a) you must receive approval from                                            you, any individual or firm hired by
                     us prior to the payment of any                                            you to investigate the illegal act
                     monies;                                                                   described above or information from
                                                                                              ·any individual(s) with supervisory or
                 (b) any monies paid must only be to                                           management responsibility of any of
                     terminate or end the threat;                                              the individual(s) described above.
                 (c) the threat must be one which, if                           2. Coverage Extension
                     carried out, would have led to a
                     "data breach" that would have                                   The following Coverage Extension applies to
                     been     covered    under this                                  Data Breach Services, Data Breach
                     Coverage Form had the monies                                    Expense Coverages and Additional Expense
                     not been paid;                                                  Coverages as provided in Paragraphs 1.a.
                                                                                     through 1.c. above:
                 (d) the threat must have been made
                     during the coverage period of                                   a. Portable Electronic Devices Out of
                     this Data Breach Coverage                                          the Coverage Territory
                     Form;                                                                The coverages applying under Data
                 (e) the applicable Federal, state                                        Breach Services, Data Breach Expense
                     and/or local law enforcement                                         Coverages and Additional Expense
                     authority was notified of the                                        Coverages are extended to apply to a
                     threat prior to any payment you                                      "data breach" from a portable electronic
                     make for which you are seeking                                       device, such as a laptop or personal
                     reimbursement       under   this                                     digital assistant (PDA), while taken out
                     Additional Expense Coverage;                                         of the Coverage Territory on a
                                                                                          temporary basis.         This Coverage
                 (f) the threat. must not have been                                       Extension is limited to "private personal
                     committed by any of your                                             data" that is within your care, custody or
                     employees        or    former                                        control within the Coverage Territory but
                     employees,       vendors    or                                       temporarily stored on that portable
                     independent contractors hired                                        electronic device.
                     by you;
                                                                                          The portable electronic device must be
                 (g) you    must      make      every                                     owned or leased by you or your
                     reasonable effort not to divulge                                     employees.
                     the existence of tliis Data
                     Breach Ransom Coverage; and                                          This Coverage Extension is subject to
                                                                                          Exclusions, Limits and Insurance and
                 (h) you agree to keep confidential                                       Conditions that apply to Data Breach
                     any amounts paid under this                                          Services,   Data    Breach   Expense
                     Data Breach Ransom Coverage                                          Coverages and Additional Expense
                     except for any disclosure we                                         Coverages.
                                                                                SECTION B - EXCLUSIONS



       411-066912 09        Includes copyrighted material of Insurance Services Office, Inc.                   Page 3 of 10
                                                 With its permission

0016
               Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 279632488
                                                                           ZBS  of 217 00 5502701


       1. We will not cover the following regardless of                                 h. Victim Expenses or Losses
          cause:
                                                                                             Costs or losses incurred by a victim of
          a. Costs to Research                 or    Correct                                 "data breach" or fraud activity except as
             Deficiencies                                                                    provided for under Data Breach
               Any costs to research any deficiency,                                         Services,    Data    Breach      Expense
               except as specifically provided under                                         Coverages and Additional Expenses
               the Data Breach Expense Coverage                                              Coverages provided in Paragraphs 1.a.
               1.b.(2) Forensic Analysis, or any costs                                       through 1.c.
               to correct any deficiency.                                               i.   Alternative Travel Arrangements or
               This includes, but is not limited to, any                                     Fees
               deficiency in your systems, procedures                                        Payment     of    alternative       travel
               or physical security that may have                                            arrangements or additional fees.
               contributed to a "data breach".
                                                                                        j.   Psychological Counseling
          b. Criminal            Investigation              or
             Proceedings                                                                     Psychological counseling for victims of a
                                                                                             "data breach" or fraud activity.
               Any costs arising out of              criminal
               investigations or proceedings.                                           k. Legal Advice or Services

          c.   Fines, Penalties or Assessments                                               Legal advice or other legal services,
                                                                                             except as provided by the Legal
               Any     "fines,     penalties, fees or                                        Services Additional Expense Coverage,
               assessments•. This includes but is not                                        Paragraph 1.c.(1 ).
               limited to fees or surcharges from
               financial institutions.                                                  I.   Information Recapture

          d. Defense or Legal Liability                                                      Any costs or losses for the recapture of
                                                                                             lost, stolen or destroyed information.
               Any fees, costs, settlements, judgments,
               or liability of any kind arising in the                             2. We will not cover Data Breach Services,
               course of, or as a result of a claim for                               Data Breach Expense Coverages or
               damages,       lawsuit,      administrative                            Additional Expense Coverages as provided
               proceedings,       or       governmental                               in Paragraphs 1.a.through 1.c. arising out of,
               investigation against or involving you.                                caused by, or resulting from, or in
                                                                                      consequence of the following:
          e.   Other Economic Costs
                                                                                        a. Harmful Code
               Any other costs or expenses not
               expressly provided for under Data                                             Any loss of data that results from
               Breach Services, Data Breach Expense                                          "harmful code".
               Coverages and Additional Expense                                         b. Dishonesty
               Coverages provided in Paragraphs 1.a.
               through 1.c. Costs or expenses that we                                        Any criminal, fraudulent or dishonest
               do not cover include but are not limited                                      act, error or omission, or any intentional
               to expense to reissue credit or debit                                         or knowing violation of law by you, any
               cards.                                                                        of your partners, directors or trustees:
          f.   Consequential Loss                                                            (1) Acting alone or in collusion with
                                                                                                 others; or
               Any costs, or any other loss, caused by
               or resulting from delay, loss of use, loss                                    (2) Whether or not occurring during the
               of existing or prospective markets or any                                         hours of employment.
               other consequential loss.                                                c. Governmental Action
          g. Contractually Assumed Liability                                                 Seizure or destruction of property by
               Legal obligations arising by reason of                                        order of governmental authority. Such
               assumption of liability in a contract or                                      loss or damage is excluded regardless
               agreement.                                                                    of any other cause or event that



       411-06691209           Includes copyrighted material of Insurance Services Office, Inc.                   Page4of10
                                                    With its permission

0017
               Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 289632488
                                                                           ZBS  of 217 00 5502701


               contributes concurrently or in any                                                governmental authority in hindering
               sequence to the loss. This exclusion                                              or defending against any of these.
               applies whether or not the loss event
               results in widespread damage or affects                             SECTION C- LIMITS OF INSURANCE
               a substantial area.                                                 1. The most we will pay for the total of all Data
                                                                                      Breach Expense Coverages and Additional
          d. Intentional or Reckless Disregard                                        Expense Coverages combined is the Data
               Your intentional or reckless disregard for                             Breach Coverage Limit of Insurance shown
               the security of "private personal data" in                             in the Schedule.        The Data Breach
               your care, custody or control.                                         Coverage Limit of Insurance is an annual
                                                                                      aggregate limit and is the most we will pay
          e. Intentional or Willful Complicity                                        for the total of such covered expenses
               Your intentional or willful complicity in a                            arising out of all "data breach" events
               "data breach".                                                         discovered by you during the current annual
                                                                                      policy period regardless of the number of
          f.   Prior Discovery                                                        "data breach" events.
               Any "data breach" discovered prior to                               2. The most we will pay for each of the
               the inception of this Data Breach                                        Additional Expense Coverages is the
               Coverage Form.                                                           sublimit shown in the Schedule.             This
          g. Threats, Extortion or Blackmail                                            sublimit is part of, and not in addition to, the
                                                                                        Data Breach Coverage Limit of Insurance.
               Any threat, extortion or blackmail                                       The Additional Expense Coverages sublimit
               including but not limited to, ransom                                     is an annual aggregate limit and is the most
               payments      and     private  security                                  we will pay for the total of such covered
               assistance except as provided in the                                     expenses arising out of all "data qreach"
               Data     Breach     Ransom    Coverage                                   events by you during the current annual
               Additional Expense Coverage under                                        policy period regardless of the number of
               Paragraph 1.(c)(4).                                                      "data breach" events.
          h. Indirectly Obtained Data                                              3. Regardless of the number of years this Data
               Any "data breach" of "private personal                                 Breach Coverage Form remains in force or
               data" for which you do not have a direct                               the number of premiums paid, no limits of
               relationship    with    the    "potentially-                           insurance cumulate from policy period to
               identified person", such as records that                               policy period.
               you aggregate, sell, store, process,                                4.   Discovery Policy Period Limits Apply
               transmit or transport for another entity.
                                                                                        A "data breach" may be first discovered by
          i.   Nuclear Hazard                                                           you in one policy period but cause covered
               Nuclear reaction or radiation, or                                        expenses in one or more subsequent policy
               radioactive contamination, however                                       periods. If so, all covered expenses arising
               caused.                                                                  from such "data breach" will be subject to
                                                                                        the Data Breach Coverage Limit of
          j.   War and Military Action                                                  Insurance and the Additional Expense
               (1) War, including undeclared or civil                                   Coverage sublimits described respectively in
                                                                                        Paragraphs 1. and 2. above that are
                   war;
                                                                                        applicable to the policy period when the
               (2) Warlike action by a military force,                                  "data breach" was first discovered by you.
                   including action in hindering or
                   defending against an actual or                                  5. Time Limits
                   expected      attack,     by     any                                 a. You must report a "data breach" to us
                   government, sovereign or other                                          on or within 30 days of your discovery of
                   authority using military personnel or                                   the "data breach".
                   other agents; or
                                                                                        b. You have up to one year from the date
             (3) Insurrection, rebellion, revolution,                                      of reporting a "data breach" to initiate
                 usurped power, or action taken by                                         the services provided to you.
          d. Intentional or Reckless Disregard



       411-066912 09          Includes copyrighted material of Insurance Services Office, Inc.                   Page 5 of10
                                                    With its permission


0018
                Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 299632488
                                                                            ZBS  of 217 00 5502701


           c.   A "potentially-identified person" has up                                             of the following information as it
                to one year from the date he or she                                                  becomes known to you:
                receives notification of a "data breach"
                to initiate the services provided to him or                                          (a) The method          of    "data
                her.                                                                                     breach";

           d. Once initiated the "potentially-identified                                             (b) the approximate data and
              person" services will continue to be                                                       time of the "data breach";
              provided to that person for one year.                                                  (c) The approximate number of
           e. Data Breach Services under Section A                                                       "potentially-identified
              - Coverages, Paragraph 1.a. will be                                                        persons" compromised as a
              provided by our Designated Service                                                         result of the "data breach";
              Provider for a period of 12 consecutive                                                (d) A detailed description of the
              months from the inception of the Data                                                      type and nature of the
              Breach Services.                                                                           information    that      was
       SECTION D - DEDUCTIBLE                                                                            compromised;

       The Data Breach Expense Coverages and                                                         (e) Whether     or  not    the
       Additional Expense Coverages provided under                                                       information was encrypted,
       this Coverage Form are subject to the Data                                                        and, if so, the level of
       Breach Coverage Deductible indicated in the                                                       encryption;
       Schedule applying to this coverage form.                                                      (f) Whether    or   not  law
       SECTION E- CONDITIONS                                                                             enforcement   has   been
                                                                                                         notified;
       This Coverage Form is subject to the Common
       Policy Conditions of the Building and Personal                                                (g) If available, the states in
       Property Coverage Form CP 00 10, Commercial                                                       which      the     "potentially-
       Property Conditions CP 00 90, and the following                                                   identified     persons"     are
       Amended Conditions and Additional Conditions:                                                     domiciled;

       1. Amended Conditions                                                                         (h) If available, who received
                                                                                                         the "private personal data"
           a. Loss Condition 3. Duties in the Event                                                      as a result of the "data
              of Loss Or Damage under Section E.                                                         breach"; and
              Loss Conditions of the Building and
              Personal Property Coverage Form CP                                                         (i) Any     other access,
              00 10 is replaced by the following:                                                            information        or
                                                                                                             documentation      we
                4. Duties in the Event of a Data Breach                                                      reasonably require to
                                                                                                             investigate or adjust
                   You must see that the following are
                                                                                                             your claim.
                   done in the event of a "data breach":
                                                                                                 4. Take all reasonable steps to
                   1. Notify the police if a law may
                                                                                                    protect "private personal data"
                      have been broken.
                                                                                                    remaining in your care, custody
                   2. Give us prompt notice of the                                                  or control.
                      "data breach".     As stated in
                                                                                                 5. Preserve all evidence of the
                      Section A            Coverages,
                                                                                                    "data breach".
                      paragraph b., you must report
                      the "data breach" to us within 30                                          6. Permit us to inspect the property
                      days of the date you first                                                    and records proving the "data
                      discover it.                                                                  breach".
                   3. As soon as possible, give us,                                              7. If requested, permit us to
                      and/or our Designated Service                                                 question you under oath at such
                      Provider, a description of how,                                               times as may be reasonably
                      when and where the "data                                                      required about any matter
                      breach" occurred, including all                                               relating to this insurance or your



       411-0669 12 09         Includes copyrighted material of Insurance Services Office. Inc.                   Page 6of10
                                                    With its pennission


0019
                Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 309632488
                                                                            ZBS  of 217 00 5502701


                        claim, including your books and                                      You agree to use due diligence to
                        records. In such event, your                                         prevent and mitigate loss covered under
                        answers must be signed.                                              this Coverage Form. This includes, but
                                                                                             is not limited to, complying with
                   8. Send us a signed, sworn
                                                                                             reasonable     and     industry-accepted
                      statement      containing    the
                                                                                             protocols for providing and maintaining
                      information we request to                                              the following:
                      investigate the claim. You must
                      do this within 30 days after our                                       1. Physical security for your premises,
                      request. We will supply you                                                computer systems and hard copy
                      with the necessary forms.                                                  files;
                   9. Cooperate with us in the                                               2. Computer and Internet security;
                      investigation or settlement of the
                                                                                             3. Periodic backups of computer data;
                      claim.
           b. Property Loss Condition D.     Legal                                           4. Protection, including but not limited
              Action Against Us of the Commercial                                               to,   encryption    of data,       for
              Property Conditions CP 00 90 Form is                                              transactions such as processing
              replaced by the following:                                                        credit card, debit card and check
                                                                                                payments; and
                D. Legal Action Against Us
                                                                                             5. Disposal     of    files    containing
                   No one may bring a legal action                                              "personal private data", including but
                   against us under this insurance                                              not limited to shredding hard copy
                   unless:                                                                      files and destroying physical media
                                                                                                used to store "electronic data".
                   1. There has been full compliance
                        with all of the terms of this                                   b. No Legal Advice Provided
                        insurance; and
                                                                                             We are not your legal advisor and do
                   2. The action is brought within two                                       not provide legal counsel to you. None
                      years after the date of the "data                                      of the services we provide under this
                      breach" is first discovered by                                         Data Breach Coverage Form constitute
                      you.                                                                   legal advice to you by us.         Our
                                                                                             determination of what is or is not
           c.   Property General Condition H. Policy                                         covered under this Data Breach
                Period, Coverage Territory under                                             Coverage Form does not represent legal
                Commercial Property Conditions CP 00                                         advice or counsel from us about what
                90 is replaced by the following:                                             you should or should not do.
                H. Policy Period, Coverage Territory                                    c. Pre-Notification Consultation
                   1. Policy Period                                                          You agree to consult with us prior to the
                        This policy applies only to "data                                    issuance of notification to "potentially-
                        breaches"     that    are    first                                   identified persons". We assume no
                        discovered by you during the                                         responsibility under this Data Breach
                        policy period shown in the                                           Coverage Form for any services
                        Declarations.                                                        promised       to    "potentially-identified
                                                                                             persons" without our prior agreement.
                   2. Coverage Territory                                                     You must provide the following at our
                        The "data breach" must involve                                       pre-notification consultation with you:
                        "private personal data" that was                                     1. The      exact list of "potentially-
                        within your care, custody or                                             identified persons" to be notified,
                        control within the United States                                         including contact information.
                        of America or Puerto Rico.
                                                                                             2. · Information about the "data breach"
       2. Additional Conditions                                                                   that     may     appropriately    be
          The following conditions are added:                                                     communicated       with "potentially-
                                                                                                  identified persons".
          a.    Due Diligence


       411-0669 12 09         Includes copyrighted material of Insurance Services Office, Inc.                    Page 7 of 10
                                                    With its permission

0020
               Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 319632488
                                                                           ZBS  of 217 00 5502701


          d.   Service Providers                                                                    credit records that can be provided
                                                                                                    or monitored.
               1. We will only provide Data Breach
                  Services through our Designated                                                3. We do not warrant or guarantee that
                  Service Provider(s).       Any such                                               the services paid for in whole or in
                  services that are provided by any                                                 part by this Coverage Form will end
                  other individual or entity will not be                                            or eliminate all problems associated
                  covered by this Coverage Form.                                                    with a covered "data breach".
               2. We will only pay Data Breach                                          f.       Cooperation
                  Expense Coverages and Additional
                  Expense Coverages (except for                                              You agree to cooperate with and
                  Data Breach Ransom Coverage and                                            provide     full disclosure   of   the
                  Data Breach Reward Coverage) that                                          circumstances surrounding a "data
                  are provided by service providers                                          breach" to applicable federal or state
                  approved by us prior to the start of                                       regulators, law enforcement personnel,
                  any of these services. If we suggest                                       to us, and to our Designated Service
                                                                                             Provider(s).
                  a service provider(s) but you prefer
                  to use an alternative service                                              If you fail to cooperate, we will not be
                  provider(s), our coverage is subject                                       obliged under this contract for any
                  to the following limitations:                                              services and expenses that cannot be
                                                                                             provided due to your failure to
                   (a) Such      alternate     service
                                                                                             cooperate.
                       provider(s) must be approved by
                       us; and                                                          g. We are not liable for any act or omission
                                                                                           by any Designated Service Provider
                   (b) Our payment for services
                                                                                           who is not our employee nor the.
                       provided by any alternative
                                                                                           employee of a third party provider of the
                       service provider(s) will not
                                                                                           Data Breach Services described in this
                       exceed the amount that we
                                                                                           Data Breach Coverage Form.            We
                       would have paid using the
                                                                                           cannot be held responsible for failure to
                       service    provider we   had
                                                                                           provide, or for the delay in providing,
                       suggested.
                                                                                           services when such failure of delay is
               ·3. You will have a direct relationship                                     caused by conditions beyond our
                   with any service provider, including                                    control.
                   our Designated Service Provider,
                                                                                        h. Other Insurance
                   paid for in whole or in part under this
                   Coverage Form.           All service                                      If there is other insurance covering the
                   providers work for you.                                                   same "data breach" we will pay only for
                                                                                             the amount for Data Breach Services,
          e. Services
                                                                                             Data Breach Expense Coverages, and
               The following conditions apply as                                             Additional Expense Coverages in
               respects any services provided to you or                                      excess of the amount due from that
               to any "potentially-identified person" or                                     other insurance. But we will not pay
               "identified person" by our designees or                                       more than the applicable Limit of
               any service firm paid for under this Data                                     Insurance shown in the Schedule.
               Breach Coverage Form:
                                                                                   SECTION F- DEFINITIONS
               1. The effectiveness of such services
                                                                                   With respect to this Data Breach Coverage Form
                  depends on your cooperation and                                  only, the following definitions are added:
                  assistance.
                                                                                   1. AccountTakeover
               2. All services may not be available or
                  applicable    to    all  "potentially                                 "Account takeover" means the takeover by a
                  identified persons" or "identified                                    third party of one or more existing deposit
                  persons". For example, "potentially                                   accounts, credit card accounts, debit card
                  identified persons" who are minors                                    accounts, ATM cards, or lines of credit in the
                  or foreign nationals may not have                                     name of an "identified person".



       411-066912 09          Includes copyrighted material of Insurance Services Office. Inc.                     Page 8 of 10
                                                   With its pennission

0021
              Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 329632488
                                                                          ZBS  of 217 00 5502701


       2.   Data Breach                                                                 computer software which are used with
                                                                                        electronically controlled equipment. The
            "Data breach" means the loss, theft,
                                                                                        term computer programs means a set of
            accidental release or accidental publication
                                                                                        related electronic instructions which direct
            of "private personal data" entrusted to you
                                                                                        the operations and functions of a computer
            as respects one or more "potentially-
                                                                                        or device connected to it, which enable the
            identified persons" if such loss, theft,
                                                                                        computer or device to receive, process,
            accidental release or accidental publication
                                                                                        store, retrieve or send data.
            has or could reasonably result in the
            fraudulent use of such' information.                                   4.   Fines, Penalties or Assessments
            This definition of "data breach" is subject to                              "Fines, penalties or assessments" means
            the following provisions:                                                   any fines,       assessments, surcharges,
                                                                                        attorneys' fees, court costs or other
            a. "Data breach" includes disposal or
                                                                                        penalties which you shall be required to pay
               abandonment of "private personal data"
                                                                                        as a result of a "data breach" or pursuant to
               without appropriate safeguards such as
                                                                                        any contract, law, regulation or order.
               shredding or destruction, subject to the
               following provisions:                                               5.   Harmful Code
                (1) Your failure to use appropriate                                     "Harmful code" means any computer virus,
                    safeguards must be accidental and                                   program, routine, sub-routine, Trojan horse,
                    not     intentional, reckless   or                                  worm, script or other code string that is or
                    deliberate and not in violation of                                  becomes named by any recognized anti-
                    your Due Diligence obligations                                      virus software program which destroys,
                    under Paragraph 2.      Additional                                  alters or corrupts data or causes a "data
                    Conditions, Paragraph a.; and                                       breach", regardless of how the "harmful
                                                                                        code" was introduced or enacted on the·
                (2) Such   disposal or abandonment                                      computer system (including "electronic
                    must take place during the time                                     data") or a network to which it is connected.
                    period for which this Data Breach
                    Coverage Form is effective.                                    6.   Identified Person
            b. "Data breach" includes situations where                                  "Identified person" means a "potentially-
               there is a reasonable cause to suspect                                   identified person" who is or appears to be a
               that such "private personal data" has                                    victim of'identity theft" or "account takeover"
               been lost, stolen, accidentally released                                 that may reasonably have arisen from a
               or accidentally published, even if there                                 covered "data breacli".
               is no firm proof.                                                   7. Identity Theft
            c. All incidents of "data breach" that are                                  "Identity theft" means the fraudulent use of
               discovered at the same time or arise                                     "private personal data". This includes the
               from the same cause or from a series of                                  fraudulent use of such information to
               similar causes would be considered one                                   establish credit accounts, secure loans,
               "data breach".      All theft of "private                                enter into contracts or commit crimes.
               personal data" caused by any person or
               in which that person is involved, whether                                "Identity theft" does not include the
               the result of a single act or series of                                  fraudulent use of a business name, d/b/a or
               related acts, is considered a single                                     any other method of identifying a business
               incident of "data breach".                                               activity.
       3.   Electronic Data                                                             "Identity theft" does not include the use of a
                                                                                        valid credit card, credit account or bank
            "Electronic data" means information, facts or                               account.     However, "identity theft" does
            computer programs stored as or on, created                                  include the fraudulent alteration of account
            or used on, or transmitted to or from                                       profile information, such as the address to
            software (including systems and applications                                which statements are sent.
            software), on hard or floppy disks, CD-
            ROMs, tapes, drives, cells, data processing                            8. Potentially-Identified Person
            devices or any other repositories of.



       411-066912 09          Includes copyrighted material of Insurance Services Office. Inc.                   Page 9 of 10
                                                   With its pennission

0022
              Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 339632488
                                                                          ZBS  of 217 00 5502701


          "Potentially-identified person" means any                                   "Private personal data" does not mean or
          person who is your current, former or                                       include information that is otherwise
          prospective customer, employee, client,                                     available to the public, such as names and
          member, or patient and whose "private                                       addresses with no correlated Social Security
          personal data" is lost, stolen, accidentally                                numbers or account numbers.
          released or accidentally published by a "data
                                                                                 10. Proactive Monitoring Services
          breach" covered under this Coverage Form.
          This definition is subject to the following                                 "Proactive monitoring services" means the
          provisions:                                                                 fallowing services if you offer to provide
                                                                                      them to "potentially-identified persons" who
          a. "Potentially-identified person" does not
                                                                                      contact our Designated Service Provider:
             include any business or organization.
             Only an individual person may be a                                        a. A credit report;
             "potentially-identified person".
                                                                                       b. credit monitoring; and or
          b. A "potentially-identified person" must
             have a direct relationship with you. The                                  c. fraud/public records monitoring service
             following are examples of individuals                                        or services.
             who do not meet this requirement:
              (1) If you aggregate or sell information
                  about individuals as part of your
                  business,      "potentially-identified
                  persons" do not include the
                  individuals about whom you keep
                  such information.
              (2) If you store, process, transmit or
                  transport     records,    "potentially-
                  identified persons" do not include
                  the individuals whose "private
                  personal data" you are storing,
                  processing,       transmitting       or
                  transporting for another entity.
              The above examples are not meant to
              be all inclusive but are provided as a
              way to identify those not meeting the
              requirements of this definition.
          c. A "potentially-identified person" may
             reside anywhere in the world. However,
             the coverage and services provided
             under this Coverage Form are only
             applicable and available within the
             Coverage Territory as defined in
             SECTION E-CONDITIONS, Paragraph
             2. Amended Conditions, Paragraph c.
       9. Private Personal Data
          "Private personal data" means private
          identifying information that could be used to
          commit fraud or other illegal activity
          involving the credit or identity of a
          "potentially-identified person". This includes,
          but is not limited to Social Security numbers,
          driver's license numbers and account
          numbers correlated with names and
          addresses.



       411-0669 12 09        Includes copyrighted material of Insurance Services Office, Inc.       Page 10 of10
                                                        With its permission

0023
  Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 34 of 217



           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

ASSOCIATES AND FAMILY MEMBERS ADDITIONAL COVERAGE ENDORSEMENT

This endorsement modifies insurance provided under the following:

     DATA BREACH COVERAGE FORM

The following Additional Coverage is added to
SECTION A – COVERAGES of the Data
                                                          B. DEFINITIONS
Breach Coverage Form:
                                                               Under Section F – Definitions, Paragraph
A. ASSOCIATES AND FAMILY MEMBERS
   ADDITIONAL COVERAGE                                         1. Account Takeover is replaced with the
                                                               following:
    As described in Paragraphs 1. and 2. below,
    we will extend certain Data Breach                         1. Account Takeover
    Covered Services to your “associates” and
    to their “family members” following loss of                   “Account    takeover”,    as    respects
    their “private personal data” under the                       “associates” or “family members”,
                                                                  means the takeover by a third party of
    circumstances described below.         This
                                                                  one or more existing deposit accounts,
    Additional Coverage does not apply to a
                                                                  credit card accounts, debit card
    “data breach” involving information owned
                                                                  accounts, ATM cards, or lines of credit in
    or controlled by you.
                                                                  the name of an “associate” or “family
    1. An “associate” or “family member”                          member”.
       whose “private personal data” is lost or
                                                                  “Account      takeover”,  as    respects
       stolen by circumstances such as the
                                                                  “associates” or “family members”,
       loss of a credit card, debit card, ATM
                                                                  includes the unauthorized takeover of
       card, checkbook, driver’s license, or
                                                                  one or more of the “associate’s” existing
       passport; or the loss of a wallet, purse,
       or briefcase containing any of the                         deposit accounts, credit card accounts,
       foregoing, may contact our Designated                      debit card accounts, ATM cards, or lines
                                                                  of credit by a “family member”.
       Service Provider for the Fraud Alert
       service described in Section A –                        Under Section F – Definitions,            the
       Coverages, paragraph 1.a.(3) of the                     following Definitions are added:
       Data Breach Coverage Form.
                                                               1. “Associate” means an employee of the
    2. An “associate” or “family member” who,                     business insured under this policy.
       as a result of loss or theft of “private
       personal data” described in Paragraph                   2. “Family Member” means:
       1. above, becomes a victim of “identity                    a.   an     “associate’s”   spouse,   or
       theft” or “account takeover”, may contact                       Registered Domestic Partner, or the
       our Designated Service Provider for the                         legal equivalent thereof; or
       Identity Restoration Case Management
       services described in Section A –                          b.   a relative under 23 years of age
       Coverages, paragraph 1.a.(4) of the                             who is a dependent of the
       Data Breach Coverage Form.                                      “associate.

    We will provide these services for a period
    of one year following the date we are
    notified of the initial loss of “private personal
    data”.



                                                                                                 Page 1 of 1


411-0679 04 10               Includes copyrighted material of Insurance Services Office, Inc.,
                                             with its permission
   Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 35 of 217



                                  IDENTITY THEFT RESOLUTION SERVICES
                                        (POWERED BY IDENTITY THEFT 911)

Are you or your resident family members at risk for identity theft? Do you need expert assistance with an
identity-related concern? IDENTITY THEFT RESOLUTION SERVICES from Identity Theft 911 give you
one-on-one assistance in the following situations:
                                        Access Phone Number: 800-628-0250
If you or a resident family member suffer the loss or theft of private personal data, contact Identity Theft
911 for proactive guidance that can include Fraud Alert service. If you wish, a fraud specialist can assist
and place a free fraud alert on your credit file to reduce the risk of fraudulent accounts opened in your
name. This service also includes additional preventative measures and one-on-one assistance,
depending on the risk.
If you or a resident family member suffer the loss or theft of private personal data, contact Identity Theft
911 for Identity Restoration Case Management services. A fraud specialist will guide you through the
process of restoring your identity and handle all of the work, including completed documentation and
notification assistance. Victims also receive one year of credit monitoring, as well as free fraud
monitoring of over 1,000 public databases.
Keep this access information handy in case you ever need help with an identity-related problem.
                                        Access Phone Number: 800-628-0250




The Hanover Insurance Group makes no guarantee of results and assumes no liability in connection with either the information or
assistance provided by Identity Theft 911. Any and all external Websites or sources referred to herein are for informational
purposes only.

411-0681 12 09                Copyright 2009, The Hanover Insurance Group                                Page 1 of 1
       Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 369632488
                                                                   ZBS  of 217 02 5502701

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    GOLD PROPERTY BROADENING ENDORSEMENT

This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CAUSES OF LOSS – SPECIAL FORM
BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM – ACTUAL LOSS SUSTAINED

The following is added to C. Limits Of Insurance of Building and Personal Property Coverage Form CP 00 10:
The limits applicable to the Coverages included in this endorsement may either be in addition to or included within
the applicable Limits of Insurance. For application of the limits, refer to each coverage within this endorsement.
Refer to SECTION V – DEFINITIONS of this endorsement for additional words or phrases which appear in
quotation marks as they have special meanings.
I.   COVERAGES
     A. Scheduled Coverages
        The coverages in this endorsement amend the coverage provided under the Building and Personal
        Property Coverage Form, Causes of Loss – Special Form, Business Income (and Extra Expense)
        Coverage Form and Business Income (and Extra Expense) Coverage - Actual Loss Sustained through
        new coverages and substitute coverage grants. These coverages are subject to the provisions applicable
        to this policy, except where amended within this endorsement. If any of the property covered by this
        endorsement is also covered under any other provisions of the policy of which this endorsement is made a
        part, or if more than one coverage under this endorsement applies, in the event of loss or damage, you
        may choose only one of these coverages to apply to that loss. The most we will pay in this case is the limit
        of insurance applying to the coverage you select. Coverages included in this endorsement apply either
        separately to each described premises or on an “occurrence” basis. Refer to each coverage within this
        endorsement for application of coverage.


                                                                               Limits of        Amended Limits
                                                                              Insurance           of Insurance        Page
         1.   Additional Covered Property                                      Included                    N/A          3
         2.   Brands & Labels                                                  Included                    N/A          4
         3.   Broadened Building Coverage                                      Included                    N/A          4
         4.   Broadened Business Personal Property                             Included                    N/A          4
         5.   Building Limit - Inflation Guard                                 Included                    N/A          5
         6.   Business Income & Extra Expense from
              Dependent Properties                                            $150,000                          $       5
        7.    Catastrophe Allowance                                            $50,000                        N/A       5
        8.    Computer and Funds Transfer Fraud                                $15,000                          $       6
        9.    Consequential Loss to Stock                                     Included                        N/A       6
       10.    Contract Penalties                                               $50,000                          $       6
       11.    Debris Removal                                                  $250,000                          $       6
       12.    Denial of Access to Premises                                    Included                        N/A       7
       13.    E-Commerce                                                       $10,000                          $       7
       14.    Electronic Data Processing Equipment                            Included                        N/A       8
       15.    Employee Theft including ERISA Compliance                       $100,000                          $       8
       16.    Employee Tools and Work Clothing                                 $25,000                          $      10
       17.    Expediting Expense                                               $50,000                          $      11
       18.    Extended Business Income                                        180 Days                        N/A      11




411-0793 04 14         Includes copyrighted materials of Insurance Services Offices, Inc.
                                                                                        with its permission         Page 1 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 379632488
                                                                  ZBS  of 217 02 5502701

        19.   Extended Coverage on Property – within 2000 feet                 Included                        N/A      11
        20.   Extra Expense                                                    $300,000                          $      11
        21.   Fire Protection Equipment Recharge                               Included                        N/A      12
        22.    Food Contamination including                                    $25,000                           $      12
              Additional Advertising Expense                                    $3,000                           $      12
        23.   Forgery or Alteration                                             $30,000                          $      12
        24.   Foundations & Underground Pipes                                  Included                        N/A      13
        25.   International Air Shipments                                       $50,000                          $      13
        26.    Inventory & Loss Appraisal                                      $250,000                          $      14
        27.   Key Replacement & Lock Repair                                    $20,000                           $      14
        28.   Lease Cancellation                                               $50,000                           $      14
        29.   Leasehold Interest – Tenants                                     $150,000                          $      15
        30.   Marring & Scratching                                             Included                        N/A      15
        31.   Money & Securities                                               $25,000                           $      15
        32.   Money Orders & Counterfeit Money                                 $25,000                           $      16
        33.   Newly Acquired or Constructed Property – Building               $2,000,000                         $      16
              Newly Acquired – Business Personal Property                     $1,000,000                         $      16
        34.   Newly Acquired Locations – Business Income & Extra
              Expense                                                          $250,000                          $      17
        35.   Non-Owned Detached Trailers                                      $25,000                         N/A      17
        36.   Ordinance or Law                                                 $500,000                          $      17
        37.   Pollutant Clean-Up and Removal                                   $100,000                          $      20
        38.   Preservation of Property                                         90 Days                         N/A      20
        39.   Preservation of Property – Expense                                $50,000                          $      20
        40.   Property in Transit                                              $100,000                          $      21
        41.   Property Off Premises                                            $150,000                          $      21
        42.   Prototypes                                                       Included                        N/A      21
        43.   Rewards – Arson, Theft, Vandalism                                $75,000                           $      22
        44.   Sales Representative Samples                                     $25,000                           $      22
        45.   Seasonal Increase – Business Personal Property                   Included                        N/A      22
        46.   Sewer Backup                                                     Included                        N/A      23
        47.   Soft Costs                                                       $25,000                           $      23
        48.   Temporary Relocation of Property                                 $100,000                          $      23
        49.   Tenant Glass                                                     $15,000                           $      23
        50.   Tenant Relocation                                                $50,000                           $      24
        51.   Theft Damage to Building                                         Included                        N/A      24
        52.   Transit Business Income & Extra Expense                           $75,000                          $      25
        53.   Undamaged Tenants Improvements and Betterments                   $50,000                           $      25
        54.   Underground Water Seepage                                        $50,000                         N/A      25
        55.   Unintentional Property Reporting Errors                          $500,000                        N/A      26
        56.   Unnamed Locations                                                $150,000                          $      26
        57.   Utility Services – Direct Damage                                 $100,000                          $      27
              Utility Services – Business Income                               $100,000                          $      27
        58.   Voluntary Parting                                                 $50,000                          $      27
        59.   Water Damage, Other Liquids, Powder or Molten
              Material Damage                                                   $50,000                          $      28




411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc.
                                                                                         with its permission         Page 2 of 39
             Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 389632488
                                                                         ZBS  of 217 02 5502701
               60. Windblown Debris                                        $10,000                        $      28
               61. Worldwide Property Off-Premises                         $75,000                        $      28
       B.     Coverages Included within the Blanket Limit of Insurance:
              Blanket Limit of Insurance                                  $500,000
              The Blanket Limit of Insurance shown above applies to all Coverages shown in Section III. B. of this
              Endorsement. At the time of loss, you may elect to apportion this Blanket Limit of Insurance to one or any
              combination of the Coverages shown, but under no circumstances will the aggregate apportionment be
              permitted to exceed the Blanket Limit of Insurance shown above. The Blanket Limit of Insurance applies
              per “occurrence”.

                                                                                                             Amended Limits
                                                                                                              of Insurance          Page
               1.     Accounts Receivable                                                                                       $    28
               2.     Deferred Payments                                                                                         $    29
               3.     Fine Arts                                                                                                 $    29
               4.     Fire Department Service Charge                                                                            $    30
               5.     Movement of Property                                                                                      $    30
               6.     Outdoor Property                                                                                          $    30
               7.     Personal Effects & Property of Others                                                                     $    31
               8.     Research and Development Documentation                                                                    $    31
               9.     Valuable Papers and Records (Other Than Electronic Data)                                                  $    32




II. DEDUCTIBLE
We will not pay for covered loss or damage in any one “occurrence” unless the amount of loss or damage
exceeds the deductible amount shown in the Declarations of this Policy. We will then pay the amount of loss or
damage in excess of the Deductible, up to the Limit of Insurance for all applicable coverages listed under
SECTION I – COVERAGES. No deductible applies to coverages where specifically designated.

III.        COVERED PROPERTY
            A. Scheduled Coverages

             1. Additional Covered Property                                                         are:
                    a. The following is added to A.                                                 a. $10,000 for furs, fur garments
                       Coverage, Paragraph 5. Coverage                                                 and garments trimmed in fur.
                       Extensions of Building and Personal                                          b. $10,000 for jewelry, watches,
                       Property Coverage Form CP 00 10:                                                watch movements, jewels and
                       Additional Covered Property                                                     pearls. This limit does not
                                                                                                       apply to jewelry and watches
                       (1) You may extend the insurance
                                                                                                       worth $100 or less per item.
                           that applies to your Business
                           Personal Property to also include                                        c. $35,000 for precious and
                           “theft” or attempted “theft” of your                                        semi-precious stones, bullion,
                           patterns, dies, molds and forms.                                            gold, silver, platinum and
                                                                                                       other precious alloys or
                    b. C. Limitations, Paragraph 3. of
                                                                                                       metals.
                       Causes of Loss – Special Form CP 10
                       30 is replaced by the following:                                             d. $5,000 for patterns, dies,
                                                                                                       molds and forms owned by
                       3.   The special limit shown for each
                                                                                                       others. This special limit does
                            category a. through e., is the total
                                                                                                       not apply to those patterns,
                            limit for loss of or damage to all
                                                                                                       dies, molds and forms owned
                            property in that category. The
                                                                                                       by you or for which you are
                            special limit applies to any one
                                                                                                       responsible under written
                            “occurrence” of “theft”, regardless
                                                                                                       contract existing before loss.
                            of the types or number of articles
                            that are lost or damaged in that                                        e.     $1,000 for stamps, tickets,
                            “occurrence”. The special limits                                               including lottery tickets held
                                                                                                           for sale, and letters of credit.


411-0793 04 14                 Includes copyrighted materials of Insurance Services Offices, Inc.
                                                                                                with its permission           Page 3 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 399632488
                                                                  ZBS  of 217 02 5502701

                     These special limits are part of,                                            there is no basement.
                     not in addition to, the Limit of                                   (7) Your     personal  property   in
                     Insurance applicable to the                                            apartments or rooms furnished by
                     Covered Property.                                                      you as landlord;
                     This limitation, C.3., does not                                    (8) The following property if it is
                     apply   to     Business  Income                                        located on or within 2000 feet of a
                     coverage or to Extra Expense                                           covered building or structure:
                     coverage.
                                                                                             (a) Exterior lighting fixtures    or
                 All other provisions of C. Limitations                                          poles;
                 of Causes of Loss – Special Form CP
                 10 30 remain unchanged.                                                     (b) Yard fixtures;
       2.   Brands & Labels                                                                  (c) Fences; and
            The following is added to A. Coverage,                                           (d) Retaining Walls whether or
            Paragraph 5. Coverage Extensions of                                                  not attached to the building
            Building and Personal Property Coverage                                     (9) Signs, whether or not they are
            Form CP 00 10:                                                                  attached to covered buildings or
            Brands & Labels                                                                 structures;
            (1) If Covered Property that has a brand                                    (10)Building glass, including skylights,
                or label is damaged by a Covered                                            glass doors and windows, and
                Cause of Loss and we elect to take all                                      their encasement frames, alarm
                or any part of the damaged property at                                      tape, lettering and ornamentation;
                an agreed or appraised value, you                                       (11)Your new buildings while being
                may extend the insurance that applies                                       built on or within 2000 feet of the
                to Your Business Personal Property to:                                      described premises; and
                 (a) Pay expenses you incur to:                                         (12)Driveways, patios and walks.
                     (i) Remove the brand or label                                 b. Under C. Limits of Insurance of
                         and    then     re-label    the                              Building and Personal Property
                         damaged property to comply                                   Coverage Form CP 00 10, the $2,500
                         with any applicable law; or                                  limitation on outdoor signs is deleted.
                     (ii) Label or stamp the damaged                         4.    Broadened Business Personal Property
                          property as Salvage, if doing
                                                                                   a. The following is added to A.
                          so will not physically damage
                                                                                      Coverage, Paragraph 1. Covered
                          the property.
                                                                                      Property, subparagraph b. Your
                 (b) Cover any reduction in the                                       Business Personal Property of
                     salvage value of the damaged                                     Building and Personal Property
                     property as a result of the removal                              Coverage Form CP 00 10:
                     of the brand or label.
                                                                                        (8) Property of others that is in your
            (2) Payment under this Extension is                                             care, custody or control;
                included within the Limit of Insurance
                applicable to your Business Personal                                    (9) “Scientific          &   professional
                Property.                                                                   equipment”;
       3.   Broadened Building Coverage                                                 (10)Building glass you have a
                                                                                            contractual responsibility to insure;
            a. The following is added to A.
               Coverage, Paragraph 1. Covered                                           (11)“Installation, tools & equipment
               Property, subparagraph a. Building                                           property”; and
               of Building and Personal Property                                        (12)Patterns, molds & dies.
               Coverage Form CP 00 10 :                                            b. A. Coverage, Paragraph 1. Covered
                 (6) Foundations of machinery, tanks                                  Property, subparagraph c. Personal
                     and     their component    parts                                 Property of Others of Building and
                     including all connections which                                  Personal Property Coverage Form CP
                     are below:                                                       00 10, is deleted.
                     (a) The lowest basement floor; or                       5. Building Limit – Inflation Guard
                     (b) The surface of the ground, if                             The following is added to C. Limits of



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission       Page 4 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 409632488
                                                                  ZBS  of 217 02 5502701

            Insurance of Building and Personal                                                 “suspension” of business and to
            Property Coverage Form CP 00 10:                                                   continue “operations”; or
            Building Limit – Inflation Guard                                              (b) To minimize the “suspension” of
            We will pay either the actual cash value or                                       business if you cannot continue
            the replacement cost value, based on the                                          “operations”.
            valuation      method   shown     in    the                              (4) For Business Income coverage under
            Declarations, of the damaged portion of                                      this   Additional   Coverage,     the
            the building at the time of loss, but not                                    Coverage Territory for “dependent
            more than 115% of the Limit of Insurance                                     property” is expanded to all parts of
            for Building if:                                                             the world.
            a. The amount of any loss covered by                                     (5) We will reduce the amount of your:
               this policy exceeds the Limit of                                           (a) Business income loss, other than
               Insurance for Building stated in the                                           extra expense, to the extent you
               Declarations   for   the    damaged                                            can resume “operations” in whole
               Building; and                                                                  or in part by using any other
            b. The actual repair or replacement is                                            available:
               completed within one year of the date                                           (i) Source of materials; or
               of loss.
                                                                                               (ii) Outlet for your products
       6.   Business Income & Extra Expense from
            Dependent Properties                                                          (b) Extra Expense loss to the extent
                                                                                              you can return “operations” to
            The following is added to A. Coverage,                                            normal and discontinue such extra
            Paragraph 4. Additional Coverages of                                              expense.
            Building and Personal Property Coverage
            Form CP 00 10:                                                           (6) The most we will pay under this
                                                                                         Additional Coverage is $150,000 per
            Business Income & Extra Expense from                                         “occurrence” regardless of the number
            Dependent Properties                                                         of “dependent properties” that are
            (1) We will pay the actual loss of business                                  involved, or the Limit of Insurance
                income you sustain due to the                                            shown in the Amended Limits Section
                necessary “suspension” of your                                           of this Endorsement.
                “operations” during the “dependent                                   (7) The amount payable under this
                property period of restoration”. The                                     Additional Coverage is additional
                “suspension” must be caused by direct                                    insurance.
                physical loss of or damage to
                “dependent property” caused by or                              7.    Catastrophe Allowance
                resulting from a Covered Cause of                                    The following is added to A. Coverage,
                Loss.                                                                Paragraph 5. Coverage Extensions of
            (2) We will pay the actual and necessary                                 Building and Personal Property Coverage
                Extra Expense you incur due to direct                                Form CP 00 10:
                physical loss of or damage to                                        Catastrophe Allowance
                “dependent property” caused by or
                                                                                     (1) This Coverage Extension applies
                resulting from a Covered Cause of
                                                                                         when the direct physical loss or
                Loss.
                                                                                         damage to Covered Property is the
            (3) Under this Additional Coverage, the                                      result of an insured event for which
                definition of Extra Expense is replaced                                  Property Claims Service has publicly
                with the following:                                                      designated a catastrophe number to
                 Extra Expense means necessary                                           the event.
                 expenses you incur during the                                       (2) You may extend the insurance
                 “dependent     property    period   of                                  provided under this Coverage Form if
                 restoration” that you would not have                                    the limits provided under C. Limits of
                 incurred if there had been no direct                                    Insurance of Building and Personal
                 physical loss or damage to the                                          Property Coverage Form CP 00 10
                 premises of any “dependent property”                                    are insufficient to compensate you for
                 caused by or resulting from a Covered                                   covered loss or damage you incur as a
                 Cause of Loss:                                                          result of the insured Catastrophe
                 (a) To      avoid     or    minimize       the                          event.



411-0793 04 14            Includes copyrighted materials of Insurance Services Offices, Inc. with its permission       Page 5 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 419632488
                                                                  ZBS  of 217 02 5502701

            (3) This Coverage Extension may not be                                      unmarketable as a complete product
                applied to the deductible amount of                                     because of direct physical loss or
                this policy or any other policy. It also                                damage from a Covered Cause of
                may not be used to cover any loss or                                    Loss to other parts of covered “stock”
                damage that would not be covered                                        in process of manufacture at an
                under this policy.                                                      insured location.
            (4) The most we will pay under this                                    (2) Should it be determined that such
                Extension in any one “occurrence” is                                   “stock” retains only a salvage value,
                $50,000.                                                               we retain the option of paying the full
                 The most we will pay under this                                       value of the “stock” as agreed within
                 Extension during each separate 12                                     this policy, and taking the damaged
                 month period of this policy is $50,000.                               property for salvage purposes.

       8.   Computer and Funds Transfer Fraud                                      (3) Payment      under     this    Coverage
                                                                                       Extension is included within the
            The following is added to A. Coverage,                                     applicable Limit of Insurance .
            Paragraph 4. Additional Coverages of
            Building and Personal Property Coverage                          10. Contract Penalties
            Form CP 00 10:                                                         The following is added to A. Coverage,
            Computer and Funds Transfer Fraud                                      Paragraph 4. Additional Coverages of
                                                                                   Building and Personal Property Coverage
            (1) We will pay for loss of and damage to                              Form CP 00 10:
                "money", “securities" and "other
                property" following and directly related                           Contract Penalties
                to the use of any computer to                                      (1) We will pay for contractual penalties
                fraudulently cause a transfer of that                                  you are required to pay due to your
                property from inside the described                                     failure to provide your product or
                “banking premises”:                                                    service according to contract terms
                 (a) To a person (other than a                                         because of direct physical loss or
                     messenger) outside those banking                                  damage by a Covered Cause of Loss
                     premises; or                                                      to Covered Property.
                 (b) To a place            outside      those                      (2) The most we will pay for all penalties
                     premises.                                                         in any one “occurrence” is $50,000 or
                                                                                       the Limit of Insurance shown in the
            (2) The most we will pay for loss of                                       Amended Limits Section of this
                "money" and "securities" resulting                                     Endorsement.
                directly from a "fraudulent instruction"
                directing a financial institution to                               (3) The amount payable under this
                transfer, pay or deliver "money" and                                   Additional Coverage is additional
                "securities" from      your "transfer                                  insurance.
                account" is $15,000 per “occurrence”                         11. Debris Removal
                or the Limit of Insurance shown in the                             a. A. Coverage Paragraph 4. Additional
                Amended Limits Section of this
                                                                                      Coverages, subparagraph a.(4) of
                Endorsement, regardless of the
                                                                                      Building    and Personal Property
                number of “fraudulent instructions”
                                                                                      Coverage Form CP 00 10 is replaced
                involved.
                                                                                      by the following:
       9.   Consequential Loss to Stock
                                                                                        (4) Debris Removal
            The following is added to A. Coverage,
                                                                                             We will pay up to an additional
            Paragraph 5. Coverage Extensions of
                                                                                             $250,000 for debris removal
            Building and Personal Property Coverage
                                                                                             expense, for each location, in any
            Form CP 00 10:
                                                                                             one “occurrence” of physical loss
            Consequential Loss to Stock                                                      or damage to Covered Property, if
            (1) You may extend the insurance that                                            one or both of the following
                applies to Your Business Personal                                            circumstances apply:
                Property to apply to the reduction in                                        (a) The total of the actual debris
                value of the remaining parts of “stock”                                          removal expense plus the
                in process of manufacture that are                                               amount we pay for direct
                physically undamaged        but are                                              physical loss or damage




411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission     Page 6 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 429632488
                                                                  ZBS  of 217 02 5502701

                          exceeds     the  Limit   of                                          coverage begins; or
                          Insurance on the Covered                                        (b) When your Business             Income
                          Property that has sustained                                         coverage ends;
                          loss or damage.
                                                                                          whichever is earlier.
                    (b) The actual debris removal
                        expense exceeds 25% of the                             13. E-Commerce
                        sum of the deductible plus the                               a. Electronic          Vandalism    –   Direct
                        amount that we pay for direct                                   Damage
                        physical loss or damage to the
                                                                                          (1) A. Coverage, Paragraph 2.
                        Covered Property that has
                        sustained loss or damage.                                             Property       Not     Covered,
                                                                                              subparagraph n. of Building and
                    If (4)(a) and/or (4)(b) apply, our                                        Personal Property Coverage Form
                    total payment for direct physical                                         CP 00 10 is deleted.
                    loss or damage and debris
                    removal expense may reach but                                         (2) A. Coverage, Paragraph 4.
                    will never exceed the Limit of                                            Ad d i ti o n a l  Co vera g es,
                    Insurance     on   the    Covered                                         subparagraph f. of Building and
                    Property that has sustained loss or                                       Personal Property Coverage Form
                    damage, plus $250,000 or the                                              CP 00 10 is replaced by the
                    Limit of Insurance shown in the                                           following:
                    Amended Limits Section of this                                             f.   Electronic  Vandalism         –
                    Endorsement.                                                                    Direct Damage
           b. A. Coverage Paragraph 4. Additional                                                   We cover direct physical loss
              Coverages, subparagraph a.(5) of                                                      or    damage     to     covered
              Building and Personal Property Form                                                   “computer equipment” at the
              CP 00 10 is deleted:                                                                  described premises caused by
       12. Denial of Access to Premises                                                             “electronic vandalism”.
           The following is added to A. Coverage,                                    b. Electronic Vandalism - Interruption
           Paragraph 5. Additional Coverages of                                         of Computer Operations
           Business Income (and Extra Expense)                                            (1) A. Coverage, Paragraph 4.
           Coverage Form CP 00 30 and Business                                                Additional      Limitation     –
           Income (and Extra Expense) Coverage                                                Interruption     of    Computer
           Form – Actual Loss Sustained 411-0581:                                             Operations of Business Income
           Denial of Access to Premises                                                       (and Extra Expense) Coverage
                                                                                              Form CP 00 30 and Business
           (1) We will pay for the actual loss of
                                                                                              Income (and Extra Expense)
               Business Income you sustain and
                                                                                              Coverage – Actual Loss Sustained
               necessary Extra Expense you incur
                                                                                              411-0581 is deleted.
               when ingress to or egress from the
               described premises is prevented, due                                       (2) A. Coverage, Paragraph 5.
               to direct physical loss of or damage to                                        Ad d i ti o n a l  Co vera g es,
               property that is away from but within                                          subparagraph d. of Business
               2000 feet of the described premises,                                           Income (and Extra Expense)
               caused by or resulting from any                                                Coverage Form CP 00 30, and
               Covered Cause of Loss covered under                                            Business Income (and Extra
               this policy.                                                                   Expense) Coverage – Actual Loss
                                                                                              Sustained 411-0581 is replaced by
           (2) The coverage for Business Income will
                                                                                              the following:
               begin 72 hours after the loss or
               damage to the premises that causes                                              d. Electronic   Vandalism     –
               the denial of access and will apply for                                            Interruption of Computer
               a period of up to 30 consecutive days                                              Operations
               after coverage begins.                                                             You may extend the insurance
           (3) The coverage for Extra Expense will                                                that applies to Business
               begin immediately after the loss or                                                Income & Extra Expense to
               damage to the premises that causes                                                 apply to a “suspension” of
               the denial of access and will end:                                                 “operations” caused by an
                                                                                                  interruption  in  computer
                 (a) 30     consecutive         days       after



411-0793 04 14            Includes copyrighted materials of Insurance Services Offices, Inc. with its permission        Page 7 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 439632488
                                                                  ZBS  of 217 02 5502701

                        operations at the described                                     (a) “Computer equipment”; and
                        premises due to “electronic                                     (b) Programming documentation and
                        vandalism”        originating
                                                                                            instruction manuals.
                        anywhere in the world.
                                                                                   (2) We will also cover the necessary extra
                        We will only pay for loss of
                                                                                       expenses you incur to avoid or
                        Business Income or Extra
                                                                                       minimize the suspension of business
                        Expense that occurs during
                                                                                       and to continue “operations” because
                        the “period of restoration”.
                                                                                       of direct physical loss or damage to
           c. The most we will pay for all loss or                                     covered property.
              damage      from      both   Electronic
                                                                                   (3) The following Exclusions do not apply
              Vandalism – Direct Damage and
                                                                                       to this Additional Coverage:
              Electronic Vandalism – Interruption of
              Computer Operations in any one                                            (a) Earth Movement; and
              “occurrence” is $10,000 or the Limit of                                   (b) Water.
              Insurance shown in the Amended
              Limits Section of this Endorsement.                                  (4) We will not pay for any loss to the
                                                                                       following property:
           d. The amount payable under this
              Additional Coverage is additional                                         (a) Property you rent, loan or lease to
              insurance.                                                                    others while it is away from the
                                                                                            described premises; or
           e. Special E-Commerce Exclusions
                                                                                        (b) Property you hold for              sale,
                 We do not cover:                                                           distribute or manufacture.
                 (1) Loss of proprietary use of any                                (5) Payment    under    this    Additional
                     “electronic data” or “proprietary                                 Coverage is included within the Limit
                     programs” that have been copied,                                  of Insurance applicable to your
                     scanned, or altered;                                              Business Personal Property.
                 (2) Loss of or reduction in economic                              (6) Special Electronic Data Processing
                     or market value of any “electronic                                Equipment Exclusions
                     data” or “proprietary programs”
                     that have been copied, scanned,                                    We do not cover:
                     or altered; and                                                    (a) Any extra expense caused by an
                 (3) Theft from your “electronic data”                                      error or omission in programming
                     or “proprietary programs” of                                           or    incorrect  instructions  to
                     confidential information through                                       “hardware”;
                     the observation of the “electronic                                 (b) Direct physical loss to covered
                     data” or “proprietary programs” by                                     property caused by:
                     accessing covered        “computer
                                                                                             (i) “Electrical disturbance”;
                     equipment” without any alteration
                     or other physical loss or damage                                        (ii) “Power supply disturbance;”
                     to the records or programs.                                             (iii) “Computer virus”; or
                     Confidential information includes,
                     but is not limited to, customer                                         (iv) “Computer hacking”.
                     information, processing methods,                         15. Employee Theft                 including   ERISA
                     or trade secrets.                                            Compliance
       14. Electronic Data Processing Equipment                                    The following is added to A. Coverage,
           The following is added to A. Coverage,                                  Paragraph 4. Additional Coverages of
           Paragraph 4. Additional Coverages of                                    Building and Personal Property Coverage
           Building and Personal Property Coverage                                 Form CP 00 10:
           Form CP 00 10:                                                          Employee Theft                including   ERISA
           Electronic Data Processing Equipment                                    Compliance
           (1) We will pay for direct physical loss or                             (1) We will pay for loss or damage to
               damage to the following Covered                                         “money”,    “securities” and “other
               Property which is your property or                                      property” resulting directly from “theft”
               property in your care, custody or                                       committed by an “employee”, clergy, or
               control:                                                                any non-compensated person whether
                                                                                       identified or not, acting alone



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission          Page 8 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 449632488
                                                                  ZBS  of 217 02 5502701

                 or in collusion with other persons.                                     shown in the Amended Limits Section
                 For the purposes of this Additional                                     of this Endorsement. Regardless of
                 Coverage, “theft” shall also include                                    the number of years this policy
                 “forgery”.                                                              remains in force or the number of
                                                                                         premiums paid, no Limit of Insurance
           (2) This Additional Coverage terminates                                       cumulates from year to year.
               as to any “employee” as soon as:
                                                                                    (7) The amount payable under this
                 (a) You; or                                                            Additional Coverage is additional
                 (b) Any of your partners, “members”,                                   insurance.
                     “managers”, officers, directors or                             (8) Special Employee Theft Exclusions
                     trustees not in collusion with the
                     “employee”;                                                         We will not pay for:

                 “Discovered” the “theft” or any other                                   (a) Loss resulting from “theft” or any
                 dishonest act committed by the                                              other dishonest act committed by:
                 “employee” whether before or after                                           (i) You; or
                 becoming employed by you.                                                    (ii) Any of your       partners    or
           (3) Under this Additional              Coverage,                                        “members”;
               “occurrence” means:                                                            Whether acting alone or             in
                 (a) An individual act;                                                       collusion with other persons.
                 (b) The combined total of all separate                                  (b) Loss caused by an “employee” if
                     acts whether or not related; or                                         the     “employee”      has     also
                 (c) A series of acts whether or not                                         committed “theft” or any other
                     related;                                                                dishonest act prior to the effective
                                                                                             date of this policy and you or any
                 Committed by an “employee” acting                                           of your partners, “managers”,
                 alone or in collusion with other                                            officers, directors or trustees, not
                 persons, during the policy period,                                          in collusion with the “employee”,
                 before such policy period or both.                                          learned of that “theft” or dishonest
           (4) We will pay only for loss you sustain                                         act prior to the policy period
               through acts committed or events                                              shown in the Declarations.
               occurring     anytime     which    is                                     (c) Loss resulting from “theft” or any
               “discovered” by you:                                                          other dishonest act committed by
                 (a) During the policy period; or                                            any    of    your    “employees”,
                                                                                             “managers”, directors, trustees or
                 (b) No later than 1 year from the date
                                                                                             authorized representatives:
                     of termination or cancellation of
                     this insurance. However this                                             (i) Whether acting alone or in
                     extended period to “discover” loss                                           collusion with other persons;
                     terminates immediately upon the                                              or
                     effective date of any other                                              (ii) While performing services for
                     insurance obtained by you,                                                    you or others;
                     whether from us or another
                     insurer, replacing in whole or in                                        Except when covered under this
                     part the coverage afforded under                                         Additional Coverage.
                     this Additional Coverage, whether                                   (d) Loss that is an indirect result of
                     or not such other insurance                                             an “occurrence” covered by this
                     provides     coverage   for   loss                                      Additional Coverage, including,
                     sustained prior to its effective                                        but not limited to, loss resulting
                     date.                                                                   from:
           (5) You may extend this coverage to apply                                          (i) Your inability to realize income
               to loss caused by any “employee”                                                   that you would have realized
               while   temporarily     outside    the                                             had there been no loss of or
               Coverage Territory for a period of not                                             damage          to      “money”,
               more than 90 days.                                                                 “securities”       or       “other
           (6) The most we will pay for all loss                                                  property”;
               resulting directly from an “occurrence”                                        (ii) Payment of damages of any
               is $100,000 or the Limit of Insurance                                               type for which you are legally
                                                                                                   liable;


411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission        Page 9 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 459632488
                                                                  ZBS  of 217 02 5502701

                     (iii) Payment of costs, fees or                                         Additional Coverage, you or the
                           other expenses you incur in                                       Plan Administrator must select a
                           establishing   either   the                                       Limit of Insurance for this
                           existence or the amount of                                        Additional Coverage that is
                           loss under this Additional                                        sufficient to provide a Limit of
                           Coverage.                                                         Insurance for each Plan that is at
                 (e) Fees,     costs    and expenses                                         least equal to that required if each
                                                                                             Plan were separately insured.
                     incurred by you which are related
                     to any legal action.                                               (c) With respect to loss sustained or
                 (f) Loss or that part of any loss, the                                     “discovered” by any such Plan,
                     proof of which as to its existence                                     Paragraph (1) above is replaced
                     or amount is dependent upon                                            with the following:

                     (i) An inventory computation; or                                        We will pay for loss of or damage
                                                                                             to “funds” and “other property”
                     (ii) A profit and loss computation.                                     resulting directly from fraudulent
                     However, where you establish                                            or dishonest acts committed by an
                     wholly    apart     from     such                                       “employee”, whether identified or
                     computations that you have                                              not, acting alone or in collusion
                     sustained a loss, then you may                                          with other persons.
                     offer your inventory records and                                   (d) If the first Named Insured is an
                     actual physical count of inventory                                     entity other than a Plan, any
                     in support of the amount of loss                                       payment we make for loss
                     claimed.                                                               sustained by any Plan will be
                 (g) Loss resulting from trading,                                           made to the Plan sustaining the
                     whether in your name or in a                                           loss.
                     genuine or fictitious account.                                     (e) If two or more Plans are insured
                 (h) Loss resulting from fraudulent or                                      under this Additional Coverage,
                     dishonest     signing,    issuing,                                     any payment we make for loss:
                     canceling or failing to cancel, a                                       (i) Sustained by two or more
                     warehouse receipt or any papers                                             Plans; or
                     connected with it.
                                                                                             (ii) Of commingled “funds” or
                 (i) Loss resulting from:                                                         “other property” of two or more
                     (i) The unauthorized disclosure                                              Plans;
                         of     your        conf idential                                    Resulting from an “occurrence”,
                         information including, but not                                      will be made to each Plan
                         limited to, patents, trade                                          sustaining loss in the proportion
                         secrets, processing methods                                         that the Limit of Insurance
                         or customer lists; or                                               required for each Plan bears to the
                     (ii) The unauthorized use or                                            total Limit of Insurance of all
                          disclosure     of    confidential                                  Plans sustaining loss.
                          information of another person                                 (f) The Deductible does not apply to
                          or entity which is held by you                                    this Additional Coverage.
                          including, but not limited to,
                                                                              16. Employee Tools and Work Clothing
                          financial information, personal
                          information,      credit    card                         The following is added to A. Coverage,
                          information or similar no                                Paragraph 4. Additional Coverages of
                          public information.                                      Business and Personal Property Coverage
           (9) Welfare and Pension Plan ERISA                                      Form CP 00 10:
               Compliance                                                          Employee Tools and Work Clothing
                 (a) The “employee benefit plan”                                   (1) We will pay for direct physical loss of
                     (hereafter referred to as Plan) is                                or damage to tools and work clothing
                     included as an insured under this                                 of your “employees” damaged by a
                     Additional Coverage.                                              Covered Cause of Loss while such
                 (b) If any Plan is insured jointly with                               tools and work clothing are located at
                                                                                       an insured location, your job sites or
                     any other entity under this
                                                                                       while “in transit” to and from your job



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission     Page 10 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 469632488
                                                                  ZBS  of 217 02 5502701

                 sites, while in your vehicle.                                                (ii) 180 consecutive days after the
           (2) The most we will pay for loss or                                                    date determined in (1)(a)
               damage      under     this  Additional                                              above.
               Coverage is $25,000 per “occurrence”                                 (2)(b)    Ends on the earlier of:
               or the Limit of Insurance shown in the
                                                                                              (i) The date you could restore
               Amended Limits Section of this
                                                                                                  tenant     occupancy,     with
               Endorsement, but not more than $500
                                                                                                  reasonable speed, to the level
               for any one tool or item of clothing.
                                                                                                  which would general the
               The amount payable under this
                                                                                                  “Rental Value” that would
               Additional Coverage is additional
                                                                                                  have existed if no direct
               insurance.
                                                                                                  physical loss or damage had
           (3) The Coinsurance condition does not                                                 occurred; or
               apply to this Additional Coverage.
                                                                                              (ii) 180 consecutive days after the
       17. Expediting Expense                                                                      date determined in (2)(a)
           The following is added to A. Coverage,                                                  above.
           Paragraph 4. Additional Coverages of                                19. Extended Coverage              on    Property   –
           Building and Personal Property Coverage                                 within 2000 feet
           Form CP 00 10:
                                                                                    Under the Building and Personal Property
           Expediting Expense                                                       Coverage Form CP 00 10, Business
           (1) When a Covered Cause of Loss                                         Income (and Extra Expense) Coverage
               occurs to Covered Property, we will                                  Form CP 00 30 and Business Income (and
               pay for the reasonable and necessary                                 Extra Expense) Coverage Form – Actual
               additional expenses you incur to:                                    Loss Sustained 411-0581 all provisions
                                                                                    that limit the location of property to “within
                 (a) Make temporary repairs;                                        100 feet” of a described premise are
                 (b) Expedite permanent repair or                                   replaced with “within 2000 feet” of a
                     replacement of damaged property;                               described premise.
                     or                                                        20. Extra Expense
                 (c) Provide training on replacement                                The following is added to A. Coverage,
                     machines or equipment.                                         Paragraph 4. Additional Coverages of
           (2) The most we will pay for loss under                                  Building and Personal Property Coverage
               this Additional Coverage in any one                                  Form CP 00 10:
               “occurrence” is $50,000 or the Limit of                              Extra Expense
               Insurance shown in the Amended
               Limits Section of this Endorsement.                                  (1) When a Covered Cause of Loss
                                                                                        occurs to Covered Property at a
           (3) The amount payable under this                                            location described in the declarations,
               Additional Coverage is additional                                        we will pay for the reasonable and
               insurance.                                                               necessary extra expense you incur to
       18. Extended Business Income                                                     continue as nearly as possible your
                                                                                        normal business operations following
           A. Coverage, Paragraph 5. Additional
                                                                                        the covered loss or damage.
           Coverages, subparagraphs c.(1)(b) and
           (2)(b) of Business Income (and Extra                                     (2) The most we will pay for loss under
           Expense) Coverage Form CP 00 30 and                                          this Additional Coverage in any one
           Business Income (and Extra Expense)                                          “occurrence” is $300,000 or the Limit
           Coverage form – Actual Loss Sustained                                        of Insurance shown in the Amended
           411-0581 are replaced by the following:                                      Limits Section of this Endorsement.
           (1)(b)    Ends on the earlier of:                                        (3) The amount payable under this
                                                                                        Additional Coverage is additional
                     (i) The date you could restore
                                                                                        insurance.
                         your     “operations”,     with
                         reasonable speed, to the level                             (4) No deductible applies to this coverage.
                         which would generate the                              21. Fire Protection Equipment Recharge
                         business income amount that
                         would have existed if no direct                            The following is added to A. Coverage,
                         physical loss or damage had                                Paragraph 4. Additional Coverages of
                         occurred; or                                               Building and Personal Property Coverage



411-0793 04 14           Includes copyrighted materials of Insurance Services Offices, Inc. with its permission        Page 11 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 479632488
                                                                  ZBS  of 217 02 5502701

           Form CP 00 10:                                                               Paragraphs (1)(a) through (1)(d),
           Fire Protection Equipment Recharge                                           including Business Income is $25,000
                                                                                        or the Limit of Insurance shown in the
           (1) We will pay expenses you incur to                                        Amended Limits Section of this
               recharge or refill your fire protection                                  Endorsement.
               equipment due to the leakage or
               discharge:                                                               The most we will pay for all loss under
                                                                                        Paragraph (1)(e) is $3,000 or the Limit
                 (a) To prevent or control loss;                                        of Insurance shown in the Amended
                 (b) Accidentally; or                                                   Limits Section of this Endorsement.
                 (c) As a result of malfunction of the                             (3) Special   Food            Contamination
                     equipment.                                                        Exclusion
           (2) The Deductible does not apply to this                                    We will not pay any fines or penalties
               Additional Coverage. Payment under                                       levied against you by the Board of
               this Additional Coverage is included                                     Health or any other governmental
               within the applicable Limit        of                                    authority as a result of the discovery of
               Insurance.                                                               food contamination at the described
                                                                                        premises.
       22. Food Contamination
                                                                              23. Forgery or Alteration
           The following is added to A. Coverage,
           Paragraph 5. Coverage Extensions of                                     The following is added to A. Coverage,
           Building and Personal Property Coverage                                 Paragraph 4. Additional Coverages of
           Form CP 00 10:                                                          Building and Personal Property Coverage
                                                                                   Form CP 00 10:
           Food Contamination
                                                                                   Forgery or Alteration
           (1) If your business at the described
               premises is ordered closed by the                                   (1) We will pay for loss resulting directly
               Board of Health or any other                                            from “forgery” or alteration of checks,
               governmental authority as a result of                                   credit cards, debit cards, charge
               the discovery of “food contamination”,                                  cards, drafts, promissory notes, or
               we will pay:                                                            similar written promises, orders or
                                                                                       directions to pay a sum certain in
                 (a) Your expense to clean your
                                                                                       “money” that are:
                     equipment as required by the
                     Board of Health or any other                                       (a) Made or drawn by or drawn upon
                     governmental authority;                                                you; or
                 (b) Your cost to replace the food                                      (b) Made or drawn by one acting as
                     which is, or is suspected to be                                        your agent;
                     contaminated;                                                      or that are purported to have been
                 (c) Your     expense    to    provide                                  made or drawn.
                     necessary medical      tests or                               (2) If you are sued for refusing to pay any
                     vaccinations for your infected                                    instrument covered in paragraph (1)
                     “employees”. However, we will not                                 above, on the basis that it has been
                     pay for any expense that is                                       forged or altered, and you have our
                     otherwise   covered    under    a                                 written consent to defend against the
                     Workers’ Compensation Policy;                                     suit, we will pay for any reasonable
                 (d) The loss of Business Income you                                   legal expenses that you incur and pay
                     sustain due to the necessary                                      in that defense.
                     “suspension” of your “operations”.                            (3) Under this Additional Coverage, any
                     The coverage       for    Business                                loss:
                     Income will begin 24 hours after
                     you receive notice of closing from                                 (a) Caused by any one or more
                     the Board of Health or any other                                       persons; or
                     governmental authority; and                                        (b) Involving a single act or series of
                 (e) Additional Advertising expenses                                        related acts;
                     you incur to restore your                                           is considered one “occurrence”
                     reputation.                                                         regardless of the number of checks,
            (2) The most we will pay for all loss under                                  credit cards, debit cards, charge
                                                                                         cards, drafts, promissory notes, or



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission     Page 12 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 489632488
                                                                  ZBS  of 217 02 5502701

                 similar written promises, orders or                                    (2) The most we will pay for loss
                 directions involved.                                                       under this Coverage Extension is
           (4) Special “Forgery”            or    Alteration                                the applicable building Limit of
               Exclusion                                                                    Insurance.

                 This Additional Coverage does not                                      (3) Payment under this Addition
                 apply to:                                                                  Coverage is included within the
                                                                                            applicable Limit of Insurance.
                 Loss arising from any credit, debit or
                 charge card if you have not complied                              b. A. Coverage, Paragraph 2. Property
                 fully with the provisions, conditions or                             Not Covered, subparagraphs f., g.,
                 other terms under which the card was                                 and m. of Building and Personal
                 issued.                                                              Property Coverage Form CP 00 10, do
                                                                                      not apply to this coverage.
           (5) The most we will pay for loss,
               including legal expenses, resulting                            25. International Air Shipments
               directly from an “occurrence” under                                 The following is added to A. Coverage,
               this Additional Coverage is $30,000 or                              Paragraph 5. Coverage Extensions of
               the Limit of Insurance shown in the                                 Building and Personal Property Coverage
               Amended Limits Section of this                                      Form CP 00 10:
               Endorsement, but not more than
               $1,000 for any loss arising from any                                International Air Shipments
               credit, debit or charge card forgery or                             (1) You may extend the insurance that
               “Alteration”. Regardless of the number                                  applies to your Business Personal
               of years this policy remains in force or                                Property and Personal Property of
               the number or premiums paid, no Limit                                   Others that we ship to apply to that
               of Insurance cumulates from year to                                     property; while being shipped by air:
               year. The Deductible does not apply to                                   (a) Anywhere within the Coverage
               this Additional Coverage.                                                    Territory to or from a location
           (6) The amount payable under this                                                outside of the coverage territory;
               Additional Coverage is additional                                            or
               insurance.                                                               (b) Between locations outside of the
       24. Foundations & Underground Pipes                                                  coverage territory;
           a. The following is added to A.                                         (2) This coverage extension only applies
              Coverage, Paragraph 5. Coverage                                          to the shipment of your property which
              Extensions of Building and Personal                                      originates and terminates at a location
              Property Coverage Form CP 00 10:                                         specified in the air waybill.
                 Foundations & Underground Pipes                                   (3) The most we will pay for loss or
                                                                                       damage under this Extension in any
                 (1) You may extend the insurance
                                                                                       one “occurrence” is $50,000 or the
                     that applies to Building to apply to
                                                                                       Limit of Insurance shown in the
                     loss or damage to:
                                                                                       Amended Limits Section of this
                     (a) Foundations       of   buildings,                             Endorsement.
                         structures,     machinery      or
                                                                                   (4) Special International Air Shipments
                         boilers if their foundations are
                                                                                       Exclusion
                         below:
                                                                                        This Extension does not apply to:
                         (i) The lowest            basement
                             floor; or                                                  Business Personal Property if there is
                                                                                        other insurance in force covering the
                         (ii) The surface of the
                                                                                        same loss.
                              ground, if there is no
                              basement;                                       26. Inventory & Loss Appraisal
                     (b) Underground pipes, flues and                              The following is added to A. Coverage,
                         drains; and                                               Paragraph 5. Coverage Extensions of
                                                                                   Building and Personal Property Coverage
                     (c) The cost of excavating,
                                                                                   Form CP 00 10:
                         grading, backfilling or filling
                                                                                   Inventory and Loss Appraisal
                     when such loss or damage is
                     caused by a Covered Cause of                                  (1) We will pay all reasonable expenses
                     Loss.                                                             you incur at our request to assist us in:



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission    Page 13 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 499632488
                                                                  ZBS  of 217 02 5502701

                 (a) The investigation of a claim;                                      (c) Rekeying,       replaci ng     or
                 (b) The determination of the amount                                        reprogramming undamaged locks
                     of loss, such as taking inventory;                                     to accept new keys or entry codes
                     or                                                                     when the building security has
                                                                                            been compromised.
                 (c) The cost of preparing specific loss
                     documents and other supporting                                (2) The most we will pay under this
                     exhibits.                                                         Extension is $20,000 or the Limit of
                                                                                       Insurance shown in the Amended
           (2) Expenses you incur include costs                                        Limits Section of this Endorsement.
               charged to you by others, including                                     The Deductible does not apply to this
               property managers, acting on your                                       Extension.
               behalf to assist us with item (1) above.
                                                                              28. Lease Cancellation
           (3) The Deductible does not apply to this
                                                                                   The following is added to A. Coverage,
               Extension.
                                                                                   Paragraph 4. Additional Coverages of
           (4) Regardless of the number of                                         Building and Personal Property Coverage
               described premises involved, the most                               Form CP 00 10:
               we will pay under this Extension for
               loss or damage in any one                                           Lease Cancellation
               “occurrence” is $250,000 or the Limit                               (1) We will pay the actual loss of business
               of Insurance shown in the Amended                                       income you sustain due to the
               Limits Section of this Endorsement.                                     cancellation of a lease by your tenants
           (5) Special    Inventory            and       Loss                          in a Covered Building due to
               Appraisal Exclusions                                                    untenantability that is caused by direct
                                                                                       physical loss or damage to that
                 We will not pay for expenses:                                         building from a Covered Cause of
                 (a) Incurred to perform your duties in                                Loss.
                     the event of loss under E. Loss                                    This Additional Coverage only applies
                     Conditions of Building and                                         if at the time of loss the building was
                     Personal Property Coverage Form                                    occupied and business was being
                     CP 00 10;                                                          conducted by the tenant canceling the
                 (b) To prove that loss or damage is                                    lease or their sub-lessee; or a lease
                     covered;                                                           was signed but the building was not
                                                                                        yet occupied by the tenant.
                 (c) Billed   by and payable to
                     independent or public adjusters,                              (2) We will pay for loss of business
                     attorneys or any of their affiliated                              income that you sustain after
                     or associated entities;                                           tenantability is restored and until the
                                                                                       earlier of:
                 (d) To prepare claims not covered by
                     this policy; or                                                    (a) The date you lease the premises
                                                                                            to another tenant; or
                 (e) Incurred under any Appraisal
                     provisions within the policy.                                      (b) 12 months immediately following
                                                                                            the “period of restoration”.
       27. Key Replacement & Lock Repair
                                                                                   (3) The amount payable under this
           The following is added to A. Coverage,                                      Additional Coverage is additional
           Paragraph 5. Coverage Extensions of                                         insurance.
           Building and Personal Property Coverage
           Form CP 00 10:                                                          (4) Regardless of the number of tenants
                                                                                       canceling a lease at the described
           Key Replacement & Lock Repair                                               premises, the most we will pay under
           (1) You may extend the insurance                                            this Additional Coverage is $50,000
               provided under this Coverage Form to                                    per “occurrence” or the Limit of
               cover the reasonable and necessary                                      Insurance shown in the Amended
               expense you incur due to a covered                                      Limits Section of this Endorsement.
               “theft” for:                                                        (5) Special    Lease               Cancellation
                 (a) Replacement of keys if they are                                   Exclusions
                     stolen;                                                            We will not pay for:
                 (b) Lock repair; or                                               (a) Lease cancelled           after the “period



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission        Page 14 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 509632488
                                                                  ZBS  of 217 02 5502701

                     of restoration”;                                               Marring & Scratching
                 (b) Lease cancelled, suspended or                                  (1) You may extend the insurance that
                     allowed to lapse by you;                                           applies to Business Personal Property
                 (c) Return of pre-paid rent or security                                to apply to damage caused directly by
                     and other deposits made by                                         sudden and accidental marring and
                     tenants; or                                                        scratching of:
                 (d) Lease cancelled at the normal                                       (a) Your “stock”;
                     expiration date.                                                    (b) Your printing plates; or
       29. Leasehold Interest – Tenants                                                  (c) Property of others that is in your
           The following is added to A. Coverage,                                            care, custody or control.
           Paragraph 4. Additional Coverages, of                                    (2) This Extension does not apply to:
           Building and Personal Property Coverage                                       (a) Property at other than               the
           Form CP 00 10:                                                                    described premises; or
           Leasehold Interest – Tenants                                                  (b) Property in transit.
           (1) We will pay for the loss of prepaid rent                             (3) Payment under this Extension is
               you sustain due to the cancellation of                                   included within Limit of Insurance
               your written lease. The cancellation                                     applicable to your Business Personal
               must result from direct physical loss or                                 Property.
               damage to property at the premises
               described in the Declarations caused                            31. Money & Securities
               by or resulting from any Covered                                     The following is added to A. Coverage,
               Cause of Loss.                                                       Paragraph 4. Additional Coverages of
           (2) This Additional Coverage only applies                                Building and Personal Property Coverage
               if at the time of loss you were                                      Form CP 00 10:
               occupying and conducting business at                                 Money & Securities
               the described premises.
                                                                                    (1) We will pay for loss of “money” and
           (3) The amount payable under this                                            “securities” while:
               Additional Coverage is additional
               insurance.                                                                (a) Inside the described premises;

           (4) The most we will pay for loss in any                                      (b) At a “banking premises”;
               one “occurrence” is the lesser of:                                        (c) Temporarily within your living
                 (a) The unused pro-rata portion of                                          quarters or the living quarters of
                     prepaid rent based on the period                                        any other member, volunteer; or
                     of time remaining in your lease,                                    (d) “employee” having use               and
                     which you have paid at the                                              custody of the property; or
                     described premises where your                                       (e) “In transit” between (1)(a), (1)(b),
                     lease was cancelled; or
                                                                                             or (1)(c)
                 (b) $150,000 or the Limit of Insurance
                                                                                         that results directly from:
                     shown in the Amended Limits
                     Section of this Endorsement.                                        (f) “theft”; or
           (5) Special          Leasehold             Interest                           (g) Disappearance or destruction.
               Exclusion                                                            (2) Under this Additional Coverage, all
                 We will not pay for:                                                   loss:
                 (a) Lease cancelled, suspended or                                       (a) Caused by one or more persons;
                     allowed to lapse by you; or                                             or
                 (b) Lease cancelled at the normal                                       (b) Involving a single act or series of
                     expiration date.                                                        related acts;
       30. Marring & Scratching                                                          is considered one “occurrence”.
            The following is added to A. Coverage,                                  (3) You must keep records of all “money”
            Paragraph 5. Coverage Extensions of                                         and “securities” so we can verify the
            Building and Personal Property Coverage                                     amount of any one loss or damage.
            Form CP 00 10:                                                          (4) The      amount       payable   under    this




411-0793 04 14           Includes copyrighted materials of Insurance Services Offices, Inc. with its permission         Page 15 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 519632488
                                                                  ZBS  of 217 02 5502701

                 Additional    Coverage         is    additional                    (3) The amount payable under this
                 insurance.                                                             Additional Coverage is additional
           (5) The most we will pay for loss in             any                         insurance.
               one “occurrence” is $25,000 or                the               33. Newly    Acquired              or    Constructed
               Limit of Insurance shown in                   the                   Property
               Amended Limits Section of                    this
                                                                                    A. Coverage, Paragraph 5. Coverage
               Endorsement.
                                                                                    Extensions, subparagraph a. of Building
           (6) Special   Money              &        Securities                     and Personal Property Coverage Form CP
               Exclusions                                                           00 10 is replaced by the following:
                 We will not pay for loss:                                          a. Newly Acquired              or   Constructed
                 (a) Resulting from accounting                or                       Property
                     arithmetic errors or omissions;                                     (1) Buildings
                 (b) Resulting    from    giving  or                                          If this policy covers Building, you
                     surrendering of property in any                                          may extend that insurance to
                     exchange or purchase; or                                                 apply to:
                 (c) Of property contained in any                                             (a) Your new buildings while
                     money-operated device unless the                                             being built on the described
                     amount of “money” deposited in it                                            premises; and
                     is recorded by a continuous
                                                                                              (b) Buildings you acquire at
                     recording instrument in the device.
                                                                                                  locations, other than the
                 (d) Loss or damage to "money" and                                                described premises, intended
                     "securities" following and directly                                          for:
                     related to the use of any computer
                                                                                                   (i) Similar use as the building
                     to fraudulently cause a transfer of
                                                                                                       described        in     the
                     that property from inside the
                                                                                                       Declarations; or
                     described “banking premises”:
                                                                                                   (ii) Use as a warehouse.
                     (i) To a person (other than a
                         messenger) outside those                                             The most we will pay for loss or
                         premises; or                                                         damage under this Extension is
                                                                                              $2,000,000 at each building or the
                     (ii) To a place outside those
                                                                                              Limit of Insurance shown in the
                          premises.
                                                                                              Amended Limits Section of this
       32. Money Orders & Counterfeit Money                                                   Endorsement.
           The following is added to A. Coverage,                                        (2) Business Personal Property
           Paragraph 4. Additional Coverages of
                                                                                              (a) If this policy covers Your
           Building and Personal Property Coverage
                                                                                                  Business Personal Property,
           Form CP 00 10:
                                                                                                  you    may     extend  that
           Money Orders & Counterfeit Money                                                       insurance to apply to:
           (1) We will pay for loss resulting directly                                             (i) Business         personal
               from your having accepted in good                                                       property, including such
               faith, in exchange for merchandise,                                                     property that you newly
               “money” or services:                                                                    acquire, at any location
                 (a) Money orders issued by any post                                                   you acquire other than at
                     office, express company or bank                                                   fairs, trade shows or
                     that    are    not  paid   upon                                                   exhibitions;
                     presentation; or                                                              (ii) Business          personal
                 (b) “Counterfeit   money” that is                                                      property, including such
                     acquired during the regular course                                                 property that you newly
                     of business.                                                                       acquire, located at your
                                                                                                        newly     constructed   or
           (2) The most we will pay for loss in             any                                         acquired buildings at the
               one “occurrence” is $25,000 or                the                                        location described in the
               Limit of Insurance shown in                   the                                        Declarations; or
               Amended Limits Section of                    this
               Endorsement.                                                                        The most we will pay for loss
                                                                                                   or   damage     under this



411-0793 04 14           Includes copyrighted materials of Insurance Services Offices, Inc. with its permission         Page 16 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 529632488
                                                                  ZBS  of 217 02 5502701

                         Extension is $1,000,000 at                                Extension of Business Income (and Extra
                         each building or the Limit of                             Expense) Coverage Form CP 00 30 and
                         Insurance shown in the                                    Business Income (and Extra Expense)
                         Amended Limits Section of                                 Coverage Form – Actual Loss Sustained
                         this Endorsement.                                         411-0581, Newly Acquired Locations is
                     (b) This Extension does not apply                             replaced by the following:
                         to:                                                       Newly Acquired Locations
                         (i) Personal     property   of                            a. You may extend your Business
                             others that is temporarily                               Income and Extra Expense Coverages
                             in your possession in the                                to apply to property at any location you
                             course of installing or                                  acquire other than fairs or exhibitions.
                             performing work on such
                                                                                   b. The most we will pay under this
                             property; or
                                                                                      Extension, for the sum of Business
                         (ii) Personal    property    of                              Income loss and Extra Expense
                              others that is temporarily                              incurred, is $250,000 at each location
                              in your possession in the                               or the Limit of Insurance shown in the
                              c ou r se     of      your                              Amended Limits Section of this
                              m anuf act uri ng       or                              Endorsement.
                              wholesaling activities.
                                                                                   c. Insurance under this Extension for
                 (3) This insurance may not be used to                                each newly acquired location will end
                     increase your Business Personal                                  when any of the following first occurs:
                     Property Limit. It does not apply to
                                                                                        (1) This policy expires;
                     personal property you acquire as
                     part of your usual customary                                       (2) 180 days expire after you acquire
                     business dealings whether or not                                       or begin to construct the property;
                     such acquisition was related to                                        or
                     anticipated seasonal demands.                                      (3) You report values to us.
                     Under the terms of this policy,
                     such property is not considered                                    We will charge you additional premium
                     newly acquired, but falls within the                               for values reported from the date you
                     provisions for Business Personal                                   acquire the property.
                     Property.                                                35. Non-Owned Detached Trailers
                 (4) Period of Coverage                                            A. Coverage, Paragraph 5. Coverage
                     With      respect to    insurance                             Extensions, subparagraph f. Non-Owned
                     provided under this Coverage                                  Detached Trailers, item (3) of Building
                     Extension for newly Acquired or                               and Personal Property Coverage Form CP
                     Constructed Property, coverage                                00 10 is replaced by the following:
                     will end when any of the following                            (3) The most we will pay for loss or
                     first occurs:                                                     damage under this Extension is
                     (a) This policy expires;                                          $25,000, or the Limit of Insurance
                                                                                       shown in the Amended Limits Section
                     (b) 180 days after you acquire the                                of this Endorsement.
                         property or begin construction
                         of that part of the building that                    36. Ordinance or Law
                         would qualify as covered                                  The following is added to A. Coverage,
                         property; or                                              Paragraph 4. Additional Coverages of
                     (c) You report values to us.                                  Building and Personal Property Coverage
                                                                                   Form CP 00 10:
                     We will charge you additional
                     premium for values reported from                              Ordinance or Law
                     the date you acquire the property                             (1) This Additional Coverage applies only
                     or begin construction of that part                                to buildings which are insured on a
                     of the building that would qualify                                Replacement Cost basis.
                     as covered property.
                                                                                   (2) Application of Coverage
       34. Newly Acquired Locations – Business
                                                                                        This Additional Coverage applies only
           Income & Extra Expense
                                                                                        if both (a) and (b) below are satisfied
            A. Coverage, Paragraph 6. Coverage                                          and are then subject to the



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission     Page 17 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 539632488
                                                                  ZBS  of 217 02 5502701

                 qualifications set forth in (c).                                               of     Construction     Coverage.
                 (a) The Ordinance or Law:                                                      Instead, we will only pay the
                                                                                                proportion that covered direct
                      (i) Regulates the construction or                                         physical damage bears to the total
                          repair of a building or                                               direct physical damage.
                          structure,    or   establishes
                                                                                                 However, if the covered direct
                          zoning     or    land      use
                                                                                                 physical damage alone would
                          requirements at the described
                                                                                                 have resulted in enforcement of
                          premises;
                                                                                                 the ordinance or law, then we will
                      (ii) Requires the demolition of                                            pay the full amount of the loss
                           undamaged      parts  of    a                                         otherwise payable under the terms
                           covered building or structure                                         of Coverage for Loss or Damage
                           that is damaged or destroyed                                          to the Undamaged Portion of the
                           by a Covered Cause of Loss;                                           Building,    Demolition      Cost
                           and                                                                   Coverage or Increased Cost of
                      (iii) Is in force at the time of loss.                                     Construction Coverage.
                 But coverage under this Additional                                   (3) We will not pay under this Additional
                 Coverage applies only in response to                                     Coverage for the costs associated with
                 the minimum requirements of the                                          the enforcement of any ordinance or
                 ordinance or law. Losses and costs                                       law which requires an insured or
                 incurred     in    complying     with                                    others to test for, monitor, clean up,
                 recommended actions or standards                                         remove, contain, treat, detoxify or
                 that exceed actual requirements are                                      neutralize, or in any way respond to,
                 not covered under this coverage.                                         or assess the effects of “pollutants”.
                 (b) (i)   The building sustains direct                               (4) Coverage
                           physical damage that is                                         (a) Loss to Undamaged Portion of
                           covered under this Policy and                                       the Building
                           such damage results in
                                                                                                 With respect to the building that
                           enforcement of or compliance
                                                                                                 has sustained covered direct
                           with the ordinance or law; or
                                                                                                 physical damage; we will pay for
                      (ii) The building sustains both                                            the loss in value of the
                           direct physical damage that is                                        undamaged portion of the building
                           covered under this Policy and                                         as a consequence of enforcement
                           direct physical damage that is                                        of an ordinance or law that
                           not covered under this Policy,                                        requires demolition of undamaged
                           and the building damage in its                                        parts of the same building.
                           entirety results in enforcement                                       Coverage for Loss to the
                           of or compliance with the                                             Undamaged      Portion    of  the
                           ordinance or law.                                                     Building is included within the
                    (iii) But if the building sustains                                           Limit of Insurance shown in the
                          both direct physical damage                                            Declarations as applicable to the
                          that is covered under this                                             covered building. Coverage does
                          Policy and direct physical                                             not increase the Limit          of
                          damage that is not covered                                             Insurance.
                          under this Policy, and the                                       (b) Demolition Cost
                          damage that is not covered is
                                                                                                 With respect to the building that
                          the subject of the ordinance or
                                                                                                 has sustained covered direct
                          law, then there is no coverage
                                                                                                 physical damage, we will pay the
                          under       this     Additional
                                                                                                 cost to demolish and clear the site
                          Coverage.
                                                                                                 of the undamaged parts of the
                 (c) In the situation described in (b)(ii)                                       same building, as a consequence
                     above, we will not pay the full                                             of enforcement of an ordinance or
                     amount of loss otherwise payable                                            law that requires demolition of
                     under the terms of coverages for                                            such undamaged property.
                     Coverage for Loss to Undamaged
                                                                                                 The     Coinsurance    Additional
                     portion of the Building, Demolition
                                                                                                 Condition does not apply to
                     Cost Coverage or Increased Cost
                                                                                                 Demolition Cost Coverage.



411-0793 04 14             Includes copyrighted materials of Insurance Services Offices, Inc. with its permission     Page 18 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 549632488
                                                                  ZBS  of 217 02 5502701

                 (c) Increased Cost of Construction                                                     but not for more than the
                     With respect to the building that                                                  amount it would cost to
                     has sustained covered direct                                                       restore the building on the
                     physical damage; we will pay the                                                   same premises and to the
                     increased cost to:                                                                 same height, floor area,
                                                                                                        style and comparable
                     (i) Repair       or   reconstruct                                                  quality of the original
                         damaged portions of that                                                       property insured; or
                         buildings; and/or
                                                                                                   2) The Limit of Insurance
                     (ii) Reconstruct      or     remodel                                             shown in the Declarations
                          undamaged portions of that                                                  as applicable to the
                          building, whether or not                                                    covered building.
                          demolition is required;
                                                                                              (ii) If the property is not repaired
                     When the increased cost is a                                                  or replaced, we will not pay
                     consequence of enforcement of or                                              more than the lesser of:
                     compliance with the minimum
                     requirements of the ordinance or                                              1) The actual cash value of
                     law.                                                                             the building; or
                     However:                                                                      2) The Limit of Insurance
                                                                                                      shown in the Declarations
                     This coverage applies only if the                                                as applicable to the
                     restored or remodeled property is                                                covered building.
                     intended for similar occupancy as
                     the current property, unless such                                  (c) The most we will pay for the total
                     occupancy is not permitted by                                          of   all  covered      losses for
                     zoning or land use ordinance or                                        Demolition Cost and Increased
                     law.                                                                   Cost of Construction is the Limit of
                                                                                            Insurance shown below. Subject
                     We will not pay for the increased                                      to this combined Limit of
                     cost of construction if the building                                   Insurance, the following loss
                     is not repaired, reconstructed or                                      payment provisions apply:
                     remodeled.
                                                                                              (i) For Demolition Cost, we will
                     The     Coinsurance Additional                                               not pay for more than the
                     Condition does not apply to                                                  amount you actually spend to
                     Increased Cost of Construction                                               demolish and clear the site of
                     Coverage.                                                                    the described premises.
           (5) Loss Payment                                                                   (ii) For   Increased       Cost    of
                 (a) The following loss payment                                                    Construction:
                     provisions are subject to the                                                 1) We will not pay for the
                     apportionment procedure set forth                                                increased     cost   of
                     in Section m.2.(c) of this                                                       construction:
                     Additional Coverage.
                                                                                                        a) Until the property is
                 (b) When there is a loss in value of an                                                   actually repaired or
                     undamaged portion of the building                                                     replaced, at the same
                     to which Coverage for Loss to the                                                     or another premises;
                     Undamaged       Portion     of   the                                                  and
                     building applies, the loss payment
                     for    that   building,    including                                               b) Unless the repairs or
                     damaged        and      undamaged                                                     replacement         are
                     portions, will be determined as                                                       made as soon as
                     follows:                                                                              possible after the loss
                                                                                                           or damage, not to
                     (i) If the property is repaired or                                                    exceed two years.
                         replaced    on    the    same
                         premises, we will not pay                                                 2)    If the building is repaired
                         more than the lesser of:                                                       or replaced at the same
                                                                                                        premises, or if you elect to
                         1)   The amount you actually                                                   rebuild       at     another
                              spend to repair, rebuild or                                               premises, the most we will
                              reconstruct the building,



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission        Page 19 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 559632488
                                                                  ZBS  of 217 02 5502701

                             pay for the increased cost                                       of Covered Causes of Loss
                             of construction is the                                           occurring during each separate
                             increased      cost     of                                       12-month period of this policy.
                             construction at the same                                   (5) This Additional Coverage is an
                             premises.                                                      additional amount of insurance.
                     (iii) The most we will pay for loss                      38 Preservation of Property
                           under Demolition Cost and
                           Inc reased       C ost      of                          A. Coverage, Paragraph 4. Additional
                           Construction for each building                          Coverage, subparagraph b. of Building
                           is $500,000 or the Limit of                             and Personal Property Coverage Form CP
                           Insurance shown in the                                  00 10 is replaced by the following:
                           Amended Limits Section of                               b. Preservation of Property
                           this Endorsement.
                                                                                        If it is necessary to move Covered
                     (iv) Under this endorsement we                                     Property from the described premises
                          will not pay for loss due to any                              to preserve it from loss or damage by
                          ordinance or law that:                                        a Covered Cause of Loss, we will pay
                         1) You were required to                                        for any direct physical loss or damage
                            comply with before the                                      to that property:
                            loss, even if the building                                  (1) While it is being moved or while
                            was undamaged; and                                              temporarily stored at another
                      2) You failed to comply with                                          location; and
       37. Pollutant Clean-Up and Removal                                               (2) Only if the loss or damage occurs
           A. Coverage, Paragraph 4. Additional                                             within 90 days after the property is
           Coverages, subparagraph d. of Building                                           first moved.
           and Personal Property Coverage Form CP                             39. Preservation of Property – Expense
           00 10 is replaced by the following:
                                                                                   The following is added to A. Coverage,
           d. Pollutant Clean-Up and Removal                                       Paragraph 4. Additional Coverages of
                 (1) We will pay your expense to                                   Building and Personal Property Coverage
                     extract “pollutants” from land or                             Form CP 00 10:
                     water at the described premises if                            Preservation of Property – Expense
                     the discharge, dispersal, seepage,
                     migration, release or escape of                               (1) If it is necessary to move Covered
                     the “pollutants” is caused by or                                  Property from the described premises
                     results from a Covered Cause of                                   to preserve it from loss or damage by
                     Loss that occurs during the policy                                a Covered Cause of Loss, we will pay
                     period. The expenses will be paid                                 your expenses to move or store the
                     only if they are reported to us in                                Covered Property.
                     writing within 180 days of the date                           (2) This coverage applies for 90 days
                     on which the Covered Cause of                                     after the property is first moved, but
                     Loss occurs.                                                      does not extend past the date on
                 (2) This Additional Coverage does not                                 which this policy expires.
                     apply to costs to test for, monitor                           (3) The most we will pay under this
                     or     assess    the     existence,                               Additional Coverage is $50,000 or the
                     concentration    or    effects   of                               Limit of Insurance shown in the
                     “pollutants”.                                                     Amended Limits Section of this
                 (3) But we will pay for testing which is                              Endorsement.
                     performed in the course of                                    (4) Additional Coverage       The amount
                     extracting the “pollutants” from the                              payable under this        is additional
                     land or water.                                                    insurance.
                 (4) The most we will pay under this                          40. Property in Transit
                     Additional Coverage for each                                  F. Additional Coverage Extensions,
                     described premises is $100,000,
                                                                                   Paragraph 1. of Causes of Loss – Special
                     or the Limit of Insurance shown in
                                                                                   Form CP 10 30 is replaced by the
                     the Amended Limits Section of
                                                                                   following:
                     this Endorsement, for the sum of
                     all covered expenses arising out                               1. Property in Transit



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission    Page 20 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 569632488
                                                                  ZBS  of 217 02 5502701

                 a.   You may extend the insurance                                  and Personal Property Coverage Form CP
                      that applies to Your Business                                 00 10, is replaced by the following:
                      Personal Property to apply to                                 d. Property Off Premises
                      direct physical loss or damage,
                      caused by a Covered Cause of                                       (1) You may extend the insurance
                      Loss, to your property or property                                     that applies to Business Personal
                      of others that is in your care,                                        Property while:
                      custody or control while “in                                             (a) Temporarily at a location you
                      transit”.                                                                    do not own, lease or operate;
                 b. You may extend the insurance                                                   or
                    that applies to Your Business                                              (b) At any fair, trade show or
                    Personal Property to apply to                                                  exhibition.
                    direct physical loss or damage,
                                                                                         (2) The most we will pay for loss or
                    caused by a Covered Cause of
                                                                                             damage under this Extension is
                    Loss, to outgoing shipments that
                                                                                             $150,000 or the Limit of Insurance
                    have been rejected, while in due
                                                                                             shown in the Amended Limits
                    course of transit back to you or
                                                                                             Section of this Endorsement.
                    while awaiting return shipment to
                    you.                                                                 (3) Special Property Off Premises
                 c.   This Extension applies to the                                          Exclusion
                      property while:                                                          This extension does not apply to
                                                                                               property:
                      (1) In a vehicle owned, leased or
                          operated by you; or                                                  (a) In or on a vehicle; or
                      (2) In the custody of a common                                           (b) In the care, custody or control
                          carrier or contract carrier.                                             of your salespersons, unless
                                                                                                   the property is in such care,
                 d. The following Exclusions do not
                                                                                                   custody or control at a fair,
                    apply to this Extension:
                                                                                                   trade show or exhibition.
                      (1) Earth Movement; and
                                                                               42. Prototypes
                      (2) Water.
                                                                                    The following is added to A. Coverage,
                 e.   The most we will pay for loss or                              Paragraph 5. Coverage Extensions of
                      damage under this Extension is                                Building and Personal Property Coverage
                      $100,000 or the Limit of Insurance                            Form CP 00 10:
                      shown in the Amended Limits
                                                                                    Prototypes
                      Section of this Endorsement.
                 f.   This Coverage Extension                 is                    (1) You may extend the insurance that
                      additional insurance.                                             applies to your Business Personal
                                                                                        Property to apply to direct physical
                 g. Special Property             in    Transit                          loss or damage, caused by a Covered
                    Exclusions                                                          Cause of Loss, to “prototypes” related
                      This Extension does not apply to:                                 to your “research and development
                                                                                        operations” that:
                      (1) Shipments that belong to
                          others     that      you are                                   (a) You own; or
                          transporting for a fee;                                        (b) Are owned by others and in your
                      (2) Salesperson’s samples; or                                          care, custody or control;
                      (3) Loss to “perishable stock”                                     while at a described premises.
                          resulting from a breakdown of                             (2) We will not pay for loss or damage to
                          refrigeration equipment on                                    “prototypes” until you actually replicate
                          any vehicle owned, leased or                                  such property. Repairs or replication
                          operated by you or while in the                               must be made as soon as reasonably
                          custody of a common or                                        possible after the loss or damage, but
                          contract carrier.                                             in no event later than two years after
       41. Property Off Premises                                                        the loss or damage unless we grant an
                                                                                        extension in writing prior to the
            A. Coverage, Paragraph 5. Coverage                                          expiration of the two year period.
            Extensions, subparagraph d. of Building



411-0793 04 14           Includes copyrighted materials of Insurance Services Offices, Inc. with its permission       Page 21 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 579632488
                                                                  ZBS  of 217 02 5502701

           (3) Payment under this Extension is                                                 representatives.
               included   within    your     Business                               (2) The following Exclusions do not apply
               Personal Property Limit of Insurance.                                    to this Additional Coverage:
       43. Rewards – Arson, Theft, Vandalism                                             (a) Earth Movement; and
           The following is added to A. Coverage,                                        (b) Water.
           Paragraph 4. Additional Coverages, of
           Building and Personal Property Coverage                                  (3) The most we will pay for any loss or
           Form CP 00 10:                                                               damage      under      this  Additional
                                                                                        Coverage is $25,000 or the Limit of
           Rewards – Arson, Theft, Vandalism                                            Insurance shown in the Amended
           (1) We will reimburse you for payment of                                     Limits Section of this Endorsement.
               any reward offered on your behalf and                                (4) The amount payable under this
               for information that leads to the arrest                                 Additional Coverage is additional
               and conviction of the person or                                          insurance.
               persons responsible for:
                                                                                    (5) We will not pay for loss to the following
                 (a) Arson;                                                             property:
                 (b) “Theft”; or                                                         (a) Property which has been sold;
                 (c) Vandalism                                                           (b) Jewelry, precious or semiprecious
                 to Covered Property.                                                        stones, gold, silver, platinum or
           (2) The arrest or conviction must involve                                         other precious metals or alloys;
               a covered loss caused by arson, “theft”                                   (c) Fur, fur garments of garments
               or vandalism.                                                                 trimmed with fur; or
           (3) The most we will pay under this                                           (d) Any property while waterborne.
               Additional Coverage is $75,000 or the                                (6) Special   Sales           Representative
               Limit of Insurance shown in the                                          Sample Exclusion
               Amended Limits Section of this
               Endorsement. The amount we pay is                                         We do not cover loss resulting from
               not increased by the number of                                            “theft” from an unattended vehicle,
               persons involved in providing the                                         except when it is securely locked its
               information.                                                              windows are fully closed, and there is
                                                                                         visible evidence that entry into the
           (4) The amount payable under this                                             vehicle was forced.
               Additional Coverage is additional
               insurance.                                                      45. Seasonal Increase – Business Personal
                                                                                   Property
           (5) The deductible does not apply to this
               Additional Coverage.                                                 The following is added to A. Coverage,
                                                                                    Paragraph 5 Coverage Extensions of
       44. Sales Representative Samples
                                                                                    Building and Personal Property Coverage
           The following is added to A. Coverage,                                   Form CP 00 10:
           Paragraph 4. Additional Coverages of                                     Seasonal Increase – Business Personal
           Building and Personal Property Coverage                                  Property
           Form CP 00 10:
                                                                                    (1) The Limit of Insurance for Business
           Sales Representative Samples
                                                                                        Personal Property will automatically
           (1) We will pay for direct physical loss or                                  increase by 25% to provide for
               damage by a Covered Cause of Loss                                        seasonal variations in your business.
               to samples of your “stock” in trade                                  (2) This increase will apply only if the
               (including containers) while:
                                                                                        Limit of Insurance shown for Business
                 (a) In the custody of your sales                                       Personal Property in the Declarations
                     representative, agent or any                                       is at least 100% of your average
                     “employee” who travels with sales                                  monthly values during the lessor of:
                     samples;                                                            (a) The 12 months immediately
                 (b) In your custody while acting as a                                       preceding the date the loss or
                     sales representative; or                                                damage occurs; or
                 (c) “In transit” between the described                                   (b) The period of time you have been
                     premises      and    your   sales                                        in business as of the date the loss



411-0793 04 14           Includes copyrighted materials of Insurance Services Offices, Inc. with its permission     Page 22 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 589632488
                                                                  ZBS  of 217 02 5502701

                    or damage occurs                                                     endorsement resulting from direct
       46. Sewer Backup                                                                  physical loss or damage to that
                                                                                         Covered Building from a Covered
           The following is added to A. Coverage,                                        Cause of Loss.
           Paragraph 4. Additional Coverages of
                                                                                    (2) We will only pay the necessary “soft
           Building and Personal Property Coverage
                                                                                        cost expenses” that are over and
           Form CP 00 10:
                                                                                        above those costs that would have
           Sewer Backup                                                                 been incurred had there been no
           (1) We will pay for direct physical loss or                                  delay.
               damage to Covered Property at the                                    (3) The most we will pay under this
               described premises, solely caused by                                     Extension in any one “occurrence” is
               or resulting from water or waterborne                                    $25,000 or the Limit of Insurance
               material carried or moved by water                                       shown in the Amended Limits Section
               that backs up or overflows or is                                         of this Endorsement.
               otherwise discharged from a sewer,
                                                                               48. Temporary Relocation of Property
               drain, sump, sump pump or related
               equipment. The term drain includes a                                 The following is added to A. Coverage,
               roof drain and its related fixtures.                                 Paragraph 4. Additional Coverages of
           (2) Payment     under  this   Additional                                 Building and Personal Property Coverage
               Coverage is included within the                                      Form CP 00 10:
               applicable Limit of Insurance for                                    Temporary Relocation of Property
               Covered Property at the location of                                  (1) We will pay for loss of or damage to
               loss or damage.                                                          Covered Property from a Covered
           (3) Special Sewer Backup Exclusion                                           Cause of Loss while it is away from
                 We will not pay for:                                                   the described premises, if it is being
                                                                                        stored temporarily at a location you do
                 (a) Loss or damage from water or                                       not own, lease or operate while the
                     other materials that back-up or                                    described premises is being renovated
                     overflow from any sewer or drain,                                  or remodeled.
                     sump, sump pump or related
                     equipment when it is caused by or                              (2) This coverage applies for 90 days
                     results    from    any     “flood”,                                after the property is first moved, but
                     regardless of the proximity of the                                 does not extend past the date on
                     back-up or overflow to the “flood”                                 which this policy expires.
                     condition; or                                                  (3) The most we will pay under this
                 (b) Failure to keep a sump pump or                                     Additional Coverage is $100,000 or
                     its related equipment in proper                                    the Limit of Insurance shown in the
                     working condition; or                                              Amended Limits Section of this
                                                                                        Endorsement.
                 (c) Failure    to  perform      routine
                     maintenance or repair necessary                                (4) The amount payable under this
                     to keep a sewer or drain free from                                 Additional Coverage is additional
                     obstructions.                                                      insurance.
       47. Soft Costs                                                          49. Tenant Glass

           The following is added to A. Coverage,                                   The following is added to A. Coverage,
           Paragraph 5 Coverage Extensions of                                       Paragraph 4. Additional Coverages of
           Building and Personal Property Coverage                                  Building and Personal Property Coverage
           Form CP 00 10:                                                           Form CP 00 10:
           Soft Costs                                                               Tenant Glass

           (1) We will pay the actual “soft cost                                    (1) If glass in a building you occupy, but
               expenses” that arise out of a delay in                                   do not own, is damaged, we will pay
               the     construction,       erection    or                               for direct physical loss of or damage to
               fabrication of a Covered Building that                                   glass.
               is listed in paragraphs A.1.a.(5) of                                 (2) This insurance includes replacement
               Building    and Personal Property                                        of lettering, artwork, ornamentation,
               Coverage Form CP 00 10 and                                               sensors or other items permanently
               Section      III.A.3.a.(11)     of   this                                affixed to, or a part of a building at an



411-0793 04 14           Includes copyrighted materials of Insurance Services Offices, Inc. with its permission    Page 23 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 599632488
                                                                  ZBS  of 217 02 5502701

                 insured location.                                                 Building and Personal Property Coverage
           (3) For coverage to apply, the glass must                               Form CP 00 10:
               be in your care, custody or control and                             Tenant Relocation
               repairs must be made at your                                        (1) In the event that your tenants must
               expense.                                                                temporarily vacate the covered
           (4) We will also pay for necessary:                                         Building at the described premises
                 (a) Expenses incurred to put up                                       due to untenantability caused by direct
                     temporary plates or board up                                      physical loss or damage by a Covered
                     openings      when repair or                                      Cause of Loss, we will pay the
                     replacement of the damaged                                        following expenses you actually incur
                     glass is delayed;                                                 to move those tenants out of and back
                                                                                       into your covered Building.
                 (b) Repair or replacement of encasing
                     frames; and                                                   (2) We will only pay for the following
                                                                                       expenses:
                 (c) Expenses incurred to remove or
                     replace obstructions to repair or                                   (a) Packing,       transporting    and
                     replace the damaged glass.                                              unpacking the tenant’s Business
                                                                                             Personal Property including the
                     This does not include the cost of                                       cost of insuring the move out and
                     removing, replacing or rebuilding                                       back      and     any     necessary
                     window displays.                                                        disassembly and reassembly or
           (5) Paragraph B. Exclusions of Causes                                             setup of furniture and equipment;
               of Loss Special Form CP 10 30 does                                            and
               not apply to this Additional Coverage,                                    (b) The net cost to discontinue and
               except for:                                                                   re-establish the tenants’ utility and
                 (a) Paragraph          B.1.b.          Earth                                telephone services, after any
                     Movement;                                                               refunds due the tenants.
                 (b) Paragraph B.1.c. Governmental                                 (3) We will only pay for these expenses
                     Action;                                                           that you actually incur within 60 days
                                                                                       of the date that the damaged buildings
                 (c) Paragraph         B.1.d.        Nuclear                           has been repaired or rebuilt.
                     Hazard;
                                                                                   (4) Regardless of the number of tenants’
                 (d) Paragraph B.1.f War & Military                                    involved, the most we will pay in any
                     Action; and                                                       one “occurrence” is $50,000 or the
                 (e) Paragraph B.1.g. Water.                                           Limit of Insurance shown in the
                                                                                       Amended Limits Section of this
           (6) We will not pay for loss or damage
                                                                                       Endorsement.
               caused by or resulting from:
                                                                              51. Theft Damage to Building
                 (a) Wear and tear;
                                                                                   The following is added to A. Coverage,
                 (b) Hidden or latent defect;
                                                                                   Paragraph 5. Coverage Extensions of
                 (c) Corrosion; or                                                 Building and Personal Property Coverage
                 (d) Rust;                                                         Form CP 00 10:
                 whatever its origin or cause.                                     Theft Damage to Building
           (7) The most we will pay for loss or                                    (1) You may extend the insurance that
               damage in an “occurrence” under this                                    applies to your Business Personal
               Additional Coverage is $15,000 or the                                   property to apply to direct physical loss
               Limit of Insurance shown in the                                         or damage to:
               Amended Limits Section of this                                            (a) That part of the non-owned
               Endorsement.                                                                  building where you are a tenant;
           (8) The amount payable under this                                                 and
               Additional Coverage is additional                                         (b) Non-owned equipment within the
               insurance.                                                                    building used to maintain or
       50. Tenant Relocation                                                                 service the building;
           The following is added to A. Coverage,                                        Caused by or resulting from “theft” or
           Paragraph 4. Additional Coverages of                                          attempted “theft”.



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission      Page 24 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 609632488
                                                                  ZBS  of 217 02 5502701

           (2) This Extension applies only to a                                         Improvements and Betterments due to
               premise where you are a tenant and to                                    the cancellation of your written lease:
               this   premises      and     non-owned                                    (a) Made part of the building or
               equipment only if you have a                                                  structure you occupy but do not
               contractual obligation to insure.                                             own; and
           (3) Payment under this extension is                                           (b) You acquired but cannot legally
               included within the Limit of Insurance                                        remove.
               applicable to your Business Personal
               property.                                                           (2) The cancellation must result from:
           (4) We will pay nothing if others pay for                                     (a) Direct physical loss or damage to
               the repairs or replacement.                                                   a building at premises described
                                                                                             in the Declarations caused by or
       52. Transit Business           Income       &    Extra                                resulting from any Covered Cause
           Expense                                                                           of Loss
           The following is added to A. Coverage,                                  (3) We will determine the proportionate
           Paragraph 5. Additional Coverages of                                        value    of  Undamaged     Tenants
           Business Income (and Extra Expense)                                         Improvements and Betterments as
           Coverage Form CP 00 30 and Business                                         Follows:
           Income (and Extra Expense) Coverage
           Form – Actual Loss Sustained 411-0581:                                        (a) Multiply the original cost by the
                                                                                             number of days from the loss or
           Transit Business           Income       &    Extra                                damage to the expiration of the
           Expense                                                                           lease; and
           (1) We will pay the actual loss of                                            (b) Divide the amount determined in
               Business Income you sustain and                                               (a) above by the number of days
               necessary and reasonable Extra                                                from     the    installation   of
               Expense you incur caused by direct                                            improvements to the expiration of
               physical loss of or direct physical                                           the lease.
               damage to Covered Property while “in
               transit” caused by or resulting from a                                    If your lease contains a renewal
               Covered Cause of Loss.                                                    option, the expiration of the renewal
                                                                                         option period will replace the
           (2) The following Exclusions do not apply                                     expiration of the lease in this
               to this Additional Coverage:                                              procedure.
                 (a) Earth Movement; and                                           (4) The most we will pay for loss or
                 (b) Water.                                                            damage under this Extension in any
                                                                                       one “occurrence” is $50,000 or the
           (3) The most we will pay for loss in any
                                                                                       Limit of Insurance shown in the
               one “occurrence” under this Additional
                                                                                       Amended Limits Section of this
               Coverage is $75,000 or the Limit of
                                                                                       Endorsement.
               Insurance shown in the Amended
               Limits Section of this Endorsement.                                 (5) The amount payable under this
                                                                                       Coverage Extension is additional
           (4) The amount payable under this
                                                                                       insurance.
               Additional Coverage is additional
               insurance.                                                     54. Underground Water Seepage
       53. Undamaged Tenants               Improvements                            The following is added to A. Coverage ,
           and Betterments                                                         Paragraph 4. Additional Coverages of
                                                                                   Building and Personal Property Coverage
           The following is added to A. Coverage,
                                                                                   Form CP 00 10:
           Paragraph 5. Coverage Extensions of
           Building and Personal Property Coverage                                 Underground Water Seepage
           Form CP 00 10:                                                          (1) We will pay for direct physical loss or
           Undamaged Tenants               Improvements                                damage to Covered Property at the
           and Betterments                                                             described premises, caused by or
                                                                                       resulting from water under the ground
           (1) You may extend the insurance that                                       surface pressing on, or flowing or
               applies to your Business Personal                                       seeping through:
               Property to apply to your use as a
               tenant in the undamaged portion of                                       (a) Foundations, walls,     floors   or
                                                                                            paved surfaces; or



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission   Page 25 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 619632488
                                                                  ZBS  of 217 02 5502701

                 (b) Basements, whether paved or not.                         56. Unnamed Locations
           (2) The most we will pay for loss in any                                The following is added to A. Coverage,
               one “occurrence” under this Additional                              Paragraph 5. Coverage Extensions of
               Coverage is $50,000.                                                Building and Personal Property Coverage
           (3) The amount payable under this                                       Form CP 00 10:
               Additional Coverage is additional                                   Unnamed Locations
               insurance.                                                          (1) You may extend the insurance that
       55. Unintentional         Property         Reporting                            applies to your Business Personal
           Errors                                                                      Property to apply to direct physical
           The following is added to A. Coverage,                                      loss or damage, caused by a Covered
           Paragraph 4. Additional Coverages of                                        Cause of Loss, to your property or
                                                                                       property of others that is in your care,
           Building and Personal Property Coverage
                                                                                       custody or control while it is at other
           Form CP 00 10:
                                                                                       than a described location, but located
           Unintentional        Property          Reporting                            within the Coverage Territory.
           Errors
                                                                                   (2) Special    Unnamed               Locations
           (1) If “you” unintentionally failed to report                               Exclusions
               or describe a location to “us”,
                                                                                         This Extension does not apply to:
               coverage provided by this policy will
               not be invalid. However, “you” must                                       (a) Loss or damage caused directly
               report such errors or omission to “us”                                        or indirectly by “Flood” or
               in writing as soon as you discover                                            Earthquake, even when these
               them. “You” also agree to pay the                                             Causes of Loss are added to this
               additional premium that would have                                            policy by endorsement.
               been earned by “us” if the location was                                   (b) Loss or damage covered under
               correctly reported to “us”.                                                   the    following      Additional
           (2) This Additional Coverage only applies                                         Coverages or Extensions:
               to direct loss or damaged caused by a                                          (i) Property in Transit
               Covered Cause of Loss at the omitted
               location and does not include any                                              (ii) Sales       Representatives
               coverage for the perils of flood or                                                 Samples; or
               earthquake even if flood and                                                   (iii) Property on Exhibition.
               earthquake coverage is purchased for
                                                                                         (c) Any property that is covered under
               this or another policy.
                                                                                             this Coverage Part or policy, or
           (3) You    must     provide   reasonable                                          any     other     policy,  whether
               documentation      and  clear   and                                           collectible or not.
               convincing evidence explaining the
                                                                                   (3) The most we will pay for loss or
               cause of the oversight.
                                                                                       damage in any one “occurrence”
           (4) For any location you have failed to                                     under this Extension of Coverage is
               report to us, this coverage will end                                    $150,000, or the Limit of Insurance
               when any of the following first occurs:                                 shown in the Amended Limits Section
                 (a) This policy expires; or                                           of this Endorsement, regardless of the
                                                                                       number of unnamed locations.
                 (b) You report values to us.
                                                                              57. Utility Services
           (5) The most we will pay for any loss
               under this Additional Coverage in any                               The following is added to A. Coverage,
               one policy period regardless of the                                 Paragraph 4. Additional Coverages of
               number of occurrences or reporting                                  Building and Personal Property Coverage
               errors or omissions is $500,000.                                    Form CP 00 10:
           (6) The amount payable under this                                       Utility Services
               Additional Coverage is additional                                   (1) We will pay for loss of or damage to
               insurance.                                                              Covered Property caused by an
           (7) This Additional Coverage does not                                       interruption in service to the described
               apply to a loss that is covered under                                   premises. The interruption must result
               Newly Acquired or Constructed                                           from direct physical loss or damage by
               Property coverage.                                                      a Covered Cause of Loss to property



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission       Page 26 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 629632488
                                                                  ZBS  of 217 02 5502701

                 not on the described premises that                                           (i) Utility generating plants;
                 provides the services shown below in                                         (ii) Switching stations;
                 paragraph (3).
                                                                                              (iii) Substations;
                 The most we will pay for loss in any
                 one “occurrence” under this Additional                                       (iv) Transformers; and
                 Coverage is $100,000 at each                                                 (v) Transmission lines.
                 described premises or the Limit of
                 Insurance shown in the Amended                                               Services under this Additional
                 Limits Section of this Endorsement.                                          Coverage do not include overhead
                                                                                              transmission lines that deliver
           (2) We will pay for the actual loss of                                             utility services to you. Overhead
               Business Income you sustain and                                                transmission lines include, but are
               necessary Extra Expense you incur                                              not limited to:
               caused by the interruption of service
                                                                                              (vi) Overhead transmission and
               at the described premises. The
               interruption must result from direct                                                distribution lines;
               physical loss or damage by a Covered                                           (vii)Overhead transformers and
               Cause of Loss to property not on the                                                similar equipment; and
               described premises that provides the                                           (viii)Supporting poles and towers.
               services shown below in paragraph
               (3).                                                                (4) As used in this additional coverage,
                                                                                       the term transmission lines includes all
                 We will only pay for loss you sustain                                 lines which serve to transmit
                 after the first 24 hours following the                                communication service or power,
                 direct physical loss or damage to the                                 including lines which may be identified
                 property described above.                                             as distribution lines.
                 The most we will pay for loss in any                              (5) This coverage is not an additional
                 one “occurrence” under this Additional                                amount of insurance.
                 Coverage is $100,000 at each
                 described premises or the Limit of                                (6) Coverage under this Additional
                 Insurance shown in the Amended                                        Coverage for loss or damage to
                 Limits Section of this Endorsement.                                   Covered Property does not apply to
                                                                                       loss or damage to “electronic data”,
           (3) Services:
                                                                                       including destruction or corruption of
                 (a) Water Supply Services, meaning                                    “electronic data”.
                     the following types of property                               (7) Special Utility Services Exclusion
                     supplying water to the described
                     premises:                                                          Coverage under this Additional
                                                                                        Coverage does not include loss of
                    (i) Pumping stations; and                                           “perishable goods” due to “spoilage”
                    (ii) Water mains.                                                   that results from:
                 (b) Communication Supply Services,                                     (a) Complete or partial          lack    of
                     meaning the following types of                                         electrical power; or
                     property supplying communication                                   (b) Fluctuation of electrical current.
                     services, including telephone,
                     radio, microwave or television                           58. Voluntary Parting
                     services    to   the   described                              The following is added to A. Coverage,
                     premises, such as:                                            Paragraph 4. Additional Coverages of
                    (i) Communication transmission                                 Building and Personal Property Coverage
                        lines, including optic fiber                               Form CP 00 10:
                        transmission lines;                                        Voluntary Parting
                    (ii) Coaxial cables; and                                       (1) We will pay for loss or damage to
                    (iii) Microwave radio relays except                                covered property when you or your
                          satellites.                                                  “employees” are fraudulently induced
                                                                                       to part with Covered Property to or by:
                 (c) Power Supply Services, meaning
                     the following types of property                                    (a) Persons who falsely represent
                     supplying electricity, steam or gas                                    themselves as the proper persons
                     to the described premises:                                             to receive the property; or




411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission       Page 27 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 639632488
                                                                  ZBS  of 217 02 5502701

                 (b) Acceptance of fraudulent bills of                                   “occurrence” in total for the removal of
                     lading or shipping receipts.                                        all windblown debris under this
           (2) The most we will pay under this                                           Extension is $10,000 or the Limit of
                                                                                         Insurance shown in the Amended
               additional coverage is $50,000 for any
                                                                                         Limits Section of this Endorsement.
               one “occurrence” or the Limit of
               Insurance shown in the Amended                                  61. Worldwide Property Off-Premises
               Limits Section of this Endorsement.                                  The following is added to A. Coverage,
       59. Water Damage, Other Liquids, Powder                                      Paragraph 5. Coverage Extensions of
           or Molten Material Damage                                                Building and Personal Property Coverage
           F. Additional Coverage Extensions,                                       Form CP 00 10:
           Paragraph 2. of Causes of Loss – Special                                 Worldwide Property Off-Premises
           Form CP 10 30 is replaced by the                                         (1) You may extend the insurance that
           following:                                                                   applies to your Business Personal
           2. Water Damage, Other Liquids,                                              Property and Personal Property of
              Powder or Molten Material Damage                                          Others to apply to that property while it
                                                                                        is temporarily outside the coverage
                 a.   If loss or damage caused by or
                                                                                        territory if it is:
                      resulting from covered water
                      damage or other liquid, powder or                                  (a) Temporarily at a location you do
                      molten material damage loss                                            not own, lease or operate;
                      occurs, we will also pay the cost to                               (b) Temporarily on display or exhibit
                      tear out and replace any part of                                       at any fair, trade show or
                      the building or structure, or, in the                                  exhibition;
                      case of underground pipes, lawns,
                      shrubs or paved areas, to repair                                   (c) Samples of your “stock” in trade in
                      damage to the system or                                                the custody of your sales
                      appliance from which the water or                                      representatives; or
                      other substance escapes.                                           (d) While “in transit” between the
                 b. Payment under this Additional                                            described premises and a location
                    Coverage is included within the                                          described in (a), (b) or (c) above.
                    applicable Limit of Insurance. The                              (2) The most we will pay for loss or
                    maximum we will pay for loss or                                     damage under this Extension is
                    damage to lawns, shrubs or paved                                    $75,000 or the Limit of Insurance
                    areas is $50,000 per “occurrence”                                   shown in the Amended Limits Section
                    or the Limit of Insurance shown in                                  of this Endorsement.
                    the Amended Limits Section of
                                                                                    (3) This Extension provides an additional
                    this Endorsement.
                                                                                        amount of insurance.
                 THIS IS NOT FLOOD INSURANCE
                                                                          B. Coverages Included within the Blanket
                 OR    PROTECTION  FROM   AN
                                                                             Limit of Insurance
                 INUNDATION     OF   SURFACE
                 WATER, HOWEVER CAUSED.                                        1.   Accounts Receivable
       60. Windblown Debris                                                         The following is added to A. Coverage,
                                                                                    Paragraph 4. Additional Coverages of
           The following is added to A. Coverage,
                                                                                    Building and Personal Property Coverage
           Paragraph 5. Coverage Extensions of
                                                                                    Form CP 00 10:
           Building and Personal Property Coverage
           Form CP 00 10:                                                           Accounts Receivable
           Windblown Debris                                                         (1) We will pay for loss or damage caused
                                                                                        by or resulting from a Covered Cause
           (1) We will pay your reasonable expenses
                                                                                        of Loss to your records of Accounts
               to remove the windblown debris                                           Receivable.
               (including trees) from the described
               premises, if it is carried to the                                         Accounts Receivable means:
               described premises from the premises                                      (a) All amounts due from your
               of others by wind, during the policy                                          customers that you are unable to
               period.                                                                       collect;
           (2) The most we will pay in any one                                           (b) Interest charges on      any loan




411-0793 04 14           Includes copyrighted materials of Insurance Services Offices, Inc. with its permission    Page 28 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 649632488
                                                                  ZBS  of 217 02 5502701

                     required to offset amounts you are                                 When a partial loss to that property
                     unable to collect pending our                                      occurs and the buyer refuses to
                     payment of these amounts;                                          continue payment, forcing you to
                 (c) Collection expenses in excess of                                   repossess, deferred payments are
                     your normal collection expenses                                    valued as follows:
                     that are made necessary by loss                                    (a) If the realized or appraised value
                     or damage; and                                                         of the repossessed property is
                 (d) Other reasonable expenses that                                         greater than or equal to the
                     you incur to re-establish your                                         amount shown on your books as
                     records of accounts receivable.                                        due from the buyer, we will make
                                                                                            no payment; but
            (2) The most we will pay under this
                Additional Coverage for loss or                                         (b) If the realized value of the
                damage in any one “occurrence” at a                                         repossessed property is less than
                described premises is subject to the                                        the amount shown on your books
                Blanket Coverage Limit of Insurance                                         as due from the buyer, we will pay
                or the Limit of Insurance shown in the                                      the difference.
                Amended Limits Section of this                                     (3) When loss occurs and the buyer
                Endorsement.                                                           continues to pay you, there will be no
            (3) Special    Accounts             Receivable                             loss payment.
                Exclusions                                                         (4) The most we will pay under this
                 We will not pay for loss or damage:                                   Additional Coverage for loss or
                                                                                       damage in any one “occurrence” at a
                 (a) Caused by alteration, falsification,                              described premises is subject to the
                     concealment or destruction of                                     Blanket Coverage Limit of Insurance
                     records of accounts receivable                                    or the Limit of Insurance shown in the
                     done to conceal the wrongful                                      Amended Limits Section of this
                     giving, taking or withholding of                                  Endorsement.
                     “money”, “securities” or “other
                     property”.                                               3.   Fine Arts

                     This exclusion applies only to the                            The following is added to A. Coverage,
                     extent of the wrongful giving,                                Paragraph 4. Additional Coverages of
                     taking or withholding                                         Building and Personal Property Coverage
                                                                                   Form CP 00 10:
                 (b) Caused     by       bookkeeping,
                     accounting or billing errors or                               Fine Arts
                     omissions                                                     (1) We will pay for direct physical loss to
                 (c) That requires any audit of records                                “fine arts” which are your property or
                     or any inventory computation to                                   the property of others in your care,
                     prove its factual existence.                                      custody or control while on the
                                                                                       described premises. We also cover
       2.   Deferred Payments                                                          your “fine arts” while temporarily on
            The following is added to A. Coverage,                                     display or exhibit away from the
            Paragraph 4. Additional Coverages of                                       described premises or while “in transit”
            Building and Personal Property Coverage                                    between the described premises and a
            Form CP 0010:                                                              location where the “fine arts” will be
                                                                                       temporarily on display or exhibit.
            Deferred Payments
                                                                                   (2) The following Exclusions do not apply
            (1) We will pay for your interest in lost or
                                                                                       to this Additional Coverage:
                damaged Personal Property sold by
                you under a conditional sale or trust                                   (a) Earth Movement; and
                agreement or any installment or                                         (b) Water.
                deferred payment plan after delivery to
                buyers. The loss or damage must be                                 (3) The most we will pay under this
                caused by a Covered Cause of Loss.                                     Additional Coverage for loss or
                                                                                       damage in any one “occurrence” at a
            (2) When a total loss to that property                                     described premises is subject to the
                occurs, deferred payments are valued                                   Blanket Coverage Limit of Insurance
                on the amount shown on your books                                      or the Limit of Insurance shown in the
                as due from the buyer.                                                 Amended Limits Section of this



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission   Page 29 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 659632488
                                                                  ZBS  of 217 02 5502701

                 Endorsement.                                                       The following is added to A. Coverage,
            (4) The amount payable under this                                       Paragraph 5. Coverage Extensions of
                Additional Coverage is additional                                   Building and Personal Property Coverage
                insurance.                                                          Form CP 00 10:
            (5) Special Fine Arts Exclusion                                         Movement of Property
                 We will not pay for any loss caused by                             (1) You may extend the insurance that
                 or resulting from:                                                     applies to Covered Property to apply
                                                                                        to direct physical loss or damage from
                 (a) Breakage of statuary, glassware,                                   a Covered Cause of Loss to your
                     bric-a-brac, marble, porcelain and                                 Business Personal Property from an
                     similar fragile property. But we will                              insured location which has been
                     pay if the loss or damage is                                       deleted from this policy if:
                     caused directly by a “specified
                     cause of loss”, earthquake or                                       (a) You moved Covered Property
                     flood; and                                                              from the deleted location to a new
                                                                                             premises; and
                 (b) Any repairing, restoration               or
                     retouching of the “fine arts”.                                      (b) A Limit of Insurance for the new
                                                                                             premises has been added to this
        4. Fire Department Service Charge                                                    policy; and
            A. Coverage, Paragraph 4. Additional                                         (c) The direct physical loss or
            Coverages, subparagraph c. of Building                                           damage occurs to Covered
            and Personal Property Coverage Form CP                                           Property at the prior insured
            00 10 is replaced by the following:                                              location before the movement of
            c. Fire Department Service Charge                                                property to the new premises is
                                                                                             completed.
                 (1) When the fire department is
                     called to save or protect Covered                              (2) Insurance under this Coverage
                     Property from a Covered Loss, we                                   Extension will end when any of the
                     will pay your actual expenses for                                  following first occurs:
                     your liability for fire department                                  (a) The movement of property to the
                     service charges at each described                                       new premises is completed; or
                     premises.
                                                                                         (b) 30 days after the effective date of
                 (2) This Additional Coverage applies                                        the endorsement adding the new
                     to your liability for fire department                                   premises.
                     service charges:
                                                                                    (3) Regardless of the number of
                     (a) Assumed by contract                  or                        described premises involved, the most
                         agreement prior to loss; or                                    we will pay under this Extension for
                     (b) Required by local ordinance.                                   loss or damage in any one
                                                                                        “occurrence” is subject to the Blanket
                 (3) No deductible applies to this
                                                                                        Coverage Limit of Insurance, or the
                     Additional Coverage.
                                                                                        Limit of Insurance shown in the
                 (4) The most we will pay under this                                    Amended Limits Section of this
                     Additional Coverage for loss or                                    Endorsement.
                     damage in any one “occurrence”
                                                                               6.   Outdoor Property
                     at each described premises is
                     subject to the Blanket Coverage                                A. Coverage, Paragraph 5. Coverage
                     Limit of Insurance or the Limit of                             Extensions, subparagraph e of Building
                     Insurance shown in the Amended                                 and Personal Property Coverage Form CP
                     Limits     Section      of    this                             00 10 is replaced by the following:
                     Endorsement.                                                   e. Outdoor Property
                 (5) Such limit is the most we will pay                                  (1) You may extend insurance
                     regardless of the number of                                             provided by this Coverage Form
                     responding fire departments or fire                                     to apply to your radio and television
                     units, and regardless of the                                            antennas      (including     satellite
                     number or type of services                                              dishes), trees, shrubs, plants and
                     performed.                                                              lawns which are “stock” or are a
       5.   Movement of Property                                                             part of a vegetated roof, including




411-0793 04 14           Includes copyrighted materials of Insurance Services Offices, Inc. with its permission     Page 30 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 669632488
                                                                  ZBS  of 217 02 5502701

                     debris removal expense, caused                                          loss or damage to personal
                     by or resulting from any of the                                         property of others will only be for
                     following causes of loss:                                               the account of the owner of the
                     (a) Fire;                                                               property. No deductible applies to
                                                                                             this Extension.
                     (b) Windstorm;
                                                                                        (3) Regardless of the number of
                     (c) Hail;                                                              persons involved, the most we will
                     (d) Lightning;                                                         pay under this Extension is subject
                                                                                            to the Blanket Coverage Limit of
                     (e) Explosion;
                                                                                            Insurance or the Limit           of
                     (f) Riot or Civil Commotion;                                           Insurance shown in the Amended
                     (g) Vandalism;                                                         Limits     Section      of     this
                                                                                            Endorsement.
                     (h) Aircraft or Vehicles;
                                                                              8. Research      an d                Devel op men t
                     (i) Theft; or                                               Documentation
                     (j) Falling Objects.                                          The following is added to A. Coverage,
                 (2) Coverage under this Extension                                 Paragraph 5. Coverage Extensions of
                     does not apply to property held for                           Building and Personal Property Coverage
                     sale by you.                                                  Form CP 00 10:
                 (3) We will not pay more than $1,000                              Research      an d             D evel o p men t
                     for loss or damage to any one                                 Documentation
                     tree, shrub or plant under this                               (1) You may extend the insurance that
                     Extension.                                                        applies to Business Personal Property
                 (4) Regardless of the number of                                       to apply to direct physical loss or
                     described premises involved, the                                  damage, resulting from a Covered
                     most we will pay under this                                       Cause of Loss, to “research and
                     Extension for loss or damage in                                   development documentation” that you
                     any one “occurrence” is subject to                                own or that is in your care, custody or
                     the Blanket Coverage Limit of                                     control at a described premises.
                     Insurance, or the Limit of                                    (2) Paragraph B. Exclusions of Causes
                     Insurance shown in the Amended                                    of Loss – Special Form CP 10 30 do
                     Limits    Section      of     this                                not apply to this Coverage Extension,
                     Endorsement.                                                      except for:
       7.   Personal Effects & Property of Others                                       (a) Paragraph B.1.c. Governmental
            A. Coverage, Paragraph 5. Coverage                                              Action;
            Extensions, subparagraph b. of Building                                     (b) Paragraph           B.1.d.         Nuclear
            and Personal Property Coverage Form CP                                          Hazard;
            00 10 is replaced by the following:
                                                                                        (c) Paragraph     B.1.f.         War      and
            b. Personal Effects & Property of
                                                                                            Military Action;
               Others
                                                                                        (d) Paragraph B.2.h. Dishonesty;
                 (1) You may extend the insurance
                     that applies to Your Business                                      (e) Paragraph B.2.i. False Pretense;
                     Personal Property to apply to:                                         and
                     (a) Personal effects owned by                                      (f) Paragraph B.3.
                         you, your officers, your                                  (3) This Coverage Extension does not
                         partners or members, your                                     apply to loss or damage caused by or
                         managers or officers, your                                    resulting from:
                         directors, your trustees or your
                                                                                        (a) Electrical or magnetic injury,
                         employees.
                                                                                            disturbance    or     erasure of
                     (b) Personal property of others in                                     electronic recordings that is
                         your care, custody or control.                                     caused by or results from:
                 (2) We will not pay more than $5,000                                         (i) Programming errors or faulty
                     in total for loss or damage for any                                          machine instructions; or
                     one      person,     in  any    one
                                                                                              (ii) Faulty       installation       or
                     “occurrence”. Our payment for



411-0793 04 14           Includes copyrighted material of Insurance Services Office, Inc.with its permission.         Page 31 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 679632488
                                                                  ZBS  of 217 02 5502701

                         maintenance      of   data                                  c. Valuable Papers and Records
                         processing  equipment   or                                     (Other Than Electronic Data)
                         component parts.
                                                                                          (1) You may extend the insurance
                 (b) Errors or omissions in processing                                        that applies to Your Business
                     or copying. But if errors or                                             Personal Property to apply to
                     omissions    in     processing or                                        direct physical loss or damage to
                     copying results in fire or explosion,                                    “valuable papers and records” that
                     we will pay for the direct loss or                                       you own, or that are in your care,
                     damage caused by the fire or                                             custody or control caused by a
                     explosion;                                                               Covered Cause of Loss. This
                 (c) Erasure   of    “research    and                                         Extension includes the cost to
                     development documentation”; or                                           research, replace or restore the
                                                                                              lost information that previously
                 (d) Unauthorized      instructions  to                                       existed on “valuable papers and
                     transfer property to any person or                                       records” for which duplicates do
                     place.                                                                   not exist.
            (4) Coverage provided by this Extension                                       (2) The following Exclusions do not
                does not apply to “research and                                               apply to this Coverage Extension:
                development documentation” which
                exist as “electronic data”.                                                    (a) Earth Movement; and
            (5) We will not pay for loss or damage to                                          (b) Water.
                “research       and      development                                 (3) The most we will pay under this
                documentation” until you actually                                        Extension for loss or damage in any
                replicate such documentation. Repairs                                    one “occurrence” at a described
                or replication must be made as soon                                      premises is subject to the Blanket
                as reasonably possible after the loss                                    Coverage Limit of Insurance or the
                or damage, but in no event later than                                    Limit of Insurance shown in the
                two years after the loss or damage                                       Amended Limits Section of this
                unless we grant an extension in writing                                  Endorsement.
                prior to the expiration of the two-year
                                                                     IV. VALUATION
                period.
                                                                          A. E. Loss Conditions, Paragraph 7. Valuation,
            (6) We will not pay for loss or damage to
                                                                             subparagraph b. of Building and Personal
                “research      and      development
                                                                             Property Coverage Form CP 00 10 is replaced
                documentation” applicable to:
                                                                             by the following:
                 (a) Products that are obsolete;
                                                                               b. If the Limit of Insurance for Building
                 (b) Existing products you have                                   satisfies   the     Additional   Condition,
                     withdrawn from the market; or                                Coinsurance, and the cost to repair or
                 (c) Existing products you have not                               replace the damaged building property is
                     sold in the last twelve months prior                         $2,500 or less, we will pay the cost of
                     to the loss.                                                 building repairs or replacement.
            (7) Regardless of the number of insured                                  The cost of building repairs or replacement
                locations involved, the most we will                                 does not include the increased cost
                pay under this Extension for loss or                                 attributable to enforcement of any
                damage in any one “occurrence” at a                                  ordinance     or    law    regulating   the
                described premises is subject to the                                 construction, use or repair of any property.
                Blanket Coverage Limit of Insurance                                  However, the following property will be
                or the Limit of Insurance shown in the                               valued at the actual cash value even when
                Amended Limits Section of this                                       attached to the building:
                Endorsement.                                                         (1) Awnings or floor coverings;
       9.   Valuable Papers and Records (Other
                                                                                     (2) Appliances       for     refrigerating,
            Than Electronic Data)                                                        ventilating, cooking, dishwashing or
            A. Coverage, Paragraph 5. Coverage                                           laundering;
            Extensions, subparagraph c. of Building                                  (3) Outdoor equipment or furniture; or
            and Personal Property Coverage Form CP
            00 10 is replaced by the following:                                      (4) Retaining walls.
                                                                          B. The following is added to E. Loss Conditions,



411-0793 04 14            Includes copyrighted material of Insurance Services Office, Inc.with its permission.     Page 32 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 689632488
                                                                  ZBS  of 217 02 5502701

       Paragraph 7. Valuation of Building and                                      have accrued or become legally due since
       Personal Property Coverage Form CP 00 10:                                   the shipment. If you have no invoice,
       f.   “Valuable papers and records” at the cost                              actual cash value will apply.
            of restoration or replacement, including the                      k.   “Hardware”:
            cost of data entry, re-programming,                                    (1) “Hardware” that is replaced will be at
            computer consultation services and the                                     the cost of replacing the “hardware”
            media on which the data or programs                                        with new equipment that is functionally
            reside. To the extent that the contents of                                 comparable to the “hardware” that is
            the “valuable papers and records” are not                                  being replaced.
            replaced or restored, the “valuable papers
            and records” will be valued at the cost of                             (2) “Hardware” that is not replaced will be
            blank materials for reproducing the                                        at actual cash value at the time of
            records and the labor to transcribe or copy                                loss.
            the records when there is a duplicate.                                 (3) In no event will we pay more than the
       g. “Money” at its face value.                                                   reasonable cost of restoring partially
                                                                                       damaged “hardware” to its condition
       h. “Securities” at their value at the close of                                  directly prior to the damage.
          business on the day the loss is discovered.
                                                                              l.   “Software”:
       i.   Accounts Receivable:
                                                                                   (1) “Programs and applications” will be at
            (1) If you cannot accurately establish the                                 the cost to reinstall the “programs and
                amount of accounts receivable                                          applications” from the licensed discs
                outstanding as of the time of loss or                                  that were originally used to install the
                damage:                                                                programs or applications.
                 (a) We will determine the total of the                                 If the original licensed discs are lost,
                     average monthly amounts of                                         damaged, or can no longer be
                     accounts receivable for the 12                                     obtained, the value of “programs and
                     months preceding the month in                                      applications” will be based on the cost
                     which loss or damage occurs; and                                   of the most current version of the
                 (b) We will adjust that total for any                                  “programs or applications”.
                     normal fluctuations in the amount                             (2) “Proprietary programs” will be at the
                     of accounts receivable for the                                    cost of reproduction from duplicate
                     month in which the loss or                                        copies. The cost of reproduction
                     damage occurred or for any                                        includes, but is not limited to, the cost
                     demonstrated variance from the                                    of labor to copy or transcribe from
                     average for that month.                                           duplicate copies.
            (2) The following will be deducted from                                     If duplicate copies do not exist, the
                the total amount of accounts                                            value of “proprietary programs” will be
                receivable, however that amount is                                      based on the cost of research or other
                established:                                                            expenses necessary to reproduce,
                 (a) The amount of the accounts for                                     replace, or restore lost “proprietary
                     which there is no loss or damage;                                  programs”.
                 (b) The amount of the accounts that                               (3) “Electronic data” will be at the cost of
                     you are able to re-establish or                                   reproduction from duplicate copies.
                     collect; an amount to allow for                                   The cost of reproduction includes, but
                     probable bad debts that you are                                   is not limited to, the cost of labor to
                     normally unable to collect;                                       copy or transcribe from duplicate
                                                                                       copies.
                  (c) An amount to allow for probable
                      bad debts that you are normally                                   If duplicate copies do not exist, the
                      unable to collect; and                                            value of “electronic data” will be based
                                                                                        on the cost of research or other
                 (d) All unearned interest and service
                                                                                        expenses necessary to reproduce,
                      charges.
                                                                                        replace,    or   restore lost       files,
       j.   Property “in transit” (other than “stock” you                               documents and records.
            have sold) at the amount of invoice,
                                                                                   (4) “Media” will be at the cost to repair or
            including your prepaid or advanced freight
                                                                                       replace the “media” with material of
            charges and other charges which may
                                                                                       the same kind or quality.



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission     Page 33 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 699632488
                                                                  ZBS  of 217 02 5502701

       m. “Fine Arts”                                                                    will not pay more than the amount for
            We will pay the lesser of:                                                   which you are legally liable; or

            (1) The market value at the time of loss or                             (2) The amount you actually spend to
                damage;                                                                 repair or replace lost or damaged
                                                                                        “prototypes” used for the same
            (2) The reasonable cost of repair or                                        purpose.
                restoration   to     the     condition
                immediately before the covered loss or                         s.   “Research       and           dev elopm ent
                damage; or                                                          documentation”:

            (3) The cost of replacement                     with                    We will not pay more than the least of the
                                                                                    following amounts:
                substantially identical property.
                 For pairs or sets, we will either:                                 (1) Your cost actually spent to reproduce
                                                                                        lost or damaged “research and
                 (a) Repair or replace any part to                                      development documentation” from
                     restore the value and condition of                                 back-up files or original source
                     the pair or set to that immediately                                documents;
                     before the covered loss or
                     damage; or                                                     (2) The reasonable cost necessary to
                                                                                        research, repair, restore, recreate,
                 (b) Pay the difference between the                                     reconstitute, reproduce or replace
                     value of the pair or set before and                                “research       and       development
                     after the covered loss or damage.                                  documentation”, used for the same
       n. Property of Others – our payment for loss                                     product, to their condition immediately
          of or damage to personal property of                                          before the loss or damage;
          others will only be for the account of the                                (3) If identical “research and development
          owners of the property. We may adjust                                         documentation” cannot be purchased,
          losses with the owners of lost or damaged                                     the     cost     to    purchase   such
          property if other than you. If we pay the                                     documentation of comparable kind,
          owners, such payments will satisfy your                                       functionality and quality; or
          claims against us for the owners’ property.
          We will not pay the owners more than their                                (4) The amount you actually spend to
          financial interest in the Covered Property.                                   research, repair, restore, recreate,
                                                                                        reconstitute, reproduce or replace
       o. We may elect to defend you against suits                                      “research      and     development
          arising from claims of owners or property.                                    documentation”, used for the same
          We will do this at our expense.                                               product.
       p. Labor, materials and services that you                                    But we will not pay more than the cost to
          furnish or arrange on personal property of                                restore “research and development
          others are valued based on the actual cost                                documentation”       to     its condition
          of the labor, materials and services.                                     immediately prior to the loss.
       q. Finished “stock” you manufactured at the                   V. DEFINITIONS
          selling price less discounts and expenses
                                                                          The following is added to Paragraph H. of Building
          you otherwise would have had.
                                                                          and Personal Property Coverage Form CP 00 10:
       r.   “Prototypes”
                                                                          H. Definitions
            We will not pay more than the lesser of the
            following amounts:                                                 1.   “Antiques” means an object having value
                                                                                    because its:
            (1) The replacement cost of such property
                used for the same product, but only if                              a. Craftsmanship is in the style or fashion
                replacement cost is shown as                                           of former times; and
                applicable to Personal Property in the                              b. Age is 100 years or older.
                Declarations.                                                  2.   “Banking premises” means the interior of
                 However, when replacement with                                     that portion of any building occupied by a
                 identical property is impossible or                                banking institution or similar safe
                 unnecessary, the amount of loss will                               depository.
                 be based on the cost to replace with                          3.   “Communicable     disease”    means     a
                 similar property used to perform the
                                                                                    bacterial  micro-organism     transmitted
                 same functions. Property of others will
                                                                                    through human contact with food.
                 be valued in the same manner, but we



411-0793 04 14           Includes copyrighted materials of Insurance Services Offices, Inc. with its permission     Page 34 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 709632488
                                                                  ZBS  of 217 02 5502701

       4.   “Computer equipment” means:                                           malicious direction or a high volume of
            a. “Hardware” owned by you or in your                                 worthless inquiries to Website or e-mail
                                                                                  destinations, effectively denying or limiting
               care, custody or control;
                                                                                  legitimate access regardless of whether or
            b. “Software”; or                                                     not damage to “computer equipment”
            c. “Protection and control equipment”.                                results.
       5.   “Computer         hacking”       means   an                      9.   “Dependent property” means property
            unauthorized intrusion by an individual or                            operated by others whom you depend on
            group of individuals, whether employed by                             to:
            you or not, into “hardware” or “software”, a                          a. Deliver materials or services to you, or
            Web site, or a computer network and that                                 to others for your account. But any
            results in but is not limited to:                                        property which delivers any of the
            a. Deletion, destruction, generation, or                                 following services is not a dependent
               modification of “software”;                                           property with respect to such services:
            b. Alteration, contamination, corruption,                                  (1) Water supply services;
               degradation, or destruction of the                                      (2) Power supply services; or
               integrity, quality or performance of
                                                                                       (3) Communication supply services,
               “software;
                                                                                           including services relating to
            c. Observation, scanning, or copying of                                        Internet access or access to any
               “electronic data”, “programs and                                            electronic network;
               applications”,   and     “proprietary
                                                                                  b. Accept your products or services;
               programs”;
                                                                                  c. Manufacture products for delivery to
            d. Damage, destruction, inadequacy,
                                                                                     your customers under contract of sale;
               malfunction, degradation, or corruption
                                                                                     or
               of any “hardware” or “media” used with
               “hardware”’; or                                                    d. Attract customers to your business.
            e. Denial of access to or denial of                              10. “Dependent property period of restoration”
               services from “hardware”, “software”,                             means the period of time that:
               computer network, or Web site                                      a. Begins 72 hours after the time of
               including related “software”.                                         direct physical loss or damage caused
       6.   “Computer Virus” means the introduction                                  by or resulting from any Covered
            into “hardware”, “software”, computer                                    Cause of Loss at the premises of the
            network, or Web site of any malicious,                                   “dependent property”; and
            self-replicating electronic data processing                           b. Ends on the date when the property at
            code or other code and that is intended to                               the premises of the “dependent
            result in, but is not limited to:                                        property” should be repaired, rebuilt or
            a. Deletion, destruction, generation, or                                 replaced with reasonable speed and
               modification of “software”;                                           similar quality.
            b. Alteration, contamination, corruption,                             “Dependent property period of restoration”
               degradation, or destruction of the                                 does not include any increased period
               integrity, quality, or performance of                              required due to the enforcement of any
               “software”;                                                        ordinance or law that:
            c. Damage, destruction, inadequacy,                                   c. Regulates the construction, use or
               malfunction, degradation, or corruption                               repair, or requires the tearing down, of
               of any “hardware” or “media” used with                                any property; or
               “hardware”; or                                                     d. Requires any insured or others to test
            d. Denial of access to or denial of                                      for, monitor, clean up, remove,
               services from “hardware”, “software”,                                 contain, treat, detoxify or neutralize, or
               computer network, or Web site                                         in any way respond to or assess the
               including related “software”.                                         effects of “pollutants”.
       7.   “Counterfeit money” means an imitation of                             The expiration date of this policy will not
            “money” that is intended to deceive and to                            cut short the “dependent property period of
            be taken as genuine.                                                  restoration”.
       8.   “Denial   of service     attack” means the                       11. “Discover” or “Discovered” means:




411-0793 04 14         Includes copyrighted materials of Insurance Services Offices, Inc. with its permission    Page 35 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 719632488
                                                                  ZBS  of 217 02 5502701

           a. The time when you first become aware                                 c. Any natural person who is leased to
              of facts which would cause a                                            you under a written agreement
              reasonable person to assume that a                                      between you and a labor leasing firm,
              loss of a type covered by this policy                                   to perform duties related to the
              has been or will be incurred,                                           conduct of your business, but does not
              regardless of when the act or acts                                      mean a temporary “employee” as
              causing or contributing to such loss                                    defined in paragraph a.(2);
              occurred, even though the exact                                      d. Any natural person who is:
              amount or details may not be known.
                                                                                        (1) A trustee, officer, employee,
           b. “Discover” or “Discovered” also means
                                                                                            administrator or manager, except
              the time when you first receive notice
                                                                                            an administrator or manager who
              of an actual or potential claim in which
                                                                                            is an independent contractor, of
              it is alleged that you are liable to a
                                                                                            any “employee benefit plan”; and
              third party under circumstances which,
              if true, would constitute a loss under                                    (2) A director or trustee of yours while
              this policy.                                                                  that person is engaged in handling
                                                                                            “funds” or “other property” of any
       12. “Electrical disturbance” means electrical or
                                                                                            “employee benefit plan”;
           magnetic      damage,     disturbance     of
           electronic recordings, or erasure of                                    e. Any natural person who is a former
           electronic recordings.                                                     “employee”,    partner,   “manager”,
                                                                                      director or trustee retained as a
       13. “Electronic data” means files, documents,
                                                                                      consultant while performing services
           information      and    “programs     and
                                                                                      for you;
           applications” in an electronic format and
           that are stored on “media”.                                             f.   Any natural person who is a guest
                                                                                        student or intern pursuing studies or
       14. “Electronic vandalism” means “computer
                                                                                        duties, excluding, however, any such
           hacking”, “computer virus” or a “denial of
                                                                                        person while having care and custody
           service attack”. “Electronic vandalism”
                                                                                        or property outside the described
           does not include the theft of any property
                                                                                        premises;
           or services.
                                                                                   g. Any “employee” of an entity merged or
       15. “Employee” means:
                                                                                      consolidated with you prior to the
           a. Any natural person:                                                     effective date of this policy; or
                 (1) While in your service and for the                             h. Any of your “managers”, directors or
                     first 30 days immediately after                                  trustees while:
                     termination of service;                                            (1) Performing acts within the scope
                 (2) Who you compensate directly by                                         of the usual duties of an
                     salary, wages or commissions;                                          “employee”; or
                     and                                                                (2) Acting as a member of any
                 (3) Who you have the right to direct                                       committee       duly   elected   or
                     and control while performing                                           appointed by resolution of your
                     services for you;                                                      board of directors or board of
           b. Any natural person who is furnished                                           trustees to perform specific, as
              temporarily to you:                                                           distinguished      from     general,
                                                                                            directorial acts on your behalf.
                 (1) To substitute for a permanent
                     “employee”    as    defined    in                             “Employee” does not mean any agent,
                     paragraph a.(1), who is on leave;                             broker, factor, commission merchant,
                                                                                   consignee, independent contractor or
                     or
                                                                                   representative of the same general
                 (2) To meet seasonal or short-term                                character not specified in Paragraph 15. of
                     work load conditions;                                         this section.
                 while that person is subject to your                         16. “Employee benefit plan” means any
                 direction and control and performing                             welfare or pension benefit plan shown that
                 services for you, excluding, however,                            you sponsor and which is subject to the
                 any such person while having care                                Employee Retirement Income Security Act
                 and custody of property outside the                              of 1974 (ERISA) and any amendments
                 premises;                                                        thereto.



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission    Page 36 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 729632488
                                                                  ZBS  of 217 02 5502701

       17. “Fine arts” means paintings, etchings,                              21. “Forgery” means the signing of the name
           pictures, tapestries, rare art glass, art glass                         of another person or organization with
           windows,       valuable      rugs,    statuary,                         intent to deceive; it does not mean a
           sculptures, “antique” jewelry, bric-a-brac,                             signature which consists in whole or in part
           porcelains and similar property of rarity,                              of one’s own name signed with or without
           historical value or artistic merit.                                     authority, in any capacity, for any purpose.
       18. “Flood” means a general and temporary                               22. “Funds” means “money” and “securities”.
           condition of partial or complete inundation                         23. “Hardware” means a network of electronic
           of normally dry land areas due to:                                      machine components (microprocessors)
           a. The overflow of inland or tidal waters;                              capable of accepting instructions and
           b. The unusual or rapid accumulation of                                 information, processing the information
              runoff of surface waters from any                                    according to the instructions, and
              source; or                                                           producing desired results. “Hardware”
                                                                                   includes but is not limited to:
           c. Mudslides or mudflows which are
                                                                                    a. Mainframe and mid-range computers
              caused by flooding as defined in b.
                                                                                       and servers;
              above. For the purpose of this
              Covered Cause of Loss, a mudslide or                                  b. Personal computers and workstations;
              mudflow involves a river of liquid and                                c. Laptops, palmtops, notebook PCs,
              flowing mud on the surface of normally                                   other portable computer devices and
              dry land areas as when earth is                                          accessories including, but not limited
              carried by a current of water and                                        to, multimedia projectors; and
              deposited along the path of the
              current.                                                              d. Peripheral data processing equipment,
                                                                                       including but not limited to, printers,
       19. “Food contamination” means an incidence                                     keyboards, monitors, and modems.
           of food poisoning to one or more of your
           customers as a result of:                                           24. “Installation, tools and equipment property”
                                                                                   means:
           a. Tainted food you purchased;
                                                                                    a. Materials,     supplies, machinery,
           b. Food which has been improperly                                           fixtures and equipment that will
              stored, handled or prepared; or                                          become a permanent part of your
           c. A “communicable disease” transmitted                                     installation while:
              through one or more of your                                                (1) Located at the site of installation;
              “employees”.
                                                                                         (2) “In transit” by you to or from the
       20. "Fraudulent instruction" means:                                                   described premises and the job
           a. An electronic, telegraphic, cable,                                             site; or
              teletype, telefacsimile or telephone                                       (3) While in temporary             storage
              instruction which purports to have                                             awaiting installation.
              been transmitted by you, but which
              was in fact fraudulently transmitted by                               b. Commercial tools and equipment
              someone else without your knowledge                                      usual to your business and used in
              or consent;                                                              your installation which are:
           b. A written instruction issued by you,                                       (1) Your property; or
              which was forged or altered by                                             (2) The property of others in your
              someone other than you without your                                            care, custody or control.
              knowledge or consent or which
                                                                                         Commercial tools and equipment does
              purports to have been issued by you,
                                                                                         not include:
              but was in fact fraudulently issued
              without your knowledge or consent; or                                      (3) Aircraft or watercraft;
           c.    An electronic, telegraphic, cable,                                      (4) Any property while waterborne,
                 teletype, telefacsimile, telephone or                                       airborne or underground;
                 written instruction initially received by                               (5) Property you have loaned, rented
                 you which purports to have been                                             or leased to others;
                 transmitted by an employee but which
                 was in fact fraudulently transmitted by                                 (6) Property that is permanently
                 someone else without your or the                                            mounted to a vehicle; or
                 employee’s knowledge or consent                                         (7) Property held for sale.



411-0793 04 14           Includes copyrighted materials of Insurance Services Offices, Inc. with its permission        Page 37 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 739632488
                                                                  ZBS  of 217 02 5502701

       25. “In transit” means in the course of                                     conditions change.
           shipment from or to the premises shown in                          35. “Power supply disturbance” means
           the Declarations. It includes such                                     interruption of power supply, power surge,
           shipments while temporarily stopped or                                 blackout, or brownout.
           delayed, incidental to the delivery.
                                                                              36. “Programs and applications” means
       26. “Manager” means a person serving in a                                  operating programs and applications that
           directorial capacity for a limited liability                           you purchase and that are:
           company.
                                                                                   a. Stored on “media”; or
       27. “Member” means an owner of a limited
           liability company represented by its                                    b. Pre-installed and stored in “hardware”.
           membership interest who, if a natural                                   Applications includes, but is not limited to,
           person, may also serve as a “manager”.                                  programs       for    word      processing,
       28. “Mechanical breakdown” means the                                        spreadsheet calculations, and graphic
           malfunction or failure of moving or                                     design.
           electronic parts, component failure, faulty                        37. “Proprietary programs” means proprietary
           installation, or blowout.                                              operating programs and applications that
       29. “Media” means an instrument that is used                               you developed or that you had developed
           with “hardware” and on which “electronic                               specifically for use in your “operations” and
           data”, “programs and applications”, and                                that are:
           “proprietary programs” can be recorded or                               a. Stored on “media”; or
           stored. “Media” includes, but is not limited
                                                                                   b. Installed and stored in “hardware”.
           to, films, tapes, cards, discs, drums,
           cartridges, cells, DVDs, or CD-ROMs.                               38. “Protection and control equipment” means:
       30. “Money” means:                                                          a. Air conditioning equipment used
                                                                                      exclusively in the operation of the
             a. Currency, coins and bank notes in
                                                                                      “hardware”;
                current use and having a face value;
                and                                                                b. Fire protection equipment used for the
                                                                                      protection of the “hardware”, including
             b. Travelers checks, register checks and
                                                                                      automatic      and     manual       fire
                money orders held for sale to the
                                                                                      suppression equipment and smoke
                public.
                                                                                      and heat detectors; and
       31. “Occurrence” means all loss or damage
                                                                                   c. Uninterruptible power supply system,
           that is attributable to:
                                                                                      line conditioner, and voltage regulator.
             a. An act, event, cause or series of
                                                                              39. “Prototype” means an original version of a
                similar, related acts, events or causes
                                                                                  newly designed product that is an outcome
                involving one or more persons; or
                                                                                  of your “research and development
             b. An act, event, cause or series of                                 operations”. A “prototype” includes sample
                similar, related acts, events or causes                           designs, experimental models or displays
                not involving any person.                                         that are associated with or integral to the
       32. “Operations”   means    your             business                      manufacture of the original version of a
           activities occurring at the             described                      newly designed product.
           premises.                                                          40. “Rental value” means Business Income
       33. “Other property” means tangible property                               that consists of:
           other than “money” and “securities” that                                a. Net Income (Net Profit or Loss before
           has intrinsic value. “Other property” does                                 income taxes) that would have been
           not include computer programs, electronic                                  earned or incurred as rental income
           data or any property specifically excluded                                 from tenant occupancy of the
           under this policy.                                                         premises     described      in    the
       34.    “Perishable    goods”      means       personal                         Declarations   as    furnished    and
             property:                                                                equipped by you, including fair rental
                                                                                      value of any portion of the described
             a. Maintained       under     controlled                                 premises which is occupied by you;
                temperature or humidity conditions for                                and
                preservation; and
                                                                                   b. Continuing normal operating expenses
             b. Susceptible to loss or damage if the                                  incurred in connection with that
                controlled temperature or humidity



411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission    Page 38 of 39
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 749632488
                                                                  ZBS  of 217 02 5502701

                 premises, including:                                                   promotional expenses.
                 (1) Payroll; and                                             46. “Software” means:
                 (2) The amount of charges which are                               a. “Media”;
                     the legal obligation of the tenant(s)                         b. “Electronic data”;
                     but would otherwise be your
                     obligations.                                                  c. “Programs and applications”; and
       41. “Research          and      dev elopm ent                               d. “Proprietary programs”.
           documentation” means written evidence of                           47. “Spoilage” means any detrimental change
           facts, information, processes, concepts or                             in physical state of “perishable goods”.
           formulas that are directly related to the                              Detrimental change includes, but is not
           development      of     new products or                                limited to, thawing of frozen goods,
           enhancement of existing products. Written                              warming        of     refrigerated  goods,
           evidence includes written papers, plans,                               solidification of liquid or molten material,
           manuscripts,      written   or   inscribed                             chemical reactions to material in process,
           documents or plans.                                                    and reduction in value of time sensitive
           “Research         and        dev el opm ent                            materials.
           documentation” does not include “valuable                          48. “Theft” means the unlawful taking of
           papers and records”, accounts receivable                               property to the deprivation of the insured.
           or “media”, “software” or “data”.
                                                                              49. "Transfer account" means an account
       42. “Research and development operations”                                  maintained by you at a financial institution
           means your business activities that are                                from which you can initiate the transfer,
           directly related to the development of new                             payment or delivery of "money" and
           products or the enhancement of existing                                "securities":
           products.
                                                                                   a. By means of electronic, telegraphic,
       43. “Scientific and professional equipment”                                    cable, teletype, telefacsimile    or
           means medical, engineering, veterinary,                                    telephone instructions communicated
           measurement, recording, analyzing or                                       directly through an electronic funds
           similar equipment.                                                         transfer system; or
       44. “Securities”  means    negotiable  and                                  b. By means of written instructions
           nonnegotiable instruments or contracts                                     establishing the conditions under
           representing either “money” or property                                    which such transfers are to be initiated
           and includes:                                                              by such financial institution through an
           a. Tokens, tickets, revenue and other                                      electronic funds transfer system.
              stamps (whether represented by actual                           50. “Valuable papers and records” means:
              stamps or unused value in a meter) in
              current use; and                                                     a. Inscribed, printed or written:

           b. Evidences of debt issued in                                               (1) Documents;
              connection with credit or charge cards,                                   (2) Manuscripts; and
              which cards are not issued by you.                                        (3) Records
           but does not include “money”.                                                including abstracts, books, deeds,
       45. “Soft cost expenses” means additional:                                       drawings, films, maps or mortgages;
           a. Realty taxes and other assessments                                        and
              that you incur for the period of time                                b. Similar items stored electronically.
              that construction has been extended                                  But, “valuable papers and records” does
              beyond the projected completion date;                                not    mean “money”      or “securities”.
           b. Interest on money borrowed to finance
              construction, remodeling, renovation
              or repair; and
           c. Advertising,      public     relations      and


                 ALL OTHER TERMS, CONDITIONS, AND EXCLUSIONS REMAIN UNCHANGED.




411-0793 04 14          Includes copyrighted materials of Insurance Services Offices, Inc. with its permission   Page 39 of 39
       Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 759632488
                                                                   ZBS  of 217 02 5502701

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              HOSPITALITY PROPERTY BROADENING ENDORSEMENT
This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CAUSES OF LOSS - SPECIAL FORM

This endorsement applies only to those locations for which a corresponding premium has been paid.
The following is added to C. Limits of Insurance of Building and Personal Property Coverage Form CP 00 10.
The limits applicable to the Coverages included in this endorsement may either be in addition to or included within
the applicable Limits of Insurance. For application of the limits, refer to each coverage within this endorsement.
Refer to SECTION V – DEFINITIONS of this endorsement for additional words or phrases which appear in
quotation marks that have special meaning.
I.   COVERAGES
     A. Personal Property of Others Included
         A. Coverage, Paragraph 1. Covered Property, subparagraph c. Personal Property of Others of
         Building and Personal Property Coverage Form CP 00 10, is deleted and included as A. Coverage,
         Paragraph 1. Covered Property, subparagraph c.(8).
     B. Scheduled Coverages
         The coverages in this endorsement amend the coverage provided under the Building and Personal
         Property Coverage Form and Causes of Loss – Special Form through new coverages and substitute
         coverage grants. These coverages are subject to the provisions applicable to this policy, except where
         amended within this endorsement. If any of the property covered by this endorsement is also covered
         under any other provisions of the policy of which this endorsement is made a part, or if more than one
         coverage under this endorsement applies, in the event of loss or damage, you may choose only one of
         these coverages to apply to that loss. The most we will pay in this case is the limit of insurance applying
         to the coverage you select. Coverages included in this endorsement apply either separately to each
         described premises or on an “occurrence” basis. Refer to each coverage within this endorsement for
         application of coverage.

                                                                                                       Amended
                                                                                Limits of               Limits of
                                                                               Insurance               Insurance          Page
         1. Alternative Key Systems                                                 $100,000                          $    2
         2. Automated External Defibrillators                                           $5,000                        $    2
         3. Customer Reimbursement                                                    $50,000                         $    2
         4. Emergency Evacuation Expense                                              $25,000                         $    3
         5. Guests Property                                                           $25,000                         $    3
         6. Paved Surfaces                                                            $50,000                         $    4
         7. Reservation Systems (Nonaffliliated) – Worldwide                        $100,000                        N/A    4
         8. Spoilage                                                                                                       4
             On Premises                                                            $250,000                        N/A
             In Transit                                                               $25,000                       N/A

II. DEDUCTIBLE
     We will not pay for covered loss or damage in any one “occurrence” unless the amount of loss or damage
     exceeds the deductible amount shown in the Declarations of this Policy. We will then pay the amount of loss
     or damage in excess of the Deductible, up to the applicable Limit of Insurance for all coverages listed under
     SECTION I – COVERAGES, Paragraph B. Scheduled Coverages. No deductible applies to coverages
     where specifically designated .

411-0801 04 14            Includes copyrighted material of Insurance Services Office, Inc. with its permission            Page 1 of 7
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 769632488
                                                                  ZBS  of 217 02 5502701

 III. COVERED PROPERTY                                                              The following is added to A. Coverage,
    A. Scheduled Coverages                                                          Paragraph 4. Additional Coverages of
                                                                                    Building and Personal Property Coverage
        1. Alternative Key Systems                                                  Form CP 00 10:
             The following is added to A. Coverage,                                 Customer Reimbursement
             Paragraph 4. Additional Coverages of
             Building and Personal Property Coverage                                (1) We will pay your expense to
             Form CP 00 10:                                                             reimburse customers for whom
                                                                                        prearranged accommodations at a
             Alternative Key Systems                                                    location listed in the Declarations
             (1) We will pay for loss or damage to                                      cannot be honored due to direct
                 Alternative Key Systems, including                                     physical loss or damage to covered
                 card programmers, card readers,                                        property at a location listed in the
                 transceivers,     related    alarms,                                   Declarations caused by or resulting
                 computers, power supplies and any                                      from a Covered Cause of Loss. Such
                 other electronic or mechanical                                         prearranged accommodations must
                 equipment needed to make the card                                      have been in effect at the time of loss.
                 keys work. The loss must be caused                                 (2) We will reimburse you only for:
                 by a Covered Cause of Loss and take
                 place at a location described in the                                    (a) Reasonable expenses incurred by
                 Declarations.                                                               you to secure other comparable
                                                                                             accommodations; and
             (2) The most we will pay for loss or
                 damage to alternative key systems is                                    (b) Reasonable extra expenses
                 $100,000 or the Limit of Insurance                                          incurred by those customers
                 shown in the Amended Limits Section                                         described above to travel back
                 of this Endorsement, in any one policy                                      and forth from the location listed
                 period regardless of the number of                                          on the Declarations to the
                 claims or number of insured locations                                       replacement accommodations
                 involved.                                                          (3) We will reimburse you for the
             (3) The amount payable under this                                          expenses listed above incurred by any
                 Additional Coverage is additional                                      customer between the date the
                 insurance.                                                             customer’s      prearranged         hotel
                                                                                        accommodations are scheduled to
        2. Automated External Defibrillators                                            begin or are interrupted, whichever is
             The following is added to A. Coverage,                                     later, and the earliest of the following
             Paragraph 4. Additional Coverages of                                       dates:
             Building and Personal Property Coverage                                     (a) The    date    the   customer’s
             Form CP 00 10:                                                                  prearranged             hotel
             Automated External Defibrillators                                               accommodations at your hotel are
                                                                                             scheduled to end; or
             (1) In the event of a covered cause of
                 loss, we will pay for direct physical                                   (b) The date the damaged property at
                 loss to automated defibrillators while                                      your hotel can be restored to a
                 at an insured location which are your                                       condition permitting occupancy.
                 property or property of others for                                 (4) You must resume all or part of your
                 which you are responsible under                                        hotel operations and resume honoring
                 written contract existing before loss.                                 prearranged hotel accommodations at
             (2) The most we will pay for loss or                                       a location listed in the Declarations as
                 damage      under this      Additional                                 soon as possible. If you fail to do so,
                 Coverage is $5,000 per “occurrence”                                    the amount we pay under this
                 or the Limit of Insurance shown in the                                 coverage extension will be reduced by
                 Amended Limits Section of this                                         the amount that could have been
                 Endorsement.                                                           saved.
             (3) The amount payable under this                                      (5) Customer reimbursement covered
                 Additional Coverage is additional                                      under this Additional Coverage is not
                 insurance.                                                             “Extra Expense”.
        3.   Customer Reimbursement                                                 (6) The most we will pay under this
                                                                                        Additional Coverage is $50,000 per


411-0801 04 14          Includes copyrighted material of Insurance Services Office, Inc. with its permission    Page 2 of 7
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 779632488
                                                                  ZBS  of 217 02 5502701

                  “occurrence” or the Limit of Insurance                                 (b) While the property is inside a
                 shown in the Amended Limits Section                                         building at an insured location.
                 of this Endorsement, but not more                                       If you are sued for refusing to pay for
                 than $250 for any one guest.                                            loss of or damage to “guests’
        4. Emergency Evacuation Expense                                                  property” and you have our written
            The following is added to A. Coverage,                                       consent to defend against the suit, we
            Paragraph 4. Additional Coverages of                                         will pay up to $5,000 for any
                                                                                         reasonable legal expenses that you
            Building and Personal Property Coverage
                                                                                         incur and pay in that defense. The
            Form CP 00 10:
                                                                                         amount we will reimburse for defense
            Emergency Evacuation Expense                                                 of any suit is in addition to the
            (1) We will pay for the reasonable                                           applicable Limit of Insurance shown in
                expenses you incur for the emergency                                     the Declarations.
                evacuation of your guests from                                      (2) We will not pay for loss or damage:
                locations scheduled on the policy.
                                                                                         (a) Resulting from any dishonest or
            (2) The Emergency Evacuation must be                                             criminal act that you or any of your
                in response to an imminent danger of                                         partners or members commit,
                injury or loss of life to guests from a                                      whether acting alone or in
                covered cause of loss.                                                       collusion with other persons.
            (3) We will not pay for any expenses                                         (b) Resulting from liability you
                arising out of:                                                              assume under any written
                 (a) Planned evacuation drills,                                              agreement.    However,     this
                                                                                             exclusion does not apply under
                 (b) The evacuation of one or more of                                        Paragraph (1)(b) above to any
                     the guests due to their medical                                         written agreement entered into
                     conditions, or                                                          with a guest before the
                 (c) The threat of a named tropical                                          “occurrence” of any loss or
                     storm or hurricane that does not                                        damage that increases your
                     come within 250 miles of the                                            liability to an amount not
                     insured location.                                                       exceeding $1,000 or any lesser
            (4) The most we will pay per insured                                             amount for which you may
                location in any one “occurrence” under                                       otherwise be liable under any
                this Additional Coverage, regardless                                         statue.
                of the number of guests is $25,000 or                                    (c) To property resulting from fire,
                the Limit of Insurance shown in the                                          however caused
                Amended Limits Section of this                                           (d) Under Paragraph (1)(a) above to
                Endorsement.                                                                 property in any wall safe or other
            (5) The amount payable under this                                                container used for safe keeping
                Additional Coverage is additional                                            that is within a guest’s quarters.
                insurance.                                                               (e) Under Paragraph (1)(b) above to
            (6) No deductible applies               to    this                               property resulting from the spilling,
                Additional Coverage.                                                         upsetting or leaking of any food or
        5. Guests Property                                                                   liquid.

            The following is added to A. Coverage,                                       (f) Under Paragraph (1)(b) above to
            Paragraph 4. Additional Coverages of                                             property while in your care and
            Building and Personal Property Coverage                                          custody for laundering, cleaning or
            Form CP 00 10:                                                                   other servicing.

            Guests Property                                                              (g) Resulting from your release of any
                                                                                             other person or organization from
            (1) We will pay for loss of or damage to                                         legal liability.
                “guests’ property” for which you are
                                                                                         (h) Under Paragraph (1)(b) above to
                legally liable:
                                                                                             any vehicle including:
                 (a) While the property is in a safe
                                                                                               (i) It’s equipment or accessories;
                     deposit box inside a building at an
                     insured location; or                                                          and




411-0801 04 14          Includes copyrighted material of Insurance Services Office, Inc. with its permission    Page 3 of 7
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 789632488
                                                                  ZBS  of 217 02 5502701

                    (ii) Any property contained in or                                   similar service anywhere in the world,
                         on a vehicle                                                   except for:
            (3) B. Exclusions, Paragraph 2.h. and C.                                     (a) bookings by local travel agencies,
                Limitations, Paragraph 1.e. of Causes of                                     upon whom you depend for the
                Loss – Special Form CP 10                                                    booking of reservations, that are
                30 do not apply to this Additional                                           not your subsidiaries; or
                Coverage.                                                               (b) bookings by referral services
            (4) The most we will pay under this                                             owned or leased by you.
                Additional Coverage is $25,000 per                                 (2) The direct physical loss or damage
                “occurrence” or the Limit of Insurance                                 must be caused by or result from a
                shown in the Amended Limits Section                                    Covered Cause of Loss.
                of this Endorsement, but not more
                than $1,000 for any one guest.                                     (3) We will use the terms and provisions
                                                                                       as set forth under the “Business
       6. Paved Surfaces                                                               Income”      and   “Extra  Expense”
            The following is added to A. Coverage,                                     coverage found elsewhere in this
            Paragraph 5. Coverage Extensions of                                        policy to calculate recoverable loss
            Building and Personal Property Coverage                                    under this coverage. However, this
            Form CP 00 10:                                                             coverage does not include loss for
                                                                                       Extended Business Income as set
            Paved Surfaces
                                                                                       forth therein.
            (1) You may extend the insurance
                                                                                   (4) As part of your Duties In the Event of
                provided under Building to apply to
                                                                                       Loss or Damage, you are responsible
                your paved surfaces, including but not
                                                                                       to research, assess, present and
                limited to bridges, roadways, and
                                                                                       document your claim for any loss
                parking lots.
                                                                                       presented under this coverage. As
            (2) Regardless of the number of                                            part of your documentation, you must
                described premises involved, the most                                  include reliable data that permits us to
                we will pay for loss or damage in any                                  verify your claim.
                one “occurrence“ at the described
                                                                                   (5) The most we will pay under this
                premises is $50,000 or the Limit of
                                                                                       Coverage Extension is $100,000 in
                Insurance shown in the Amended
                                                                                       any one policy period. This coverage
                Limits Section of this Endorsement.
                                                                                       does not apply separately to each
            (3) Payment for loss or damage to this                                     insured location. $100,000 is the
                property is included in the applicable                                 maximum you may collect in any one
                Limit of Insurance.                                                    “occurrence”     or   policy   period
            (4) A. Coverage, Paragraph 2. Property                                     regardless of the number of insured
                Not Covered, subparagraph d. of                                        locations involved or affected by an
                Building and Personal Property                                         “occurrence”.
                Coverage Form CP 00 10, is deleted.                                (6) The amount payable under this
            (5) Special Paved Surfaces Exclusion                                       Additional Coverage is additional
                                                                                       insurance.
                 We will not pay for loss or damage
                 caused by freezing or thawing.                               8. Spoilage
       7.   Reservation Systems (Nonaffiliated) –                                  The following is added to A. Coverage,
            Worldwide                                                              Paragraph 5. Coverage Extensions of
                                                                                   Building and Personal Property Coverage
            The following is added to A. Coverage,                                 Form CP 00 10:
            Paragraph 5. Coverage Extensions of
            Building and Personal Property Coverage                                Spoilage
            Form CP 00 10:                                                          (1) You may extend the insurance that
            Reservation Systems (Nonaffiliated) –                                       applies to Your Business Personal
            Worldwide                                                                   Property to apply to direct physical
                                                                                        loss or damage to your “perishable
            (1) We will pay the actual loss of                                          goods” at the described premises; or
                ”business income” or “extra expense”                                    in a vehicle owned, leased or
                that you sustain due to direct physical                                 operated by you while in transit
                loss or damage at the premises of a
                franchiser, referral system or other


411-0801 04 14           Includes copyrighted material of Insurance Services Office, Inc. with its permission   Page 4 of 7
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 799632488
                                                                  ZBS  of 217 02 5502701

                 caused by or resulting from either of                                       to control the flow of electrical
                 the following causes of loss:                                               power or current;
                 (a) Breakdown       or     Contamination,                              (c) The inability of an Electrical Utility
                     meaning:                                                               Company or other power source
                    (i) On premises change in                                               to provide sufficient power due to:
                        temperature       or     humidity                                    (i) Lack of fuel; or
                        resulting from mechanical                                            (ii) Governmental order.
                        breakdown or mechanical
                        failure of refrigerating, cooling                               (d) The inability of a power source at
                        or humidity control apparatus                                       the described premises to provide
                        or equipment, only while such                                       sufficient power due to lack of
                        equipment or apparatus is at                                        generating capacity to meet
                        the described premises; or                                          demand; or
                    (ii) Change in temperature or                                       (e) Breaking of any glass that is a
                         humidity       resulting   from                                    permanent        part   of    any
                         mechanical       breakdown or                                      refrigerating, cooling or humidity
                         mechanical         failure    of                                   control unit; or
                         refrigerating,     cooling    or                               (f) The failure to maintain adequate
                         humidity control apparatus or                                      fuel levels for the refrigeration,
                         equipment, only while such                                         cooling     or humidity    control
                         equipment or apparatus is in a                                     apparatus or equipment in a
                         vehicle owned, leased or                                           vehicle; or
                         operated by you while in
                                                                                        (g) Your or a service representatives
                         “transit”; or
                                                                                            failure to inspect a vehicles’
                    (iii) Contamination          by        the                              refrigeration, cooling or humidity
                          refrigerant.                                                      control apparatus or equipment at
                 (b) Power Outage, meaning change                                           least quarterly.
                     in    temperature    or   humidity                            (6) Coverage Under this Extension will
                     resulting from complete or partial                                not apply unless:
                     interruption of electrical power,
                                                                                        (a) A record of each inspection of
                     either on or off the described
                     premises, due to conditions                                            refrigeration, cooling or humidity
                     beyond your control.                                                   control apparatus or equipment in
                                                                                            a vehicle is retained and
           (2) Coverage under this Extension does                                           maintained for at least 24
               not apply to property located on                                             consecutive months prior to the
               buildings or in the open.                                                    date of loss; and
           (3) The most we will pay for on premises                                     (b) You provide us with all records.
               loss or damage under this Coverage
                                                                   IV. BROADENED VALUATION CLAUSE
               Extension in any one “occurrence” is
               $250,000.                                                 A. E. Loss Conditions, Paragraph 7. Valuation,
           (4) The most we will pay for loss or                             subparagraph a. of Building and Personal
               damage to your perishable goods                              Property Coverage Form CP 00 10 is replaced
               while “in transit” under this Coverage                       by the following:
               Extension is $25,000 in any one                                a. At replacement cost without deduction for
               “occurrence”.                                                     depreciation,      except    as    provided
           (5) Special Spoilage Exclusions                                       otherwise in this Property Coverage Part.
                 We will not pay for loss or damage                                (1) You may claim for loss or damage
                 caused by or resulting from:                                          covered by this insurance on an actual
                                                                                       cash value basis instead of on a
                 (a) The      disconnection   of   any                                 replacement cost basis. In the event
                     refrigerating, cooling or humidity                                you elect to have loss or damage
                     control system from the source of                                 settled on an actual cash value basis,
                     power;                                                            you may still make a claim on a
                 (b) The deactivation of electrical                                    replacement cost basis if you notify us
                     power caused by the manipulation                                  of your intent to do so within 180 days
                     of any switch or other device used                                after the date loss or damage.



411-0801 04 14          Includes copyrighted material of Insurance Services Office, Inc. with its permission    Page 5 of 7
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 809632488
                                                                  ZBS  of 217 02 5502701

            (2) We will not pay on a replacement cost                                         the proportionate value of the
                basis for any loss or damage:                                                 improvements and betterments as
                 (a) Until the lost or damaged property                                       follows:
                     is actually repaired or replaced;                                        (i) Multiply the original cost by
                     and                                                                          365 days; and
                 (b) Unless the repairs or replacement                                        (ii) Divide the amount determined
                     are made as soon as reasonably                                                in (a) above by the number of
                     possible after the loss or damage.                                            days from the installation of
            (3) We will not pay more for loss or                                                   improvements to 365 days
                damage on a replacement cost basis                                                 after the date of the
                than the least of:                                                                 “occurrence”.

                 (a) The Limit of Insurance applicable                              (3) If your lease contains a renewal
                     to the lost or damaged property;                                   option, the expiration of the renewal
                                                                                        option period will replace the
                 (b) The cost to replace, at the same                                   expiration of the lease in the
                     location, the lost or damaged                                      procedure described in (2) above.
                     property with other property:
                                                                                    (4) Nothing, if others pay for repairs or
                     (i) Of comparable material and                                     replacement.
                         quality; and
                                                                          C. The following is added to E. Loss Conditions,
                     (ii) Used for the same purpose;                         Paragraph 7. Valuation of Building and
                          or                                                 Personal Property Coverage Form CP 00 10:
                 (c) The amount you actually spend                             t. The following property at actual cash
                     that is necessary to repair or                                value:
                     replace the lost or damaged
                     property – even if, when                                       (1) Used or second hand merchandise
                     replacement is necessary, you                                      held in storage or for sale;
                     choose to make use of other than                               (2) Household contents, except personal
                     new property to effect such                                        property in apartments or rooms
                     replacement.                                                       furnished by you as landlord;
    B. E. Loss Conditions, Paragraph 7. Valuation,                                  (3) Manuscripts;
       subparagraph e. of Building and Personal
                                                                                    (4) Works of art, “antiques” or rate
       Property Coverage Form CP 00 10 is replaced
                                                                                        articles, including etchings, pictures,
       by the following:
                                                                                        statuary, marbles, bronzes, porcelains
        e. Tenant’s Improvements and Betterments                                        and bric-a-brac; and
           at:
                                                                                    (5) Contractors equipment and tools
            (1) Actual cash value of the lost or
                                                                               u. Lottery tickets at their initial cost to you
                damaged property if you make
                                                                                  except for winning tickets, at their
                repairs promptly.
                                                                                  redeemed present cash value.
            (2) A proportion of your original cost if you
                                                                               v. Data, media and computer “software”
                do not make repairs promptly. We will
                                                                                  programs. For media, at the actual costs
                determine the proportionate value as
                                                                                  of repairing or replacing the media with
                follows:
                                                                                  material of like kind and quality. Data and
                 (a) Multiply the original cost by the                            computer “software” programs at the
                     number of days from the loss or                              actual cost of reproducing the data or
                     damage to the expiration of the                              computer “software” program, providing
                     lease; and                                                   you actually reproduce or replace it.
                 (b) Divide the amount determined in                           w. Prepackaged “software” programs and
                     (a) above by the number of days                              electronic data processing equipment that
                     from     the    installation   of                            cannot be replaced, at the cost of
                     improvements to the expiration of                            functionally equivalent “software” or
                     the lease.                                                   “hardware”.
                 (c) When a written lease does not                             x. “Business income”, “extra expense” and
                     exist, instead of the method of                              “resumption of operations”:
                     calculating loss shown in e.(2)(a)
                     and (b) above, we will determine


411-0801 04 14          Includes copyrighted material of Insurance Services Office, Inc. with its permission    Page 6 of 7
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 819632488
                                                                  ZBS  of 217 02 5502701

            (1) The amount of “business income” loss                                                 except for insurance that is
                will be determined based on:                                                         written subject to the same
                 (a) The Net Income of the business                                                  plan, terms, conditions and
                     before the direct physical loss or                                              provisions as this insurance;
                     damage occurred;                                                                and
                 (b) The likely Net Income of the                                         (b) All necessary expenses that
                     business if no loss or damage had                                        reduce the “business income” loss
                     occurred but not including any Net                                       that otherwise would have been
                     Income that would likely have                                            incurred.
                     been earned as a result of an                                   (3) Resumption of Operations
                     increase in the volume of business
                     conditions due to favorable                                          We will reduce the amount of your:
                     business conditions caused by the                                    (a) “Business income” loss, other
                     impact of the Covered Cause of                                           than “extra expense”, to the extent
                     Loss on customers or on other                                            you can resume your “operations”,
                     businesses;                                                              in whole or in part, by using
                 (c) The operating expenses, including                                        damaged or undamaged property
                     payroll expenses, necessary to                                           (including merchandise or “stock”)
                     resume “operations” with the same                                        at an insured location or
                     quality of service that existed just                                     elsewhere.
                     before the direct physical loss or                                   (b) “Extra expense” loss to the extent
                     damage; and                                                               you can return “operations” to
                 (d) Other     relevant    sources            of                               normal and discontinue such
                     information, including:                                                   “extra expense”.

                     (i) Your financial records and                                       If you do not resume “operations”, or
                         accounting procedures;                                           do not resume “operations” as quickly
                                                                                          as possible, we will pay based on the
                     (ii) Bills, invoices        and      other                           length of time it would have taken to
                          vouchers; and                                                   resume “operations” as quickly as
                     (iii) Deeds, liens or contracts.                                     possible.
           (2) The amount of “extra expense” will be                 V. DEFINITIONS
               determined based on:                                        The following is added to Paragraph H. of Building
                 (a) All expenses that exceed the                          and Personal Property Coverage Form CP 00 10:
                     normal operating expenses that                        H. Definitions
                     would have been incurred by
                                                                                1. “Business income” means:
                     “operations” during the “period of
                     restoration” if no direct physical                              a. Net Income (Net Profit or Loss before
                     loss or damage had occurred. We                                    income taxes) that would have been
                     will deduct from the total of such                                 earned or incurred if no physical loss
                     expenses:                                                          or damage had occurred; and
                     (i) The salvage        value   that                             b. Continuing     normal      operating
                         remains of any property                                        expenses incurred, including payroll.
                         bought for temporary use                               2. “Guests’ Property” means “money”,
                         during      the   “period    of                           “securities” and other property belonging
                         restoration”, once “operations”                           to your guest.
                         are resumed; and
                     (ii) Any “extra expense” that is
                          paid for by other insurance,



                 ALL OTHER TERMS, CONDITIONS, AND EXCLUSIONS REMAIN UNCHANGED.




411-0801 04 14           Includes copyrighted material of Insurance Services Office, Inc. with its permission     Page 7 of 7
                                                                                                               ZBS 9632488 02 5502701
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 82 of 217


                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    NEW YORK CHANGES TO PROPERTY BROADENING ENDORSEMENT

This endorsement modifies insurance provided under the following:

BRONZE PROPERTY BROADENING ENDORSEMENT
SILVER PROPERTY BROADENING ENDORSEMENT
GOLD PROPERTY BROADENING ENDORSEMENT
PLATINUM PROPERTY BROADENING ENDORSEMENT
CONDOMINIUM PROPERTY BROADENING ENDORSEMENT


SECTION III – COVERED PROPERTY, Paragraph A. Scheduled Coverages, subparagraph 39. Rewards –
Arson, Theft, Vandalism of Bronze Property Broadening Endorsement, subparagraph 43. Rewards – Arson,
Theft, Vandalism of Silver/Gold/Platinum Property Broadening Endorsement and subparagraph 48. Rewards –
Arson, Theft, Vandalism of Condominium Property Broadening Endorsement is deleted in its entirety.



                 ALL OTHER TERMS, CONDITIONS, AND EXCLUSIONS REMAIN UNCHANGED.




411-0827 04 14         Includes copyrighted material of Insurance Services Office, Inc. with its permission.        Page 1 of 1
                                                                                                                   ZBS 9632488 02 5502701
       Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 83 of 217


                        IMPORTANT NOTICE TO POLICYHOLDERS
THIS DISCLOSURE DOES NOT PROVIDE COVERAGE NOR DOES THIS NOTICE REPLACE ANY
PROVISION OF YOUR POLICY. YOU SHOULD READ YOUR POLICY AND REVIEW YOUR DECLARATIONS
PAGE FOR COMPLETE INFORMATION ON THE COVERAGES YOU ARE PROVIDED. IF THERE IS ANY
CONFLICT BETWEEN THE POLICY AND THIS NOTICE, THE PROVISIONS OF THE POLICY SHALL
PREVAIL.
THIS NOTICE CONTAINS IMPORTANT INFORMATION ABOUT A CHANGE IN COVERAGE. PLEASE READ
THE ENTIRE NOTICE.


Your policy may have previously contained one of the coverage forms specified below, which are no longer
offered in Hanover’s suite of products. These coverage forms are being replaced with the corresponding coverage
form in the adjacent column.
The material is organized by coverage form and endorsements; however, not all coverages, coverage forms or
endorsements are included on a particular policy. Please read your policy language carefully.


Expiring & Replacement Forms List:



                            Current Form           Current Ed.                                                 New Form    New Ed.
  Current Form Title                                                             New Form
                              Number                  Date                                                      Number      Date

    HOSPITALITY
                                                                           GOLD PROPERTY
     PROPERTY
                               411-0579                07 07                 BROADENING                        411-0793      04 14
    BROADENING
                                                                            ENDORSEMENT
   ENDORSEMENT
    HOSPITALITY                                                              HOSPITALITY
     PROPERTY                                                                 PROPERTY
                               411-0579                07 07                                                   411-0801      04 14
    BROADENING                                                               BROADENING
   ENDORSEMENT                                                              ENDORSEMENT
The significant changes that broaden, reduce or clarify coverage are outlined below. Please review the changes
carefully.


A. Changes Which Broaden Coverage
   •    Additional Coverages
        -   Adds coverage for Automated External Defibrillators
        -   Adds coverage for Catastrophe Allowance
        -   Adds coverage for Computer and Funds Transfer Fraud
        -   Adds coverage for Deferred Payments
        -   Adds coverage for Denial of Access to Premises
        -   Adds coverage for E-Commerce
        -   Adds coverage for Expediting Expenses
        -   Adds coverage for Food Contamination Including Advertising Expense
        -   Adds coverage for International Air Shipments
        -   Adds coverage for Inventory and Loss Appraisal
        -   Adds coverage for Key Replacement and Lock Repair
        -   Adds coverage for Leasehold Interest Tenants
        -   Adds coverage for Lease Cancellation
        -   Adds coverage for Money Orders and Counterfeit Money
411-0885 05 14         Includes copyrighted material of Insurance Services Office, Inc., with its permission              Page 1 of 3
                                                                                                               ZBS 9632488 02 5502701
       Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 84 of 217


        -   Adds coverage for Preservation of Property Expense
        -   Adds coverage for Prototypes
        -   Adds coverage for Research and Development Documentation
        -   Adds coverage for Soft Costs
        -   Adds coverage for Spoilage
        -   Adds coverage for Temporary Relocation of Property
        -   Adds coverage for Tenant Relocation
        -   Adds coverage for Transit Business Income and Extra Expense
        -   Adds Coverage for Undamaged Tenants Improvements and Betterments
        -   Adds Coverage for Underground Water Seepage
        -   Adds Coverage for Unintentional Property Reporting Errors
        -   Adds Coverage for Unnamed Locations
        -   Adds Coverage for Voluntary Parting
        -   Adds Coverage for Windblown Debris
   •    Increased Limits of Insurance:
        -   Contract Penalties Limit of Insurance has increased from $25,000 to $50,000
        -   Debris Removal Limit of Insurance has increased from $25,000 to $250,000
        -   Electronic Data Processing is now included in the Limit of Insurance for Business Personal Property
        -   Employee Theft and ERISA Compliance Limit of Insurance has increased from $50,000 to $100,000
        -   Employee Tool and Work Clothing Limit of Insurance has Increased from $10,000 to $25,000
        -   Extended Business Income Increased from 90 to 180 Days.
        -   Extended Coverage on Property has increased from 1000ft to 2000ft.
        -   Extra Expense Limit of Insurance increased from $250,000 in Blanket Limit of Insurance to $300,000.
        -   Foundations and Underground Pipes is now included in the Limit of Insurance for Building.
        -   Newly Acquired Locations Building Limit of Insurance has increased from $1,000,000 to $2,000,000.
        -   Newly Acquired Locations Business Personal Property Limit of Insurance has increased from
            $500,000 to $1,000,000.
        -   Ordinance or Law Limit of Insurance has increased from $100,000 to $500,000
        -   Pollutant Cleanup and Removal Limit of Insurance has increased from $50,000 to $100,000
        -   Property in Transit Limit of Insurance has increased from $50,000 to $100,000
        -   Property Off Premises Limit of Insurance has increased from $100,000 to $150,000
        -   Rewards – Arson, Theft, Vandalism Limit of Insurance has increased from $30,000 to $75,000
        -   Sewer Backup Limit of Insurance is now included in the Limit of Insurance for Building.
        -   Tenant Glass Limit of Insurance has increased from $10,000 to $15,000
        -   Underground Water Seepage Limit of Insurance has increased from $25,000 to $50,000
        -   Utility Services Direct Damage Limit of Insurance has increased from $50,000 to $100,000
        -   Utility Services Business Income Limit of Insurance has increased from $50,000 to $100,000
        -   Water Damage, Other Liquids, Powder or Molten Material Damage Limit of Insurance has increased
            from $25,000 to $50,000
        -   Worldwide Property Off Premises Limit of Insurance has increased from $45,000 to $75,000


B. Changes Which Reduce Coverage
   •    Removal of Coverages:
        -   Removed coverage for Business Income

411-0885 05 14         Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 2 of 3
                                                                                                               ZBS 9632488 02 5502701
       Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 85 of 217


        -   Removed coverage for Change in Temperature, Electrical Injury and Contamination by Refrigerant
   •    Limits of Insurance:
        -   Business Income and Extra Expense from Dependent Properties Limit of Insurance has decreased
            from $100,000 to $50,000.
        -


C. Changes Which Clarify Coverage
   •    Coverage Language:
        -   Claims Expense Coverage has been replaced by Inventory and Loss Appraisal
        -   Lost Key Coverage has been replaced by Key Replacement and Lock Repair.
   •    Deductible:
        -   The endorsement deductible now follows the policy deductible shown in the Declarations of the
            policy.




411-0885 05 14         Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 3 of 3
                                                                                                                   ZBS 9632488 02 5502701
       Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 86 of 217


                       IMPORTANT NOTICE TO POLICYHOLDERS
THIS DISCLOSURE DOES NOT PROVIDE COVERAGE NOR DOES THIS NOTICE REPLACE ANY
PROVISION OF YOUR POLICY. YOU SHOULD READ YOUR POLICY AND REVIEW YOUR DECLARATIONS
PAGE FOR COMPLETE INFORMATION ON THE COVERAGES YOU ARE PROVIDED. IF THERE IS ANY
CONFLICT BETWEEN THE POLICY AND THIS NOTICE, THE PROVISIONS OF THE POLICY SHALL
PREVAIL.
THIS NOTICE CONTAINS IMPORTANT INFORMATION ABOUT A CHANGE IN COVERAGE. PLEASE READ
THE ENTIRE NOTICE.


Your policy may have previously contained one of the coverage forms specified below, which are no longer
offered in Hanover’s suite of products. These coverage forms are being replaced with the corresponding coverage
form in the adjacent column.
The material is organized by coverage form and endorsements; however, not all coverages, coverage forms or
endorsements are included on a particular policy. Please read your policy language carefully.


Expiring & Replacement Forms List:



                            Current Form           Current Ed.                                                 New Form    New Ed.
  Current Form Title                                                             New Form
                              Number                  Date                                                      Number      Date

ADVANTAGE CHOICE
                                                                           GOLD PROPERTY
    PROPERTY
                               411-0660                12 09                 BROADENING                        411-0793      04 14
   BROADENING
                                                                            ENDORSEMENT
  ENDORSEMENT
The significant changes that broaden, reduce or clarify coverage are outlined below. Please review the changes
carefully.


A. Changes Which Broaden Coverage
   •    Additional Coverages
        -   Adds coverage for Computer and Funds Transfer Fraud
        -   Adds coverage for Employee Tools and Work Clothing
        -   Adds Coverage for International Air Shipments
        -   Adds Coverage for Leasehold Interest Tenants
        -   Adds Coverage for Non-Owned Detached Trailers
        -   Adds Coverage for Tenant Glass
        -   Adds Coverage for Theft Damage for Buildings
        -   Adds Coverage for Undamaged Tenants Improvements and Betterments
        -   Adds Coverage for Underground Water Seepage
        -   Adds Coverage for Unintentional Property Reporting Errors
        -   Adds Coverage for Unnamed Locations
        -   Adds Coverage for Voluntary Parting
        -   Adds Coverage for Water Damage, Other Liquids, Powder or Molten Material Damage
        -   Adds Coverage for Worldwide Property Off Premises
        -   Adds Coverage for Movement of Property
   •    Increased Limits of Insurance:


411-0891 04 14         Includes copyrighted material of Insurance Services Office, Inc., with its permission              Page 1 of 2
                                                                                                               ZBS 9632488 02 5502701
       Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 87 of 217


        -   Business Income and Extra Expense from Dependent Properties Limit of Insurance has increased
            from $100,000 to $150,000.
        -   Consequential Loss to Stock is now included in the limit of insurance for Business Personal Property
        -   Debris Removal Limit of Insurance has increased from $50,000 to $100,000
        -   Electronic Data Processing is now included in the limit of insurance for Business Personal Property
        -   Employee Theft and ERISA Compliance Limit of Insurance has increased from $25,000 to $100,000
        -   Extended Business Income Increased from 90 to 180 Days.
        -   Extended Coverage on Property has increased from 1000ft to 2000ft.
        -   Extra Expense Limit of Insurance increased from $100,000 to $300,000.
        -   Fire Protection Equipment Recharge is now included in the limit of insurance for Business Personal
            Property
        -   Forgery or Alteration Limit of Insurance has increased from $25,000 to $30,000
        -   Foundations and Underground Pipes is now included in the Limit of Insurance for Building.
        -   Inventory and Loss Appraisal Limit of Insurance has increased from $50,000 to $250,000
        -   Key Replacement and Lock Repair Limit of Insurance has increased from $10,000 to $20,000
        -   Lease Cancellation Coverage Limit of Insurance has increased from $25,000 to $50,000
        -   Newly Acquired Locations Business Income Limit of Insurance has increased from $100,000 to
            $250,000.
        -   Property in Transit Limit of Insurance has increased from $50,000 to $100,000
        -   Property Off Premises Limit of Insurance has increased from $50,000 to $150,000
        -   Rewards – Arson, Theft, Vandalism Limit of Insurance has increased from $50,000 to $75,000
        -   Tenant Relocation Limit of Insurance has increased from $25,000 to $50,000
        -   Transit Business Income and Extra Expense Limit of Insurance has increased from $25,000 to
            $75,000
        -   Utility Services Direct Damage Limit of Insurance has increased from $10,000 to $100,000
        -   Utility Services Business Income Limit of Insurance has increased from $10,000 to $100,000
        -   Windblown Debris Limit of Insurance has increased from $2,500 to $5,000
        -   Precious and Semi-Precious alloys, stones, bullion, gold, sliver, platinum Limit of Insurance has
            increased from $25,000 to $35,000.


B. Changes Which Clarify Coverage
   •    Deductible:
        -   The endorsement deductible now follows the policy deductible shown in the Declarations of the
            policy.




411-0891 04 14         Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 2 of 2
                                                                                                               ZBS 9632488 02 5502701
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 88 of 217


                        IMPORTANT NOTICE TO POLICYHOLDERS
THIS DISCLOSURE DOES NOT PROVIDE COVERAGE NOR DOES THIS NOTICE REPLACE ANY
PROVISION OF YOUR POLICY. YOU SHOULD READ YOUR POLICY AND REVIEW YOUR DECLARATIONS
PAGE FOR COMPLETE INFORMATION ON THE COVERAGES YOU ARE PROVIDED. IF THERE IS ANY
CONFLICT BETWEEN THE POLICY AND THIS NOTICE, THE PROVISIONS OF THE POLICY SHALL
PREVAIL.
THIS NOTICE CONTAINS IMPORTANT INFORMATION ABOUT A CHANGE IN COVERAGE. PLEASE READ
THE ENTIRE NOTICE.


Your policy may have previously contained one of the coverage forms specified below, which are no longer
offered in Hanover’s suite of products. These coverage forms are being replaced with the corresponding coverage
form in the adjacent column.
The material is organized by coverage form and endorsements; however, not all coverages, coverage forms or
endorsements are included on a particular policy. Please read your policy language carefully.


   COVERAGE FORMS, CAUSES OF LOSS FORMS AND RELATED ENDORSEMENTS
1. Broadenings In Coverage
      Debris Removal (CP 00 10, CP 00 17, CP 00 18, CP 00 20, CP 00 80, CP 00 99)
      The additional Limit of Insurance for debris removal expense is increased from $10,000 to $25,000. (That
      additional limit may apply when basic coverage for debris removal expense is exhausted or inapplicable.)
      Further, coverage for debris removal is expanded to include the expense of removing debris of certain
      property of others. The total expense for all debris removal is subject to the limitations stated in the policy
      concerning amount of coverage, including the aforementioned additional Limit of Insurance. However,
      when no Covered Property sustains direct physical loss or damage, coverage for the removal of debris of
      others' property is limited to $5,000.
      The Outdoor Property Coverage Extension is revised to include debris removal expense for trees, shrubs
      and plants that are the property of others, except trees, shrubs and plants owned by the landlord of an
      insured tenant.
      Related change: Debris Removal Additional Insurance Endorsement CP 04 15 makes reference to the
      policy's aforementioned limit of $25,000.
      Extended Business Income, Extended Period Of Indemnity (CP 00 30, CP 00 32)
      The number of days' coverage under the Extended Business Income provision is increased from 30 to 60
      days. Accordingly, the Extended Period Of Indemnity option, if applicable, is revised to begin after 60 days.
      Coverage Radius For Business Personal Property And Personal Property Of Others (CP 00 10,
      CP 00 18, CP 00 99, CP 17 98)
      These forms are revised to extend coverage for business personal property and personal property of
      others to such property when located within 100 feet of the building or 100 feet of the described premises,
      whichever distance is greater.
      Property In Storage Units (CP 00 10, CP 00 17, CP 00 18, CP 00 99)
      A Coverage Extension for Business Personal Property Temporarily In Portable Storage Units is introduced.
      Under this Coverage Extension, a 90-day coverage period is provided for business personal property
      temporarily stored in a portable storage unit located within 100 feet of the described premises, subject to a
      sub-limit of $10,000 regardless of the number of storage units.




411-0897 04 14         Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 1 of 6
                                                                                                               ZBS 9632488 02 5502701
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 89 of 217


      Entrusted Property (CP 10 30)
      In the Causes Of Loss – Special Form CP 10 30, the exclusion of dishonest or criminal acts is revised to
      distinguish between those who have a role in the insured's business (partners, managers, employees, etc.)
      and others to whom property may be entrusted (a category that includes tenants and bailees, for example).
      With respect to the latter category, the exclusion is narrowed to apply only to theft. Further, the exception
      to the exclusion (which enables coverage for acts of destruction) is revised to extend applicability to
      authorized representatives.
      Vegetated Roofs (CP 00 10, CP 00 17, CP 00 20, CP 00 70, CP 00 99, CP 10 10, CP 10 20, CP 10 30,
      CP 11 99)
      Property Not Covered is revised to make an exception for lawns, trees, shrubs and plants which are part of
      a vegetated roof, thereby treating such property as an insured part of the building, so that an existing
      vegetative roof can be replaced with like kind in the event of a loss, subject to policy terms and certain
      limitations. Accordingly, lawns, trees, shrubs and plants which are part of a vegetated roof are no longer
      covered under the more limited Outdoor Property Coverage Extension.
      Electronic Data In Building Equipment (CP 00 10, CP 00 17, CP 00 18, CP 00 30, CP 00 32, CP 00 40,
      CP 00 50, CP 00 70, CP 00 99)
      The property damage and related Coverage Forms (CP 00 10, CP 00 17, CP 00 18, CP 00 40, CP 00 70,
      CP 00 99) are revised to remove the $2,500 limitation on electronic data with respect to loss or damage to
      electronic data which is integrated in and operates or controls the building's elevator, lighting, heating,
      ventilation, air conditioning or security system. Coverage for such electronic data will be considered part of
      the coverage on the building. Further, under property damage forms, the $2,500 limitation will no longer
      apply to stock of prepackaged software. Coverage for prepackaged software will be subject to the Limit of
      Insurance otherwise applicable to such personal property.
      The business interruption Coverage Forms (CP 00 30, CP 00 32, CP 00 50) are revised so that the $2,500
      limitation does not apply when loss or damage to electronic data involves only electronic data which is
      integrated in and operates or controls a building's elevator, lighting, heating, ventilation, air conditioning or
      security system. A business interruption caused by loss or damage to such electronic data will be subject
      to the coverage otherwise applicable to a covered business interruption.
      Specified Causes Of Loss – Water Damage (CP 10 30)
      Coverage for water damage under the definition of "specified causes of loss" is expanded to include
      accidental discharge or leakage of water or waterborne material as the direct result of the breaking apart or
      cracking of certain off-premises systems due to wear and tear.
2. Reduction Of Coverage
      Newly Acquired Property (CP 00 10, CP 00 17, CP 00 18, CP 00 99, CP 17 98)
      Under the Newly Acquired Property Extension, the provision which extends an additional Limit of Insurance
      to newly acquired business personal property at the described premises is removed. There is no change to
      the coverage for newly acquired business personal property at newly acquired locations or at newly
      constructed or acquired buildings at the described location.
3. Other Changes
      Earth Movement (CP 00 70, CP 00 99, CP 10 10, CP 10 20, CP 10 30)
      The Earth Movement Exclusion now makes explicit reference to earth movement caused by an act of
      nature or otherwise caused. In addition, the term earthquake now incorporates tremors and aftershocks.
      With respect to coverage for Volcanic Action (which is a limited exception to the exclusion of volcanic
      eruption), all such eruptions that occur within any 168-hour period constitute a single occurrence.
      Fire Department Service Charge (CP 00 10, CP 00 17, CP 00 18, CP 00 20, CP 00 80, CP 00 99)
      The Fire Department Service Charge Coverage is revised to specify that the amount of such coverage
      ($1,000 or a designated higher limit) applies to each premises described in the Declarations. Further, the
      language of the coverage provision is revised to make it explicit that the designated limit applies regardless
      of the number of responders or the number or type of services performed.




411-0897 04 14         Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 2 of 6
                                                                                                               ZBS 9632488 02 5502701
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 90 of 217


      Business Personal Property And Personal Property Of Others In Described Structures (CP 00 10,
      CP 00 17, CP 00 18, CP 00 99, CP 17 98, CP 17 99)
      The coverage provisions for Your Business Personal Property and Personal Property Of Others are
      revised to make it explicit that such property is covered when located in the building or structure described
      in the Declarations.
      Coverage Radius With Respect To Business Interruption (CP 00 30, CP 00 32, CP 00 50)
      In part, the coverage criteria for business interruption coverage relate to loss or damage to personal
      property in the open or in a vehicle within a certain distance from the described premises. The language
      relating to the coverage radius is revised to achieve more similarity between the radius outlined for
      insureds who are occupants of the entire premises and those who occupy only a part of the premises, and
      to use terminology similar to that used in property damage forms.
      Water Exclusion (CP 00 70, CP 00 99, CP 10 10, CP 10 20, CP 10 30)
      The Water Exclusion provided by Endorsement CP 10 32 is incorporated into the aforementioned forms.
      As a result, Endorsement CP 10 32 is no longer added to the policy.
      Ordinance Or Law Exclusion (CP 00 10, CP 00 17, CP 00 18, CP 00 20, CP 00 30, CP 00 32, CP 00 50,
      CP 00 70, CP 00 80, CP 00 99, CP 10 10, CP 10 20, CP 10 30)
      The language of the Ordinance Or Law Exclusion, which relates to enforcement of an ordinance or law, is
      revised to also refer to compliance with an ordinance or law.
      Similar references are revised in the policy's Increased Cost Of Construction (ICC) Additional Coverage,
      Loss Payment and Valuation Conditions, and Replacement Cost Optional Coverage, and in the Period of
      Restoration definition in the business interruption forms. Further, the ICC coverage grant is revised to
      explicitly refer to compliance with the minimum standards of an ordinance or law.
      Risk Of Loss (CP 00 70, CP 10 30)
      The term "risk of" is removed from the provisions related to insured perils in the Mortgageholders Errors
      And Omissions Coverage Form CP 00 70 and the Causes Of Loss – Special Form CP 10 30.
      Miscellaneous Changes
      Editorial changes were made to various forms. The revisions are summarized below:
         Condominium Association Coverage Form CP 00 17 is revised to include a definition of "stock", which
         is "merchandise held in storage or for sale, raw materials and in-process or finished goods, including
         supplies used in their packing or shipping".
         Standard Property Policy CP 00 99 is revised to replace the term "Coverage" with the term "policy" in
         the Concealment, Misrepresentation Or Fraud Additional Condition.
         Causes Of Loss – Basic Form CP 10 10 and Causes Of Loss – Broad Form CP 10 20 are revised to
         specify that words and phrases which appear in quotation marks have special meaning and to refer to
         the Definitions section.


                                            OTHER ENDORSEMENTS
1. Broadenings In Coverage
      Increase In Rebuilding Expenses Following Disaster (Additional Expense Coverage On Annual
      Aggregate Basis) Endorsement CP 04 09
      This new endorsement provides limited coverage for the situation in which the cost of repair/replacement of
      property exceeds the Limit of Insurance due to increases in the cost of labor and/or materials following a
      disaster.
      Dependent Properties – Business Interruption (CP 15 01, CP 15 02, CP 15 08, CP 15 09, CP 15 34)
      Under the following revised endorsements, secondary contributing locations and secondary recipient
      locations are covered if so indicated in the Schedule of the endorsement. Such locations are defined in the
      endorsement.
         CP 15 01 – Business Income From Dependent Properties – Limited International Coverage
         CP 15 02 – Extra Expense From Dependent Properties – Limited International Coverage




411-0897 04 14         Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 3 of 6
                                                                                                               ZBS 9632488 02 5502701
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 91 of 217


         CP 15 08 – Business Income From Dependent Properties – Broad Form
         CP 15 09 – Business Income From Dependent Properties – Limited Form
         CP 15 34 – Extra Expense From Dependent Properties
      Flood Coverage Endorsement CP 10 65
      Under the Flood Coverage Endorsement, there is no coverage for loss resulting from a flood which begins
      before or within 72 hours after the inception date of the endorsement. This endorsement is revised to
      provide that the aforementioned 72-hour waiting period will not apply when the prior policy included flood
      coverage and the policy periods are consecutive without a break in coverage. Further, the similar 72-hour
      waiting period for an increase in the Limit of Insurance will not apply to an increase executed at the time of
      renewal.
      Also, this endorsement is revised to add drains and sumps to the provision which covers back-up and
      overflow from a sewer when such discharge occurs within 72 hours after a flood recedes.
      Discharge From Sewer, Drain Or Sump (Not Flood-related) Endorsement CP 10 38
      This new endorsement covers discharge of water or waterborne material from a sewer, drain or sump
      located on the described premises.
      Theft Of Building Materials And Supplies (Other Than Builders Risk) Endorsement CP 10 44
      This new endorsement extends coverage to encompass theft of building materials and supplies that are
      located on or within 100 feet of the premises when such property is intended to become a permanent part
      of the building or structure.
      Condominium Commercial Unit-owners Optional Coverages Endorsement CP 04 18
      This endorsement is revised to provide the means for selecting a limitation (sub-limit) over $1,000 for
      assessments that result from a deductible in the insurance purchased by the condominium association.
      Coverage is broadened if a sub-limit over $1,000 is entered in the Schedule of the endorsement.
      Utility Services – Time Element Endorsement CP 15 45
      This endorsement is revised to provide the means to select a new category of utility service: wastewater
      removal property. With respect to the coverage provided under this endorsement, wastewater removal
      property is a utility system for removing wastewater and sewage from the described premises, other than a
      system designed primarily for draining storm water.
      Food Contamination (Business Interruption And Extra Expense) Endorsement CP 15 05
      This new endorsement covers certain extra expenses and business income losses arising out of food
      contamination. Separate limits apply to advertising expense and all other coverages under the
      endorsement. These limits apply on an annual aggregate basis.
      Specified Property Away From Premises Endorsement CP 04 04
      This new endorsement provides coverage for business personal property temporarily away from the
      described premises in the course of daily business activities, while in the care, custody or control of the
      insured or an employee of the insured.
      Equipment Breakdown Cause Of Loss Endorsement CP 10 46
      This new endorsement may be combined with the Special Form to add equipment breakdown as a
      Covered Cause of Loss.
2. Reduction Of Coverage
      Deductibles By Location Endorsement CP 03 29
      This new endorsement provides for selected deductibles to apply at each designated building or
      designated location that has sustained loss or damage. Thus, under this endorsement, multiple deductibles
      would apply in the event of an occurrence that affects multiple buildings or locations. Under the prior policy,
      the applicable deductible applied once per occurrence regardless of the number of buildings or locations
      involved in the loss occurrence (except with respect to special deductibles such as wind or earthquake
      percentage deductibles, if any).




411-0897 04 14         Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 4 of 6
                                                                                                               ZBS 9632488 02 5502701
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 92 of 217


      Limitations On Coverage For Roof Surfacing Endorsement CP 10 36
      This new endorsement includes provisions for covering roof surfacing at actual cash value on a building
      otherwise subject to replacement cost valuation, and for excluding cosmetic damage by wind to roof
      surfacing. One or both of these limitations may be indicated on the Schedule of the endorsement.
3. Other Changes
      Business Income Report/Worksheet CP 15 15
      This endorsement is revised to recognize that the revised policy now provides 60 days of Extended
      Business Income Coverage.
      Outdoor Trees, Shrubs And Plants Endorsement CP 14 30
      This endorsement is revised to specify that the applicable Limit of Insurance for loss or damage to outdoor
      trees, shrubs and plants includes debris removal expense. Accordingly, the endorsement states that the
      Outdoor Property Coverage Extension and Debris Removal Additional Coverage do not apply to property
      covered under CP 14 30; such provision avoids duplication of coverage.
      Flood Coverage Schedule CP DS 65
      The Flood Coverage Schedule is revised so that the Underlying Insurance Waiver can be made applicable
      by location. The Underlying Insurance Waiver is a provision in Flood Coverage Endorsement CP 10 65;
      the waiver applies to a location only if so indicated in the Flood Coverage Schedule.
      Exclusion Of Loss Due To By-products Of Production Or Processing Operations (Rental Properties)
      Endorsement CP 10 34
      This new endorsement, which applies to policies issued to owners and tenants of rental premises,
      reinforces that property damage and business interruption coverages do not apply to loss or damage to the
      described premises caused by or resulting from smoke, vapor, gas or any substance released in the
      course of production operations or processing operations performed at the rental units identified in the
      Schedule of the endorsement. But loss or damage by fire or explosion that results from the release of a by-
      product of the production or processing operation is not excluded.
      Radio Or Television Antennas – Business Income Or Extra Expense Endorsement CP 15 50
      In the list of forms to which CP 15 50 applies, reference to the Earthquake Form is removed. Since
      earthquake coverage is now provided by endorsing the Causes Of Loss Form (Basic, Broad or Special), it
      is no longer necessary for CP 15 50 to include reference to the Earthquake Form.
      Utility Services – Overhead Transmission Lines (CP 04 17, CP 15 45)
      Endorsements CP 04 17 Utility Services – Direct Damage and CP 15 45 Utility Services – Time Element
      are revised to make it explicit that transmission lines include all lines which serve in the transmission of
      power or communication service, including lines which may be identified as distribution lines.
      Ordinance Or Law Coverage (CP 04 05, CP 04 38, CP 15 25, CP 15 31)
      The coverage grant of Endorsement CP 04 05 Ordinance Or Law Coverage is revised to remove reference
      to enforcement of an ordinance or law, in favor of referring to a requirement to comply with an ordinance or
      law. The same revision is made to Endorsement CP 04 38 Functional Building Valuation, which
      incorporates ordinance or law coverage. In addition, references are added to compliance with an ordinance
      or law in Endorsements CP 15 25 Business Income Changes – Educational Institutions (in the Period of
      Restoration definition) and CP 15 31 Ordinance Or Law – Increased Period Of Restoration.
      Higher Limits Endorsement CP 04 08
      This new endorsement increases certain specified dollar limitations.
      Building Glass – Tenant's Policy Endorsement CP 14 70
      This endorsement is revised to add a line item for a deductible in the Schedule of the endorsement. A
      deductible will apply to building glass coverage only if a deductible amount is entered in the Schedule.
      Theft Exclusion Endorsement CP 10 33
      This endorsement is revised to include a Schedule to facilitate display of the location(s) to which the
      exclusion applies.
      Dependent Properties – Business Interruption (CP 15 01, CP 15 02, CP 15 08, CP 15 09, CP 15 34)
      The definition of dependent property excludes various utility providers; the list of utilities is updated to make
      reference to wastewater removal services. With respect to business interruption coverage, loss caused by
      interruption in utility service is addressed in Endorsement CP 15 45. Refer to the item titled Utility Services
      – Time Element Endorsement CP 15 45.
411-0897 04 14         Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 5 of 6
                                                                                                               ZBS 9632488 02 5502701
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 93 of 217


      Payroll Limitation Or Exclusion Endorsement CP 15 10
      This endorsement is revised to provide the means to limit or exclude coverage for the payroll expense of
      any category of employee or individual employee. Since applicability of the endorsement will no longer be
      restricted to nonmanagerial employees, the term "ordinary payroll expense" and its definition are removed
      from the endorsement. In addition, the title of the endorsement is revised to remove the word "Ordinary".
      Earthquake Sprinkler Leakage Deductible
      CP 10 40 Earthquake And Volcanic Eruption Endorsement and CP 10 45 Earthquake And Volcanic
      Eruption Endorsement (Sub-Limit Form) are revised to specify that the Earthquake percentage deductible
      does not apply when Earthquake Coverage is limited only to Earthquake Sprinkler Leakage (EQSL)
      Coverage. Instead, the deductible for Fire Coverage applies to EQSL Coverage.
      Protective Safeguards
      Endorsement CP 04 11 Protective Safeguards replaces IL 04 15 Protective Safeguards. The new
      endorsement contains the same provisions as IL 04 15 and adds a symbol and description to recognize
      hood-and-duct fire extinguishing systems.
      Builders Risk – Theft Of Building Materials, Fixtures, Machinery, Equipment Endorsement CP 11 21
      The exclusion of dishonest or criminal acts is revised to add reference to members, officers, managers,
      temporary employees and leased workers.
      Increased Cost Of Loss And Related Expenses For Green Upgrades Endorsement CP 04 02
      The Schedule of this endorsement is revised to facilitate identification of personal property (when not all
      personal property is to be covered for Green Upgrades) and to facilitate the entry of different percentage
      selections for the building and personal property.
      Subparagraphs A.1.a. and A.1.b. are revised to simplify the calculation described therein, with no change
      in the outcome. Subparagraph A.1.d. is added to explicitly address the situation in which the property loss
      is less than the deductible.
      The provisions of former Paragraph A.9., concerning vegetated roofs, are incorporated into the underlying
      policy forms, as discussed in the item titled Vegetated Roofs.
      Windstorm Or Hail Percentage Deductible Endorsement CP 03 21
      Paragraph D.1. of this endorsement is editorially revised.




411-0897 04 14         Includes copyrighted material of Insurance Services Office, Inc., with its permission        Page 6 of 6
Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 94 of 217

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       EQUIPMENT BREAKDOWN COVERAGE
This endorsement modifies insurance provided under the following:

COMMERCIAL PROPERTY COVERAGE PART

A. The following is added as an Additional                   provide additional amounts of insurance.
   Coverage to the Causes of Loss –                               a. Expediting Expenses
   Basic Form, Broad Form or Special                                  With respect to your Covered
   Form.                                                              Property, we will pay up to
                                                                      $100,000 unless otherwise
    Additional Coverage- Equipment                                    shown in a Schedule, the
    Breakdown                                                         reasonable extra cost to:
    The term Covered Cause of Loss                                       (1) make temporary
    includes the Additional Coverage                                          repairs; and
    Equipment Breakdown as described and                                 (2) expedite permanent
    limited below.                                                            repairs or permanent
                                                                              replacement.
    1. We will pay for direct physical                           b. Hazardous Substances
       damage to Covered Property that is                            We will pay for the additional
       the direct result of an “accident”. As                        cost to repair or replace
       used in this Additional Coverage,                             Covered Property because of
       “accident” means a fortuitous event                           contamination by a “hazardous
       that causes direct physical damage                            substance.” This includes the
       to “covered equipment”. The event                             additional expenses to clean up
       must be one of the following:                                 or dispose of such property.
       a. mechanical breakdown,                                      This does not include
            including rupture or bursting                            contamination of “perishable
            caused by centrifugal force;                             goods” by refrigerant, including
       b. artificially generated electrical                          but not limited to ammonia,
            current, including electric                              which is addressed in 2.c.(1)(b)
            arcing, that disturbs electrical                         below. As used in this coverage,
            devices, appliances or wires;                            additional costs mean those
       c. explosion of steam boilers,                                beyond what would have been
            steam pipes, steam engines or                            payable under this Equipment
            steam turbines owned or                                  Breakdown Coverage had no
            leased by you, or operated                               “hazardous substance” been
            under your control;                                      involved.
       d. loss or damage to steam pipes,
            steam engines or steam                                    The most we will pay for loss,
            turbines caused by or resulting                           damage or expense under this
            from any condition or event                               coverage, including actual loss
            inside such equipment; or                                 of Business Income you sustain
       e. loss or damage to hot water                                 and necessary Extra Expense
            boilers or other water heating                            you incur, if shown as covered,
            equipment caused by or                                    is $100,000 unless otherwise
            resulting from any condition or                           shown in a Schedule.
            event inside such boilers or
            equipment.
    2. Unless otherwise shown in a
       Schedule, the following coverages
       also apply to the direct result of an
       “accident.” These coverages do not




451-0038 (11/04)    Includes copyrighted material of Insurance Services Office, Inc.       Page 1 of 8
Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 95 of 217



                                                                           extended to apply to your
        c. Spoilage                                                        loss, damage or expense
           (1) We will pay for:                                            caused by an “accident” to
               (a) physical damage to                                      equipment that is owned by
                    “perishable goods” due                                 a utility, landlord or other
                    to spoilage;                                           supplier with whom you
               (b) physical damage to                                      have a contract to supply
                    “perishable goods” due                                 you with any of the following
                    to contamination from                                  services: electrical power,
                    the release of                                         waste disposal, air
                    refrigerant, including but                             conditioning, refrigeration,
                    not limited to ammonia;                                heating, natural gas,
               (c) any necessary                                           compressed air, water,
                    expenses you incur to                                  steam, internet access,
                    reduce the amount of                                   telecommunications
                    loss under this                                        services, wide area
                    coverage to the extent                                 networks or data
                    they do not exceed the                                 transmission. The
                    amount of loss that                                    equipment must meet the
                    otherwise would have                                   definition of “covered
                    been payable under this                                equipment” except that it is
                    coverage.                                              not Covered Property.
           (2) If you are unable to replace                           (2) Unless otherwise shown in
               the “perishable goods”                                      a Schedule, Service
               before its anticipated sale,                                Interruption coverage will
               the amount of our payment                                   not apply unless the failure
               will be determined on the                                   or disruption of service
               basis of the sales price of                                 exceeds 24 hours
               the “perishable goods” at                                   immediately following the
               the time of the “accident,”                                 “accident”.
               less discounts and                                     (3) The most we will pay for
               expenses you otherwise                                      loss, damage or expense
               would have had. Otherwise                                   under this coverage is the
               our payment will be                                         limit that applies to
               determined in accordance                                    Business Income, Extra
               with the Valuation condition.                               Expense or Spoilage,
           The most we will pay for loss,                                  except that if a limit is
           damage or expense under this                                    shown in a Schedule for
           coverage is $100,000 unless                                     Service Interruption, that
           otherwise shown in a Schedule.                                  limit will apply to Business
        d. Data Restoration                                                Income and Extra Expense
           We will pay for your reasonable                                 loss under this coverage.
           and necessary cost to research,                       f.   Business Income and Extra
           replace and restore lost “data.”                           Expense
           The most we will pay for loss,                             Any insurance provided under
           damage or expense under this                               this coverage part for Business
           coverage, including actual loss                            Income or Extra Expense is
           of Business Income you sustain                             extended to the coverage
           and necessary Extra Expense                                provided by this endorsement.
           you incur, if shown as covered,                            The most we will pay for loss of
           is $100,000 unless otherwise                               Business Income you sustain or
           shown in a Schedule.                                       necessary Extra Expense you
        e. Service Interruption                                       incur is the limit shown in the
           (1) Any insurance provided for                             Declarations for that coverage,
               Business Income, Extra                                 unless otherwise shown in a
               Expense or Spoilage is                                 Schedule.



451-0038 (11/04)    Includes copyrighted material of Insurance Services Office, Inc.         Page 2 of 8
Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 96 of 217



                                                                         period (starting with the
        g. Mold                                                          beginning of the present
           (1) The coverage described                                    annual policy period). With
               below applies only if all                                 respect to a particular
               reasonable means were                                     “accident” which results in
               used to save and preserve                                 “mold”, we will not pay more
               the property from further                                 than a total of $15,000 even
               damage at the time of and                                 if the “mold” continues to be
               after the “accident.”                                     present or active, or recurs,
           (2) We will pay for loss,                                     in a later policy period.
               damage or expense caused
               by “mold,” only when “mold”                  3. EXCLUSIONS
               is the direct result of an                      All exclusions in the Causes of Loss
               “accident” that occurs                          form apply except as modified below
               during the policy period.                       and to the extent that coverage is
               As used in this coverage,                       specifically provided by this
               the term loss or damage                         Additional Coverage Equipment
               means:                                          Breakdown.
               (a) Direct physical loss or                     a. The exclusions are modified as
                    damage to Covered                               follows:
                    Property caused by                              (1) If the Causes of Loss- Basic
                    “mold” including the                                 Form or Causes of Loss-
                    cost of removal of the                               Broad Form applies, the
                    “mold”;                                              following is added to
               (b) The cost to tear out and                              Exclusion B.2.: Depletion,
                    replace any Covered                                  deterioration, corrosion,
                    Property as needed to                                erosion, wear and tear or
                    gain access to the                                   other gradually developing
                    “mold”; and                                          conditions. But if an
               (c) The cost of testing                                   “accident” results, we will
                    performed after                                      pay for resulting loss,
                    removal, repair,                                     damage or expense.
                    replacement or                                  (2) The following is added to
                    restoration of the                                   Exclusion B.1.g.:
                    damaged property is                                  However, if electrical
                    completed, provided                                  “covered equipment”
                    there is a reason to                                 requires drying out because
                    believe that “mold” is                               of Water as described in
                    present.                                             g.(1) through g.(3) above,
           (3) The most we will pay for                                  we will pay for the direct
               loss, damage or expense                                   expenses of such drying out
               under this coverage,                                      subject to the applicable
               including actual loss of                                  Limit of Insurance and
               Business Income you                                       deductible for Building or
               sustain and necessary Extra                               Business Personal
               Expense you incur, if shown                               Property, whichever applies.
               as covered, is $15,000.                              (3) If the Causes of Loss-
               Regardless of the number                                  Special Form applies, as
               of claims, this limit is the                              respects this endorsement
               most we will pay for the total                            only, the last paragraph of
               of all loss, damage or                                    Exclusion B.2.d. is deleted
               expense arising out of all                                and replaced with the
               “accidents” to “covered                                   following:
               equipment” which take                                     But if an excluded cause of
               place within the 12-month                                 loss that is listed in 2.d.(1)
                                                                         through (7) results in an



451-0038 (11/04)   Includes copyrighted material of Insurance Services Office, Inc.         Page 3 of 8
Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 97 of 217



                “accident”, we will pay for                              means to resume business;
                the loss, damage or                                      or
                expense caused by that                             (2) Any increase in loss
                “accident”.                                              resulting from an agreement
        b. We will not pay under this                                    between you and your
           endorsement for loss, damage                                  customer or supplier.
           or expense caused by or                              e. We will not pay for loss, damage
           resulting from:                                         or expense caused directly or
           (1) Your failure to use all                             indirectly by the following,
                reasonable means to                                whether or not caused by or
                protect Covered Property                           resulting from an “accident”:
                from damage following an                           The presence, growth,
                “accident”;                                        proliferation, spread or activity
           (2) any defect, programming                             of “mold.” This includes, but is
                error, programming                                 not limited to, costs arising from
                limitation, computer virus,                        clean up, removal, or abatement
                malicious code, loss of                            of such “mold.” However, if
                “data,” loss of access, loss                       “mold” results in an “accident”,
                of use, loss of functionality                      we will pay the resulting loss,
                or other condition within or                       damage or expense caused by
                involving “data” or “media”                        that “accident.” This exclusion
                of any kind. But if an                             does not apply:
                “accident” results, we will                        (1) to spoilage of personal
                pay for the resulting loss,                              property that is “perishable
                damage or expense; or                                    goods,” to the extent that
           (3) any of the following tests:                               spoilage is covered under
                (a) a hydrostatic,                                       Spoilage coverage; or
                     pneumatic or gas                              (2) to the extent that coverage
                     pressure test of any                                is provided under Mold
                     boiler or pressure                                  coverage.
                     vessel; or                                 f. We will not pay under this
                (b) an electrical insulation                       endorsement for any loss or
                     breakdown test of any                         damage to animals, land
                     type of electrical                            (including land on which the
                     equipment.                                    property is located) or lawns.
        c. With respect to Service                           4. DEFINITIONS
           Interruption coverage, we will                       The following definitions are added:
           also not pay for an “accident”                       a. “Boilers and vessels” means:
           caused by or resulting from: fire;                      (1) Any boiler including
           lightning; windstorm; or hail;                                attached steam, condensate
           explosion (except as specifically                             and feedwater piping; and
           provided in A.1.c. above);                              (2) Any fired or unfired
           smoke, aircraft or vehicles; riot                             pressure vessel subject to a
           or civil commotion; vandalism;                                vacuum or internal pressure
           sprinkler leakage; falling                                    other than the static
           objects; weight of snow, ice or                               pressure of its contents.
           sleet; freezing; collapse; flood or                     This term does not appear
           earth movement.                                         elsewhere in this endorsement,
        d. With respect to Business                                but may appear in a Schedule.
           Income Extra Expense and                             b. “Covered Equipment”
           Service Interruption coverages,                         (1) “Covered Equipment”
           we will also not pay for:                                     means, unless specified in a
           (1) Loss caused by your failure                               Schedule, Covered
                to use due diligence and                                 Property:
                dispatch and all reasonable                              (a) that generates,
                                                                              transmits or utilizes



451-0038 (11/04)    Includes copyrighted material of Insurance Services Office, Inc.      Page 4 of 8
Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 98 of 217



                    energy, including
                    electronic                                  f.“Mold” means any mold, fungus,
                    communications and                            mildew or yeast, including any
                    data processing                               spores or toxins produced by or
                    equipment; or                                 emanating from such mold,
                (b) which, during normal                          fungus, mildew or yeast.
                    usage, operates under                    g. “One accident” means: if an
                    vacuum or pressure,                           initial “accident” causes other
                    other than the weight of                      “accidents”, all will be
                    its contents.                                 considered “one accident”. All
           (2) None of the following is                           “accidents” that are the result of
                “Covered Equipment”:                              the same event will be
                (a) structure, foundation,                        considered “one accident”.
                    cabinet, compartment or                  h. “Perishable goods” means
                    air supported structure                       personal property maintained
                    or building;                                  under controlled conditions for
                (b) insulation or refractory                      its preservation, and susceptible
                    material;                                     to loss or damage if the
                (c) sewer piping,                                 controlled conditions change.
                    underground vessels or                   i. “Production machinery” means
                    piping, or piping forming                     any machine or apparatus that
                    a part of a sprinkler                         processes or produces a
                    system;                                       product intended for eventual
                (d) water piping other than                       sale. However, “production
                    boiler feedwater piping,                      machinery” does not mean any
                    boiler condensate return                      fired or unfired pressure vessel
                    piping or water piping                        other than a cylinder containing
                    forming as part of a                          a movable plunger or piston.
                    refrigerating or air                          This term does not appear
                    conditioning system;                          elsewhere in this endorsement,
                (e) “vehicle” or any                              but may appear in a Schedule.
                    equipment mounted on                     j. “Vehicle” means, as respects
                    a “vehicle”;                                  this endorsement only, any
                (f) satellite, spacecraft or                      machine or apparatus that is
                    any equipment mounted                         used for transportation or moves
                    on a satellite or                             under its own power. “Vehicle”
                    spacecraft;                                   includes, but is not limited to,
                (g) dragline, excavation or                       car, truck, bus, trailer, train,
                    construction equipment;                       aircraft, watercraft, forklift,
                    or                                            bulldozer, tractor or harvester.
                (h) equipment                                     However, any property that is
                    manufactured by you for                       stationary, permanently installed
                    sale.                                         at a covered location and that
        c. “Data” means information or                            receives electrical power from
           instructions stored in digital                         an external power source will
           code capable of being                                  not be considered a “vehicle”.
           processed by machinery.                     B. The Building and Personal Property
        d. “Hazardous substance” means                    Coverage Form is modified as follows.
           any substance that is hazardous                The definitions stated above apply to
           to health or has been declared                 Section B. of this endorsement.
           to be hazardous to health by a                 1. DEDUCTIBLE
           governmental agency.                              The deductible in the Declarations
        e. “Media” means material on                         applies unless a separate
           which “data” is recorded, such                    Equipment Breakdown deductible is
           as magnetic tapes, hard disks,                    shown in a Schedule. If a separate
           optical disks or floppy disks.



451-0038 (11/04)   Includes copyrighted material of Insurance Services Office, Inc.      Page 5 of 8
Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 99 of 217



        Equipment Breakdown Deductible is                                resulting from any “one
        shown, the following applies:                                    accident” until the amount of
        Only as regards Equipment                                        loss, damage or expense
        Breakdown Coverage, provision D.,                                exceeds the applicable
        DEDUCTIBLE is deleted and                                        Deductible shown in the
        replaced with the following:                                     Schedule. We will then pay
        a. Deductibles for Each                                          the amount of loss, damage
            Coverage                                                     or expense in excess of the
            (1) Unless the Schedule                                      applicable Deductible or
                indicates that your                                      Deductibles, up to the
                deductible is combined for                               applicable Limit of
                all coverages, multiple                                  Insurance.
                deductibles may apply to                             (2) Time Deductible
                any “one accident”.                                      If a time deductible is shown
            (2) We will not pay for loss,                                in the Schedule, we will not
                damage or expense under                                  be liable for any loss
                any coverage until the                                   occurring during the
                amount of the covered loss,                              specified number of hours
                damage or expense                                        or days immediately
                exceeds the deductible                                   following the “accident.” If a
                amount indicated for that                                time deductible is
                coverage in the Schedule.                                expressed in days, each
                We will then pay the amount                              day shall mean twenty-four
                of loss, damage or expense                               consecutive hours.
                in excess of the applicable                          (3) Multiple of Average Daily
                deductible amount, subject                               Value (ADV)
                to the applicable limit.                                 If a deductible is expressed
            (3) If deductibles vary by type                              as a number times ADV,
                of “covered equipment” and                               that amount will be
                more than one type of                                    calculated as follows:
                “covered equipment” is                                   The ADV (Average Daily
                involved in any “one                                     Value) will be the Business
                accident”, only the highest                              Income (as defined in any
                deductible for each                                      Business Income coverage
                coverage will apply.                                     that is part of this policy)
        b. Direct and Indirect Coverages                                 that would have been
            (1) Direct Coverages                                         earned during the period of
                Deductibles and Indirect                                 interruption of business
                Coverage Deductibles may                                 had no “accident” occurred,
                be indicated in the                                      divided by the number
                Schedule.                                                of working days in that
            (2) Unless more specifically                                 period. No reduction shall
                indicated in the Schedule:                               be made for the Business
                (a) Indirect Coverages                                   Income not being earned,
                     Deductibles apply to                                or in the number of working
                     Business Income and                                 days, because of the
                     Extra Expense loss; and                             “accident” or any other
                (b) Direct Coverages                                     scheduled or unscheduled
                     Deductibles apply to all                            shutdowns during the period
                     remaining loss, damage                              of interruption. The ADV
                     or expense covered by                               applies to the Business
                     this endorsement.                                   Income value of the
        c. Application of Deductibles                                    entire location, whether
            (1) Dollar Deductibles                                       or not the loss affects
                We will not pay for loss,                                the entire location. If
                damage or expense                                        more than one location



451-0038 (11/04)   Includes copyrighted material of Insurance Services Office, Inc.         Page 6 of 8
Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 100 of 217



                                                                     reinstated only by an
                 is included in the valuation                        endorsement for that “covered
                 of the loss, the ADV will be                        equipment”. If we suspend your
                 the combined value of all                           insurance, you will get a pro rata
                 affected locations. For                             refund of premium for that
                 purposes of this calculation,                       “covered equipment” for the
                 the period of interruption                          period of suspension. But the
                 may not extend beyond the                           suspension will be effective
                 period of restoration. The                          even if we have not yet made or
                 number indicated in the                             offered a refund.
                 Schedule will be multiplied                      b. Jurisdictional Inspections
                 by the ADV as determined                            If any property that is “covered
                 above. The result shall be                          equipment” under this
                 used as the applicable                              endorsement requires
                 deductible.                                         inspection to comply with state
             (4) Percentage of Loss                                  or municipal boiler and pressure
                 Deductibles                                         vessel regulations, we agree to
                 If a deductible is expressed                        perform such inspection on your
                 as a percentage of loss, we                         behalf. We do not warrant that
                 will not be liable for the                          conditions are safe or healthful.
                 indicated percentage of the                      c. Environmental, Safety and
                 gross amount of loss,                               Efficiency Improvements
                 damage or expense (prior to                         If “covered equipment” requires
                 any applicable deductible or                        replacement due to an
                 coinsurance) insured under                          “accident”, we will pay your
                 the applicable coverage. If                         additional cost to replace with
                 the dollar amount of such                           equipment that is better for the
                 percentage is less than the                         environment, safer or more
                 indicated minimum                                   efficient than the equipment
                 deductible, the minimum                             being replaced. However, we
                 deductible will be the                              will not pay more than 125% of
                 applicable deductible.                              what the cost would have been
                                                                     to repair or replace with like kind
     2. CONDITIONS                                                   and quality. This condition does
        The following conditions are in                              not increase any of the
        addition to the Conditions in the                            applicable limits. This condition
        Building and Personal Property                               does not apply to any property
        Coverage Form and the Common                                 to which Actual Cash Value
        Policy Conditions.                                           applies.
        a. Suspension                                             d. Coinsurance
            Whenever “covered equipment”                             If a coinsurance percentage is
            is found to be in, or exposed to,                        shown in a Schedule for
            a dangerous condition, any of                            specified coverages, the
            our representatives may                                  following condition applies:
            immediately suspend the                                  (1) We will not pay for the full
            insurance against loss from an                                amount of your loss if the
            “accident” to the “covered                                    applicable limit is less than
            equipment”. This can be done                                  the product of the specified
            by mailing or delivering a written                            coinsurance percentage
            notice of suspension to:                                      times the value of the
            (1) Your last known address; or                               property subject to the
            (2) The address where the                                     coverage at the time of the
                 “covered equipment” is                                   loss. Instead, we will
                 located.                                                 determine what percentage
            Once suspended in this way,                                   this calculated product is
            your insurance can be                                         compared to the applicable



 451-0038 (11/04)    Includes copyrighted material of Insurance Services Office, Inc.        Page 7 of 8
Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 101 of 217



             limit and apply that percentage
             to the gross amount of the loss.
             We will then subtract the
             applicable deductible. The
             resulting amount, or the
             applicable limit, is the most we
             will pay. We will not pay for the
             remainder of the loss.
             Coinsurance applies separately
             to each insured location.
             The most we will pay for loss,
             damage or expense under this
             endorsement arising from any
             “one accident” is the applicable
             Limit of Insurance in the
             Declarations unless otherwise
             shown in a Schedule. Coverage
             provided under this
             endorsement does not provide
             an additional amount of
             insurance.




 451-0038 (11/04)   Includes copyrighted material of Insurance Services Office, Inc.   Page 8 of 8
  Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 102 of 217



  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        NEW YORK CHANGES
This endorsement modifies insurance provided under the following:

EQUIPMENT BREAKDOWN COVERAGE

A. Additional Coverage Mold A.2.g is deleted.

B. The “Mold” EXCLUSION A.3.e. is deleted.




451-0052 12 06   Includes copyrighted material of Insurance Services Office, Inc., with its permission   Page 1 of 1
                                                                                                     ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 103 of 217


                                                                                       COMMERCIAL PROPERTY
                                                                                               CP 00 10 10 12

                   BUILDING AND PERSONAL PROPERTY
                           COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section H. Definitions.

A. Coverage                                                         b. Your Business Personal Property
   We will pay for direct physical loss of or damage to                consists of the following property located in
   Covered Property at the premises described in the                   or on the building or structure described in
   Declarations caused by or resulting from any                        the Declarations or in the open (or in a
   Covered Cause of Loss.                                              vehicle) within 100 feet of the building or
                                                                       structure or within 100 feet of the premises
   1. Covered Property                                                 described in the Declarations, whichever
      Covered Property, as used in this Coverage                       distance is greater:
      Part, means the type of property described in                    (1) Furniture and fixtures;
      this section, A.1., and limited in A.2. Property
      Not Covered, if a Limit Of Insurance is shown                    (2) Machinery and equipment;
      in the Declarations for that type of property.                   (3) "Stock";
       a. Building, meaning the building or structure                  (4) All other personal property owned by
          described in the Declarations, including:                        you and used in your business;
         (1) Completed additions;                                      (5) Labor, materials or services furnished or
         (2) Fixtures, including outdoor fixtures;                         arranged by you on personal property of
                                                                           others;
         (3) Permanently installed:
                                                                       (6) Your use interest as tenant in
             (a) Machinery; and                                            improvements        and    betterments.
             (b) Equipment;                                                Improvements and betterments are
                                                                           fixtures, alterations, installations or
         (4) Personal property owned by you that is
             used to maintain or service the building                      additions:
             or structure or its premises, including:                     (a) Made a part of the building or
                                                                              structure you occupy but do not own;
             (a) Fire-extinguishing equipment;
                                                                              and
             (b) Outdoor furniture;
                                                                          (b) You acquired or made at your
             (c) Floor coverings; and                                         expense but cannot legally remove;
             (d) Appliances used for refrigerating,                    (7) Leased personal property for which you
                 ventilating, cooking, dishwashing or                      have a contractual responsibility to
                 laundering;                                               insure, unless otherwise provided for
         (5) If not covered by other insurance:                            under Personal Property Of Others.
             (a) Additions     under       construction,            c. Personal Property Of Others that is:
                 alterations and repairs to the building               (1) In your care, custody or control; and
                 or structure;
                                                                       (2) Located in or on the building or structure
             (b) Materials, equipment, supplies and                        described in the Declarations or in the
                 temporary structures, on or within                        open (or in a vehicle) within 100 feet of
                 100 feet of the described premises,                       the building or structure or within 100
                 used      for    making     additions,                    feet of the premises described in the
                 alterations or repairs to the building                    Declarations, whichever distance is
                 or structure.                                             greater.




CP 00 10 10 12                          © Insurance Services Office, Inc., 2011                        Page 1 of 16
                                                                                                  ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 104 of 217



         However, our payment for loss of or                      n. Electronic data, except as provided under
         damage to personal property of others will                  the Additional Coverage, Electronic Data.
         only be for the account of the owner of the                 Electronic data means information, facts or
         property.                                                   computer programs stored as or on,
   2. Property Not Covered                                           created or used on, or transmitted to or
                                                                     from computer software (including systems
      Covered Property does not include:                             and applications software), on hard or
      a. Accounts, bills, currency, food stamps or                   floppy disks, CD-ROMs, tapes, drives, cells,
         other evidences of debt, money, notes or                    data processing devices or any other
         securities. Lottery tickets held for sale are               repositories of computer software which are
         not securities;                                             used      with     electronically     controlled
                                                                     equipment. The term computer programs,
      b. Animals, unless owned by others and
                                                                     referred to in the foregoing description of
         boarded by you, or if owned by you, only as
         "stock" while inside of buildings;                          electronic data, means a set of related
                                                                     electronic instructions which direct the
      c. Automobiles held for sale;                                  operations and functions of a computer or
      d. Bridges, roadways, walks, patios or other                   device connected to it, which enable the
         paved surfaces;                                             computer or device to receive, process,
                                                                     store, retrieve or send data. This
      e. Contraband, or property in the course of                    paragraph, n., does not apply to your
         illegal transportation or trade;                            "stock" of prepackaged software, or to
      f. The cost of excavations, grading, backfilling               electronic data which is integrated in and
         or filling;                                                 operates or controls the building's elevator,
      g. Foundations of buildings, structures,                       lighting, heating, ventilation, air conditioning
         machinery or boilers if their foundations are               or security system;
         below:                                                   o. The cost to replace or restore the
        (1) The lowest basement floor; or                            information on valuable papers and
                                                                     records, including those which exist as
        (2) The surface of the ground, if there is no                electronic data. Valuable papers and
            basement;                                                records include but are not limited to
      h. Land (including land on which the property                  proprietary information, books of account,
         is located), water, growing crops or lawns                  deeds, manuscripts, abstracts, drawings
         (other than lawns which are part of a                       and card index systems. Refer to the
         vegetated roof);                                            Coverage Extension for Valuable Papers
      i. Personal property      while    airborne   or               And Records (Other Than Electronic Data)
         waterborne;                                                 for limited coverage for valuable papers and
                                                                     records other than those which exist as
      j. Bulkheads, pilings, piers, wharves or docks;                electronic data;
      k. Property that is covered under another                   p. Vehicles     or    self-propelled     machines
         coverage form of this or any other policy in                (including aircraft or watercraft) that:
         which it is more specifically described,
         except for the excess of the amount due                     (1) Are licensed for use on public roads; or
         (whether you can collect on it or not) from                 (2) Are operated principally away from the
         that other insurance;                                           described premises.
      l. Retaining walls that are not part of a                       This paragraph does not apply to:
         building;                                                      (a) Vehicles or self-propelled machines
     m. Underground pipes, flues or drains;                                 or autos you manufacture, process
                                                                            or warehouse;




Page 2 of 16                          © Insurance Services Office, Inc., 2011                      CP 00 10 10 12
                                                                                               ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 105 of 217



           (b) Vehicles or self-propelled machines,                   (d) Remove property of others of a type
               other than autos, you hold for sale;                       that would not be Covered Property
           (c) Rowboats or canoes out of water at                         under this Coverage Form;
               the described premises; or                             (e) Remove deposits of mud or earth
           (d) Trailers, but only to the extent                           from the grounds of the described
               provided for in the Coverage                               premises;
               Extension for Non-owned Detached                        (f) Extract "pollutants" from land or
               Trailers; or                                                water; or
      q. The following property while outside of                      (g) Remove, restore or replace polluted
         buildings:                                                       land or water.
        (1) Grain, hay, straw or other crops;                      (3) Subject to the exceptions in Paragraph
        (2) Fences, radio or television antennas                       (4), the following provisions apply:
            (including satellite dishes) and their                    (a) The most we will pay for the total of
            lead-in wiring, masts or towers, trees,                       direct physical loss or damage plus
            shrubs or plants (other than trees,                           debris removal expense is the Limit
            shrubs or plants which are "stock" or are                     of Insurance applicable to the
            part of a vegetated roof), all except as                      Covered Property that has sustained
            provided in the Coverage Extensions.                          loss or damage.
   3. Covered Causes Of Loss                                          (b) Subject to (a) above, the amount we
      See applicable Causes Of Loss form as shown                         will pay for debris removal expense
      in the Declarations.                                                is limited to 25% of the sum of the
                                                                          deductible plus the amount that we
   4. Additional Coverages                                                pay for direct physical loss or
      a. Debris Removal                                                   damage to the Covered Property that
                                                                          has sustained loss or damage.
        (1) Subject to Paragraphs (2), (3) and (4),
            we will pay your expense to remove                            However, if no Covered Property has
                                                                          sustained direct physical loss or
            debris of Covered Property and other
                                                                          damage, the most we will pay for
            debris that is on the described premises,
            when such debris is caused by or                              removal of debris of other property (if
                                                                          such removal is covered under this
            results from a Covered Cause of Loss
                                                                          Additional Coverage) is $5,000 at
            that occurs during the policy period. The
            expenses will be paid only if they are                        each location.
            reported to us in writing within 180 days              (4) We will pay up to an additional $25,000
            of the date of direct physical loss or                     for debris removal expense, for each
            damage.                                                    location, in any one occurrence of
                                                                       physical loss or damage to Covered
        (2) Debris Removal does not apply to costs
                                                                       Property, if one or both of the following
            to:
                                                                       circumstances apply:
           (a) Remove debris of property of yours
               that is not insured under this policy,                 (a) The total of the actual debris removal
               or property in your possession that is                     expense plus the amount we pay for
                                                                          direct physical loss or damage
               not Covered Property;
                                                                          exceeds the Limit of Insurance on
           (b) Remove debris of property owned by                         the Covered Property that has
               or leased to the landlord of the                           sustained loss or damage.
               building where your described
               premises are located, unless you                       (b) The actual debris removal expense
                                                                          exceeds 25% of the sum of the
               have a contractual responsibility to
               insure such property and it is insured                     deductible plus the amount that we
                                                                          pay for direct physical loss or
               under this policy;
                                                                          damage to the Covered Property that
           (c) Remove any property that is                                has sustained loss or damage.
               Property Not Covered, including
               property addressed under the
               Outdoor    Property   Coverage
               Extension;




CP 00 10 10 12                      © Insurance Services Office, Inc., 2011                        Page 3 of 16
                                                                                                    ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 106 of 217



               Therefore, if (4)(a) and/or (4)(b) applies,    The additional amount payable for debris removal
               our total payment for direct physical loss     expense is provided in accordance with the terms of
               or damage and debris removal expense           Paragraph (4), because the debris removal expense
               may reach but will never exceed the            ($40,000) exceeds 25% of the loss payable plus the
               Limit of Insurance on the Covered              deductible ($40,000 is 50% of $80,000), and because
               Property that has sustained loss or            the sum of the loss payable and debris removal
               damage, plus $25,000.                          expense ($79,500 + $40,000 = $119,500) would
         (5) Examples                                         exceed the Limit of Insurance ($90,000). The
                                                              additional amount of covered debris removal expense
               The following examples assume that             is $25,000, the maximum payable under Paragraph
               there is no Coinsurance penalty.               (4). Thus, the total payable for debris removal
Example 1                                                     expense in this example is $35,500; $4,500 of the
                                                              debris removal expense is not covered.
Limit of Insurance:                    $ 90,000
                                                                    b. Preservation Of Property
Amount of Deductible:                  $     500
                                                                        If it is necessary to move Covered Property
Amount of Loss:                        $ 50,000                         from the described premises to preserve it
Amount of Loss Payable:                $ 49,500                         from loss or damage by a Covered Cause
                                ($50,000 – $500)                        of Loss, we will pay for any direct physical
Debris Removal Expense:                $ 10,000                         loss or damage to that property:
Debris Removal Expense Payable:        $ 10,000                        (1) While it is being moved or while
                                                                           temporarily stored at another location;
($10,000 is 20% of $50,000.)
                                                                           and
The debris removal expense is less than 25% of the                     (2) Only if the loss or damage occurs within
sum of the loss payable plus the deductible. The sum                       30 days after the property is first moved.
of the loss payable and the debris removal expense
($49,500 + $10,000 = $59,500) is less than the Limit                c. Fire Department Service Charge
of Insurance. Therefore, the full amount of debris                      When the fire department is called to save
removal expense is payable in accordance with the                       or protect Covered Property from a
terms of Paragraph (3).                                                 Covered Cause of Loss, we will pay up to
                                                                        $1,000 for service at each premises
Example 2                                                               described in the Declarations, unless a
Limit of Insurance:                          $ 90,000                   higher limit is shown in the Declarations.
                                                                        Such limit is the most we will pay
Amount of Deductible:                        $      500
                                                                        regardless of the number of responding fire
Amount of Loss:                              $ 80,000                   departments or fire units, and regardless of
Amount of Loss Payable:                      $ 79,500                   the number or type of services performed.
                                       ($80,000 – $500)                 This Additional Coverage applies to your
Debris Removal Expense:                      $ 40,000                   liability for fire department service charges:
Debris Removal Expense Payable                                         (1) Assumed by contract or agreement prior
                   Basic Amount:               $ 10,500                    to loss; or
                   Additional Amount:          $ 25,000                (2) Required by local ordinance.
The basic amount payable for debris removal                             No Deductible applies to this Additional
expense under the terms of Paragraph (3) is                             Coverage.
calculated as follows: $80,000 ($79,500 + $500) x .25
= $20,000, capped at $10,500. The cap applies
because the sum of the loss payable ($79,500) and
the basic amount payable for debris removal expense
($10,500) cannot exceed the Limit of Insurance
($90,000).




Page 4 of 16                            © Insurance Services Office, Inc., 2011                      CP 00 10 10 12
                                                                                                ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 107 of 217



      d. Pollutant Clean-up And Removal                             (5) Under this Additional Coverage, we will
         We will pay your expense to extract                            not pay for:
         "pollutants" from land or water at the                        (a) The enforcement of or compliance
         described premises if the discharge,                              with any ordinance or law which
         dispersal, seepage, migration, release or                         requires        demolition,     repair,
         escape of the "pollutants" is caused by or                        replacement,            reconstruction,
         results from a Covered Cause of Loss that                         remodeling      or    remediation    of
         occurs during the policy period. The                              property due to contamination by
         expenses will be paid only if they are                            "pollutants" or due to the presence,
         reported to us in writing within 180 days of                      growth, proliferation, spread or any
         the date on which the Covered Cause of                            activity of "fungus", wet or dry rot or
         Loss occurs.                                                      bacteria; or
         This Additional Coverage does not apply to                    (b) Any costs associated with the
         costs to test for, monitor or assess the                          enforcement of or compliance with
         existence, concentration or effects of                            an ordinance or law which requires
         "pollutants". But we will pay for testing                         any insured or others to test for,
         which is performed in the course of                               monitor, clean up, remove, contain,
         extracting the "pollutants" from the land or                      treat, detoxify or neutralize, or in any
         water.                                                            way respond to, or assess the
         The most we will pay under this Additional                        effects of "pollutants", "fungus", wet
         Coverage for each described premises is                           or dry rot or bacteria.
         $10,000 for the sum of all covered                         (6) The most we will pay under this
         expenses arising out of Covered Causes of                      Additional Coverage, for each described
         Loss occurring during each separate 12-                        building insured under this Coverage
         month period of this policy.                                   Form, is $10,000 or 5% of the Limit of
      e. Increased Cost Of Construction                                 Insurance applicable to that building,
                                                                        whichever is less. If a damaged building
        (1) This Additional Coverage applies only to                    is covered under a blanket Limit of
            buildings to which the Replacement                          Insurance which applies to more than
            Cost Optional Coverage applies.                             one building or item of property, then the
        (2) In the event of damage by a Covered                         most we will pay under this Additional
            Cause of Loss to a building that is                         Coverage, for that damaged building, is
            Covered Property, we will pay the                           the lesser of $10,000 or 5% times the
            increased costs incurred to comply with                     value of the damaged building as of the
            the minimum standards of an ordinance                       time of loss times the applicable
            or law in the course of repair, rebuilding                  Coinsurance percentage.
            or replacement of damaged parts of that                     The amount payable under this
            property, subject to the limitations stated                 Additional Coverage is additional
            in e.(3) through e.(9) of this Additional                   insurance.
            Coverage.
                                                                    (7) With respect       to    this   Additional
        (3) The ordinance or law referred to in e.(2)                   Coverage:
            of this Additional Coverage is an
            ordinance or law that regulates the                        (a) We will not pay for the Increased
            construction or repair of buildings or                         Cost of Construction:
            establishes zoning or land use                                 (i) Until the property is actually
            requirements at the described premises                             repaired or replaced at the same
            and is in force at the time of loss.                               or another premises; and
        (4) Under this Additional Coverage, we will                        (ii) Unless the repair or replacement
            not pay any costs due to an ordinance                               is made as soon as reasonably
            or law that:                                                        possible after the loss or
           (a) You were required to comply with                                 damage, not to exceed two
               before the loss, even when the                                   years. We may extend this period
               building was undamaged; and                                      in writing during the two years.
           (b) You failed to comply with.




CP 00 10 10 12                       © Insurance Services Office, Inc., 2011                        Page 5 of 16
                                                                                                 ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 108 of 217



           (b) If the building is repaired or replaced               (3) The Covered Causes of Loss applicable
               at the same premises, or if you elect                     to Your Business Personal Property
               to rebuild at another premises, the                       apply to this Additional Coverage,
               most we will pay for the Increased                        Electronic Data, subject to the following:
               Cost of Construction, subject to the                     (a) If the Causes Of Loss – Special
               provisions of e.(6) of this Additional                       Form applies, coverage under this
               Coverage, is the increased cost of                           Additional   Coverage,     Electronic
               construction at the same premises.                           Data, is limited to the "specified
           (c) If the ordinance or law requires                             causes of loss" as defined in that
               relocation to another premises, the                          form and Collapse as set forth in that
               most we will pay for the Increased                           form.
               Cost of Construction, subject to the                     (b) If the Causes Of Loss – Broad Form
               provisions of e.(6) of this Additional                       applies,    coverage    under    this
               Coverage, is the increased cost of                           Additional    Coverage,   Electronic
               construction at the new premises.                            Data, includes Collapse as set forth
        (8) This Additional Coverage is not subject                         in that form.
            to the terms of the Ordinance Or Law                        (c) If the Causes Of Loss form is
            Exclusion to the extent that such                               endorsed to add a Covered Cause of
            Exclusion would conflict with the                               Loss, the additional Covered Cause
            provisions of this Additional Coverage.                         of Loss does not apply to the
        (9) The costs addressed in the Loss                                 coverage provided under this
            Payment and Valuation Conditions and                            Additional   Coverage,    Electronic
            the     Replacement      Cost Optional                          Data.
            Coverage, in this Coverage Form, do                         (d) The Covered Causes of Loss include
            not include the increased cost                                  a virus, harmful code or similar
            attributable to enforcement of or                               instruction introduced into or enacted
            compliance with an ordinance or law.                            on a computer system (including
            The amount payable under this                                   electronic data) or a network to
            Additional Coverage, as stated in e.(6)                         which it is connected, designed to
            of this Additional Coverage, is not                             damage or destroy any part of the
            subject to such limitation.                                     system or disrupt its normal
      f. Electronic Data                                                    operation. But there is no coverage
        (1) Under      this   Additional    Coverage,                       for loss or damage caused by or
            electronic data has the meaning                                 resulting from manipulation of a
            described under Property Not Covered,                           computer         system      (including
            Electronic      Data.    This    Additional                     electronic data) by any employee,
            Coverage does not apply to your "stock"                         including a temporary or leased
            of prepackaged software, or to                                  employee, or by an entity retained by
            electronic data which is integrated in                          you or for you to inspect, design,
            and operates or controls the building's                         install, modify, maintain, repair or
            elevator, lighting, heating, ventilation, air                   replace that system.
            conditioning or security system.
        (2) Subject to the provisions of this
            Additional Coverage, we will pay for the
            cost to replace or restore electronic data
            which has been destroyed or corrupted
            by a Covered Cause of Loss. To the
            extent that electronic data is not
            replaced or restored, the loss will be
            valued at the cost of replacement of the
            media on which the electronic data was
            stored, with blank media of substantially
            identical type.




Page 6 of 16                          © Insurance Services Office, Inc., 2011                     CP 00 10 10 12
                                                                                                  ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 109 of 217



        (4) The most we will pay under this                         (2) Your Business Personal Property
            Additional Coverage, Electronic Data, is                   (a) If this policy covers Your Business
            $2,500 (unless a higher limit is shown in                      Personal Property, you may extend
            the Declarations) for all loss or damage                       that insurance to apply to:
            sustained in any one policy year,
            regardless of the number of occurrences                        (i) Business    personal     property,
            of loss or damage or the number of                                 including such property that you
            premises,     locations    or   computer                           newly acquire, at any location
            systems involved. If loss payment on the                           you acquire other than at fairs,
            first occurrence does not exhaust this                             trade shows or exhibitions; or
            amount, then the balance is available for                      (ii) Business     personal    property,
            subsequent loss or damage sustained in                              including such property that you
            but not after that policy year. With                                newly acquire, located at your
            respect to an occurrence which begins                               newly constructed or acquired
            in one policy year and continues or                                 buildings    at    the    location
            results in additional loss or damage in a                           described in the Declarations.
            subsequent policy year(s), all loss or
                                                                           The most we will pay for loss or
            damage is deemed to be sustained in
                                                                           damage under this Extension is
            the policy year in which the occurrence
                                                                           $100,000 at each building.
            began.
                                                                       (b) This Extension does not apply to:
   5. Coverage Extensions
                                                                           (i) Personal property of others that
      Except as otherwise provided, the following                              is temporarily in your possession
      Extensions apply to property located in or on
                                                                               in the course of installing or
      the building described in the Declarations or in
                                                                               performing     work    on   such
      the open (or in a vehicle) within 100 feet of the                        property; or
      described premises.
                                                                           (ii) Personal property of others that
      If a Coinsurance percentage of 80% or more,                               is temporarily in your possession
      or a Value Reporting period symbol, is shown
                                                                                in     the   course     of   your
      in the Declarations, you may extend the                                   manufacturing or wholesaling
      insurance provided by this Coverage Part as
                                                                                activities.
      follows:
                                                                    (3) Period Of Coverage
      a. Newly Acquired Or Constructed
         Property                                                       With respect to insurance provided
                                                                        under this Coverage Extension for
        (1) Buildings                                                   Newly      Acquired     Or  Constructed
            If this policy covers Building, you may                     Property, coverage will end when any of
            extend that insurance to apply to:                          the following first occurs:
            (a) Your new buildings while being built                   (a) This policy expires;
                on the described premises; and
                                                                       (b) 30 days expire after you acquire the
            (b) Buildings you acquire at locations,                        property or begin construction of that
                other than the described premises,                         part of the building that would qualify
                intended for:                                              as covered property; or
                 (i) Similar use as the building                       (c) You report values to us.
                     described in the Declarations; or
                                                                        We will charge you additional premium
                 (ii) Use as a warehouse.                               for values reported from the date you
            The most we will pay for loss or damage                     acquire    the    property    or   begin
            under this Extension is $250,000 at                         construction of that part of the building
            each building.                                              that would qualify as covered property.




CP 00 10 10 12                       © Insurance Services Office, Inc., 2011                        Page 7 of 16
                                                                                               ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 110 of 217



      b. Personal Effects And Property Of Others                d. Property Off-premises
         You may extend the insurance that applies                 (1) You may extend the insurance provided
         to Your Business Personal Property to                         by this Coverage Form to apply to your
         apply to:                                                     Covered Property while it is away from
        (1) Personal effects owned by you, your                        the described premises, if it is:
            officers, your partners or members, your                  (a) Temporarily at a location you do not
            managers or your employees. This                              own, lease or operate;
            Extension does not apply to loss or                       (b) In storage at a location you lease,
            damage by theft.                                              provided the lease was executed
        (2) Personal property of others in your care,                     after the beginning of the current
            custody or control.                                           policy term; or
         The most we will pay for loss or damage                      (c) At any fair, trade show or exhibition.
         under this Extension is $2,500 at each                    (2) This Extension does not apply to
         described premises. Our payment for loss                      property:
         of or damage to personal property of others
         will only be for the account of the owner of                 (a) In or on a vehicle; or
         the property.                                                (b) In the care, custody or control of
      c. Valuable Papers And Records (Other                               your salespersons, unless the
         Than Electronic Data)                                            property is in such care, custody or
                                                                          control at a fair, trade show or
        (1) You may extend the insurance that                             exhibition.
            applies to Your Business Personal
            Property to apply to the cost to replace               (3) The most we will pay for loss or damage
            or restore the lost information on                         under this Extension is $10,000.
            valuable papers and records for which               e. Outdoor Property
            duplicates do not exist. But this
                                                                    You may extend the insurance provided by
            Extension does not apply to valuable                    this Coverage Form to apply to your
            papers and records which exist as
                                                                    outdoor fences, radio and television
            electronic data. Electronic data has the
                                                                    antennas (including satellite dishes), trees,
            meaning described under Property Not                    shrubs and plants (other than trees, shrubs
            Covered, Electronic Data.
                                                                    or plants which are "stock" or are part of a
        (2) If the Causes Of Loss – Special Form                    vegetated roof), including debris removal
            applies, coverage under this Extension                  expense, caused by or resulting from any of
            is limited to the "specified causes of                  the following causes of loss if they are
            loss" as defined in that form and                       Covered Causes of Loss:
            Collapse as set forth in that form.
                                                                   (1) Fire;
        (3) If the Causes Of Loss – Broad Form                     (2) Lightning;
            applies, coverage under this Extension
            includes Collapse as set forth in that                 (3) Explosion;
            form.                                                  (4) Riot or Civil Commotion; or
        (4) Under this Extension, the most we will                 (5) Aircraft.
            pay to replace or restore the lost
            information is $2,500 at each described                 The most we will pay for loss or damage
                                                                    under this Extension is $1,000, but not
            premises, unless a higher limit is shown
                                                                    more than $250 for any one tree, shrub or
            in the Declarations. Such amount is
            additional insurance. We will also pay                  plant. These limits apply to any one
                                                                    occurrence, regardless of the types or
            for the cost of blank material for
                                                                    number of items lost or damaged in that
            reproducing the records (whether or not
            duplicates exist) and (when there is a                  occurrence.
            duplicate) for the cost of labor to
            transcribe or copy the records. The
            costs of blank material and labor are
            subject to the applicable Limit of
            Insurance on Your Business Personal
            Property and, therefore, coverage of
            such costs is not additional insurance.




Page 8 of 16                        © Insurance Services Office, Inc., 2011                        CP 00 10 10 12
                                                                                                 ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 111 of 217



         Subject to all aforementioned terms and                   (2) If the applicable Covered Causes of
         limitations of coverage, this Coverage                        Loss form or endorsement contains a
         Extension includes the expense of                             limitation or exclusion concerning loss or
         removing from the described premises the                      damage from sand, dust, sleet, snow,
         debris of trees, shrubs and plants which are                  ice or rain to property in a structure,
         the property of others, except in the                         such limitation or exclusion also applies
         situation in which you are a tenant and such                  to property in a portable storage unit.
         property is owned by the landlord of the                  (3) Coverage under this Extension:
         described premises.
                                                                      (a) Will end 90 days after the business
      f. Non-owned Detached Trailers                                      personal property has been placed in
        (1) You may extend the insurance that                             the storage unit;
            applies to Your Business Personal                         (b) Does not apply if the storage unit
            Property to apply to loss or damage to                        itself has been in use at the
            trailers that you do not own, provided                        described premises for more than 90
            that:                                                         consecutive days, even if the
           (a) The trailer is used in your business;                      business personal property has been
           (b) The trailer is in your care, custody or                    stored there for 90 or fewer days as
               control at the premises described in                       of the time of loss or damage.
               the Declarations; and                               (4) Under this Extension, the most we will
           (c) You have a contractual responsibility                   pay for the total of all loss or damage to
               to pay for loss or damage to the                        business personal property is $10,000
               trailer.                                                (unless a higher limit is indicated in the
                                                                       Declarations for such Extension)
        (2) We will not pay for any loss or damage                     regardless of the number of storage
            that occurs:                                               units. Such limit is part of, not in addition
           (a) While the trailer is attached to any                    to, the applicable Limit of Insurance on
               motor    vehicle     or    motorized                    Your Business Personal Property.
               conveyance, whether or not the                          Therefore,     payment         under     this
               motor    vehicle     or    motorized                    Extension will not increase the
               conveyance is in motion;                                applicable Limit of Insurance on Your
                                                                       Business Personal Property.
           (b) During    hitching  or    unhitching
               operations, or when a trailer                       (5) This Extension does not apply to loss or
               becomes accidentally unhitched from                     damage otherwise covered under this
               a motor vehicle or motorized                            Coverage Form or any endorsement to
               conveyance.                                             this Coverage Form or policy, and does
                                                                       not apply to loss or damage to the
        (3) The most we will pay for loss or damage
            under this Extension is $5,000, unless a                   storage unit itself.
            higher limit is shown in the Declarations.          Each of these Extensions is additional
                                                                insurance unless otherwise indicated. The
        (4) This insurance is excess over the
                                                                Additional Condition, Coinsurance, does not
            amount due (whether you can collect on
            it or not) from any other insurance                 apply to these Extensions.
            covering such property.                       B. Exclusions And Limitations
      g. Business Personal Property Temporarily              See applicable Causes Of Loss form as shown in
         In Portable Storage Units                           the Declarations.
        (1) You may extend the insurance that             C. Limits Of Insurance
            applies to Your Business Personal                The most we will pay for loss or damage in any
            Property to apply to such property while         one occurrence is the applicable Limit Of
            temporarily stored in a portable storage         Insurance shown in the Declarations.
            unit (including a detached trailer)
            located within 100 feet of the building or       The most we will pay for loss or damage to
            structure described in the Declarations          outdoor signs, whether or not the sign is attached
            or within 100 feet of the premises               to a building, is $2,500 per sign in any one
            described in the Declarations, whichever         occurrence.
            distance is greater.




CP 00 10 10 12                      © Insurance Services Office, Inc., 2011                          Page 9 of 16
                                                                                                   ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 112 of 217



   The amounts of insurance stated in the following          Total amount of loss payable:
   Additional Coverages apply in accordance with the         $59,850 + $80,000 = $139,850
   terms of such coverages and are separate from
   the Limit(s) Of Insurance shown in the                    Example 2
   Declarations for any other coverage:                      (This example, too, assumes there is no Coinsurance
   1. Fire Department Service Charge;                        penalty.)
   2. Pollutant Clean-up And Removal;                        The Deductible and Limits of Insurance are the same
                                                             as those in Example 1.
   3. Increased Cost Of Construction; and
   4. Electronic Data.                                       Loss to Building 1:                        $ 70,000
   Payments under the Preservation Of Property                 (Exceeds Limit of Insurance plus Deductible)
   Additional Coverage will not increase the                 Loss to Building 2:                        $ 90,000
   applicable Limit of Insurance.                              (Exceeds Limit of Insurance plus Deductible)
D. Deductible                                                Loss Payable – Building 1:                 $ 60,000
   In any one occurrence of loss or damage                     (Limit of Insurance)
   (hereinafter referred to as loss), we will first reduce   Loss Payable – Building 2:                 $ 80,000
   the amount of loss if required by the Coinsurance
   Condition or the Agreed Value Optional Coverage.            (Limit of Insurance)
   If the adjusted amount of loss is less than or equal      Total amount of loss payable:              $ 140,000
   to the Deductible, we will not pay for that loss. If
                                                             E. Loss Conditions
   the adjusted amount of loss exceeds the
   Deductible, we will then subtract the Deductible             The following conditions apply in addition to the
   from the adjusted amount of loss and will pay the            Common Policy Conditions and the Commercial
   resulting amount or the Limit of Insurance,                  Property Conditions:
   whichever is less.                                           1. Abandonment
   When the occurrence involves loss to more than                  There can be no abandonment of any property
   one item of Covered Property and separate Limits                to us.
   of Insurance apply, the losses will not be
   combined in determining application of the                   2. Appraisal
   Deductible. But the Deductible will be applied only             If we and you disagree on the value of the
   once per occurrence.                                            property or the amount of loss, either may
                                                                   make written demand for an appraisal of the
Example 1                                                          loss. In this event, each party will select a
(This example assumes there is no Coinsurance                      competent and impartial appraiser. The two
penalty.)                                                          appraisers will select an umpire. If they cannot
                                                                   agree, either may request that selection be
Deductible:                                   $      250           made by a judge of a court having jurisdiction.
Limit of Insurance – Building 1:              $   60,000           The appraisers will state separately the value
Limit of Insurance – Building 2:              $   80,000           of the property and amount of loss. If they fail
                                                                   to agree, they will submit their differences to
Loss to Building 1:                           $   60,100           the umpire. A decision agreed to by any two
Loss to Building 2:                           $   90,000           will be binding. Each party will:
The amount of loss to Building 1 ($60,100) is less                 a. Pay its chosen appraiser; and
than the sum ($60,250) of the Limit of Insurance                   b. Bear the other expenses of the appraisal
applicable to Building 1 plus the Deductible.                         and umpire equally.
The Deductible will be subtracted from the amount of               If there is an appraisal, we will still retain our
loss in calculating the loss payable for Building 1:               right to deny the claim.
    $ 60,100                                                    3. Duties In The Event Of Loss Or Damage
    –    250                                                       a. You must see that the following are done in
    $ 59,850 Loss Payable – Building 1                                the event of loss or damage to Covered
                                                                      Property:
The Deductible applies once per occurrence and
therefore is not subtracted in determining the amount                 (1) Notify the police if a law may have been
of loss payable for Building 2. Loss payable for                          broken.
Building 2 is the Limit of Insurance of $80,000.




Page 10 of 16                          © Insurance Services Office, Inc., 2011                      CP 00 10 10 12
                                                                                               ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 113 of 217



        (2) Give us prompt notice of the loss or             4. Loss Payment
            damage. Include a description of the                a. In the event of loss or damage covered by
            property involved.                                     this Coverage Form, at our option, we will
        (3) As soon as possible, give us a                         either:
            description of how, when and where the                 (1) Pay the value of lost or damaged
            loss or damage occurred.                                   property;
        (4) Take all reasonable steps to protect the               (2) Pay the cost of repairing or replacing the
            Covered Property from further damage,                      lost or damaged property, subject to b.
            and keep a record of your expenses                         below;
            necessary to protect the Covered
            Property, for consideration in the                     (3) Take all or any part of the property at an
            settlement of the claim. This will not                     agreed or appraised value; or
            increase the Limit of Insurance.                       (4) Repair, rebuild or replace the property
            However, we will not pay for any                           with other property of like kind and
            subsequent loss or damage resulting                        quality, subject to b. below.
            from a cause of loss that is not a
                                                                    We will determine the value of lost or
            Covered Cause of Loss. Also, if
                                                                    damaged property, or the cost of its repair
            feasible, set the damaged property
                                                                    or replacement, in accordance with the
            aside and in the best possible order for                applicable terms of the Valuation Condition
            examination.
                                                                    in this Coverage Form or any applicable
        (5) At our request, give us complete                        provision which amends or supersedes the
            inventories of the damaged and                          Valuation Condition.
            undamaged property. Include quantities,
                                                                b. The cost to repair, rebuild or replace does
            costs, values and amount of loss
                                                                   not include the increased cost attributable
            claimed.
                                                                   to enforcement of or compliance with any
        (6) As often as may be reasonably required,                ordinance     or    law     regulating    the
            permit us to inspect the property proving              construction, use or repair of any property.
            the loss or damage and examine your
                                                                c. We will give notice of our intentions within
            books and records.
                                                                   30 days after we receive the sworn proof of
            Also, permit us to take samples of                     loss.
            damaged and undamaged property for
                                                                d. We will not pay you more than your
            inspection, testing and analysis, and
                                                                   financial interest in the Covered Property.
            permit us to make copies from your
            books and records.                                  e. We may adjust losses with the owners of
                                                                   lost or damaged property if other than you.
        (7) Send us a signed, sworn proof of loss                  If we pay the owners, such payments will
            containing the information we request to
                                                                   satisfy your claims against us for the
            investigate the claim. You must do this
                                                                   owners' property. We will not pay the
            within 60 days after our request. We will              owners more than their financial interest in
            supply you with the necessary forms.
                                                                   the Covered Property.
        (8) Cooperate with us in the investigation or
                                                                 f. We may elect to defend you against suits
            settlement of the claim.
                                                                    arising from claims of owners of property.
      b. We may examine any insured under oath,                     We will do this at our expense.
         while not in the presence of any other
                                                                g. We will pay for covered loss or damage
         insured and at such times as may be
                                                                   within 30 days after we receive the sworn
         reasonably required, about any matter
                                                                   proof of loss, if you have complied with all
         relating to this insurance or the claim,                  of the terms of this Coverage Part, and:
         including an insured's books and records. In
         the event of an examination, an insured's                 (1) We have reached agreement with you
         answers must be signed.                                       on the amount of loss; or
                                                                   (2) An appraisal award has been made.




CP 00 10 10 12                      © Insurance Services Office, Inc., 2011                      Page 11 of 16
                                                                                               ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 114 of 217



      h. A party wall is a wall that separates and is                  (b) When this policy is issued to the
         common to adjoining buildings that are                            owner or general lessee of a
         owned by different parties. In settling                           building, building means the entire
         covered losses involving a party wall, we                         building. Such building is vacant
         will pay a proportion of the loss to the party                    unless at least 31% of its total
         wall based on your interest in the wall in                        square footage is:
         proportion to the interest of the owner of the                    (i) Rented to a lessee or sublessee
         adjoining building. However, if you elect to                          and used by the lessee or
         repair or replace your building and the                               sublessee    to    conduct   its
         owner of the adjoining building elects not to                         customary operations; and/or
         repair or replace that building, we will pay
         you the full value of the loss to the party                       (ii) Used by the building owner to
         wall, subject to all applicable policy                                 conduct customary operations.
         provisions including Limits of Insurance, the              (2) Buildings    under    construction    or
         Valuation and Coinsurance Conditions and                       renovation are not considered vacant.
         all other provisions of this Loss Payment
                                                                 b. Vacancy Provisions
         Condition. Our payment under the
         provisions of this paragraph does not alter                 If the building where loss or damage occurs
         any right of subrogation we may have                        has been vacant for more than 60
         against any entity, including the owner or                  consecutive days before that loss or
         insurer of the adjoining building, and does                 damage occurs:
         not alter the terms of the Transfer Of Rights              (1) We will not pay for any loss or damage
         Of Recovery Against Others To Us                               caused by any of the following, even if
         Condition in this policy.                                      they are Covered Causes of Loss:
   5. Recovered Property                                               (a) Vandalism;
      If either you or we recover any property after                   (b) Sprinkler leakage, unless you have
      loss settlement, that party must give the other                      protected    the   system   against
      prompt notice. At your option, the property will                     freezing;
      be returned to you. You must then return to us
      the amount we paid to you for the property. We                   (c) Building glass breakage;
      will pay recovery expenses and the expenses                      (d) Water damage;
      to repair the recovered property, subject to the                 (e) Theft; or
      Limit of Insurance.
                                                                        (f) Attempted theft.
   6. Vacancy
                                                                    (2) With respect to Covered Causes of Loss
      a. Description Of Terms                                           other than those listed in b.(1)(a)
        (1) As used in this Vacancy Condition, the                      through b.(1)(f) above, we will reduce
            term building and the term vacant have                      the amount we would otherwise pay for
            the meanings set forth in (1)(a) and                        the loss or damage by 15%.
            (1)(b) below:                                     7. Valuation
            (a) When this policy is issued to a                  We will determine the value of Covered
                tenant, and with respect to that                 Property in the event of loss or damage as
                tenant's interest in Covered Property,           follows:
                building means the unit or suite
                rented or leased to the tenant. Such             a. At actual cash value as of the time of loss
                building is vacant when it does not                 or damage, except as provided in b., c., d.
                contain enough business personal                    and e. below.
                property to conduct customary                    b. If the Limit of Insurance for Building
                operations.                                         satisfies    the     Additional  Condition,
                                                                    Coinsurance, and the cost to repair or
                                                                    replace the damaged building property is
                                                                    $2,500 or less, we will pay the cost of
                                                                    building repairs or replacement.




Page 12 of 16                        © Insurance Services Office, Inc., 2011                    CP 00 10 10 12
                                                                                                  ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 115 of 217



         The cost of building repairs or replacement                 Instead, we will determine the most we will
         does not include the increased cost                         pay using the following steps:
         attributable   to   enforcement      of    or              (1) Multiply the value of Covered Property
         compliance with any ordinance or law                           at the time of loss by the Coinsurance
         regulating the construction, use or repair of                  percentage;
         any property.
                                                                    (2) Divide the Limit of Insurance of the
         However, the following property will be                        property by the figure determined in
         valued at the actual cash value, even when                     Step (1);
         attached to the building:
                                                                    (3) Multiply the total amount of loss, before
        (1) Awnings or floor coverings;                                 the application of any deductible, by the
        (2) Appliances for refrigerating, ventilating,                  figure determined in Step (2); and
            cooking, dishwashing or laundering; or                  (4) Subtract the deductible from the figure
        (3) Outdoor equipment or furniture.                             determined in Step (3).
      c. "Stock" you have sold but not delivered at                  We will pay the amount determined in Step
         the selling price less discounts and                        (4) or the Limit of Insurance, whichever is
         expenses you otherwise would have had.                      less. For the remainder, you will either have
      d. Glass at the cost of replacement with                       to rely on other insurance or absorb the
         safety-glazing material if required by law.                 loss yourself.
      e. Tenants' Improvements and Betterments at:         Example 1 (Underinsurance)
        (1) Actual cash value of the lost or               When:     The value of the property is:       $ 250,000
            damaged property if you make repairs                     The Coinsurance percentage
            promptly.                                                for it is:                               80%
        (2) A proportion of your original cost if you                The Limit of Insurance for it is:   $ 100,000
            do not make repairs promptly. We will
                                                                     The Deductible is:                  $     250
            determine the proportionate value as
            follows:                                                 The amount of loss is:              $ 40,000
            (a) Multiply the original cost by the          Step (1): $250,000 x 80% = $200,000
                number of days from the loss or                      (the minimum amount of insurance to
                damage to the expiration of the                      meet your Coinsurance requirements)
                lease; and
                                                           Step (2): $100,000 ÷ $200,000 = .50
            (b) Divide the amount determined in (a)        Step (3): $40,000 x .50 = $20,000
                above by the number of days from
                the installation of improvements to        Step (4): $20,000 – $250 = $19,750
                the expiration of the lease.               We will pay no more than $19,750. The remaining
            If your lease contains a renewal option,       $20,250 is not covered.
            the expiration of the renewal option           Example 2 (Adequate Insurance)
            period will replace the expiration of the
            lease in this procedure.                       When:     The value of the property is:       $ 250,000
        (3) Nothing if others pay for repairs or                     The Coinsurance percentage
            replacement.                                             for it is:                               80%
F. Additional Conditions                                             The Limit of Insurance for it is:   $ 200,000
   The following conditions apply in addition to the                 The Deductible is:                  $     250
   Common Policy Conditions and the Commercial                       The amount of loss is:              $ 40,000
   Property Conditions:                                    The minimum amount of insurance to meet your
   1. Coinsurance                                          Coinsurance requirement is $200,000 ($250,000 x
      If a Coinsurance percentage is shown in the          80%). Therefore, the Limit of Insurance in this
      Declarations, the following condition applies:       example is adequate, and no penalty applies. We will
                                                           pay no more than $39,750 ($40,000 amount of loss
      a. We will not pay the full amount of any loss if    minus the deductible of $250).
         the value of Covered Property at the time of
         loss times the Coinsurance percentage
         shown for it in the Declarations is greater
         than the Limit of Insurance for the property.




CP 00 10 10 12                       © Insurance Services Office, Inc., 2011                        Page 13 of 16
                                                                                                    ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 116 of 217



        b. If one Limit of Insurance applies to two or                 (2) Submits a signed, sworn proof of loss
           more separate items, this condition will                        within 60 days after receiving notice
           apply to the total of all property to which the                 from us of your failure to do so; and
           limit applies.                                              (3) Has notified us of any change in
Example 3                                                                  ownership, occupancy or substantial
                                                                           change in risk known to the
When:      The value of the property is:                                   mortgageholder.
           Building at Location 1:             $ 75,000                 All of the terms of this Coverage Part will
           Building at Location 2:             $ 100,000                then apply directly to the mortgageholder.
           Personal Property                                        e. If we pay the mortgageholder for any loss
           at Location 2:                      $ 75,000                or damage and deny payment to you
                                               $ 250,000               because of your acts or because you have
                                                                       failed to comply with the terms of this
           The Coinsurance percentage
                                                                       Coverage Part:
           for it is:                                90%
           The Limit of Insurance for                                  (1) The mortgageholder's rights under the
           Buildings and Personal Property                                 mortgage will be transferred to us to the
           at Locations 1 and 2 is:            $ 180,000                   extent of the amount we pay; and
           The Deductible is:                  $ 1,000                 (2) The mortgageholder's right to recover
                                                                           the full amount of the mortgageholder's
           The amount of loss is:                                          claim will not be impaired.
           Building at Location 2:             $ 30,000
                                                                        At our option, we may pay to the
           Personal Property                                            mortgageholder the whole principal on the
           at Location 2:                      $ 20,000                 mortgage plus any accrued interest. In this
                                               $ 50,000                 event, your mortgage and note will be
Step (1): $250,000 x 90% = $225,000                                     transferred to us and you will pay your
                                                                        remaining mortgage debt to us.
          (the minimum amount of insurance to
          meet your Coinsurance requirements                         f. If we cancel this policy, we will give written
          and to avoid the penalty shown below)                         notice to the mortgageholder at least:
Step (2): $180,000 ÷ $225,000 = .80                                    (1) 10 days before the effective date of
                                                                           cancellation if we cancel for your
Step (3): $50,000 x .80 = $40,000
                                                                           nonpayment of premium; or
Step (4): $40,000 – $1,000 = $39,000
                                                                       (2) 30 days before the effective date of
We will pay no more than $39,000. The remaining                            cancellation if we cancel for any other
$11,000 is not covered.                                                    reason.
   2. Mortgageholders                                               g. If we elect not to renew this policy, we will
        a. The term mortgageholder includes trustee.                   give written notice to the mortgageholder at
                                                                       least 10 days before the expiration date of
        b. We will pay for covered loss of or damage                   this policy.
           to buildings or structures to each
           mortgageholder shown in the Declarations           G. Optional Coverages
           in their order of precedence, as interests            If shown as applicable in the Declarations, the
           may appear.                                           following Optional Coverages apply separately to
        c. The mortgageholder has the right to receive           each item:
           loss payment even if the mortgageholder               1. Agreed Value
           has started foreclosure or similar action on             a. The Additional Condition, Coinsurance,
           the building or structure.                                  does not apply to Covered Property to
        d. If we deny your claim because of your acts                  which this Optional Coverage applies. We
           or because you have failed to comply with                   will pay no more for loss of or damage to
           the terms of this Coverage Part, the                        that property than the proportion that the
           mortgageholder will still have the right to                 Limit of Insurance under this Coverage Part
           receive loss payment if the mortgageholder:                 for the property bears to the Agreed Value
          (1) Pays any premium due under this                          shown for it in the Declarations.
              Coverage Part at our request if you
              have failed to do so;




Page 14 of 16                           © Insurance Services Office, Inc., 2011                      CP 00 10 10 12
                                                                                                    ZBS 9632488 02 5502701
       Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 117 of 217



         b. If the expiration date for this Optional                   (4) "Stock", unless the Including "Stock"
            Coverage shown in the Declarations is not                      option is shown in the Declarations.
            extended,    the    Additional    Condition,                Under the terms of this Replacement Cost
            Coinsurance, is reinstated and this Optional                Optional Coverage, tenants' improvements
            Coverage expires.                                           and betterments are not considered to be
         c. The terms of this Optional Coverage apply                   the personal property of others.
            only to loss or damage that occurs:                     c. You may make a claim for loss or damage
           (1) On or after the effective date of this                  covered by this insurance on an actual cash
               Optional Coverage; and                                  value basis instead of on a replacement
           (2) Before the Agreed Value expiration date                 cost basis. In the event you elect to have
               shown in the Declarations or the policy                 loss or damage settled on an actual cash
               expiration date, whichever occurs first.                value basis, you may still make a claim for
                                                                       the additional coverage this Optional
      2. Inflation Guard                                               Coverage provides if you notify us of your
         a. The Limit of Insurance for property to which               intent to do so within 180 days after the loss
            this Optional Coverage applies will                        or damage.
            automatically increase by the annual                    d. We will not pay on a replacement cost basis
            percentage shown in the Declarations.                      for any loss or damage:
         b. The amount of increase will be:                            (1) Until the lost or damaged property is
           (1) The Limit of Insurance that applied on                      actually repaired or replaced; and
               the most recent of the policy inception                 (2) Unless the repair or replacement is
               date, the policy anniversary date, or any                   made as soon as reasonably possible
               other policy change amending the Limit                      after the loss or damage.
               of Insurance, times
                                                                        With respect to tenants' improvements and
           (2) The percentage of annual increase                        betterments, the following also apply:
               shown in the Declarations, expressed as
               a decimal (example: 8% is .08), times                   (3) If the conditions in d.(1) and d.(2) above
                                                                           are not met, the value of tenants'
           (3) The number of days since the beginning                      improvements and betterments will be
               of the current policy year or the effective                 determined as a proportion of your
               date of the most recent policy change                       original cost, as set forth in the
               amending the Limit of Insurance, divided                    Valuation Loss Condition of this
               by 365.                                                     Coverage Form; and
Example                                                                (4) We will not pay for loss or damage to
If:    The applicable Limit of Insurance is:   $ 100,000                   tenants' improvements and betterments
                                                                           if others pay for repairs or replacement.
       The annual percentage increase is:            8%
                                                                    e. We will not pay more for loss or damage on
       The number of days since the
                                                                       a replacement cost basis than the least of
       beginning of the policy year
                                                                       (1), (2) or (3), subject to f. below:
       (or last policy change) is:                    146
       The amount of increase is:                                      (1) The Limit of Insurance applicable to the
                                                                           lost or damaged property;
       $100,000 x .08 x 146 ÷ 365 =            $    3,200
                                                                       (2) The cost to replace the lost or damaged
      3. Replacement Cost                                                  property with other property:
         a. Replacement Cost (without deduction for                       (a) Of comparable material and quality;
            depreciation) replaces Actual Cash Value in                       and
            the Valuation Loss Condition of this
                                                                          (b) Used for the same purpose; or
            Coverage Form.
                                                                       (3) The amount actually spent that is
         b. This Optional Coverage does not apply to:
                                                                           necessary to repair or replace the lost or
           (1) Personal property of others;                                damaged property.
           (2) Contents of a residence;                                 If a building is rebuilt at a new premises, the
           (3) Works of art, antiques or rare articles,                 cost described in e.(2) above is limited to
               including etchings, pictures, statuary,                  the cost which would have been incurred if
               marbles, bronzes, porcelains and bric-a-                 the building had been rebuilt at the original
               brac; or                                                 premises.




CP 00 10 10 12                          © Insurance Services Office, Inc., 2011                        Page 15 of 16
                                                                                              ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 118 of 217



      f. The cost of repair or replacement does not       H. Definitions
         include the increased cost attributable to          1. "Fungus" means any type or form of fungus,
         enforcement of or compliance with any                  including mold or mildew, and any mycotoxins,
         ordinance     or    law     regulating    the          spores, scents or by-products produced or
         construction, use or repair of any property.           released by fungi.
   4. Extension Of Replacement Cost To                       2. "Pollutants" means any solid, liquid, gaseous or
      Personal Property Of Others                               thermal irritant or contaminant, including
      a. If the Replacement Cost Optional Coverage              smoke, vapor, soot, fumes, acids, alkalis,
         is shown as applicable in the Declarations,            chemicals and waste. Waste includes materials
         then this Extension may also be shown as               to be recycled, reconditioned or reclaimed.
         applicable. If the Declarations show this           3. "Stock" means merchandise held in storage or
         Extension as applicable, then Paragraph                for sale, raw materials and in-process or
         3.b.(1) of the Replacement Cost Optional               finished goods, including supplies used in their
         Coverage is deleted and all other provisions           packing or shipping.
         of the Replacement Cost Optional
         Coverage apply to replacement cost on
         personal property of others.
      b. With respect to replacement cost on the
         personal property of others, the following
         limitation applies:
         If an item(s) of personal property of others
         is subject to a written contract which
         governs your liability for loss or damage to
         that item(s), then valuation of that item(s)
         will be based on the amount for which you
         are liable under such contract, but not to
         exceed the lesser of the replacement cost
         of the property or the applicable Limit of
         Insurance.




Page 16 of 16                       © Insurance Services Office, Inc., 2011                    CP 00 10 10 12
                                                                                                   ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 119 of 217


                                                                                       COMMERCIAL PROPERTY
                                                                                               CP 00 30 10 12

              BUSINESS INCOME (AND EXTRA EXPENSE)
                         COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section F. Definitions.


A. Coverage                                                         With respect to the requirements set forth in
   1. Business Income                                               the preceding paragraph, if you occupy only
                                                                    part of a building, your premises means:
      Business Income means the:
                                                                          (a) The portion of the building which you
       a. Net Income (Net Profit or Loss before                               rent, lease or occupy;
          income taxes) that would have been earned
          or incurred; and                                                (b) The area within 100 feet of the
                                                                              building or within 100 feet of the
      b. Continuing normal operating            expenses                      premises      described    in   the
         incurred, including payroll.                                         Declarations, whichever distance is
      For manufacturing risks, Net Income includes                            greater (with respect to loss of or
      the net sales value of production.                                      damage to personal property in the
                                                                              open or personal property in a
      Coverage is provided as described and limited
                                                                              vehicle); and
      below for one or more of the following options
      for which a Limit Of Insurance is shown in the                      (c) Any area within the building or at the
      Declarations:                                                           described premises, if that area
                                                                              services, or is used to gain access
         (1) Business    Income     Including    "Rental
                                                                              to, the portion of the building which
             Value".
                                                                              you rent, lease or occupy.
         (2) Business Income Other Than "Rental
             Value".                                            2. Extra Expense
         (3) "Rental Value".                                        a. Extra Expense Coverage is provided at the
                                                                       premises described in the Declarations only
      If option (1) above is selected, the term                        if the Declarations show that Business
      Business Income will include "Rental Value". If                  Income Coverage applies at that premises.
      option (3) above is selected, the term Business
      Income will mean "Rental Value" only.                         b. Extra Expense means necessary expenses
                                                                       you incur during the "period of restoration"
      If Limits of Insurance are shown under more                      that you would not have incurred if there
      than one of the above options, the provisions                    had been no direct physical loss or damage
      of this Coverage Part apply separately to each.                  to property caused by or resulting from a
      We will pay for the actual loss of Business                      Covered Cause of Loss.
      Income you sustain due to the necessary                          We will pay Extra Expense (other than the
      "suspension" of your "operations" during the                     expense to repair or replace property) to:
      "period of restoration". The "suspension" must
      be caused by direct physical loss of or damage                  (1) Avoid or minimize the "suspension" of
      to property at premises which are described in                      business and to continue operations at
                                                                          the    described     premises     or  at
      the Declarations and for which a Business
                                                                          replacement premises or temporary
      Income Limit Of Insurance is shown in the
      Declarations. The loss or damage must be                            locations, including relocation expenses
                                                                          and costs to equip and operate the
      caused by or result from a Covered Cause of
                                                                          replacement location or temporary
      Loss. With respect to loss of or damage to
      personal property in the open or personal                           location.
      property in a vehicle, the described premises
      include the area within 100 feet of such
      premises.



CP 00 30 10 12                        © Insurance Services Office, Inc., 2011                           Page 1 of 9
                                                                                                  ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 120 of 217



        (2) Minimize the "suspension" of business if          5. Additional Coverages
            you cannot continue "operations".                    a. Civil Authority
         We will also pay Extra Expense to repair or                In this Additional Coverage, Civil Authority,
         replace property, but only to the extent it                the described premises are premises to
         reduces the amount of loss that otherwise                  which this Coverage Form applies, as
         would have been payable under this                         shown in the Declarations.
         Coverage Form.
                                                                    When a Covered Cause of Loss causes
   3. Covered Causes Of Loss, Exclusions And                        damage to property other than property at
      Limitations                                                   the described premises, we will pay for the
      See applicable Causes Of Loss form as shown                   actual loss of Business Income you sustain
      in the Declarations.                                          and necessary Extra Expense caused by
   4. Additional Limitation – Interruption Of                       action of civil authority that prohibits access
      Computer Operations                                           to the described premises, provided that
                                                                    both of the following apply:
      a. Coverage for Business Income does not
         apply when a "suspension" of "operations"                  (1) Access to the area immediately
         is caused by destruction or corruption of                      surrounding the damaged property is
         electronic data, or any loss or damage to                      prohibited by civil authority as a result of
         electronic data, except as provided under                      the damage, and the described
         the Additional Coverage, Interruption Of                       premises are within that area but are not
         Computer Operations.                                           more than one mile from the damaged
                                                                        property; and
      b. Coverage for Extra Expense does not apply
         when action is taken to avoid or minimize a                (2) The action of civil authority is taken in
         "suspension" of "operations" caused by                         response      to   dangerous      physical
         destruction or corruption of electronic data,                  conditions resulting from the damage or
         or any loss or damage to electronic data,                      continuation of the Covered Cause of
         except as provided under the Additional                        Loss that caused the damage, or the
         Coverage, Interruption Of Computer                             action is taken to enable a civil authority
         Operations.                                                    to have unimpeded access to the
                                                                        damaged property.
      c. Electronic data means information, facts or
         computer programs stored as or on,                         Civil Authority Coverage for Business
         created or used on, or transmitted to or                   Income will begin 72 hours after the time of
         from computer software (including systems                  the first action of civil authority that prohibits
         and applications software), on hard or                     access to the described premises and will
         floppy disks, CD-ROMs, tapes, drives, cells,               apply for a period of up to four consecutive
         data processing devices or any other                       weeks from the date on which such
         repositories of computer software which are                coverage began.
         used      with     electronically controlled               Civil Authority Coverage for Extra Expense
         equipment. The term computer programs,                     will begin immediately after the time of the
         referred to in the foregoing description of                first action of civil authority that prohibits
         electronic data, means a set of related                    access to the described premises and will
         electronic instructions which direct the                   end:
         operations and functions of a computer or                  (1) Four consecutive weeks after the date
         device connected to it, which enable the                       of that action; or
         computer or device to receive, process,
         store, retrieve or send data.                              (2) When your Civil Authority Coverage for
                                                                        Business Income ends;
      d. This Additional Limitation does not apply
         when loss or damage to electronic data                     whichever is later.
         involves only electronic data which is
         integrated in and operates or controls a
         building's   elevator,   lighting, heating,
         ventilation, air conditioning or security
         system.




Page 2 of 9                          © Insurance Services Office, Inc., 2011                       CP 00 30 10 12
                                                                                                 ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 121 of 217



      b. Alterations And New Buildings                                   However, Extended Business Income
         We will pay for the actual loss of Business                     does not apply to loss of Business
         Income you sustain and necessary Extra                          Income incurred as a result of
         Expense you incur due to direct physical                        unfavorable business conditions caused
         loss or damage at the described premises                        by the impact of the Covered Cause of
         caused by or resulting from any Covered                         Loss in the area where the described
         Cause of Loss to:                                               premises are located.
        (1) New buildings or structures, whether                         Loss of Business Income must be
            complete or under construction;                              caused by direct physical loss or
                                                                         damage at the described premises
        (2) Alterations or additions to       existing                   caused by or resulting from any Covered
            buildings or structures; and                                 Cause of Loss.
        (3) Machinery, equipment, supplies or                        (2) "Rental Value"
            building materials located on or within
            100 feet of the described premises and:                      If the necessary "suspension" of your
                                                                         "operations" produces a "Rental Value"
           (a) Used in the construction, alterations                     loss payable under this policy, we will
               or additions; or                                          pay for the actual loss of "Rental Value"
           (b) Incidental to the occupancy of new                        you incur during the period that:
               buildings.                                               (a) Begins on the date property is
         If such direct physical loss or damage                             actually repaired, rebuilt or replaced
         delays the start of "operations", the "period                      and tenantability is restored; and
         of restoration" for Business Income                            (b) Ends on the earlier of:
         Coverage will begin on the date
         "operations" would have begun if the direct                        (i) The date you could restore tenant
         physical loss or damage had not occurred.                              occupancy,    with    reasonable
                                                                                speed, to the level which would
      c. Extended Business Income                                               generate the "Rental Value" that
        (1) Business Income Other Than "Rental                                  would have existed if no direct
            Value"                                                              physical loss or damage had
                                                                                occurred; or
            If the necessary "suspension" of your
            "operations" produces a Business                               (ii) 60 consecutive days after the
            Income loss payable under this policy,                              date determined in (2)(a) above.
            we will pay for the actual loss of                           However, Extended Business Income
            Business Income you incur during the                         does not apply to loss of "Rental Value"
            period that:                                                 incurred as a result of unfavorable
           (a) Begins on the date property (except                       business conditions caused by the
               "finished stock") is actually repaired,                   impact of the Covered Cause of Loss in
               rebuilt or replaced and "operations"                      the area where the described premises
               are resumed; and                                          are located.
           (b) Ends on the earlier of:                                   Loss of "Rental Value" must be caused
                                                                         by direct physical loss or damage at the
                 (i) The date you could restore your
                     "operations", with reasonable                       described premises caused by or
                                                                         resulting from any Covered Cause of
                     speed, to the level which would
                                                                         Loss.
                     generate the business income
                     amount that would have existed if            d. Interruption Of Computer Operations
                     no direct physical loss or damage               (1) Under      this  Additional  Coverage,
                     had occurred; or                                    electronic data has the meaning
                 (ii) 60 consecutive days after the                      described under Additional Limitation –
                      date determined in (1)(a) above.                   Interruption Of Computer Operations.




CP 00 30 10 12                        © Insurance Services Office, Inc., 2011                         Page 3 of 9
                                                                                                  ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 122 of 217



        (2) Subject to all provisions of this                          (4) The most we will pay under this
            Additional Coverage, you may extend                            Additional Coverage, Interruption Of
            the insurance that applies to Business                         Computer Operations, is $2,500 (unless
            Income and Extra Expense to apply to a                         a higher limit is shown in the
            "suspension" of "operations" caused by                         Declarations) for all loss sustained and
            an interruption in computer operations                         expense incurred in any one policy year,
            due to destruction or corruption of                            regardless     of    the    number     of
            electronic data due to a Covered Cause                         interruptions or the number of premises,
            of Loss. However, we will not provide                          locations or computer systems involved.
            coverage      under    this   Additional                       If loss payment relating to the first
            Coverage when the Additional Limitation                        interruption does not exhaust this
            – Interruption Of Computer Operations                          amount, then the balance is available for
            does not apply based on Paragraph                              loss or expense sustained or incurred as
            A.4.d. therein.                                                a result of subsequent interruptions in
        (3) With respect to the coverage provided                          that policy year. A balance remaining at
            under this Additional Coverage, the                            the end of a policy year does not
            Covered Causes of Loss are subject to                          increase the amount of insurance in the
            the following:                                                 next policy year. With respect to any
                                                                           interruption which begins in one policy
              (a) If the Causes Of Loss – Special                          year and continues or results in
                  Form applies, coverage under this                        additional loss or expense in a
                  Additional Coverage, Interruption Of                     subsequent policy year(s), all loss and
                  Computer Operations, is limited to                       expense is deemed to be sustained or
                  the "specified causes of loss" as                        incurred in the policy year in which the
                  defined in that form and Collapse as                     interruption began.
                  set forth in that form.
                                                                       (5) This Additional Coverage, Interruption
              (b) If the Causes Of Loss – Broad Form                       Of Computer Operations, does not apply
                  applies,   coverage       under     this                 to loss sustained or expense incurred
                  Additional Coverage, Interruption Of                     after the end of the "period of
                  Computer     Operations,       includes                  restoration", even if the amount of
                  Collapse as set forth in that form.                      insurance stated in (4) above has not
              (c) If the Causes Of Loss form is                            been exhausted.
                  endorsed to add a Covered Cause of             6. Coverage Extension
                  Loss, the additional Covered Cause
                  of Loss does not apply to the                     If a Coinsurance percentage of 50% or more is
                  coverage provided under this                      shown in the Declarations, you may extend the
                  Additional Coverage, Interruption Of              insurance provided by this Coverage Part as
                  Computer Operations.                              follows:
              (d) The Covered Causes of Loss include                Newly Acquired Locations
                  a virus, harmful code or similar                  a. You may extend your Business Income and
                  instruction introduced into or enacted               Extra Expense Coverages to apply to
                  on a computer system (including                      property at any location you acquire other
                  electronic data) or a network to                     than fairs or exhibitions.
                  which it is connected, designed to                b. The most we will pay under this Extension,
                  damage or destroy any part of the                    for the sum of Business Income loss and
                  system or disrupt its normal                         Extra Expense incurred, is $100,000 at
                  operation. But there is no coverage                  each location, unless a higher limit is shown
                  for an interruption related to                       in the Declarations.
                  manipulation of a computer system
                  (including electronic data) by any                c. Insurance under this Extension for each
                  employee, including a temporary or                   newly acquired location will end when any
                  leased employee, or by an entity                     of the following first occurs:
                  retained by you or for you to inspect,               (1) This policy expires;
                  design, install, maintain, repair or
                  replace that system.




Page 4 of 9                             © Insurance Services Office, Inc., 2011                    CP 00 30 10 12
                                                                                                  ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 123 of 217



         (2) 30 days expire after you acquire or                 2. Duties In The Event Of Loss
             begin to construct the property; or                    a. You must see that the following are done in
         (3) You report values to us.                                  the event of loss:
          We will charge you additional premium for                    (1) Notify the police if a law may have been
          values reported from the date you acquire                        broken.
          the property.                                                (2) Give us prompt notice of the direct
      The Additional Condition, Coinsurance, does                          physical loss or damage. Include a
      not apply to this Extension.                                         description of the property involved.
B. Limits Of Insurance                                                 (3) As soon as possible, give us a
   The most we will pay for loss in any one                                description of how, when and where the
   occurrence is the applicable Limit Of Insurance                         direct physical loss or damage occurred.
   shown in the Declarations.                                          (4) Take all reasonable steps to protect the
   Payments under the following coverages will not                         Covered Property from further damage,
   increase the applicable Limit of Insurance:                             and keep a record of your expenses
                                                                           necessary to protect the Covered
   1. Alterations And New Buildings;                                       Property, for consideration in the
   2. Civil Authority;                                                     settlement of the claim. This will not
                                                                           increase the Limit of Insurance.
   3. Extra Expense; or
                                                                           However, we will not pay for any
   4. Extended Business Income.                                            subsequent loss or damage resulting
   The amounts of insurance stated in the                                  from a cause of loss that is not a
   Interruption Of Computer Operations Additional                          Covered Cause of Loss. Also, if
   Coverage and the Newly Acquired Locations                               feasible, set the damaged property
   Coverage Extension apply in accordance with the                         aside and in the best possible order for
   terms of those coverages and are separate from                          examination.
   the Limit(s) Of Insurance shown in the                              (5) As often as may be reasonably required,
   Declarations for any other coverage.                                    permit us to inspect the property proving
C. Loss Conditions                                                         the loss or damage and examine your
                                                                           books and records.
   The following conditions apply in addition to the
   Common Policy Conditions and the Commercial                             Also permit us to take samples of
   Property Conditions:                                                    damaged and undamaged property for
                                                                           inspection, testing and analysis, and
   1. Appraisal                                                            permit us to make copies from your
      If we and you disagree on the amount of Net                          books and records.
      Income and operating expense or the amount
                                                                       (6) Send us a signed, sworn proof of loss
      of loss, either may make written demand for an
                                                                           containing the information we request to
      appraisal of the loss. In this event, each party
                                                                           investigate the claim. You must do this
      will select a competent and impartial appraiser.                     within 60 days after our request. We will
      The two appraisers will select an umpire. If                         supply you with the necessary forms.
      they cannot agree, either may request that
                                                                       (7) Cooperate with us in the investigation or
      selection be made by a judge of a court having
                                                                           settlement of the claim.
      jurisdiction. The appraisers will state separately
      the amount of Net Income and operating                           (8) If you intend to continue your business,
      expense or amount of loss. If they fail to agree,                    you must resume all or part of your
      they will submit their differences to the umpire.                    "operations" as quickly as possible.
      A decision agreed to by any two will be                       b. We may examine any insured under oath,
      binding. Each party will:                                        while not in the presence of any other
      a. Pay its chosen appraiser; and                                 insured and at such times as may be
                                                                       reasonably required, about any matter
      b. Bear the other expenses of the appraisal                      relating to this insurance or the claim,
         and umpire equally.                                           including an insured's books and records. In
      If there is an appraisal, we will still retain our               the event of an examination, an insured's
      right to deny the claim.                                         answers must be signed.




CP 00 30 10 12                          © Insurance Services Office, Inc., 2011                        Page 5 of 9
                                                                                                  ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 124 of 217



   3. Loss Determination                                           c. Resumption Of Operations
      a. The amount of Business Income loss will be                   We will reduce the amount of your:
         determined based on:                                         (1) Business Income loss, other than Extra
        (1) The Net Income of the business before                         Expense, to the extent you can resume
            the direct physical loss or damage                            your "operations", in whole or in part, by
            occurred;                                                     using damaged or undamaged property
        (2) The likely Net Income of the business if                      (including merchandise or stock) at the
            no physical loss or damage had                                described premises or elsewhere.
            occurred, but not including any Net                       (2) Extra Expense loss to the extent you
            Income that would likely have been                            can return "operations" to normal and
            earned as a result of an increase in the                      discontinue such Extra Expense.
            volume of business due to favorable                    d. If you do not resume "operations", or do not
            business conditions caused by the                         resume "operations" as quickly as possible,
            impact of the Covered Cause of Loss on                    we will pay based on the length of time it
            customers or on other businesses;                         would have taken to resume "operations" as
        (3) The operating expenses, including                         quickly as possible.
            payroll expenses, necessary to resume               4. Loss Payment
            "operations" with the same quality of
            service that existed just before the direct            We will pay for covered loss within 30 days
            physical loss or damage; and                           after we receive the sworn proof of loss, if you
                                                                   have complied with all of the terms of this
        (4) Other relevant sources of information,                 Coverage Part, and:
            including:
                                                                   a. We have reached agreement with you on
              (a) Your     financial  records        and              the amount of loss; or
                  accounting procedures;
                                                                   b. An appraisal award has been made.
              (b) Bills, invoices and other vouchers;
                  and                                       D. Additional Condition
              (c) Deeds, liens or contracts.                    COINSURANCE
      b. The amount of Extra Expense will be                    If a Coinsurance percentage is shown in the
         determined based on:                                   Declarations, the following condition applies in
                                                                addition to the Common Policy Conditions and the
        (1) All expenses that exceed the normal                 Commercial Property Conditions.
            operating expenses that would have
            been incurred by "operations" during the            We will not pay the full amount of any Business
            "period of restoration" if no direct                Income loss if the Limit of Insurance for Business
            physical loss or damage had occurred.               Income is less than:
            We will deduct from the total of such               1. The Coinsurance percentage shown for
            expenses:                                              Business Income in the Declarations; times
              (a) The salvage value that remains of             2. The sum of:
                  any property bought for temporary
                                                                   a. The Net Income (Net Profit or Loss before
                  use during the "period of restoration",
                                                                      income taxes), and
                  once "operations" are resumed; and
                                                                   b. Operating    expenses,     including   payroll
              (b) Any Extra Expense that is paid for by               expenses,
                  other insurance, except for insurance
                  that is written subject to the same              that would have been earned or incurred (had
                  plan,    terms,      conditions   and            no loss occurred) by your "operations" at the
                  provisions as this insurance; and                described premises for the 12 months following
                                                                   the inception, or last previous anniversary date,
        (2) Necessary expenses that reduce the                     of this policy (whichever is later).
            Business Income loss that otherwise
            would have been incurred.




Page 6 of 9                            © Insurance Services Office, Inc., 2011                     CP 00 30 10 12
                                                                                               ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 125 of 217



   Instead, we will determine the most we will pay        Example 1 (Underinsurance)
   using the following steps:
                                                          When:     The Net Income and operating
   Step (1): Multiply the Net Income and operating                  expenses for the 12 months
              expense for the 12 months following the               following the inception, or last
              inception, or last previous anniversary               previous anniversary date, of
              date, of this policy by the Coinsurance               this policy at the described
              percentage;                                           premises would have been:        $ 400,000
   Step (2): Divide the Limit of Insurance for the                  The Coinsurance percentage is:        50%
              described premises by the figure
              determined in Step (1); and                           The Limit of Insurance is:       $ 150,000
   Step (3): Multiply the total amount of loss by the               The amount of loss is:           $ 80,000
              figure determined in Step (2).              Step (1): $400,000 x 50% = $200,000
   We will pay the amount determined in Step (3) or                 (the minimum amount of insurance to
   the limit of insurance, whichever is less. For the               meet your Coinsurance requirements)
   remainder, you will either have to rely on other       Step (2): $150,000 ÷ $200,000 = .75
   insurance or absorb the loss yourself.                 Step (3): $80,000 x .75 = $60,000
   In determining operating expenses for the purpose
                                                          We will pay no more than $60,000. The remaining
   of applying the Coinsurance condition, the
                                                          $20,000 is not covered.
   following expenses, if applicable, shall be
   deducted from the total of all operating expenses:     Example 2 (Adequate Insurance)
        (1) Prepaid freight – outgoing;                   When:      The Net Income and operating
        (2) Returns and allowances;                                  expenses for the 12 months
        (3) Discounts;                                               following the inception, or last
                                                                     previous anniversary date, of
        (4) Bad debts;                                               this policy at the described
        (5) Collection expenses;                                     premises would have been:        $ 400,000
        (6) Cost of raw stock and factory supplies                   The Coinsurance percentage is:        50%
            consumed (including transportation                       The Limit of Insurance is:       $ 200,000
            charges);                                                The amount of loss is:           $ 80,000
        (7) Cost of merchandise sold (including
            transportation charges);                      The minimum amount of insurance to meet your
                                                          Coinsurance requirement is $200,000 ($400,000 x
        (8) Cost of other supplies consumed               50%). Therefore, the Limit of Insurance in this
            (including transportation charges);           example is adequate and no penalty applies. We will
        (9) Cost of services purchased from               pay no more than $80,000 (amount of loss).
            outsiders (not employees) to resell, that     This condition does not apply to Extra Expense
            do not continue under contract;               Coverage.
       (10) Power, heat and refrigeration expenses        E. Optional Coverages
            that do not continue under contract (if
            Form CP 15 11 is attached);                       If shown as applicable in the Declarations, the
                                                              following Optional Coverages apply separately to
       (11) All payroll expenses or the amount of             each item.
            payroll expense excluded (if Form CP
            15 10 is attached); and                           1. Maximum Period Of Indemnity
                                                                  a. The Additional Condition, Coinsurance,
       (12) Special deductions for mining properties
                                                                     does not apply to this Coverage Form at the
            (royalties unless specifically included in
            coverage; actual depletion commonly                      described premises to which this Optional
                                                                     Coverage applies.
            known as unit or cost depletion – not
            percentage depletion; welfare and
            retirement fund charges based on
            tonnage; hired trucks).




CP 00 30 10 12                       © Insurance Services Office, Inc., 2011                        Page 7 of 9
                                                                                                   ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 126 of 217



        b. The most we will pay for the total of                         (b) Estimated for the 12 months
           Business Income loss and Extra Expense is                         immediately following the inception
           the lesser of:                                                    of this Optional Coverage.
          (1) The amount of loss sustained and                        (2) The Declarations must indicate that the
              expenses incurred during the 120 days                       Business Income Agreed Value Optional
              immediately following the beginning of                      Coverage applies, and an Agreed Value
              the "period of restoration"; or                             must be shown in the Declarations. The
          (2) The Limit Of Insurance shown in the                         Agreed Value should be at least equal
              Declarations.                                               to:
   2. Monthly Limit Of Indemnity                                         (a) The Coinsurance percentage shown
                                                                             in the Declarations; multiplied by
        a. The Additional Condition, Coinsurance,
           does not apply to this Coverage Form at the                   (b) The amount of Net Income and
           described premises to which this Optional                         operating expenses for the following
           Coverage applies.                                                 12 months you report on the Work
                                                                             Sheet.
        b. The most we will pay for loss of Business
           Income in each period of 30 consecutive                  b. The Additional Condition, Coinsurance, is
           days after the beginning of the "period of                  suspended until:
           restoration" is:                                           (1) 12 months after the effective date of this
          (1) The Limit of Insurance, multiplied by                       Optional Coverage; or
          (2) The fraction shown in the Declarations                  (2) The expiration date of this policy;
              for this Optional Coverage.                              whichever occurs first.
Example                                                             c. We will reinstate the Additional Condition,
                                                                       Coinsurance, automatically if you do not
When:     The Limit of Insurance is:         $ 120,000                 submit a new Work Sheet and Agreed
          The fraction shown in the                                    Value:
          Declarations for this Optional
                                                                      (1) Within 12 months of the effective date of
          Coverage is:                                1/4
                                                                          this Optional Coverage; or
          The most we will pay for loss in
          each period of 30 consecutive                               (2) When you request a change in your
                                             $   30,000                   Business Income Limit of Insurance.
          days is:
          ($120,000 x 1/4 = $30,000)                                d. If the Business Income Limit of Insurance is
                                                                       less than the Agreed Value, we will not pay
          If, in this example, the actual                              more of any loss than the amount of loss
          amount of loss is:                                           multiplied by:
          Days 1–30:                         $   40,000
                                                                      (1) The Business Income             Limit   of
          Days 31–60:                        $   20,000                   Insurance; divided by
          Days 61–90:                        $   30,000               (2) The Agreed Value.
                                             $   90,000     Example
          We will pay:
                                                            When:     The Limit of Insurance is:          $ 100,000
          Days 1–30:                       $ 30,000
                                                                      The Agreed Value is:                $ 200,000
          Days 31–60:                      $ 20,000
                                                                      The amount of loss is:              $ 80,000
          Days 61–90:                      $ 30,000
                                                            Step (1): $100,000 ÷ $200,000 = .50
                                           $ 80,000
                                                            Step (2): .50 x $80,000 = $40,000
          The remaining $10,000 is not covered.
                                                            We will pay $40,000. The remaining $40,000 is not
   3. Business Income Agreed Value
                                                            covered.
        a. To activate this Optional Coverage:
                                                                4. Extended Period Of Indemnity
          (1) A Business Income Report/Work Sheet
              must be submitted to us and must show                 Under Paragraph A.5.c., Extended Business
              financial data for your "operations":                 Income, the number 60 in Subparagraphs
                                                                    (1)(b) and (2)(b) is replaced by the number
              (a) During the 12 months prior to the                 shown in the Declarations for this Optional
                  date of the Work Sheet; and                       Coverage.




Page 8 of 9                            © Insurance Services Office, Inc., 2011                      CP 00 30 10 12
                                                                                               ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 127 of 217



F. Definitions                                                      (2) Requires any insured or others to test
   1. "Finished stock" means       stock   you   have                   for, monitor, clean up, remove, contain,
      manufactured.                                                     treat, detoxify or neutralize, or in any
                                                                        way respond to, or assess the effects of
      "Finished stock" also includes whiskey and                        "pollutants".
      alcoholic products being aged, unless there is
      a Coinsurance percentage shown for Business                The expiration date of this policy will not cut
      Income in the Declarations.                                short the "period of restoration".
      "Finished stock" does not include stock you             4. "Pollutants" means any solid, liquid, gaseous or
      have manufactured that is held for sale on the             thermal irritant or contaminant, including
      premises of any retail outlet insured under this           smoke, vapor, soot, fumes, acids, alkalis,
      Coverage Part.                                             chemicals and waste. Waste includes materials
                                                                 to be recycled, reconditioned or reclaimed.
   2. "Operations" means:
                                                              5. "Rental Value" means Business Income that
      a. Your business activities occurring at the               consists of:
         described premises; and
                                                                 a. Net Income (Net Profit or Loss before
      b. The tenantability of the described premises,               income taxes) that would have been earned
         if coverage for Business Income Including                  or incurred as rental income from tenant
         "Rental Value" or "Rental Value" applies.                  occupancy of the premises described in the
   3. "Period of restoration" means the period of time              Declarations as furnished and equipped by
      that:                                                         you, including fair rental value of any
                                                                    portion of the described premises which is
      a. Begins:
                                                                    occupied by you; and
        (1) 72 hours after the time of direct physical
            loss or damage for Business Income                   b. Continuing normal operating expenses
                                                                    incurred in connection with that premises,
            Coverage; or
                                                                    including:
        (2) Immediately after the time of direct
            physical loss or damage for Extra                       (1) Payroll; and
            Expense Coverage;                                       (2) The amount of charges which are the
                                                                        legal obligation of the tenant(s) but
         caused by or resulting from any Covered
                                                                        would otherwise be your obligations.
         Cause of Loss at the described premises;
         and                                                  6. "Suspension" means:
      b. Ends on the earlier of:                                 a. The slowdown or cessation           of   your
                                                                    business activities; or
        (1) The date when the property at the
            described premises should be repaired,               b. That a part or all of the described premises
            rebuilt or replaced with reasonable                     is rendered untenantable, if coverage for
            speed and similar quality; or                           Business Income Including "Rental Value"
                                                                    or "Rental Value" applies.
        (2) The date when business is resumed at a
            new permanent location.
      "Period of restoration" does not include any
      increased period required due to the
      enforcement of or compliance with any
      ordinance or law that:
        (1) Regulates the construction, use or
            repair, or requires the tearing down, of
            any property; or




CP 00 30 10 12                       © Insurance Services Office, Inc., 2011                        Page 9 of 9
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 128 of 217


                                                                                          COMMERCIAL PROPERTY



                   COMMERCIAL PROPERTY CONDITIONS
This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss Conditions and
Additional Conditions in Commercial Property Coverage Forms.

A. CONCEALMENT, MISREPRESENTATION OR                             F. NO BENEFIT TO BAILEE
   FRAUD                                                            No person or organization, other than you, having
   This Coverage Part is void in any case of fraud by you           custody of Covered Property will benefit from this
   as it relates to this Coverage Part at any time. It is also      insurance.
   void if you or any other insured, at any time,                G. OTHER INSURANCE
   intentionally conceal or misrepresent a material fact
   concerning:                                                      1. You may have other insurance subject to the same
                                                                       plan, terms, conditions and provisions as the
   1. This Coverage Part;                                              insurance under this Coverage Part. If you do, we
   2. The Covered Property;                                            will pay our share of the covered loss or damage.
   3. Your interest in the Covered Property; or                        Our share is the proportion that the applicable Limit
                                                                       of Insurance under this Coverage Part bears to the
   4. A claim under this Coverage Part.                                Limits of Insurance of all insurance covering on the
B. CONTROL OF PROPERTY                                                 same basis.
   Any act or neglect of any person other than you beyond           2. If there is other insurance covering the same loss or
   your direction or control will not affect this insurance.           damage, other than that described in 1. above, we
   The breach of any condition of this Coverage Part at                will pay only for the amount of covered loss or
   any one or more locations will not affect coverage at               damage in excess of the amount due from that other
   any location where, at the time of loss or damage, the              insurance, whether you can collect on it or not. But
   breach of condition does not exist.                                 we will not pay more than the applicable Limit of
                                                                       Insurance.
C. INSURANCE UNDER TWO OR MORE COVER-
   AGES                                                          H. POLICY PERIOD, COVERAGE TERRITORY
   If two or more of this policy's coverages apply to the           Under this Coverage Part:
   same loss or damage, we will not pay more than the               1. We cover loss or damage commencing:
   actual amount of the loss or damage.                                 a. During the policy period shown in the Decla-
D. LEGAL ACTION AGAINST US                                                 rations; and
   No one may bring a legal action against us under this                b. Within the coverage territory.
   Coverage Part unless:                                            2. The coverage territory is:
   1. There has been full compliance with all of the terms              a. The United States of America (including its
      of this Coverage Part; and                                           territories and possessions);
   2. The action is brought within 2 years after the date               b. Puerto Rico; and
      on which the direct physical loss or damage
      occurred.                                                         c. Canada.
E. LIBERALIZATION
   If we adopt any revision that would broaden the
   coverage under this Coverage Part without additional
   premium within 45 days prior to or during the policy
   period, the broadened coverage will immediately apply
   to this Coverage Part.




CP 00 90 07 88                   Copyright, ISO Commercial Risk Services, Inc., 1983, 1987                      Page 1 of 2
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 129 of 217


I. TRANSFER OF RIGHTS OF RECOVERY                                 1. Prior to a loss to your Covered Property or Covered
   AGAINST OTHERS TO US                                              Income.
   If any person or organization to or for whom we make           2. After a loss to your Covered Property or Covered
   payment under this Coverage Part has rights to recover            Income only if, at time of loss, that party is one of
   damages from another, those rights are transferred to us          the following:
   to the extent of our payment. That person or                       a. Someone insured by this insurance;
   organization must do everything necessary to secure our
   rights and must do nothing after loss to impair them.              b. A business firm:
   But you may waive your rights against another party in                (1) Owned or controlled by you; or
   writing:                                                              (2) That owns or controls you; or
                                                                      c. Your tenant.
                                                                  This will not restrict your insurance.




Page 2 of 2                    Copyright, ISO Commercial Risk Services, Inc., 1983, 1987                   CP 00 90 07 88
                                                                                                   ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 130 of 217


                                                                                       COMMERCIAL PROPERTY
                                                                                               CP 01 33 10 12

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     NEW YORK CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART


A. If this policy covers the interest of the owner of any           b. To sue us on this Coverage Form unless all
   of the following types of buildings or structures:                  of its terms have been fully complied with.
   1. Residential (except 1 or 2 family buildings or                A person or organization may sue us to
      structures);                                                  recover on an agreed settlement or on a final
   2. Commercial; or                                                judgment against you; but we will not be liable
                                                                    for damages that are not payable under the
   3. Industrial;                                                   terms of this Coverage Form or that are in
   the following provision is added:                                excess of the Limit of Insurance. An agreed
                                                                    settlement means a settlement and release of
       Before payment to you for loss or damage to
       the above buildings or structures caused by or               liability signed by us, you and the claimant or
                                                                    the claimant's legal representative.
       resulting from fire, we will:
                                                                 2. Paragraph b. of Additional Condition H.5.
         (1) Deduct from your payment the claim of
                                                                    Legal   Action     Against     Us     in    the
             any tax district that issues a certificate of
             lien in accordance with the Insurance                  Mortgageholders Errors And Omissions
                                                                    Coverage Form is replaced by the following:
             Law; and
                                                                    b. No person or organization has a right under
         (2) Pay directly to the tax district the
                                                                       Coverages C and D:
             amount of the claim.
       When we pay that claim, we will have no                         (1) To join us as a party or otherwise bring
       obligation to pay the amount of that claim to                       us into a "suit" asking for damages from
                                                                           you; or
       you. Our payment of that claim within 30 days
       of our receipt of the certificate of lien will be a             (2) To sue us on this Coverage Form
       conclusive presumption that the claim was                           unless all of its terms have been fully
       valid and properly paid.                                            complied with.
B. The following is added with respect to any                           A person or organization may sue us to
   Condition of this Coverage Part which requires                       recover on an agreed settlement or on a
   you to notify us of loss or to notify us of an                       final judgment against you; but we will not
   accident, claim or "suit":                                           be liable for damages that are not payable
                                                                        under the terms of this Coverage Form or
   1. Notice given by or on your behalf; or
                                                                        that are in excess of the Limit of Insurance.
   2. Written notice by or on behalf of any claimant;                   An agreed settlement means a settlement
   to any of our agents in New York State, which                        and release of liability signed by us, you
   adequately identifies you, will be the same as                       and the claimant or the claimant's legal
   notice to us.                                                        representative.
C. Legal Action Against Us                                    D. The Examination Of Your Books And Records
                                                                 Common Policy Condition is replaced by the
   1. The Legal Action Against Us Loss Condition                 following:
      in the Legal Liability Coverage Form is
      replaced by the following:                                 Examination Of Your Books And Records
       No person or organization has a right under               1. Except as provided in 2. below, we may
       this Coverage Form:                                          examine and audit your books and records as
                                                                    they relate to this policy at any time during the
       a. To join us as a party or otherwise bring us               policy period and up to three years afterward.
          into a "suit" asking for damages from you;
          or




CP 01 33 10 12                          © Insurance Services Office, Inc., 2011                         Page 1 of 4
                                                                                                ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 131 of 217



   2. We will conduct an audit to determine the final          2. When the Limit of Insurance has actually been
      premium due or to be refunded, for coverage                 used up in the payment of judgments or
      for which an advance or deposit premium was                 settlements:
      paid based on estimated exposure. But the                   a. We will notify the first Named Insured, in
      audit may be waived if:                                        writing, as soon as practicable, that:
      a. The total annual premium attributable to the                (1) Such a limit has actually been used up;
         auditable exposure base is not reasonably                       and
         expected to exceed $1,500; or
                                                                     (2) Our duty to defend "suits" seeking
      b. The policy requires notification to the                         damages subject to that limit has also
         insurer with the specific identification of any                 ended.
         additional exposure units (e.g., buildings)
         for which coverage is requested.                         b. We will initiate, and cooperate in, the
                                                                     transfer of control, to any appropriate
      If the audit is not waived, it must be completed               insured, of all claims and "suits" seeking
      within 180 days after:                                         damages which are subject to that limit and
      a. The expiration date of the policy; or                       which are reported to us before that limit is
      b. The anniversary date, if this is a continuous               used up. That insured must cooperate in
         policy or a policy written for a term longer                the transfer of control of said claims and
         than one year.                                              "suits".
E. The following sentence is deleted from Paragraph                   We agree to take such steps, as we deem
   A. in the Legal Liability Coverage Form:                           appropriate, to avoid a default in, or
                                                                      continue the defense of, such "suits" until
   We will have the right and duty to defend any                      such transfer is completed, provided the
   "suit" seeking those damages.                                      appropriate insured is cooperating in
   The following sentence is added to Paragraph A.                    completing such transfer.
   in the Legal Liability Coverage Form:                              We will take no action whatsoever with
   We will have the right and duty to defend any                      respect to any claim or "suit" seeking
   "suit" seeking those damages even if the                           damages that would have been subject to
   allegations of the "suit" are groundless, false or                 that limit, had it not been used up, if the
   fraudulent.                                                        claim or "suit" is reported to us after that
                                                                      limit of insurance has been used up.
F. The following sentence is deleted from Paragraph
   A.3. in the Mortgageholders Errors And Omissions               c. The first Named Insured, and any other
   Coverage Form:                                                    insured involved in a "suit" seeking
                                                                     damages subject to that limit, must arrange
   We will have the right and duty to defend any
                                                                     for the defense of such "suit" within such
   "suit" seeking those damages.
                                                                     time period as agreed to between the
   The following is added to Paragraph A.3. in the                   appropriate insured and us. Absent any
   Mortgageholders Errors And Omissions Coverage                     such agreement, arrangements for the
   Form:                                                             defense of such "suit" must be made as
   We will have the right and duty to defend any                     soon as practicable.
   "suit" seeking those damages even if the                    3. The first Named Insured will reimburse us for
   allegations of the "suit" are groundless, false or             expenses we incur in taking those steps we
   fraudulent.                                                    deem appropriate in accordance with
G. The following Condition is added to Paragraph D.               Paragraph 2.b. above.
   of the Legal Liability Coverage Form and                       The duty of the first Named Insured to
   Paragraph F.4. of the Mortgageholders Errors And               reimburse us will begin on:
   Omissions Coverage Form:
                                                                  a. The date on which the applicable limit of
   Transfer Of Duties When A Limit Of Insurance                      insurance is used up, if we sent notice in
   Is Used Up                                                        accordance with Paragraph 1. above; or
   1. If we conclude that, based on claims or "suits"             b. The date on which we sent notice in
      which have been reported to us and to which                    accordance with Paragraph 2.a. above, if
      this insurance may apply, a Limit of Insurance                 we did not send notice in accordance with
      is likely to be used up in the payment of                      Paragraph 1. above.
      judgments or settlements, we will notify the first
      Named Insured, in writing, to that effect.




Page 2 of 4                           © Insurance Services Office, Inc., 2011                     CP 01 33 10 12
                                                                                                      ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 132 of 217



   4. The exhaustion of any limit of insurance by the            is replaced by the following:
      payments of judgments or settlements, and the              Appraisal
      resulting end of our duty to defend, will not be
      affected by our failure to comply with any of the          1. If we and you disagree on the amount of Net
      provisions of this Condition.                                 Income and operating expense or the amount
                                                                    of loss, either may make written demand for an
H. Except as provided in I. below, the Appraisal                    appraisal of the loss. In this event, each party
   Condition is replaced by the following:                          will select a competent and impartial appraiser
   Appraisal                                                        and notify the other of the appraiser selected
   1. If we and you disagree on the value of the                    within 20 days of such demand.
      property or the amount of loss, either may                 2. If we or you fail to proceed with the appraisal of
      make written demand for an appraisal of the                   the covered loss after a written demand is
      loss. In this event, each party will select a                 made by either party, then either party may
      competent and impartial appraiser and notify                  apply to a court having jurisdiction for an order
      the other of the appraiser selected within 20                 directing the party that failed to proceed with
      days of such demand.                                          the appraisal to comply with the demand for
   2. If we or you fail to proceed with the appraisal of            the appraisal of the loss. In this event, each
      the covered loss after a written demand is                    party will select a competent and impartial
      made by either party, then either party may                   appraiser and notify the other of the appraiser
      apply to a court having jurisdiction for an order             selected within 20 days of such order.
      directing the party that failed to proceed with            3. The two appraisers will select an umpire. If
      the appraisal to comply with the demand for                   they cannot agree within 15 days upon such
      the appraisal of the loss. In this event, each                umpire, either may request that selection be
      party will select a competent and impartial                   made by a judge of a court having jurisdiction.
      appraiser and notify the other of the appraiser               The appraisers will state separately the amount
      selected within 20 days of such order.                        of Net Income and operating expense and the
   3. The two appraisers will select an umpire. If                  amount of loss. If they fail to agree, they will
      they cannot agree within 15 days upon such                    submit their differences to the umpire. A
      umpire, either may request that selection be                  decision agreed to by any two will be binding.
      made by a judge of a court having jurisdiction.            4. Each party will:
      The appraisers will state separately the value                a. Pay its chosen appraiser; and
      of the property and the amount of loss. If they
      fail to agree, they will submit their differences             b. Bear the other expenses of the appraisal
      to the umpire. A decision agreed to by any two                   and umpire equally.
      will be binding.                                           If there is an appraisal, we will still retain our right
   4. Each party will:                                           to deny the claim.
      a. Pay its chosen appraiser; and                        J. The following provision is added               to   the
                                                                 Commercial Property Coverage Part:
      b. Bear the other expenses of the appraisal
         and umpire equally.                                     Estimation Of Claims
   If there is an appraisal, we will still retain our right      Upon request, we will furnish you or your
   to deny the claim.                                            representative with a written estimate of damages
                                                                 to real property specifying all deductions, provided
I. The Appraisal Condition in:                                   such an estimate has been prepared by us or has
   1. Business Income (And Extra                Expense)         been prepared on our behalf for our own
      Coverage Form CP 00 30; and                                purposes. This estimate will be provided within
   2. Business Income (Without Extra Expense)                    thirty days after your request or its preparation,
      Coverage Form CP 00 32;                                    whichever is later.




CP 01 33 10 12                          © Insurance Services Office, Inc., 2011                            Page 3 of 4
                                                                                ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 133 of 217



K. The following provision is added to the Legal
   Liability Coverage Form and supersedes any
   provision to the contrary:
   Failure to give prompt notice to us, as required
   under this Coverage Form, shall not invalidate any
   claim made by you or any other claimant, unless
   the failure to provide such timely notice has
   prejudiced us. However, no claim made by you or
   any other claimant will be invalidated if it shall be
   shown not to have been reasonably possible to
   give such timely notice and that notice was given
   as soon as was reasonably possible thereafter.




Page 4 of 4                           © Insurance Services Office, Inc., 2011   CP 01 33 10 12
                                                                                                    ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 134 of 217


                                                                                    COMMERCIAL PROPERTY
                                                                                            CP 01 64 10 12

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       NEW YORK CHANGES – FUNGUS,
                          WET ROT AND DRY ROT
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART


A. In the Causes Of Loss – Basic Form, Causes Of              2. The costs associated with the enforcement of
   Loss – Broad Form, Causes Of Loss – Special                   or compliance with any ordinance or law which
   Form, and Mortgageholders Errors And Omissions                requires any insured or others to test for,
   Coverage Form, the exclusion titled "Fungus", Wet             monitor, clean up, remove, contain, treat,
   Rot, Dry Rot And Bacteria and the Additional Cov-             detoxify or neutralize, or in any way respond to,
   erage – Limited Coverage For "Fungus", Wet Rot,               or assess the effects of "pollutants".
   Dry Rot And Bacteria are deleted. Under these          D. Paragraph A. of Ordinance Or Law – Increased
   forms, the following exclusion is added:                  Period Of Restoration Endorsement CP 15 31 is
   We will not pay for loss or damage caused by or           replaced by the following:
   resulting from "fungus", wet rot or dry rot. How-          If a Covered Cause of Loss occurs to property at
   ever, this exclusion does not apply when "fungus",         the premises described in the Declarations, cover-
   wet rot or dry rot results from a Covered Cause of         age is extended to include the amount of actual
   Loss.                                                      and necessary loss you sustain during the in-
B. In the Building And Personal Property Coverage             creased period of "suspension" of "operations"
   Form and the Condominium Association Coverage              caused by or resulting from a requirement to
   Form, under the Additional Coverage – Increased            comply with any ordinance or law that:
   Cost Of Construction, Paragraph A.4.e.(5) is re-           1. Regulates the construction or repair of any
   placed by the following:                                      property;
   Under this Additional Coverage, we will not pay            2. Requires the tearing down of parts of any prop-
   for:                                                          erty not damaged by a Covered Cause of Loss;
   1. The enforcement of or compliance with any                  and
      ordinance or law which requires demolition,             3. Is in force at the time of loss.
      repair, replacement, reconstruction, remodeling
      or    remediation    of   property     due   to         However, coverage is not extended under this en-
      contamination by "pollutants"; or                       dorsement to include loss caused by or resulting
                                                              from the enforcement of or compliance with any
   2. Any costs associated with the enforcement of            ordinance or law which requires:
      or compliance with an ordinance or law which
      requires any insured or others to test for,             1. The demolition, repair, replacement, recon-
      monitor, clean up, remove, contain, treat,                 struction, remodeling or remediation of prop-
      detoxify or neutralize, or in any way respond to,          erty due to contamination by "pollutants"; or
      or assess the effects of "pollutants".                  2. Any insured or others to test for, monitor, clean
C. Paragraph C. of Ordinance Or Law Coverage                     up, remove, contain, treat, detoxify or neutral-
   Endorsement CP 04 05 is replaced by the follow-               ize, or in any way respond to, or assess the ef-
   ing:                                                          fects of "pollutants".
   We will not pay under Coverage A, B or C of this
   endorsement for:
   1. Enforcement of or compliance with any
      ordinance or law which requires the demolition,
      repair, replacement, reconstruction, remodeling
      or    remediation    of   property     due   to
      contamination by "pollutants"; or




CP 01 64 10 12                       © Insurance Services Office, Inc., 2011                           Page 1 of 2
                                                                                               ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 135 of 217



E. Paragraph E.3. of Functional Building Valuation           2. The costs associated with the enforcement of
   Endorsement CP 04 38 is replaced by the follow-              or compliance with any ordinance or law which
   ing:                                                         requires any insured or others to test for,
   We will not pay under this endorsement for:                  monitor, clean up, remove, contain, treat,
                                                                detoxify or neutralize, or in any way respond to,
   1. Enforcement of or compliance with any                     or assess the effects of "pollutants".
      ordinance or law which requires the demolition,
      repair, replacement, reconstruction, remodeling
      or    remediation    of   property     due   to
      contamination by "pollutants"; or




Page 2 of 2                         © Insurance Services Office, Inc., 2011                     CP 01 64 10 12
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 136 of 217


                                                                                    COMMERCIAL PROPERTY
                                                                                            CP 01 78 08 08

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      NEW YORK – EXCLUSION OF LOSS
                        DUE TO VIRUS OR BACTERIA
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART


A. The exclusion set forth in Paragraph B. applies to         However, this exclusion does not apply to loss or
   all coverage under all forms and endorsements              damage caused by or resulting from "fungus", wet
   that comprise this Coverage Part, including but not        rot or dry rot. Such loss or damage is addressed in
   limited to forms or endorsements that cover prop-          a separate exclusion in this Coverage Part.
   erty damage to buildings or personal property and      C. The terms of the exclusion in Paragraph B., or the
   forms or endorsements that cover business in-             inapplicability of this exclusion to a particular loss,
   come, extra expense or action of civil authority.         do not serve to create coverage for any loss that
B. We will not pay for loss or damage caused by or           would otherwise be excluded under this Coverage
   resulting from any virus, bacterium or other micro-       Part.
   organism that induces or is capable of inducing
   physical distress, illness or disease.




CP 01 78 08 08                       © Insurance Services Office, Inc., 2008                           Page 1 of 1
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 PageZBS
                                                                    1379632488
                                                                        of 217 02 5502701



POLICY NUMBER:ZBS 9632488 02                                                          COMMERCIAL PROPERTY
                                                                                              CP 04 11 10 12

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             PROTECTIVE SAFEGUARDS
This endorsement modifies insurance provided under the following:

    COMMERCIAL PROPERTY COVERAGE PART
    STANDARD PROPERTY POLICY
                                    SCHEDULE
                                                                                    Protective Safeguards
         Premises Number                         Building Number
                                                                                     Symbols Applicable
                  1                                         1                                  P-2
 Describe Any "P-9":
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following is added to the Commercial Property                 (2) Hydrants, standpipes and outlets.
   Conditions:                                                   "P-2" Automatic Fire Alarm, protecting the
   Protective Safeguards                                         entire building, that is:
   1. As a condition of this insurance, you are                    a. Connected to a central station; or
      required to maintain the protective devices or             b. Reporting to a public or private fire alarm
      services listed in the Schedule above.                        station.
   2. The protective safeguards to which this                    "P-3" Security Service, with a recording
      endorsement applies are identified by the                  system or watch clock, making hourly rounds
      following symbols:                                         covering the entire building, when the premises
      "P-1" Automatic Sprinkler System, including                are not in actual operation.
      related supervisory services.                              "P-4" Service Contract with a privately owned
      Automatic Sprinkler System means:                          fire department providing fire protection service
      a. Any     automatic    fire    protective   or            to the described premises.
         extinguishing system, including connected:              "P-5" Automatic Commercial Cooking
        (1) Sprinklers and discharge nozzles;                    Exhaust And Extinguishing System installed
                                                                 on cooking appliances and having the following
        (2) Ducts, pipes, valves and fittings;                   components:
        (3) Tanks, their     component     parts      and          a. Hood:
            supports; and
                                                                 b. Grease removal device;
        (4) Pumps and private fire protection mains.
                                                                   c. Duct system; and
      b. When supplied from an automatic fire
         protective system:                                      d. Wet chemical fire extinguishing equipment.
         (1) Non-automatic fire protective systems;              "P-9", the protective system described in the
                                                                 Schedule.
             and




CP 04 11 10 12                        © Insurance Services Office, Inc., 2011                          Page 1 of 2
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 PageZBS
                                                                   1389632488
                                                                       of 217 02 5502701


B. The following is added to the Exclusions section         2. Failed to maintain any protective safeguard
   of:                                                         listed in the Schedule above, and over which
   Causes Of Loss – Basic Form                                 you had control, in complete working order.
   Causes Of Loss – Broad Form                              If part of an Automatic Sprinkler System or
   Causes Of Loss – Special Form                            Automatic Commercial Cooking Exhaust And
   Mortgageholders Errors And Omissions Coverage            Extinguishing System is shut off due to breakage,
   Form                                                     leakage, freezing conditions or opening of
   Standard Property Policy                                 sprinkler heads, notification to us will not be
                                                            necessary if you can restore full protection within
   We will not pay for loss or damage caused by or          48 hours.
   resulting from fire if, prior to the fire, you:
   1. Knew of any suspension or impairment in any
      protective safeguard listed in the Schedule
      above and failed to notify us of that fact; or




Page 2 of 2                        © Insurance Services Office, Inc., 2011                     CP 04 11 10 12
                                                                                                  ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 139 of 217


                                                                                     COMMERCIAL PROPERTY
                                                                                             CP 10 30 10 12

                    CAUSES OF LOSS – SPECIAL FORM
Words and phrases that appear in quotation marks have special meaning. Refer to Section G. Definitions.


A. Covered Causes Of Loss                                           (4) Earth sinking (other than sinkhole
   When Special is shown in the Declarations,                           collapse), rising or shifting including soil
   Covered Causes of Loss means direct physical                         conditions     which     cause      settling,
   loss unless the loss is excluded or limited in this                  cracking or other disarrangement of
   policy.                                                              foundations or other parts of realty. Soil
                                                                        conditions       include        contraction,
B. Exclusions                                                           expansion, freezing, thawing, erosion,
   1. We will not pay for loss or damage caused                         improperly compacted soil and the
      directly or indirectly by any of the following.                   action of water under the ground
      Such loss or damage is excluded regardless of                     surface.
      any other cause or event that contributes                      But if Earth Movement, as described in
      concurrently or in any sequence to the loss.                   b.(1) through (4) above, results in fire or
      a. Ordinance Or Law                                            explosion, we will pay for the loss or
                                                                     damage caused by that fire or explosion.
          The enforcement of or compliance with any
          ordinance or law:                                         (5) Volcanic eruption, explosion or effusion.
                                                                        But if volcanic eruption, explosion or
         (1) Regulating the construction, use or
                                                                        effusion results in fire, building glass
             repair of any property; or
                                                                        breakage or Volcanic Action, we will pay
         (2) Requiring the tearing down of any                          for the loss or damage caused by that
             property, including the cost of removing                   fire, building glass breakage or Volcanic
             its debris.                                                Action.
          This exclusion, Ordinance Or Law, applies                     Volcanic Action means direct loss or
          whether the loss results from:                                damage resulting from the eruption of a
            (a) An ordinance or law that is enforced                    volcano when the loss or damage is
                even if the property has not been                       caused by:
                damaged; or                                            (a) Airborne volcanic blast or airborne
            (b) The increased costs incurred to                            shock waves;
                comply with an ordinance or law in                     (b) Ash, dust or particulate matter; or
                the course of construction, repair,
                renovation, remodeling or demolition                   (c) Lava flow.
                of property, or removal of its debris,                  With respect to coverage for Volcanic
                following a physical loss to that                       Action as set forth in (5)(a), (5)(b) and
                property.                                               (5)(c), all volcanic eruptions that occur
                                                                        within any 168-hour period will constitute
      b. Earth Movement
                                                                        a single occurrence.
         (1) Earthquake, including tremors and
             aftershocks and any earth sinking, rising                  Volcanic Action does not include the
             or shifting related to such event;                         cost to remove ash, dust or particulate
                                                                        matter that does not cause direct
         (2) Landslide, including any earth sinking,                    physical loss or damage to the
             rising or shifting related to such event;                  described property.
         (3) Mine subsidence, meaning subsidence                     This exclusion applies regardless of
             of a man-made mine, whether or not                      whether any of the above, in Paragraphs
             mining activity has ceased;                             (1) through (5), is caused by an act of
                                                                     nature or is otherwise caused.




CP 10 30 10 12                       © Insurance Services Office, Inc., 2011                          Page 1 of 10
                                                                                                  ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 140 of 217



      c. Governmental Action                                         (3) Insurrection,   rebellion,    revolution,
         Seizure or destruction of property by order                     usurped power, or action taken by
         of governmental authority.                                      governmental authority in hindering or
                                                                         defending against any of these.
         But we will pay for loss or damage caused
         by or resulting from acts of destruction                 g. Water
         ordered by governmental authority and                       (1) Flood, surface water, waves (including
         taken at the time of a fire to prevent its                      tidal wave and tsunami), tides, tidal
         spread, if the fire would be covered under                      water, overflow of any body of water, or
         this Coverage Part.                                             spray from any of these, all whether or
      d. Nuclear Hazard                                                  not driven by wind (including storm
                                                                         surge);
         Nuclear reaction or radiation, or radioactive
         contamination, however caused.                              (2) Mudslide or mudflow;
         But if nuclear reaction or radiation, or                    (3) Water that backs up or overflows or is
         radioactive contamination, results in fire, we                  otherwise discharged from a sewer,
         will pay for the loss or damage caused by                       drain, sump, sump pump or related
         that fire.                                                      equipment;
      e. Utility Services                                            (4) Water under the ground surface
                                                                         pressing on, or flowing or seeping
         The failure of power, communication, water                      through:
         or other utility service supplied to the
         described premises, however caused, if the                     (a) Foundations, walls, floors or paved
         failure:                                                           surfaces;
        (1) Originates away from the described                          (b) Basements, whether paved or not; or
            premises; or                                                (c) Doors, windows or other openings;
        (2) Originates at the described premises,                           or
            but only if such failure involves                        (5) Waterborne      material   carried    or
            equipment used to supply the utility                         otherwise moved by any of the water
            service to the described premises from                       referred to in Paragraph (1), (3) or (4),
            a source away from the described                             or material carried or otherwise moved
            premises.                                                    by mudslide or mudflow.
         Failure of any utility service includes lack of              This exclusion applies regardless of
         sufficient capacity and reduction in supply.                 whether any of the above, in Paragraphs
         Loss or damage caused by a surge of                          (1) through (5), is caused by an act of
         power is also excluded, if the surge would                   nature or is otherwise caused. An example
         not have occurred but for an event causing                   of a situation to which this exclusion applies
         a failure of power.                                          is the situation where a dam, levee, seawall
                                                                      or other boundary or containment system
         But if the failure or surge of power, or the                 fails in whole or in part, for any reason, to
         failure of communication, water or other                     contain the water.
         utility service, results in a Covered Cause of
         Loss, we will pay for the loss or damage                     But if any of the above, in Paragraphs (1)
         caused by that Covered Cause of Loss.                        through (5), results in fire, explosion or
                                                                      sprinkler leakage, we will pay for the loss or
         Communication services include but are not                   damage caused by that fire, explosion or
         limited to service relating to Internet access               sprinkler leakage (if sprinkler leakage is a
         or access to any electronic, cellular or                     Covered Cause of Loss).
         satellite network.
                                                                  h. "Fungus", Wet Rot, Dry Rot And
      f. War And Military Action                                     Bacteria
        (1) War, including undeclared or civil war;                   Presence, growth, proliferation, spread or
        (2) Warlike action by a military force,                       any activity of "fungus", wet or dry rot or
            including action in hindering or                          bacteria.
            defending against an actual or expected                   But if "fungus", wet or dry rot or bacteria
            attack, by any government, sovereign or                   result in a "specified cause of loss", we will
            other authority using military personnel                  pay for the loss or damage caused by that
            or other agents; or                                       "specified cause of loss".




Page 2 of 10                          © Insurance Services Office, Inc., 2011                      CP 10 30 10 12
                                                                                                 ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 141 of 217



         This exclusion does not apply:                              (5) Nesting or infestation, or discharge or
        (1) When "fungus", wet or dry rot or bacteria                    release of waste products or secretions,
            result from fire or lightning; or                            by insects, birds, rodents or other
                                                                         animals.
        (2) To the extent that coverage is provided
            in the Additional Coverage, Limited                      (6) Mechanical       breakdown,      including
            Coverage For "Fungus", Wet Rot, Dry                          rupture or bursting caused by centrifugal
            Rot And Bacteria, with respect to loss or                    force. But if mechanical breakdown
            damage by a cause of loss other than                         results in elevator collision, we will pay
            fire or lightning.                                           for the loss or damage caused by that
                                                                         elevator collision.
      Exclusions B.1.a. through B.1.h. apply whether
      or not the loss event results in widespread                    (7) The following causes of loss to personal
      damage or affects a substantial area.                              property:
   2. We will not pay for loss or damage caused by                      (a) Dampness        or       dryness     of
      or resulting from any of the following:                               atmosphere;
      a. Artificially generated electrical, magnetic or                 (b) Changes in or            extremes    of
         electromagnetic energy that damages,                               temperature; or
         disturbs, disrupts or otherwise interferes                     (c) Marring or scratching.
         with any:                                                    But if an excluded cause of loss that is
        (1) Electrical or electronic wire, device,                    listed in 2.d.(1) through (7) results in a
            appliance, system or network; or                          "specified cause of loss" or building glass
        (2) Device, appliance, system or network                      breakage, we will pay for the loss or
            utilizing cellular or satellite technology.               damage caused by that "specified cause of
                                                                      loss" or building glass breakage.
         For the purpose of this exclusion, electrical,
         magnetic or electromagnetic energy                       e. Explosion of steam boilers, steam pipes,
         includes but is not limited to:                             steam engines or steam turbines owned or
                                                                     leased by you, or operated under your
            (a) Electrical current, including arcing;                control. But if explosion of steam boilers,
            (b) Electrical charge produced              or           steam pipes, steam engines or steam
                conducted by a magnetic                 or           turbines results in fire or combustion
                electromagnetic field;                               explosion, we will pay for the loss or
                                                                     damage caused by that fire or combustion
            (c) Pulse of electromagnetic energy; or
                                                                     explosion. We will also pay for loss or
            (d) Electromagnetic         waves           or           damage caused by or resulting from the
                microwaves.                                          explosion of gases or fuel within the furnace
         But if fire results, we will pay for the loss or            of any fired vessel or within the flues or
         damage caused by that fire.                                 passages through which the gases of
                                                                     combustion pass.
      b. Delay, loss of use or loss of market.
                                                                   f. Continuous or repeated seepage or
      c. Smoke, vapor or gas from agricultural                        leakage of water, or the presence or
         smudging or industrial operations.
                                                                      condensation of humidity, moisture or
      d.(1) Wear and tear;                                            vapor, that occurs over a period of 14 days
        (2) Rust or other corrosion, decay,                           or more.
            deterioration, hidden or latent defect or             g. Water, other liquids, powder or molten
            any quality in property that causes it to                material that leaks or flows from plumbing,
            damage or destroy itself;                                heating, air conditioning or other equipment
        (3) Smog;                                                    (except fire protective systems) caused by
                                                                     or resulting from freezing, unless:
        (4) Settling,  cracking,        shrinking       or
            expansion;                                               (1) You do your best to maintain heat in the
                                                                         building or structure; or




CP 10 30 10 12                        © Insurance Services Office, Inc., 2011                         Page 3 of 10
                                                                                                  ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 142 of 217



        (2) You drain the equipment and shut off                       (b) To collapse caused by one or more
            the supply if the heat is not maintained.                      of the following:
      h. Dishonest or criminal act (including theft) by                    (i) The "specified causes of loss";
         you, any of your partners, members,                               (ii) Breakage of building glass;
         officers, managers, employees (including
         temporary employees and leased workers),                         (iii) Weight of rain that collects on a
         directors,     trustees     or     authorized                          roof; or
         representatives, whether acting alone or in                      (iv) Weight of people or personal
         collusion with each other or with any other                           property.
         party; or theft by any person to whom you
                                                                  l. Discharge, dispersal, seepage, migration,
         entrust the property for any purpose,
                                                                     release or escape of "pollutants" unless the
         whether acting alone or in collusion with                   discharge, dispersal, seepage, migration,
         any other party.
                                                                     release or escape is itself caused by any of
         This exclusion:                                             the "specified causes of loss". But if the
        (1) Applies whether or not an act occurs                     discharge, dispersal, seepage, migration,
            during your normal hours of operation;                   release or escape of "pollutants" results in a
                                                                     "specified cause of loss", we will pay for the
        (2) Does not apply to acts of destruction by                 loss or damage caused by that "specified
            your employees (including temporary                      cause of loss".
            employees and leased workers) or
            authorized representatives; but theft by                 This exclusion, I., does not apply to
            your employees (including temporary                      damage to glass caused by chemicals
            employees and leased workers) or                         applied to the glass.
            authorized representatives is not                    m. Neglect of an insured to use all reasonable
            covered.                                                means to save and preserve property from
      i. Voluntary parting with any property by you                 further damage at and after the time of loss.
         or anyone else to whom you have entrusted            3. We will not pay for loss or damage caused by
         the property if induced to do so by any                 or resulting from any of the following, 3.a.
         fraudulent scheme, trick, device or false               through 3.c. But if an excluded cause of loss
         pretense.                                               that is listed in 3.a. through 3.c. results in a
      j. Rain, snow, ice or sleet to personal                    Covered Cause of Loss, we will pay for the
         property in the open.                                   loss or damage caused by that Covered Cause
                                                                 of Loss.
      k. Collapse, including any of the following
         conditions of property or any part of the               a. Weather conditions. But this exclusion only
         property:                                                  applies if weather conditions contribute in
                                                                    any way with a cause or event excluded in
        (1) An abrupt falling down or caving in;                    Paragraph 1. above to produce the loss or
        (2) Loss of structural integrity, including                 damage.
            separation of parts of the property or               b. Acts or decisions, including the failure to act
            property in danger of falling down or                   or decide, of any person, group,
            caving in; or                                           organization or governmental body.
        (3) Any cracking, bulging, sagging, bending,             c. Faulty, inadequate or defective:
            leaning, settling, shrinkage or expansion
            as such condition relates to (1) or (2)                 (1) Planning,       zoning,     development,
            above.                                                      surveying, siting;
         But if collapse results in a Covered Cause                 (2) Design, specifications, workmanship,
         of Loss at the described premises, we will                     repair,    construction,    renovation,
         pay for the loss or damage caused by that                      remodeling, grading, compaction;
         Covered Cause of Loss.                                     (3) Materials used in repair, construction,
         This exclusion, k., does not apply:                            renovation or remodeling; or
            (a) To the extent that coverage is                      (4) Maintenance;
                provided under the Additional                        of part or all of any property on or off the
                Coverage, Collapse; or                               described premises.




Page 4 of 10                         © Insurance Services Office, Inc., 2011                      CP 10 30 10 12
                                                                                                  ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 143 of 217



   4. Special Exclusions                                            (5) Any other consequential loss.
      The following provisions apply only to the                 b. Leasehold Interest Coverage Form
      specified Coverage Forms:                                     (1) Paragraph B.1.a., Ordinance Or Law,
      a. Business Income (And Extra Expense)                            does not apply to insurance under this
         Coverage Form, Business Income                                 Coverage Form.
         (Without Extra Expense) Coverage Form,                     (2) We will not pay for any loss caused by:
         Or Extra Expense Coverage Form
                                                                       (a) Your cancelling the lease;
         We will not pay for:
                                                                       (b) The     suspension,       lapse     or
        (1) Any loss caused by or resulting from:                          cancellation of any license; or
           (a) Damage or destruction of "finished                      (c) Any other consequential loss.
               stock"; or
                                                                 c. Legal Liability Coverage Form
           (b) The time required to reproduce
               "finished stock".                                    (1) The following exclusions do not apply to
                                                                        insurance under this Coverage Form:
            This exclusion does not apply to Extra
            Expense.                                                   (a) Paragraph B.1.a. Ordinance Or Law;
        (2) Any loss caused by or resulting from                       (b) Paragraph     B.1.c.     Governmental
            direct physical loss or damage to radio                        Action;
            or television antennas (including satellite                (c) Paragraph B.1.d. Nuclear Hazard;
            dishes) and their lead-in wiring, masts or
                                                                       (d) Paragraph B.1.e. Utility Services;
            towers.
                                                                           and
        (3) Any increase of loss caused by or
                                                                       (e) Paragraph B.1.f. War And Military
            resulting from:
                                                                           Action.
           (a) Delay in rebuilding, repairing or                    (2) The following additional exclusions
               replacing the property or resuming                       apply to insurance under this Coverage
               "operations", due to interference at
                                                                        Form:
               the location of the rebuilding, repair
               or replacement by strikers or other                     (a) Contractual Liability
               persons; or                                                 We will not defend any claim or
           (b) Suspension, lapse or cancellation of                        "suit", or pay damages that you are
               any license, lease or contract. But if                      legally liable to pay, solely by reason
               the suspension, lapse or cancellation                       of your assumption of liability in a
               is    directly   caused    by     the                       contract or agreement. But this
               "suspension" of "operations", we will                       exclusion does not apply to a written
               cover such loss that affects your                           lease agreement in which you have
               Business Income during the "period                          assumed liability for building damage
               of restoration" and any extension of                        resulting from an actual or attempted
               the "period of restoration" in                              burglary or robbery, provided that:
               accordance with the terms of the                            (i) Your assumption of liability was
               Extended        Business     Income                             executed prior to the accident;
               Additional     Coverage   and     the                           and
               Extended Period Of Indemnity
               Optional Coverage or any variation                          (ii) The building is Covered Property
                                                                                under this Coverage Form.
               of these.
        (4) Any Extra Expense caused by             or                 (b) Nuclear Hazard
            resulting from suspension, lapse        or                     We will not defend any claim or
            cancellation of any license, lease      or                     "suit", or pay any damages, loss,
            contract beyond the "period             of                     expense or obligation, resulting from
            restoration".                                                  nuclear reaction or radiation, or
                                                                           radioactive contamination, however
                                                                           caused.




CP 10 30 10 12                       © Insurance Services Office, Inc., 2011                        Page 5 of 10
                                                                                                 ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 144 of 217



   5. Additional Exclusion                                        d. Building materials and supplies not
      The following provisions apply only to the                     attached as part of the building or structure,
      specified property:                                            caused by or resulting from theft.
      Loss Or Damage To Products                                      However, this limitation does not apply to:
      We will not pay for loss or damage to any                      (1) Building materials and supplies held for
      merchandise, goods or other product caused                         sale by you, unless they are insured
      by or resulting from error or omission by any                      under the Builders Risk Coverage Form;
      person or entity (including those having                           or
      possession under an arrangement where work                     (2) Business Income Coverage or Extra
      or a portion of the work is outsourced) in any                     Expense Coverage.
      stage of the development, production or use of              e. Property that is missing, where the only
      the product, including planning, testing,                      evidence of the loss or damage is a
      processing,        packaging,        installation,             shortage disclosed on taking inventory, or
      maintenance or repair. This exclusion applies                  other instances where there is no physical
      to any effect that compromises the form,                       evidence to show what happened to the
      substance or quality of the product. But if such               property.
      error or omission results in a Covered Cause of
      Loss, we will pay for the loss or damage                     f. Property that has been transferred to a
      caused by that Covered Cause of Loss.                           person or to a place outside the described
                                                                      premises on the basis of unauthorized
C. Limitations                                                        instructions.
   The following limitations apply to all policy forms            g. Lawns, trees, shrubs or plants which are
   and endorsements, unless otherwise stated:                        part of a vegetated roof, caused by or
   1. We will not pay for loss of or damage to                       resulting from:
      property, as described and limited in this                     (1) Dampness or dryness of atmosphere or
      section. In addition, we will not pay for any loss                 of soil supporting the vegetation;
      that is a consequence of loss or damage as
      described and limited in this section.                         (2) Changes in or extremes of temperature;
      a. Steam boilers, steam pipes, steam engines                   (3) Disease;
         or steam turbines caused by or resulting                    (4) Frost or hail; or
         from any condition or event inside such
                                                                     (5) Rain, snow, ice or sleet.
         equipment. But we will pay for loss of or
         damage to such equipment caused by or                 2. We will not pay for loss of or damage to the
         resulting from an explosion of gases or fuel             following types of property unless caused by
         within the furnace of any fired vessel or                the "specified causes of loss" or building glass
         within the flues or passages through which               breakage:
         the gases of combustion pass.                            a. Animals, and then only if they are killed or
      b. Hot water boilers or other water heating                    their destruction is made necessary.
         equipment caused by or resulting from any                b. Fragile articles such as statuary, marbles,
         condition or event inside such boilers or                   chinaware and porcelains, if broken. This
         equipment, other than an explosion.                         restriction does not apply to:
      c. The interior of any building or structure, or               (1) Glass; or
         to personal property in the building or
         structure, caused by or resulting from rain,                (2) Containers of property held for sale.
         snow, sleet, ice, sand or dust, whether                  c. Builders' machinery, tools and equipment
         driven by wind or not, unless:                              owned by you or entrusted to you, provided
                                                                     such property is Covered Property.
         (1) The building or structure first sustains
             damage by a Covered Cause of Loss to                     However, this limitation does not apply:
             its roof or walls through which the rain,               (1) If the property is located on or within
             snow, sleet, ice, sand or dust enters; or                   100 feet of the described premises,
         (2) The loss or damage is caused by or                          unless the premises is insured under the
             results from thawing of snow, sleet or                      Builders Risk Coverage Form; or
             ice on the building or structure.                       (2) To Business Income Coverage or to
                                                                         Extra Expense Coverage.




Page 6 of 10                          © Insurance Services Office, Inc., 2011                        CP 10 30 10 12
                                                                                                 ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 145 of 217



   3. The special limit shown for each category, a.           2. We will pay for direct physical loss or damage
      through d., is the total limit for loss of or              to Covered Property, caused by abrupt
      damage to all property in that category. The               collapse of a building or any part of a building
      special limit applies to any one occurrence of             that is insured under this Coverage Form or
      theft, regardless of the types or number of                that contains Covered Property insured under
      articles that are lost or damaged in that                  this Coverage Form, if such collapse is caused
      occurrence. The special limits are (unless a               by one or more of the following:
      higher limit is shown in the Declarations):                a. Building decay that is hidden from view,
      a. $2,500 for furs, fur garments and garments                 unless the presence of such decay is
         trimmed with fur.                                          known to an insured prior to collapse;
      b. $2,500 for jewelry, watches, watch                      b. Insect or vermin damage that is hidden
         movements, jewels, pearls, precious and                    from view, unless the presence of such
         semiprecious stones, bullion, gold, silver,                damage is known to an insured prior to
         platinum and other precious alloys or                      collapse;
         metals. This limit does not apply to jewelry            c. Use of defective material or methods in
         and watches worth $100 or less per item.                   construction, remodeling or renovation if the
      c. $2,500 for patterns, dies, molds and forms.                abrupt collapse occurs during the course of
      d. $250 for stamps, tickets, including lottery                the construction, remodeling or renovation.
         tickets held for sale, and letters of credit.           d. Use of defective material or methods in
      These special limits are part of, not in addition             construction, remodeling or renovation if the
      to, the Limit of Insurance applicable to the                  abrupt      collapse   occurs    after    the
      Covered Property.                                             construction, remodeling or renovation is
                                                                    complete, but only if the collapse is caused
      This limitation, C.3., does not        apply to               in part by:
      Business Income Coverage or            to Extra
      Expense Coverage.                                             (1) A cause of loss listed in 2.a. or 2.b.;
   4. We will not pay the cost to repair any defect to              (2) One or more of the "specified causes of
      a system or appliance from which water, other                     loss";
      liquid, powder or molten material escapes. But                (3) Breakage of building glass;
      we will pay the cost to repair or replace                     (4) Weight of people or personal property;
      damaged parts of fire-extinguishing equipment                     or
      if the damage:
                                                                    (5) Weight of rain that collects on a roof.
      a. Results in discharge of any substance from
         an automatic fire protection system; or              3. This Additional Coverage – Collapse does
                                                                 not apply to:
      b. Is directly caused by freezing.
                                                                 a. A building or any part of a building that is in
      However, this limitation does not apply to                    danger of falling down or caving in;
      Business Income Coverage or to Extra
      Expense Coverage.                                          b. A part of a building that is standing, even if
                                                                    it has separated from another part of the
D. Additional Coverage – Collapse                                   building; or
   The coverage provided under this Additional                   c. A building that is standing or any part of a
   Coverage, Collapse, applies only to an abrupt                    building that is standing, even if it shows
   collapse as described and limited in D.1. through                evidence of cracking, bulging, sagging,
   D.7.                                                             bending, leaning, settling, shrinkage or
   1. For the purpose of this Additional Coverage,                  expansion.
      Collapse, abrupt collapse means an abrupt               4. With respect to the following property:
      falling down or caving in of a building or any
      part of a building with the result that the                a. Outdoor radio or television antennas
      building or part of the building cannot be                    (including satellite dishes) and their lead-in
      occupied for its intended purpose.                            wiring, masts or towers;




CP 10 30 10 12                       © Insurance Services Office, Inc., 2011                          Page 7 of 10
                                                                                                ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 146 of 217



      b. Awnings, gutters and downspouts;                  E. Additional Coverage – Limited Coverage For
      c. Yard fixtures;                                       "Fungus", Wet Rot, Dry Rot And Bacteria
      d. Outdoor swimming pools;                              1. The coverage described in E.2. and E.6. only
                                                                 applies when the "fungus", wet or dry rot or
      e. Fences;                                                 bacteria are the result of one or more of the
      f. Piers, wharves and docks;                               following causes that occur during the policy
                                                                 period and only if all reasonable means were
      g. Beach     or   diving        platforms     or
                                                                 used to save and preserve the property from
         appurtenances;
                                                                 further damage at the time of and after that
      h. Retaining walls; and                                    occurrence:
       i. Walks, roadways and other paved surfaces;              a. A "specified cause of loss" other than fire or
      if an abrupt collapse is caused by a cause of                 lightning; or
      loss listed in 2.a. through 2.d., we will pay for          b. Flood, if the Flood Coverage Endorsement
      loss or damage to that property only if:                      applies to the affected premises.
        (1) Such loss or damage is a direct result of            This Additional Coverage does not apply to
            the abrupt collapse of a building insured            lawns, trees, shrubs or plants which are part of
            under this Coverage Form; and                        a vegetated roof.
        (2) The property is Covered Property under            2. We will pay for loss or damage by "fungus",
            this Coverage Form.                                  wet or dry rot or bacteria. As used in this
   5. If personal property abruptly falls down or                Limited Coverage, the term loss or damage
      caves in and such collapse is not the result of            means:
      abrupt collapse of a building, we will pay for             a. Direct physical loss or damage to Covered
      loss or damage to Covered Property caused by                  Property caused by "fungus", wet or dry rot
      such collapse of personal property only if:                   or bacteria, including the cost of removal of
      a. The collapse of personal property was                      the "fungus", wet or dry rot or bacteria;
         caused by a cause of loss listed in 2.a.                b. The cost to tear out and replace any part of
         through 2.d.;                                              the building or other property as needed to
      b. The personal property which collapses is                   gain access to the "fungus", wet or dry rot
         inside a building; and                                     or bacteria; and
      c. The property which collapses is not of a                c. The cost of testing performed after removal,
         kind listed in 4., regardless of whether that              repair, replacement or restoration of the
         kind of property is considered to be                       damaged property is completed, provided
         personal property or real property.                        there is a reason to believe that "fungus",
                                                                    wet or dry rot or bacteria are present.
      The coverage stated in this Paragraph 5. does
      not apply to personal property if marring and/or        3. The coverage described under E.2. of this
      scratching is the only damage to that personal             Limited Coverage is limited to $15,000.
      property caused by the collapse.                           Regardless of the number of claims, this limit is
                                                                 the most we will pay for the total of all loss or
   6. This Additional Coverage, Collapse, does not               damage arising out of all occurrences of
      apply to personal property that has not abruptly
                                                                 "specified causes of loss" (other than fire or
      fallen down or caved in, even if the personal
                                                                 lightning) and Flood which take place in a 12-
      property shows evidence of cracking, bulging,              month period (starting with the beginning of the
      sagging, bending, leaning, settling, shrinkage
                                                                 present annual policy period). With respect to a
      or expansion.
                                                                 particular occurrence of loss which results in
   7. This Additional Coverage, Collapse, will not               "fungus", wet or dry rot or bacteria, we will not
      increase the Limits of Insurance provided in               pay more than a total of $15,000 even if the
      this Coverage Part.                                        "fungus", wet or dry rot or bacteria continue to
   8. The term Covered Cause of Loss includes the                be present or active, or recur, in a later policy
      Additional Coverage, Collapse, as described                period.
      and limited in D.1. through D.7.




Page 8 of 10                         © Insurance Services Office, Inc., 2011                     CP 10 30 10 12
                                                                                               ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 147 of 217



   4. The coverage provided under this Limited             F. Additional Coverage Extensions
      Coverage does not increase the applicable               1. Property In Transit
      Limit of Insurance on any Covered Property. If
      a particular occurrence results in loss or                 This Extension applies only to your personal
      damage by "fungus", wet or dry rot or bacteria,            property to which this form applies.
      and other loss or damage, we will not pay                  a. You may extend the insurance provided by
      more, for the total of all loss or damage, than               this Coverage Part to apply to your
      the applicable Limit of Insurance on the                      personal property (other than property in
      affected Covered Property.                                    the care, custody or control of your
      If there is covered loss or damage to Covered                 salespersons) in transit more than 100 feet
      Property, not caused by "fungus", wet or dry rot              from the described premises. Property must
      or bacteria, loss payment will not be limited by              be in or on a motor vehicle you own, lease
      the terms of this Limited Coverage, except to                 or operate while between points in the
      the extent that "fungus", wet or dry rot or                   coverage territory.
      bacteria cause an increase in the loss. Any                b. Loss or damage must be caused by or
      such increase in the loss will be subject to the              result from one of the following causes of
      terms of this Limited Coverage.                               loss:
   5. The terms of this Limited Coverage do not                     (1) Fire, lightning, explosion, windstorm or
      increase or reduce the coverage provided                          hail, riot or civil commotion, or
      under Paragraph F.2. (Water Damage, Other                         vandalism.
      Liquids, Powder Or Molten Material Damage)
                                                                    (2) Vehicle collision, upset or overturn.
      of this Causes Of Loss form or under the                          Collision means accidental contact of
      Additional Coverage, Collapse.
                                                                        your vehicle with another vehicle or
   6. The following, 6.a. or 6.b., applies only if                      object. It does not mean your vehicle's
      Business Income and/or Extra Expense                              contact with the roadbed.
      Coverage applies to the described premises
                                                                    (3) Theft of an entire bale, case or package
      and only if the "suspension" of "operations"
                                                                        by forced entry into a securely locked
      satisfies all terms and conditions of the
                                                                        body or compartment of the vehicle.
      applicable Business Income and/or Extra                           There must be visible marks of the
      Expense Coverage Form:
                                                                        forced entry.
      a. If the loss which resulted in "fungus", wet or
                                                                 c. The most we will pay for loss or damage
         dry rot or bacteria does not in itself
                                                                    under this Extension is $5,000.
         necessitate a "suspension" of "operations",
         but such "suspension" is necessary due to               This Coverage Extension is additional
         loss or damage to property caused by                    insurance.    The     Additional     Condition,
         "fungus", wet or dry rot or bacteria, then our          Coinsurance, does not apply to this Extension.
         payment under Business Income and/or                 2. Water Damage, Other Liquids, Powder Or
         Extra Expense is limited to the amount of               Molten Material Damage
         loss and/or expense sustained in a period
         of not more than 30 days. The days need                 If loss or damage caused by or resulting from
                                                                 covered water or other liquid, powder or molten
         not be consecutive.
                                                                 material damage loss occurs, we will also pay
      b. If a covered "suspension" of "operations"               the cost to tear out and replace any part of the
         was caused by loss or damage other than                 building or structure to repair damage to the
         "fungus", wet or dry rot or bacteria but                system or appliance from which the water or
         remediation of "fungus", wet or dry rot or              other substance escapes. This Coverage
         bacteria prolongs the "period of restoration",          Extension does not increase the Limit of
         we will pay for loss and/or expense                     Insurance.
         sustained during the delay (regardless of
         when such a delay occurs during the                  3. Glass
         "period of restoration"), but such coverage             a. We will pay for expenses incurred to put up
         is limited to 30 days. The days need not be                temporary plates or board up openings if
         consecutive.                                               repair or replacement of damaged glass is
                                                                    delayed.




CP 10 30 10 12                       © Insurance Services Office, Inc., 2011                       Page 9 of 10
                                                                                                   ZBS 9632488 02 5502701
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 148 of 217



      b. We will pay for expenses incurred to                      c. Water damage means:
         remove or replace obstructions when                          (1) Accidental discharge or leakage of
         repairing or replacing glass that is part of a                   water or steam as the direct result of the
         building. This does not include removing or                      breaking apart or cracking of a
         replacing window displays.                                       plumbing, heating, air conditioning or
      This Coverage Extension F.3.               does   not               other system or appliance (other than a
      increase the Limit of Insurance.                                    sump system including its related
G. Definitions                                                            equipment and parts), that is located on
                                                                          the described premises and contains
   1. "Fungus" means any type or form of fungus,                          water or steam; and
      including mold or mildew, and any mycotoxins,
      spores, scents or by-products produced or                       (2) Accidental discharge or leakage of
      released by fungi.                                                  water or waterborne material as the
                                                                          direct result of the breaking apart or
   2. "Specified causes of loss" means the following:                     cracking of a water or sewer pipe that is
      fire; lightning; explosion; windstorm or hail;                      located off the described premises and
      smoke; aircraft or vehicles; riot or civil                          is part of a municipal potable water
      commotion; vandalism; leakage from fire-                            supply system or municipal sanitary
      extinguishing equipment; sinkhole collapse;                         sewer system, if the breakage or
      volcanic action; falling objects; weight of snow,                   cracking is caused by wear and tear.
      ice or sleet; water damage.
                                                                       But water damage does not include loss or
      a. Sinkhole collapse means the sudden                            damage otherwise excluded under the
         sinking or collapse of land into underground                  terms of the Water Exclusion. Therefore, for
         empty spaces created by the action of                         example, there is no coverage under this
         water on limestone or dolomite. This cause                    policy in the situation in which discharge or
         of loss does not include:                                     leakage of water results from the breaking
         (1) The cost of filling sinkholes; or                         apart or cracking of a pipe which was
                                                                       caused by or related to weather-induced
         (2) Sinking or collapse of land into man-
                                                                       flooding, even if          wear and tear
             made underground cavities.
                                                                       contributed to the breakage or cracking. As
      b. Falling objects does not include loss or                      another example, and also in accordance
         damage to:                                                    with the terms of the Water Exclusion, there
         (1) Personal property in the open; or                         is no coverage for loss or damage caused
                                                                       by or related to weather-induced flooding
         (2) The interior of a building or structure, or               which follows or is exacerbated by pipe
             property inside a building or structure,
                                                                       breakage or cracking attributable to wear
             unless the roof or an outside wall of the                 and tear.
             building or structure is first damaged by
             a falling object.                                         To the extent that accidental discharge or
                                                                       leakage of water falls within the criteria set
                                                                       forth in c.(1) or c.(2) of this definition of
                                                                       "specified causes of loss," such water is not
                                                                       subject to the provisions of the Water
                                                                       Exclusion which preclude coverage for
                                                                       surface water or water under the surface of
                                                                       the ground.




Page 10 of 10                          © Insurance Services Office, Inc., 2011                      CP 10 30 10 12
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 PageZBS
                                                                   1499632488
                                                                       of 217 02 5502701



POLICY NUMBER:ZBS 9632488 02                                                          COMMERCIAL PROPERTY
                                                                                              CP 12 18 10 12

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           LOSS PAYABLE PROVISIONS
This endorsement modifies insurance provided under the following:

   BUILDERS‘ RISK COVERAGE FORM
   BUILDING AND PERSONAL PROPERTY COVERAGE FORM
   CONDOMINIUM ASSOCIATION COVERAGE FORM
   CONDOMINIUM COMMERCIAL UNIT- OWNERS COVERAGE FORM
   STANDARD PROPERTY POLICY

                                                  SCHEDULE


Location Number:                 Building Number:                 Applicable Clause
                                                                  (Enter C.1., C.2., C.3. or C.4.):
Description Of Property:

Loss Payee Name:

Loss Payee Address:

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




CP 12 18 10 12                       © Insurance Services Office, Inc., 2011                              Page 1 of 3
          Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 PageZBS
                                                                        1509632488
                                                                            of 217 02 5502701

A. When this endorsement is attached to the                        (3) If we deny your claim because of your
   Standard Property Policy CP 00 99, the term                           acts or because you have failed to
   Coverage Part in this endorsement is replaced by                      comply with the terms of the Coverage
   the term Policy.                                                      Part, the Loss Payee will still have the
B. Nothing in this endorsement increases the                             right to receive loss payment if the Loss
   applicable Limit of Insurance. We will not pay any                    Payee:
   Loss Payee more than their financial interest in the                 (a) Pays any premium due under this
   Covered Property, and we will not pay more than                          Coverage Part at our request if you
   the applicable Limit of Insurance on the Covered                         have failed to do so;
   Property.                                                            (b) Submits a signed, sworn proof of
C. The following is added to the Loss Payment Loss                          loss within 60 days after receiving
   Condition, as indicated in the Declarations or in                        notice from us of your failure to do
   the Schedule:                                                            so; and
   1. Loss Payable Clause                                               (c) Has notified us of any change in
      For Covered Property in which both you and a                          ownership, occupancy or substantial
      Loss Payee shown in the Schedule or in the                            change in risk known to the Loss
      Declarations have an insurable interest, we                           Payee.
      will:                                                             All of the terms of this Coverage Part will
       a. Adjust losses with you; and                                   then apply directly to the Loss Payee.
      b. Pay any claim for loss or damage jointly to                (4) If we pay the Loss Payee for any loss or
         you and the Loss Payee, as interests may                       damage and deny payment to you
         appear                                                         because of your acts or because you
                                                                        have failed to comply with the terms of
   2. Lender’s Loss Payable Clause                                      this Coverage Part:
       a. The Loss Payee shown in the Schedule or                       (a) The Loss Payee’s rights will be
          in the Declarations is a creditor, including a                    transferred to us to the extent of the
          mortgageholder or trustee, whose interest                         amount we pay; and
          in Covered Property is established by such
          written instruments as:                                       (b) The Loss Payee’s rights to recover
                                                                            the full amount of the Loss Payee’s
         (1) Warehouse receipts;                                            claim will not be impaired.
         (2) A contract for deed;                                       At our option, we may pay to the Loss
         (3) Bills of lading;                                           Payee the whole principal on the debt
                                                                        plus any accrued interest. In this event,
         (4) Financing statements; or
                                                                        you will pay your remaining debt to us.
         (5) Mortgages, deeds of trust, or security
                                                                  c. If we cancel this policy, we will give written
             agreements.
                                                                     notice to the Loss Payee at least:
      b. For Covered Property in which both you
                                                                    (1) 10 days before the effective date of
         and a Loss Payee have an insurable
                                                                        cancellation if we cancel for your
         interest:
                                                                        nonpayment of premium; or
         (1) We will pay for covered loss or damage
                                                                    (2) 30 days before the effective date of
             to each Loss Payee in their order of
                                                                        cancellation if we cancel for any other
             precedence, as interests may appear.
                                                                        reason.
         (2) The Loss Payee has the right to receive
                                                                    d. If we elect not to renew this policy, we
             loss payment even if the Loss Payee
                                                                        will give written notice to the Loss Payee
             has started foreclosure or similar action
                                                                        at least 10 days before the expiration
             on the Covered Property.
                                                                        date of this policy.




Page 2 of 3                          © Insurance Services Office, Inc., 2011                      CP 12 18 10 12
          Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 PageZBS
                                                                        1519632488
                                                                            of 217 02 5502701

   3. Contract Of Sale Clause                                4. Building Owner Loss Payable Clause
      a. The Loss Payee shown in the Schedule or                a. The Loss Payee shown in the Schedule or
         in the Declarations is a person or                        in the Declarations is the owner of the
         organization you have entered into a                      described building in which you are a
         contract with for the sale of Covered                     tenant.
         Property.                                              b. We will adjust losses to the described
      b. For Covered Property in which both you                    building with the Loss Payee. Any loss
         and the Loss Payee have an insurable                      payment made to the Loss Payee will
         interest, we will:                                        satisfy your claims against us for the
         (1) Adjust losses with you; and                           owner’s property.
                                                                c. We will adjust losses to tenants’
         (2) Pay any claim for loss or damage jointly
                                                                   improvements and betterments with you,
             to you and the Loss Payee, as interests
             may appear.                                           unless the lease provides otherwise.
      c. The following is added to the Other
         Insurance Condition:
         For Covered Property that is the subject of
         a contract of sale, the word "you" includes
         the Loss Payee.




CP 12 18 10 12                     © Insurance Services Office, Inc., 2011                            Page 3 of 3
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 152 of 217


                                                                                             COMMERCIAL PROPERTY


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                           TENTATIVE RATE
The rates used in the development of the premium for the Commercial Property Coverage Part are tentative. We will adjust
the premium effective from the inception date of this Coverage Part once the rates are promulgated. If this is a renewal of a
policy previously issued by us, we will adjust the premium effective from the renewal date of this Coverage Part once the
rates are promulgated.




CP 99 93 10 90                  Copyright, ISO Commercial Risk Services, Inc., 1983, 1989                           Page 1 of 1
                                                                             ZBS 9632488 00 5502701
               Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 153 of 217


   POLICY NUMBER: ZBS 9632488 oo

                    EMPLOYEE BENEFITS LIABILITY INSURANCE

                  THIS ENDORSEMENT PROVIDES CLAIMS-MADE
                    COVERAGE. PLEASE READ IT CAREFULLY.
                     This endorsement modifies insurance provided under the following:
                            COMMERCIAL GENERAL LIABILITY COVERAGE PART

   LIMITS OF INSURANCE
   Aggregate Limit                                                                                       $1 000 000
   Each Claim Limit                                                                                      $1,000,000

                               · Deductible Amount: $1,000
   s~[jfEElULE ···   .. •.
                              -~·              ....                        , ..,.            ..
                                                                                                  .. · . '""'.Li· A···. . .
             Estimated Number                                 Rate per                                 Advance
               of Employees                                   Employee:                                Premium

                        5                                                                               275.00


   A.     The following replaces COVERAGE A;                                    (2) We may investigate or settle any
          COVERAGE B and COVERAGE C under                                           claim or "suit" at our discretion:
          SECTION I -COVERAGES.                                                     and
          1.   Insuring Agreement                                               (3) Our right and duty to defend end
          a.   We will pay those sums the insured                                   when we have used up the
               becomes legally obligated to pay as                                  applicable limit of insurance in the
               damages sustained by an employee,                                    payment      of   judgments     and
               former employee or any of their                                      settlements.
               beneficiaries or legal representatives                     No other obligation or liability to pay sums
               because of any "wrongful acts" committed                   or perform acts or services is covered
               in the "administration" of the insured's                   unless explicitly provided for under
               "employee benefit program" by the                          SUPPLEMENTARY PAYMENTS. .
               insured or any other person, if the insured
               is legally responsible for the conduct of                  b. This insurance applies to "wrongful acts"
               that person and which occur within the                         only if:
               "coverage territorY". We will have the right                     (1) The "wrongful act" takes place in
               and duty to defend any "suit" seeking                                the "coverage territorY";
               those damages. But:                                              (2)    The "wrongful act" did not take
               (1) The amount we will pay for damages                                 place before the effective date or
                    is limited as described in SECTION                                after the expiration date of this
                    Ill - LIMITS OF INSURANCE;                                        endorsement;




       FORM 421-0017 (6/89)                                                                                  Page 1 of4



0032
               Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 154
                                                                           ZBS   of 21700 5502701
                                                                               9632488


                   and                                                 b.   Bodily injury, sickness or disease
              (3) A claim for damages because of the                        sustained by any person including
                  ''wrongful act" is made against any                       death resulting from any of these.
                  insured in accordance with paragraph                 c.   Physical injury to tangible property,
                  c. below, during the period this                          including all resulting loss of use of
                  endorsement is in effect.                                 that property and the loss of use of
              Paragraph (2) does not apply to a                             tangible property that is not physically
              ''wrongful act" occurring before the                          injured.
              effective date if the insured had no                     d.   Any claim arising out of the failure of
              knowledge of such act, could not                              performance of contract by any
              reasonably foresee any circumstances                          insurer, group adminisfrator or health
              which might result in a claim or "suit" and                   maintenance organization including
              does not have any other applicable                            failure of any "employee benefit
              insurance.                                                    program".
              The period in which a claim can be made                  e.   Any obligation of the insured under a
              for a "wrongful act" as stated in Paragraph                   workers compensation, disability
              (3) will automatically be extended, if this                   benefits or unemployment
              endorsement is cancelled or non                               compensation law or similar law.
              renewed, for a period of one year from the
              date of the cancellation or non renewal.            f. Any claim arising out of:
              This extended reporting period does not                  (1) Failure of stock to perform as
              extend the policy period or change the                        represented by the insured;
              scope of coverage in any way.                            {2) Advice given by an insured to an
         c.   A claim by a person or organization                          employee to participate or not
              seeking damages will be deemed to have                       participate in stock subscription
              been made when notice of such claim is                       plans;
              received by any insured or by us,                        (3) The investment or non investment of
              whichever come first.                                        funds;
         d.   Our obligation to pay damages on your                    (4) The payment or non payment of
              behalf applies only to the amount of                         benefits under any "employee benefit
              damages in excess of a $1,000 deductible                     program".
              which will be applied as follows:
                                                                  g.   Any violation(s) of any civil rights law.
              1.    The deductible will apply to all
                   damages sustained by one person or             h.   Any violation(s) of any provision(s) of the
                   organization as the result of any one               Employee Retirement Income Security
                   claim.                                              Act of 1974 or any amendments to that
                                                                       act.
              2.    The limits of insurance applicable to
                   each claim will be reduced by the              i.   An insufficiency of funds to meet any
                   amount of such deductible.                          obligation under any "employee benefit
                                                                       program".
              3.    The aggregate limit shall not be
                   reduced by the deductible amount.
                                                                  j.   Any fiduciary liability imposed by the
                                                                       Employee Retirement Income Security
         2.   Exclusions                                               Act of 1974 or any amendments to that
              This insurance does not apply to:                        act.
              a.    Any dishonest, fraudulent, criminal or   B.   SUPPLEMENTARY PAYMENTS under
                   malicious act, libel, slander,                 SECTION I - COVERAGE is amended as
                   discrimination or humiliation.                 follows:
                                                                  1. Paragraph 2 is deleted.


       FORM 421-0017 (6/89)                                                                          Page 2 of4



0033
             Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 PageZBS
                                                                           1559632488
                                                                                of 21700 5502701


  C.   SECTION II -WHO IS INSURED is amended                   a claim. The notice should include:
       as follows:                                             (1) How, when and where the act, error,
  1.   Paragraph 2 is replaced by the following                    omission or breach of duty took
       2.   Your employees are also insureds                       place.
            provided those employees are authorized            (2) The names and addresses of any
            by you to act in the "administration" of               persons who sustain damages and
            your "employee benefit program".                       any witnesses.
  2. Paragraphs 3 and 4 are deleted.                      b.   If a claim is made or a "suit" is brought
  D. SECTION Ill- LIMITS OF INSURANCE is                       against us you must:
     replaced by the following:                                (1) Immediately send us copies of any
       1.   The limit of insurance shown in the                    demands, notices, summonses or
            schedule for each claim is the most we                 legal papers received in connection
            will pay for the sum of damages from any               with the claim or "suit".
            one "wrongful act", regardless of the              (2)   Authorize us to obtain records and
            number of:                                               other information;
            a.    Insureds;                                    (3) Cooperate with us in the
            b.    Claims made or "suits" brought; or               investigation, settlement or defense
                                                                   of the claim or "suit" and;
            c.    Persons or organizations making
                 claims or bringing "suits".                   (4) Assist us, upon request, in the
                                                                   enforcement of any right against any
       2.   The aggregate limit is the most we will                person or organization which may be
            pay for the sum of all damages from all                liable to the "insured" because of
            "wrongful acts".                                       injury or damage to which this
       The limits of this endorsement apply                        insurance may also apply.
       separately to each consecutive policy period       c.   No "insured" will, except at their own cost,
       as stated in the declarations.                          voluntarily make a payment, assume any
       For the purposes of determining limits of               obligation or incur any expense, without
       insurance if this endorsement is cancelled or           our consent.
       nonrenewed the additional reporting period will    4.   Premiums
       be deemed to be part of that portion of the last
       policy period during which this endorsement             The premium shown on the schedule is
       was in effect for cancellations or the last             an estimated premium only. At the end of
       preceding policy period for nonrenewals.                the policy period you shall, upon our
                                                               request, furnish us with a statement of
  E.   SECTION IV - CONDITIONS is amended as                   any personnel changes since the effective
       follows:                                                date of this coverage. We will then
       1.   Conditions 2, 4 and 5 are replaced by the          compute the earned premium based on
            following:                                         our rules and rates. If the earned premium
       2.   Duties In The Event Of A Negligent Act,            exceeds the estimated premium you shall
            Error, Omission, Breach Of Duty, Claim             pay the excess to us; if it is less we will
            Or Suit                                            return the difference to you.
       a.   You must see to it that we are notified as    5.   Other Insurance
            soon as practicable of any negligent act,          If other valid and collectable insurance is
            error, omission or breach of duty which            available to the insured our obligations
            may result in                                      are limited as follows:




        FORM 421-0017 {6/89)                                                                     Page 3 of4



0034
                 Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 PageZBS
                                                                               1569632488
                                                                                    of 21700 5502701


                  a.   The insurance provided by this             2.   "Coverage territory" means the United
                       endorsement is primary except when              States of America (including its territories
                       b. below applies. If this insurance is          and possessions), Puerto Rico and
                       primary our obligations are not                 Canada.
                       affected unless any of the other           3.   "Employee benefit program" means
                       insurance is also primary. Then, we             Group Life Insurance, Group Health
                       will share with all that other insurance        Insurance, Profit Sharing Plans,
                       by the method described in c. below.            Employee Stock Subscription Plans,
                 b.    The insurance provided by this                  Workers Compensation Insurance,
                       endorsement is excess over any of               Unemployment Compensation Insurance,
                       the other insurance, whether primary,           Disability Benefits Insurance, Pension
                       excess, contingent or on any other              Plans, Social Security and Travel, Savings
                       basis, that is effective prior to our           or Vacation Plans.
                       continues after the effective date of      4.   "Suit" means a civil proceeding in which
                       this endorsement and that applies on            damages to which this insurance applies
                       other than a claims-made basis.                 are alleged. "Suif' includes an arbitration
                  c.   If all the other insurance permits              proceeding alleging such damages to
                       contribution by equal shares, we will           which you must submit or do submit with
                       follow this method also. Under this             our consent or any other alternative
                       approach each insurer contributes               dispute resolution proceeding in which
                       equal amounts until it has paid its             such damages are claimed and to which
                       applicable limit of insurance or none           you submit with our consent.
                       of the loss remains, whichever comes       5.   "Wrongful acf' means any negligent act,
                       first.                                          error, omission or breach of duty
                       If any of the other insurance does not          committed by an insured in t~e
                       permit contribution by equal shares             "administration" of the insured's
                       we will contribute by limits. Under this        "employee benefit program".
                       method, each insurer's share is
                       based on the ratio of its applicable
                       limit of insurance to the total
                       applicable limits of insurance of all
                       insurers.
       F.   SECTION V- DEFINITIONS is replaced by the
            following:
            1.   "Administration" means the following
                 provided these acts are authorized by
                 you:
                 a.    Counseling employees with respect
                       to the "employee benefit program".
                 b.    Interpreting the "employee benefit
                       program".
                 c.    Record-keeping in connection with
                       the "employee benefit program".
                 d.    Enrollment, termination or
                       cancellation of employees under the
                       "employee benefit program".




       FORM 421-0017 {6/89)                                                                            Page4 of4


0035
  Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 157 of 217




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                   ASBESTOS LIABILITY EXCLUSION


 This endorsement modifies insurance provided under the following:


 BUSINESSOWNERS POLICY
 COMMERCIAL GENERAL LIABILITY COVERAGE PART



 This insurance does not apply to “bodily injury”, “property damage”, “personal injury” or “advertising
 injury” arising out of any actual or alleged:

           1.     Inhaling, ingesting or prolonged physical exposure by any person to asbestos or
                  asbestos fibers or goods or products containing asbestos; or

           2.     Use of asbestos in constructing or manufacturing any good, product or structure; or

         3.       Intentional or accidental removal including encapsulation, dispersal, sealing or disposal
                  of asbestos or asbestos fibers from any good, product or structure; or

         4.       Manufacture, transportation, storage or disposal of asbestos or goods or products
                  containing asbestos; or

         5.       Product manufactured, sold, handled or distributed by or on behalf of the insured which
                  contain asbestos; or

         6.       Acts or omissions of the insured in connection with the general supervision of any job
                  involving the removal, enclosure, encapsulation, dispersal, sealing or disposal of
                  asbestos, asbestos fibers or products containing asbestos.

General supervision includes the rendering of or failure to render any instructions, recommendations,
warnings or advice.




421-0022         (ED 12-90)
           Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 158 of 217



                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


          COMMERCIAL GENERAL LIABILITY SPECIAL BROADENING
                     ENDORSEMENT (NEW YORK)
This endorsement modifies insurance provided under the following:
          COMMERCIAL GENERAL LIABILITY COVERAGE PART

SUMMARY OF COVERAGES

1.    Additional Insured by Contract, Agreement or Permit                                                     Included
2.    Additional Insured - Broad Form Vendors                                                                 Included
3.    Aggregate Limit per Location                                                                            Included
4.    Alienated Premises                                                                                      Included
5.    Bodily Injury Redefined                                                                                 Included
6.    Broad Form Property Damage - Borrowed Equipment, Customers Goods &                                      Included
      Use of Elevators
7.    Extended Property Damage                                                                               Included
8.    Incidental Malpractice (Employed nurses, EMT’s & paramedics)                                           Included
9.    Knowledge of Occurrence                                                                                Included
10.   Liberalization Clause                                                                                  Included
11.   Medical Payments - Increased Limit                                                                     $ 10,000
12.   Newly Acquired or Formed Organizations - Covered until end or policy period                            Included
13.   Non-owned Watercraft                                                                                    51 ft.
14.   Personal Injury - Broad Form                                                                           Included
15.   Product Recall Expense
      - Each Occurrence Limit                                                                                $ 25,000
      - Aggregate Limit                                                                                      $ 50,000
16.   Property Damage Legal Liability (Fire, Lighting, Explosion, Smoke or Leakage Damage)                   $500,000
17.   Supplementary Payments Increased Limits
      - Bail Bonds                                                                                           $ 2,500
      - Loss of Earnings                                                                                     $    300
18.   Unintentional Failure to Disclose Hazards                                                              Included
19.   Unintentional Failure to Notify                                                                        Included

      This endorsement amends coverages provided under the Commercial General Liability Coverage Form through new
      coverages, higher limits and broader coverage grants.

1. Additional Insured by Contract, Agreement or                             This insurance applies on a primary basis if
   Permit                                                                   that is required by the written contract, written
   Under Section II - Who Is An insured, Paragraph 5.                       agreement or permit.
   is added as follows:                                                   b. This provision does not apply:
   5. a.   Any person or organization with whom you                           (1) Unless the written contract or written
           agreed, because of a written contract, written                          agreement has been executed or permit
           agreement or permit to provide insurance, is                            has been issued prior to the "bodily injury”,
           an insured, but only with respect to:                                   “property    damage",     "personal      and
                                                                                   advertising injury".
           (1) "Your work" for the additional insured(s)
               at the location designated in the contract,                    (2) To any person or organization included as
               agreement or permit; or                                             an insured by an endorsement issued by
                                                                                   us and made part of this Coverage Part.
           (2) Premises you own, rent, lease or occupy.




                    Includes copyrighted material of Insurance Services Office, Inc. with its permission.
                                      Copyright, Insurance Service Office, Inc. 1998
421-0146 (09/03)                                                                                               Page 1 of 6
          Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 159 of 217


            (3) To any person or organization included                      (4) Repackaging, unless unpacked solely for
                as an insured under item 2 of this                              the       purpose       of      inspection,
                endorsement.                                                    demonstration, testing, or the substitution
            (4) To any lessor of equipment:                                     of parts under instruction from the
                                                                                manufacturer, and then repackaged in
                (a) After the equipment lease expires; or                       the original container;
                (b) If the “bodily injury”, “property dam-                  (5) Any failure to make such inspection, ad-
                    age”, “personal and advertising                             justments, tests or servicing as the
                    injury” arises out of sole negligence                       vendor has agreed to make or normally
                    of the lessor.                                              undertakes to make in the usual course
            (5) To any:                                                         of business in connection with the sale of
                                                                                the product;
                (a) Owners or other interests from whom
                    land has been leased which takes                        (6) Demonstration, installation, servicing or
                    place after the lease for the land ex-                      repair     operations,     except     such
                    pires; or                                                   operations performed at the vendor's
                                                                                premises in connection with the sale of
                (b) Managers or lessors of premises if:
                                                                                the product;
                    (i) The occurrence takes place after
                                                                            (7) Products which, after distribution or sale
                         you cease to be a tenant in that
                                                                                by you, have been labeled or relabeled or
                         premises; or
                                                                                used as a container, part or ingredient of
                    (ii) The "bodily injury", "property                         any thing or substance by or for the
                         damage",        "personal     and                      vendor.
                         advertising injury" arises out of
                                                                         c. This insurance does not apply to any insured
                         structural alterations, new con-
                                                                            person or organization, from whom you have
                         struction      or       demolition
                                                                            acquired such products, or any ingredient,
                         operations performed by or on
                                                                            part or container, entering into, accompany-
                         behalf of the manager or lessor.
                                                                            ing or containing such products.

2. Additional Insured - Broad Form Vendors
                                                                3. Aggregate Limit Per Location
   Under Section II - Who Is An Insured, Paragraph 6.
                                                                   (1) Under Section III - Limits of Insurance the
   is added as follows:
                                                                       General Aggregate Limit applies separately to
   6. a. Any person or organization with whom you                      each of your "locations" owned by or rented to
           agreed, because of a written contract or                    you.
           written agreement to provide insurance, but
                                                                   (2) Under Section V - Definitions, definition 23. is
           only with respect to “bodily injury” or
                                                                       added as follows:
           “property damage” arising out of “your
           products” which are distributed or sold in the              22. "Location" means premises involving the
           regular course of the vendor’s business,                        same or connecting lots, or premises whose
           subject to the following additional exclusions:                 connection is interrupted only by a street,
                                                                           roadway, waterway or right-of-way of a rail-
       b. The insurance afforded the vendor does not
                                                                           road.
           apply to:
           (1) “Bodily injury” or “property damage” for
                                                                4. Alienated Premises
                which the vendor is obligated to pay dam-
                ages by reasons of the assumption of li-           Under Section I - Coverage A, paragraph 2. Exclu-
                ability in a contract or agreement. This           sions, j. (2) is replaced in its entirety with the
                exclusion does not apply to liability for          following:
                damages that the insured would have in             (2) Premises you sell, give away or abandon, if the
                the absence of the contract or agreement;               "property damage" arises out of any part of those
           (2) Any express warranty unauthorized by                     premises and occurred from hazards that were
                you;                                                    known by you, or should have reasonably been
                                                                        known by you, at the time the property was
           (3) Any physical or chemical change in the
                                                                        transferred or abandoned.
                product made intentionally by the vendor;

                                                                5. Bodily Injury Redefined
                                                                   Under Section V - Definitions, definition 3. “bodily
                                                                   injury” is replaced in its entirety with the following:


                   Includes copyrighted material of Insurance Services Office, Inc. with its permission.
                                     Copyright, Insurance Service Office, Inc. 1998
421-0146 (09/03)                                                                                            Page 2 of 6
          Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 160 of 217


    3. “Bodily injury” means bodily injury, sickness or         9. Knowledge of Occurrence
       disease sustained by a person. This includes                Under Section IV - Commercial General Liability
       mental anguish, mental injury, shock, fright or             Conditions, Condition 2 - Duties in the Event of
       death resulting from “bodily injury”, sickness or           Occurrence, Offense, Claim or Suit, paragraph e.
       disease.                                                    is added as follows:
                                                                   e. Notice of an "occurrence", offense, claim or "suit"
6. Broad Form Property Damage - Borrowed                               will be considered knowledge of the insured if
   Equipment, Customers Goods, Use of Elevators                        reported to an individual named insured, partner,
   (1) Under Section I - Coverage A, paragraph 2.                      executive officer or an "employee" designated by
       Exclusion j. is amended as follows:                             you to give us such a notice.
       Paragraph (4) does not apply to "property dam-
       age" to borrowed equipment while at a jobsite            10.    Liberalization Clause
       and not being used to perform operations.                       Under Section IV - Commercial General Liability
       Paragraphs (3), (4) and (6) do not apply to                     Conditions, condition 10. is added as follows:
       "property damage" to "customers goods" while                    10. Liberalization Clause
       on your premises nor do they apply to the use of
       elevators at premises you own, rent, lease or                        If we adopt any revision that would broaden
       occupy.                                                              the coverage under this Coverage Form
                                                                            without additional premium, within 45 days
   (2) Under Section V - Definitions, definition 24. is                     prior to or during the policy period, the
       added as follows:                                                    broadened coverage will immediately apply
       23. "Customers goods" means property of your                         to this Coverage Part.
           customer on your premises for the purpose
           of being:                                            11.    Medical Payments - Increased Limits
           a. worked on; or                                            (1) Under Section I - Coverage C, paragraph a.
           b. used in your manufacturing process.                          (2) is replaced in its entirety by the following:
   (3) The insurance afforded under this provision is                      (2) The expenses are incurred and reported to
       excess over any other valid and collectible prop-                        us within three years of the date of the
       erty insurance (including deductible) available to                       accident; and
       the insured whether primary, excess, contingent                 (2) Under Section III - Limits of Insurance,
       or on any other basis.                                              paragraph 7. is replaced in its entirety by the
                                                                           following:
7. Extended Property Damage                                                7. Subject to 5. above, the higher of:
   Under Section I - Coverage A, paragraph 2.                                   a. $10,000; or
   Exclusions, Exclusion a. is replaced in its entirety
   with the following:                                                          b. The amount shown in the Declarations
                                                                                    for Medical Expense Limit is the most
   a. “Bodily injury” or “property damage” expected or                              we will pay under Coverage C for all
       intended from the standpoint of the insured. This                            medical expenses because of "bodily
       exclusion does not apply to “bodily injury” or                               injury" sustained by one person.
       “property damage” resulting from the use of
       reasonable force to protect persons or property.                (3) This coverage does not apply if Coverage C -
                                                                           Medical Payments is excluded either by the
                                                                           provisions of the Coverage Part or by
8. Incidental Malpractice - Employed Nurses, EMT's                         endorsement.
   and Paramedics
   Under Section II - Who Is An Insured, paragraph              12.    Newly Acquired Or Formed Organizations
   2.a.(1)(d) does not apply to a nurse, emergency
   medical technician or paramedic employed by you if                  Under Section II - Who Is An Insured, paragraph
   you are not engaged in the business or occupation of                   4.a. is replaced in its entirety by the following:
   providing medical, paramedical, surgical, dental, x-                   a. Coverage under this provision is afforded
   ray or nursing services.                                                   only until the end of the policy period.




                   Includes copyrighted material of Insurance Services Office, Inc. with its permission.
                                     Copyright, Insurance Service Office, Inc. 1998
421-0146 (09/03)                                                                                             Page 3 of 6
          Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 161 of 217


13.   Non-Owned Watercraft                                                      repair, replacement, adjustment, removal
      Under Section I - Coverage A, paragraph 2                                 or disposal of:
      Exclusions, g.(2) is replaced in its entirety by the                      (1) "Your product";
      following:                                                                (2) "Your work"; or
      (2) A watercraft you do not own that is:                                  (3) "Impaired property";
             (a) Less than 51 feet long; and                                    if such product, work, or property is with-
             (b) Not being used to carry persons or                             drawn or recalled from the market or from
                 property for a charge;                                         use by any person or organization because
                                                                                of a known or suspected defect, deficiency,
             This provision applies to any person, who                          inadequacy or dangerous condition in it,
             with your consent, either uses or is                               but this exclusion does not apply to
             responsible for the use of a watercraft.                           "product recall expenses" that you incur for
                                                                                the "covered recall" of "your product". The
14.   Personal Injury - Broad Form                                              exception to the exclusion does not apply
                                                                                to “Product recall expenses” resulting from:
      (1) Under Section I - Coverage B, paragraph 2.e.
          is deleted in its entirety.                                           (1) Failure of any products to accomplish
                                                                                     their intended purpose;
      (2) Under Section V - Definitions, definition 14,
          paragraph b. is replaced in its entirety by the                       (2) Breach of warranties of fitness, quality,
          following:                                                                 durability or performance;
          b. Malicious prosecution or abuse of process.                         (3) Loss of customer approval, or any cost
                                                                                     incurred to regain customer approval;
      (3) Under Section V - Definitions, definition 14,
          paragraph h. is added as follows:                                     (4) Redistribution or replacement of “your
                                                                                     product” which has been recalled by
          h. Discrimination or humiliation (unless
                                                                                     like products or substitutes;
               insurance thereof is prohibited by law)
               including disparate impact or vicarious                          (5) Caprice or whim of the insured;
               liability that results in injury to the feelings                 (6) A condition likely to cause loss of
               or reputation of a natural person, but only if                        which any insured knew or had reason
               such discrimination or humiliation is:                                to know at the inception of this
               (1) Not done intentionally by or at the                               insurance;
                    direction of:                                               (7) Asbestos, including loss, damage or
                    (a) The insured;                                                 clean up resulting from asbestos or
                                                                                     asbestos containing materials;
                    (b) Any officer of the corporation,
                          director, stockholder, partner or                     (8) Recall of "your products” that have no
                          member of the insured; and                                 known or suspected defect solely
                                                                                     because a known or suspected defect
               (2) Not directly or indirectly related to an
                                                                                     in another of "your products" has been
                    "employee", not to the employment,
                                                                                     found.
                    prospective employment or termination
                    of any person or persons by an                      (2) Under Section II - Who Is An Insured,
                    insured.                                                paragraph 4.d. is added as follows:
      (4) This coverage does not apply if Coverage B -                      d. Coverage A does not apply to "product
          Personal and Advertising Injury Liability is                          recall expense" arising out of any
          excluded either by the provisions of the                              withdrawal or recall that occurred before
          Coverage Part of by endorsement.                                      you acquired or formed the organization.
                                                                        3) Under Section III - Limits of Insurance,
15.   Product Recall Expense                                                paragraph 8. is added as follows:
      (1) Under Section I - Coverage A, paragraph 2                         8. The Limits of Insurance and rules stated
          Exclusions, n. is replaced in its entirety by the                     below fix the most we will pay under this
          following:                                                            coverage part.
          n. Recall of Products, Work or Impaired                           (1) The Aggregate Limit is the most we will
               Property                                                         reimburse you for the sum of all “product
               Damages claimed for any loss, cost or                            recall expenses” incurred for all “product
               expense incurred by you or others for the                        recall expenses” initiated during the policy
               loss of use, withdrawal, recall, inspection,                     period.



                    Includes copyrighted material of Insurance Services Office, Inc. with its permission.
                                      Copyright, Insurance Service Office, Inc. 1998
421-0146 (09/03)                                                                                              Page 4 of 6
         Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 162 of 217


         (2) The Each Occurrence Limit shown in the                                 distribution of like or similar products
             Summary of Coverages Declaration is the                                until it has been determined that all
             most we will pay in connection with any                                such products are free from defects
             one defect or deficiency.                                              that could be a cause of loss under this
             (a) All “product recall expenses” in                                   insurance.
                 connection with substantially the same                (6) Under Section V - Definitions, the following
                 general harmful condition will be                         definitions are added:
                 deemed to arise out of the same defect                    25. "Covered recall" means a recall made
                 or deficiency and considered one                              necessary because you or a government
                 occurrence.                                                   body has determined that a known or
             (b) Any amount reimbursed for “product                            suspected defect, deficiency, inadequacy,
                 recall expenses” in connection with                           or dangerous condition in "your product"
                                                                               has resulted or will result in "bodily injury"
                 any one occurrence will reduce the
                                                                               or "property damage".
                 amount of the Aggregate Limit
                 available for reimbursement of                            26. "Product recall expense" means:
                 “product recall expenses” in                                  a. Necessary and reasonable expenses
                 connection with any other defect or                                for:
                 deficiency.                                                         (1) Communications, including radio or
             (c) If the Aggregate Limit has been                                         television     announcements      or
                 reduced by reimbursement of “product                                    printed advertisements including
                 recall expenses” to an amount that is                                   stationery, envelopes and postage;
                 less than the Each Occurrence Limit,                               (2) Shipping the recalled products
                 the remaining Aggregate Limit is the                                    from any purchaser, distributor or
                 most that will be available for                                         user to the place or places
                 reimbursement of “product recall                                        designated by you;
                 expenses” in connection with any other                             (3) Remuneration paid to your regular
                 defect or deficiency.                                                   "employees" for necessary over-
             The Limits of Insurance of Product Recall                                   time;
             Expense apply separately to each                                       (4) Hiring additional persons, other
             consecutive annual period and to any                                        than your regular "employees";
             remaining period of less than 12 months,
             starting with the beginning of the policy                              (5) Expenses incurred by "employees"
             period shown in the Declarations, unless                                    including transportation and ac-
             the policy period is extended after issuance                                commodations;
             for an additional period of less than 12                               (6) Expenses to rent additional ware-
             months. In that case, the additional period                                 house or storage space;
             will be deemed part of the last preceding                              (7) Disposal of “your product”, but only
             period for the purposes of determining the                                  to the extent that specific methods
             Limits of Insurance.                                                        of destruction other than those
         (3) A Deductible of $500 applies for Each                                       employed for trash discarding or
             Occurrence.                                                                 disposal are required to avoid
     (5) Under Section IV - Commercial General                                           “bodily injury” or “property damage”
         Liability Conditions, Condition 2 - Duties in                                   as a result of such disposal;
         the Event of Occurrence, Offense, Claim or                                 You incur exclusively for the purpose
         Suit, paragraph f. is added as follows:                                    of recalling “your product”; and
         f. You must see to it that the following are                          b. Your lost profit resulting from such
             done in the event of an actual or                                      “covered recall”.
             anticipated "covered recall" that may result
             in "product recall expense":                       16.    Property Damage         Legal     Liability (Fire,
             (1) Give us prompt notice of any discovery                Lightning, Explosion, Smoke or Leakage from
                  or notification that "your product" must             Fire Protective Systems Damage)
                  be withdrawn or recalled. Include a                  (1) The word fire is changed to fire, lightning,
                  description of "your product" and the                    explosion, smoke and leakage from fire pro-
                  reason for the withdrawal or recall;                     tective systems where it appears in the Limits
             (2) Cease any further release, shipment,                      of Insurance section of the Declarations for the
                  consignment or any other method of                       Commercial General Liability Coverage Part.

                   Includes copyrighted material of Insurance Services Office, Inc. with its permission.
                                     Copyright, Insurance Service Office, Inc. 1998
421-0146 (09/03)                                                                                              Page 5 of 6
         Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 163 of 217


     (2) Under Section I - Coverage A, the last para-           17.    Supplementary Payments Increased Limits
         graph (after the exclusions) is replaced in its               Under Section I - Supplementary Payments,
         entirety by the following:                                    Coverages A and B, paragraphs 1.b. and 1.d. are
         Exclusions c. through n. do not apply to dam-                 replaced in their entirety as follows:
         age by fire, lightning, explosion, smoke or leak-             1.b. Up to $2,500 for cost of bail bonds required
         age from fire protective systems to premises                        because of accidents or traffic law violations
         while rented to you or temporarily occupied by                      arising out of the use of any vehicle to which
         you with the permission of the owner. A sepa-                       the Bodily Injury Liability Coverage applies.
         rate limit of insurance applies to this coverage                    We do not have to furnish these bonds.
         as described in LIMITS OF INSURANCE
         (SEC-TION III). This limit will apply to all                  1.d. All reasonable expenses incurred by the
         damage proximately caused by the same                               insured at our request to assist us in the
         event, whether such damage results from fire,                       investigation or defense of the claim or “suit",
         lightning, explosion, smoke or leakage from fire                    including actual loss of earnings up to $300 a
         protective systems or any combination of the                        day because of time off from work.
         five.
     (3) Under Section III - Limits Of Insurance, para-         18.    Unintentional Failure to Disclose Hazards
         graph 6. is replaced in its entirety by the follow-           Under Section IV - Commercial General Liability
         ing:                                                          Conditions, Condition 6. - Representations,
         6. Subject to 5. above, the higher of:                        paragraph d. is added as follows:
              a. $500,000; or                                          d. We will not disclaim coverage under this
                                                                           Coverage Part if you fail to disclose all hazards
              b. The Fire, Lightning, Explosion, Smoke                     existing as of the inception date of the policy
                   or Leakage from Fire Protective Sys-                    provided such failure is not intentional.
                   tems Damage Limit shown in the Dec-
                   larations is the most we will pay under
                   Coverage A for damages because of            19.    Unintentional Failure to Notify
                   "property damage" from fire, lightning,             Under Section IV - Commercial General Liability
                   explosion, smoke and leakage from fire              Conditions, Condition 2. - Duties in the Event of
                   protective systems to premises, while               Occurrence, Offense, Claim or Suit, paragraph
                   rented to you or temporarily occupied               g. is added as follows:
                   by you with permission of the owner.
                                                                       g. Your rights afforded under this policy shall not
     (4) Under Section IV - Commercial General                              be prejudiced if you fail to give us notice of an
         Liability Conditions, Condition 4. Other                           "occurrence", offense, claim or "suit", solely
         Insurance, paragraph b.(2) is replaced by the                      due to your reasonable and documented belief
         following:                                                         that the "bodily injury" or "property damage" is
         b.(2) That is fire, lightning, explosion, smoke                    not covered under this policy.
                   or leakage from fire protective systems
                   insurance for premises rented to you or
                   temporarily occupied by you with per-
                   mission of the owner; or
     (5) Under Section V - Definitions, definition 9.
         "Insured contract", a. is replaced in its en-
         tirety by the following:
         a. A contract for a lease of premises. How-
              ever, that portion of the contract for a lease
              of premises that indemnifies any person or
              organization for damage by fire, lightning,
              explosion, smoke or leakage from fire pro-
              tective systems to premises while rented to
              you or temporarily occupied by you with
              permission of the owner is not an "insured
              contract".
     (6) This coverage does not apply if Fire Damage
         Legal Liability of Coverage A is excluded
         either by the provisions of the Coverage Part or
         by endorsement.


                   Includes copyrighted material of Insurance Services Office, Inc. with its permission.
                                     Copyright, Insurance Service Office, Inc. 1998
421-0146 (09/03)                                                                                              Page 6 of 6
        Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 PageZBS
                                                                      1649632488
                                                                          of 217 02 5502701

                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         NEW YORK
                          HOSPITALITY SERVICES ERRORS AND OMISSIONS
                                        INSURANCE

     IN CONSIDERATION OF ADDITIONAL PREMIUM CHARGED, THE FOLLOWING
     ENDORSEMENT IS ADDED TO THE POLICY. PLEASE READ IT CAREFULLY AS IT
     CHANGES THE POLICY.

     COMMERCIAL GENERAL LIABILITY COVERAGE PART

 SCHEDULE

     Hospitality Services Errors and Omission Occurrence Limit $ 100000

     Hospitality Services Errors and Omission Aggregate Limit $ 100000

    (If no entry appears above, information required to complete this endorsement will be
    shown in the Declarations as applicable to this endorsement.)

Except for the insurance provided by this endorsement, the Coverage Part to which this endorsement
is attached does not apply to any claim or "suit" seeking damages arising out of rendering or failure to
render “hospitality services”.

The following        is   added       to    SECTION         I   -
COVERAGES                                                                         (3) Our right and duty to defend ends
                                                                                      when we have used up the applicable
                                                                                      limit of insurance in the payment of
Coverage D Hospitality Services Errors and                                            judgments     or  settlements  under
Omissions                                                                             Coverage D.
                                                                        b.     This insurance applies to “damages” only
1. Insuring Agreement                                                          if:
    a. We will pay those sums that the insured                                  (1) The “damages” are caused by the
       becomes legally obligated to pay as                                          rendering     or    failure     to render
       “damages” arising out of the rendering or                                    “hospitality services” that takes place
       failure to render “hospitality services” to                                  in the "coverage territory"; and
       which this insurance applies. We will have
       the right and duty to defend the insured                                 (2) The "damages" occur during the policy
       against    any       "suit"   seeking     those                              period.
       “damages”. However, we will have no duty
       to defend the insured against any "suit"                      2. Exclusions
       seeking “damages” to which this insurance
       does not apply. We may, at our discretion,                    Solely with respect to the “hospitality services”
       investigate any "occurrence" and settle                       errors and omissions insurance provided by this
       any claim or "suit" that may result. But:                     endorsement, the following exclusions apply.
         (1) The amount we will pay for damages is                   The following exclusions apply even if the claim
             limited as described in Section III - Limits            against any insured alleges negligence or other
             Of Insurance;
         (2)     Our obligation to pay “damages” on
               your behalf applies only to the amount
               of “damages” in excess of a $250 per                                                              Page 1 of 5
               “occurrence” deductible; and




  421-0478 01 08    Includes copyrighted material of Insurance Services Office, Inc., with its permission
        Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 PageZBS
                                                                      1659632488
                                                                          of 217 02 5502701

wrongdoing    in     the   supervision,    hiring,
employment, training, or monitoring of others by                       (4)     Medical or nursing          services   treatment,
that insured.                                                                  advice or instruction;
                                                                       (5)     Any    health     or    therapeutic      service
This insurance does not apply to any claims:                                   treatment, advice or instruction;
a. Expected Or Intended Injury                                         (7)     Any equipment or process used to tan
arising     out    of    any     intentional, dishonest,                       skin;
fraudulent, criminal, wrongful or malicious act,
                                                                       (8)     Body massage other than facial massage;
error or omission, committed by, knowingly
allowed or directed by any insured, including the                      (9)     Any      service,  treatment,  advice  or
willful or reckless violation of any statute.                                  instruction for the purpose of appearance
                                                                               or skin enhancement, hair removal or
                                                                               replacement, or personal grooming or
b. “Bodily Injury” or “Property Damage” or                                     therapy.
“Personal and Advertising Injury”
                                                                       (10) Any      service,  treatment,  advice     or
arising out of       “bodily injury” or “property
                                                                            instruction relating to physical fitness,
damage” or “personal and advertising injury”.
                                                                            including service, treatment, advice or
                                                                            instruction in connection with diet, cardio-
c. Discrimination                                                           vascular fitness, body building or physical
arising    out    of    any       actual       or        alleged            training programs.
“discrimination”.
d. Liquor Liability                                                 g. Unauthorized Access
arising out of or for which any insured may be                      arising out of any access to, or use of a
held liable by reason of:                                           computer, computer         system    or     computer
                                                                    network by an unauthorized person or persons
    (1) Causing       or     contributing           to       the
                                                                    or an authorized person in an unauthorized manner.
        intoxication of any person;
    (2) The furnishing of alcoholic beverages to                    h. Detrimental Code
        a person under the legal drinking age or                    arising out of any computer virus, program,
        under the influence of alcohol; or                          routine, sub-routine, Trojan horse, worm, script
    (3) Any statute, ordinance or regulation                        or other code or code string that destroys, alters
        relating to the sale, gift, distribution or                 or corrupts any electronic data, computer or
        use of alcoholic beverages.                                 computer system.

e. Weather                                                          i. Cost Guarantees
arising out of the cancellation of any “hospitality                 arising out of any cost guarantees, or estimates of, or
services”   due     to  any     adverse   weather                   exceeding probable costs; or any actual or alleged
conditions, including but not limited to natural                    guaranty, warranty, promise, expressed or implied, or
disasters.                                                          verbal or written, relating to cost savings.

f. Professional Services                                            j. Over- Redemption
arising out of the rendering or failure to render                   arising out of “over-redemption” of coupons,
the following professional services by any                          awards,     or   prizes from    advertisements,
insured:                                                            promotions, games, sweepstakes, contests, and
                                                                    games of chance.
  (1)   Notarizing, legal, accounting or advertising
        services;
                                                                    k. Contractual Liability
  (2)   Preparing, approving, or failing to prepare                 arising out of liability you assume under any
        or approve maps, drawings, opinions,                        contract or agreement, including but not limited
        reports, surveys, change orders, designs
        or specifications;
  (3)   Engineering       services,     construction
        services, or property developer including
        related supervisory or inspection services;



                                                                                                              Page 2 of 5

 421-0478 01 08    Includes copyrighted material of Insurance Services Office, Inc., with its permission
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 PageZBS
                                                                   1669632488
                                                                       of 217 02 5502701


to, any contract price, cost guarantee or cost
estimate   being exceeded; however,         this
exclusion does not apply to liability you would                          o. Funds Management
have in the absence of such contract or                                  arising out of:
agreement;
                                                                         (1) any actual or alleged theft, stealing,
l. Fee Disputes                                                              conversion,   commingling,    embezzlement
arising out of disputes involving:                                           or misappropriation by any person of any
                                                                             money, funds, securities, assets or other
    (1) your fees or charges, including over-                                legal tender, or any actual or alleged
        charges, or cost over-runs;                                          failure to return or collect any money,
                                                                             funds, securities, assets or other legal
    (2) collecting your fees from third parties;
                                                                             tender;
    (3) the return of fees or other compensation                         (2) failure    to  collect,   pay   or   return
        paid to you; or                                                      commissions    or    deposits or   amounts
                                                                             charged or paid for your “hospitality
    (4) your cost of correcting or re-performing
                                                                             services”.
        or completing any “hospitality services”;
                                                                         p. Cost to Correct
m. Real Estate Agent, Broker or Property
                                                                         arising out of your cost to correct, re-perform, or
   Manager                                                               complete any “hospitality services”. However, this
                                                                         exclusion does not apply to extra expenses
(1) arising out of or connected with the                                 that are over and above the amount agreed upon
    formulation, promotion, syndication, offer,                          for your “hospitality services”, which are incurred by
    sale or management of any limited                                    your     customers       to    procure     comparable
    partnership, general partnership, real estate                        replacement for such “hospitality services” due to
    investment trust or other security, including                        your error or omission.
    any interest therein;
(2) arising out of any insured notarizing,                               q. Tour Operator
    certifying or acknowledging any signature                            arising out of tour services other than organizing
    not signed before such insured at the time of                        and conducting land tours on public roads and
    such      notarization,   certification    or                        making of reservations for such tours.
    acknowledgment; or
                                                                         r. Mental Anguish
(3) arising out any timeshare sales or real                              Arising out of any mental anguish, mental
    property provided by any insured or any real                         suffering,     mental    injury,   shock, anxiety,
    estate broker who is either employed by, or                          depression, embarrassment, humiliation, fear,
    performing work on behalf of, any insured in                         grief, distress or emotional pain.
    such capacity.
(4) arising out of the failure to disclose or                            C. SECTION II - WHO IS AN INSURED
    misrepresentation of information relating to
    the condition of property for an intended                            The following is added to SECTION II - WHO IS
    use.                                                                 AN INSURED:
(5) arising out of physical changes or                                   Under Section II – Who Is An Insured, Part 2.
    modifications to accommodate or comply                               a. (1) (d) is amended as follows:
    with any law prohibiting discrimination
    including but not limited to the American with
                                                                              (d) Arising out of his or her providing or
    Disabilities Act of 1990 or any similar
                                                                                  failing to provide “hospitality services”.
    federal, state or local law or regulation.
                                                                                  However, your “employees” are insured
                                                                                  with respect to their providing or failing
n. Privacy
                                                                                  to provide “hospitality services”.
arising out of any alleged or actual violation of
any person or entity’s privacy rights;




                                                                                                           Page 3 of 5

421-0478 01 08    Includes copyrighted material of Insurance Services Office, Inc., with its permission
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 PageZBS
                                                                   1679632488
                                                                       of 217 02 5502701



D. SECTION III - LIMITS OF INSURANCE                                           d. Other Insurance
                                                                                  (1) The insurance provided by this
The following is added to SECTION III - LIMITS                                        coverage endorsement is excess
OF INSURANCE:                                                                         over any other valid and collectable
                                                                                      insurance     or      agreement     of
SECTION III - LIMITS OF INSURANCE                                                     indemnity available to the insured.

The following is added to SECTION III - LIMITS                                     (2) When this insurance is excess, we
OF INSURANCE:                                                                          have no duty to investigate or defend
                                                                                       any claim or “suit” if any other insurer
a. The Limits of Insurance shown in the                                                has a duty to defend the insured
   Schedule or Declaration and the rules below                                         against that claim or “suit”. If no other
   fix the most we will pay regardless of the                                          insurer defends, we will undertake to
   number of:                                                                          do so, but we will be entitled to the
                                                                                       insured’s rights against all those other
     1) Insureds;                                                                      insurers.
     2) Claims made or "suits" brought; or
                                                                         2. Under Section IV - Conditions, Paragraph
     3) Persons or organizations         making
                                                                         10 is added as follows:
        claims or bringing "suits".

b. The     Hospitality   Services   Errors   and                         10.     Deductible
   Omission Aggregate Limit is the most we will                          The terms of this insurance, including those with
   pay for all damages because of or arising in                          respect to:
   any way out of "hospitality services" to which
   this insurance applies.                                                     1. Our right and duty to defend the
                                                                                  insured against any “suits” seeking
c. Subject to the Hospitality Services Errors                                     those “damages”; and
   and    Omission    Aggregate   Limit,    the                                2. Your duties in the event of an
   Hospitality Services Errors and Omission                                       “occurrence” , claim, or “suit”
   Occurrence Limit is the most we will pay for
   all damages sustained in any one                                      apply irrespective         of the application   of the
   “occurrence".                                                         deductible amount.

The Limits of Insurance of this endorsement                              We may pay any part or all of the deductible
apply separately to each consecutive annual                              amount to effect settlement of any claim or “suit”
period and to any remaining period of less than                          and, upon notification of the action taken, you
12 months, starting with the beginning of the                            shall promptly reimburse us for such part of the
policy period shown in the Declarations, unless                          deductible amount as has been paid by us.
the policy period is extended after issuance for
an additional period of less than 12 months. In                          F.        SECTION V – DEFINITIONS
that case, the additional period will be deemed                               a.   The following definitions are           hereby
part of the last preceding period for purposes of                                  added:
determining the Limits of Insurance.
                                                                                   23. “Damages”          means           any
                                                                                       compensatory     amount      that  the
E. SECTION IV – CONDITIONS                                                             insured shall be legally obligated to
1. For the purposes of the coverage                                                    pay for judgments rendered against
   provided      by this endorsement, the                                              the     insured,    or     settlements
   following is added to Paragraph 4.                                                  negotiated with our written consent.
   Section IV - Conditions :                                                           “Damages” shall not include:




                                                                                                             Page 4 of 5

421-0478 01 08   Includes copyrighted material of Insurance Services Office, Inc., with its permission
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 PageZBS
                                                                   1689632488
                                                                       of 217 02 5502701



           i.    any amounts for which you are
                 not financially liable or for which
                 there is no legal recourse
                 against you;
           ii. the costs and expenses of
               complying with any injunctive,
               non-monetary or other form of
               equitable relief;
           iii. fines, penalties, or taxes;
           iv. matters that may be deemed
               uninsurable under the law; or
           v. any cost of replacement of “your
              product” or “your work”.

       24. "Discrimination" means violation of a
           person’s civil rights with respect to
           such person’s race, color, national
           origin, religion, gender, marital
           status, age, sexual orientation or
           preference, physical or mental
           condition, or any other protected
           class or characteristic established
           by     any     federal, state or local
           statutes, rules or regulations.

       25. “Over-redemption”    means   price
           discounts, prizes, awards or other
           valuable consideration given in
           excess of the total contracted or
           expected amount.

       26. “Hospitality      Services”       means
           meeting, restaurant, banquet or
           catering     services      and     event
           planning      you provide to your
           customers in the conduct of your
           business as a hotel, inn, motel,
           restaurant, golf club or fitness club, or
           food service provider.




                                                                                                         Page 5 of 5

421-0478 01 08   Includes copyrighted material of Insurance Services Office, Inc., with its permission
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 169 of 217


                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 00 01 12 07

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.         b. This insurance applies to "bodily injury" and
Read the entire policy carefully to determine rights,           "property damage" only if:
duties and what is and is not covered.                          (1) The "bodily injury" or "property damage" is
Throughout this policy the words "you" and "your"                   caused by an "occurrence" that takes place
refer to the Named Insured shown in the Declarations,               in the "coverage territory";
and any other person or organization qualifying as a            (2) The "bodily injury" or "property damage"
Named Insured under this policy. The words "we",                    occurs during the policy period; and
"us" and "our" refer to the company providing this
insurance.                                                      (3) Prior to the policy period, no insured listed
                                                                    under Paragraph 1. of Section II – Who Is
The word "insured" means any person or organization                 An Insured and no "employee" authorized
qualifying as such under Section II – Who Is An In-                 by you to give or receive notice of an "oc-
sured.                                                              currence" or claim, knew that the "bodily in-
Other words and phrases that appear in quotation                    jury" or "property damage" had occurred, in
marks have special meaning. Refer to Section V –                    whole or in part. If such a listed insured or
Definitions.                                                        authorized "employee" knew, prior to the
SECTION I – COVERAGES                                               policy period, that the "bodily injury" or
                                                                    "property damage" occurred, then any con-
COVERAGE A BODILY INJURY AND PROPERTY                               tinuation, change or resumption of such
DAMAGE LIABILITY                                                    "bodily injury" or "property damage" during
1. Insuring Agreement                                               or after the policy period will be deemed to
                                                                    have been known prior to the policy period.
   a. We will pay those sums that the insured be-
      comes legally obligated to pay as damages              c. "Bodily injury" or "property damage" which
      because of "bodily injury" or "property damage"           occurs during the policy period and was not,
      to which this insurance applies. We will have             prior to the policy period, known to have oc-
      the right and duty to defend the insured against          curred by any insured listed under Paragraph
      any "suit" seeking those damages. However,                1. of Section II – Who Is An Insured or any
      we will have no duty to defend the insured                "employee" authorized by you to give or re-
      against any "suit" seeking damages for "bodily            ceive notice of an "occurrence" or claim, in-
      injury" or "property damage" to which this in-            cludes any continuation, change or resumption
      surance does not apply. We may, at our discre-            of that "bodily injury" or "property damage" af-
      tion, investigate any "occurrence" and settle             ter the end of the policy period.
      any claim or "suit" that may result. But:              d. "Bodily injury" or "property damage" will be
     (1) The amount we will pay for damages is                  deemed to have been known to have occurred
         limited as described in Section III – Limits           at the earliest time when any insured listed un-
         Of Insurance; and                                      der Paragraph 1. of Section II – Who Is An In-
                                                                sured or any "employee" authorized by you to
     (2) Our right and duty to defend ends when we
                                                                give or receive notice of an "occurrence" or
         have used up the applicable limit of insur-
         ance in the payment of judgments or set-               claim:
         tlements under Coverages A or B or medi-               (1) Reports all, or any part, of the "bodily injury"
         cal expenses under Coverage C.                             or "property damage" to us or any other in-
                                                                    surer;
      No other obligation or liability to pay sums or
      perform acts or services is covered unless ex-            (2) Receives a written or verbal demand or
      plicitly provided for under Supplementary Pay-                claim for damages because of the "bodily
      ments – Coverages A and B.                                    injury" or "property damage"; or
                                                                (3) Becomes aware by any other means that
                                                                    "bodily injury" or "property damage" has oc-
                                                                    curred or has begun to occur.



                                                                                                     Page 1 of 16



CG 00 01 12 07                            © ISO Properties, Inc., 2006
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 170 of 217


   e. Damages because of "bodily injury" include                c. Liquor Liability
      damages claimed by any person or organiza-                    "Bodily injury" or "property damage" for which
      tion for care, loss of services or death resulting            any insured may be held liable by reason of:
      at any time from the "bodily injury".
                                                                   (1) Causing or contributing to the intoxication of
2. Exclusions                                                          any person;
   This insurance does not apply to:                               (2) The furnishing of alcoholic beverages to a
   a. Expected Or Intended Injury                                      person under the legal drinking age or un-
      "Bodily injury" or "property damage" expected                    der the influence of alcohol; or
      or intended from the standpoint of the insured.              (3) Any statute, ordinance or regulation relating
      This exclusion does not apply to "bodily injury"                 to the sale, gift, distribution or use of alco-
      resulting from the use of reasonable force to                    holic beverages.
      protect persons or property.                                  This exclusion applies only if you are in the
   b. Contractual Liability                                         business of manufacturing, distributing, selling,
      "Bodily injury" or "property damage" for which                serving or furnishing alcoholic beverages.
      the insured is obligated to pay damages by                d. Workers' Compensation And Similar Laws
      reason of the assumption of liability in a con-               Any obligation of the insured under a workers'
      tract or agreement. This exclusion does not                   compensation, disability benefits or unem-
      apply to liability for damages:                               ployment compensation law or any similar law.
     (1) That the insured would have in the absence             e. Employer's Liability
         of the contract or agreement; or
                                                                    "Bodily injury" to:
     (2) Assumed in a contract or agreement that is
         an "insured contract", provided the "bodily               (1) An "employee" of the insured arising out of
         injury" or "property damage" occurs subse-                    and in the course of:
         quent to the execution of the contract or                    (a) Employment by the insured; or
         agreement. Solely for the purposes of liabil-
                                                                      (b) Performing duties related to the conduct
         ity assumed in an "insured contract", rea-
                                                                          of the insured's business; or
         sonable attorney fees and necessary litiga-
         tion expenses incurred by or for a party                  (2) The spouse, child, parent, brother or sister
         other than an insured are deemed to be                        of that "employee" as a consequence of
         damages because of "bodily injury" or                         Paragraph (1) above.
         "property damage", provided:                               This exclusion applies whether the insured
         (a) Liability to such party for, or for the cost           may be liable as an employer or in any other
             of, that party's defense has also been                 capacity and to any obligation to share dam-
             assumed in the same "insured contract";                ages with or repay someone else who must
             and                                                    pay damages because of the injury.
         (b) Such attorney fees and litigation ex-                  This exclusion does not apply to liability as-
             penses are for defense of that party                   sumed by the insured under an "insured con-
             against a civil or alternative dispute reso-           tract".
             lution proceeding in which damages to
             which this insurance applies are alleged.




Page 2 of 16




                                             © ISO Properties, Inc., 2006                           CG 00 01 12 07
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 171 of 217


   f. Pollution                                                    (d) At or from any premises, site or location
     (1) "Bodily injury" or "property damage" arising                  on which any insured or any contractors
         out of the actual, alleged or threatened dis-                 or subcontractors working directly or in-
         charge, dispersal, seepage, migration, re-                    directly on any insured's behalf are per-
         lease or escape of "pollutants":                              forming operations if the "pollutants" are
                                                                       brought on or to the premises, site or lo-
        (a) At or from any premises, site or location                  cation in connection with such opera-
            which is or was at any time owned or                       tions by such insured, contractor or sub-
            occupied by, or rented or loaned to, any                   contractor. However, this subparagraph
            insured. However, this subparagraph                        does not apply to:
            does not apply to:
                                                                          (i) "Bodily injury" or "property damage"
            (i) "Bodily injury" if sustained within a                         arising out of the escape of fuels, lu-
                building and caused by smoke,                                 bricants or other operating fluids
                fumes, vapor or soot produced by or                           which are needed to perform the
                originating from equipment that is                            normal electrical, hydraulic or me-
                used to heat, cool or dehumidify the                          chanical functions necessary for the
                building, or equipment that is used to                        operation of "mobile equipment" or
                heat water for personal use, by the                           its parts, if such fuels, lubricants or
                building's occupants or their guests;                         other operating fluids escape from a
           (ii) "Bodily injury" or "property damage"                          vehicle part designed to hold, store
                for which you may be held liable, if                          or receive them. This exception does
                you are a contractor and the owner                            not apply if the "bodily injury" or
                or lessee of such premises, site or                           "property damage" arises out of the
                location has been added to your pol-                          intentional discharge, dispersal or re-
                icy as an additional insured with re-                         lease of the fuels, lubricants or other
                spect to your ongoing operations                              operating fluids, or if such fuels, lu-
                performed for that additional insured                         bricants or other operating fluids are
                at that premises, site or location and                        brought on or to the premises, site or
                such premises, site or location is not                        location with the intent that they be
                and never was owned or occupied                               discharged, dispersed or released as
                by, or rented or loaned to, any in-                           part of the operations being per-
                sured, other than that additional in-                         formed by such insured, contractor
                sured; or                                                     or subcontractor;
           (iii) "Bodily injury" or "property damage"                    (ii) "Bodily injury" or "property damage"
                 arising out of heat, smoke or fumes                          sustained within a building and
                 from a "hostile fire";                                       caused by the release of gases,
                                                                              fumes or vapors from materials
        (b) At or from any premises, site or location
                                                                              brought into that building in connec-
            which is or was at any time used by or
                                                                              tion with operations being performed
            for any insured or others for the han-
            dling, storage, disposal, processing or                           by you or on your behalf by a con-
                                                                              tractor or subcontractor; or
            treatment of waste;
                                                                         (iii) "Bodily injury" or "property damage"
        (c) Which are or were at any time trans-
                                                                               arising out of heat, smoke or fumes
            ported, handled, stored, treated, dis-
            posed of, or processed as waste by or                              from a "hostile fire".
            for:                                                   (e) At or from any premises, site or location
                                                                       on which any insured or any contractors
            (i) Any insured; or
                                                                       or subcontractors working directly or in-
           (ii) Any person or organization for whom                    directly on any insured's behalf are per-
                you may be legally responsible; or                     forming operations if the operations are
                                                                       to test for, monitor, clean up, remove,
                                                                       contain, treat, detoxify or neutralize, or
                                                                       in any way respond to, or assess the ef-
                                                                       fects of, "pollutants".




                                                                                                       Page 3 of 16




CG 00 01 12 07                            © ISO Properties, Inc., 2006
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 172 of 217


     (2) Any loss, cost or expense arising out of                 (5) "Bodily injury" or "property damage" arising
         any:                                                         out of:
        (a) Request, demand, order or statutory or                   (a) The operation of machinery or equip-
            regulatory requirement that any insured                      ment that is attached to, or part of, a
            or others test for, monitor, clean up, re-                   land vehicle that would qualify under the
            move, contain, treat, detoxify or neutral-                   definition of "mobile equipment" if it were
            ize, or in any way respond to, or assess                     not subject to a compulsory or financial
            the effects of, "pollutants"; or                             responsibility law or other motor vehicle
        (b) Claim or "suit" by or on behalf of a gov-                    insurance law in the state where it is li-
            ernmental authority for damages be-                          censed or principally garaged; or
            cause of testing for, monitoring, cleaning               (b) the operation of any of the machinery or
            up, removing, containing, treating, de-                      equipment listed in Paragraph f.(2) or
            toxifying or neutralizing, or in any way                     f.(3) of the definition of "mobile equip-
            responding to, or assessing the effects                      ment".
            of, "pollutants".                                  h. Mobile Equipment
         However, this paragraph does not apply to                 "Bodily injury" or "property damage" arising out
         liability for damages because of "property                of:
         damage" that the insured would have in the
         absence of such request, demand, order or                (1) The transportation of "mobile equipment" by
         statutory or regulatory requirement, or such                 an "auto" owned or operated by or rented or
         claim or "suit" by or on behalf of a govern-                 loaned to any insured; or
         mental authority.                                        (2) The use of "mobile equipment" in, or while
   g. Aircraft, Auto Or Watercraft                                    in practice for, or while being prepared for,
                                                                      any prearranged racing, speed, demolition,
      "Bodily injury" or "property damage" arising out                or stunting activity.
      of the ownership, maintenance, use or en-
      trustment to others of any aircraft, "auto" or wa-        i. War
      tercraft owned or operated by or rented or                   "Bodily injury" or "property damage", however
      loaned to any insured. Use includes operation                caused, arising, directly or indirectly, out of:
      and "loading or unloading".
                                                                  (1) War, including undeclared or civil war;
      This exclusion applies even if the claims
                                                                  (2) Warlike action by a military force, including
      against any insured allege negligence or other
                                                                      action in hindering or defending against an
      wrongdoing in the supervision, hiring, employ-                  actual or expected attack, by any govern-
      ment, training or monitoring of others by that
                                                                      ment, sovereign or other authority using
      insured, if the "occurrence" which caused the
                                                                      military personnel or other agents; or
      "bodily injury" or "property damage" involved
      the ownership, maintenance, use or entrust-                 (3) Insurrection, rebellion, revolution, usurped
      ment to others of any aircraft, "auto" or water-                power, or action taken by governmental au-
      craft that is owned or operated by or rented or                 thority in hindering or defending against any
      loaned to any insured.                                          of these.
      This exclusion does not apply to:                         j. Damage To Property
     (1) A watercraft while ashore on premises you                 "Property damage" to:
         own or rent;                                             (1) Property you own, rent, or occupy, including
     (2) A watercraft you do not own that is:                         any costs or expenses incurred by you, or
                                                                      any other person, organization or entity, for
        (a) Less than 26 feet long; and                               repair, replacement, enhancement, restora-
        (b) Not being used to carry persons or                        tion or maintenance of such property for
            property for a charge;                                    any reason, including prevention of injury to
     (3) Parking an "auto" on, or on the ways next                    a person or damage to another's property;
         to, premises you own or rent, provided the               (2) Premises you sell, give away or abandon, if
         "auto" is not owned by or rented or loaned                   the "property damage" arises out of any
         to you or the insured;                                       part of those premises;
     (4) Liability assumed under any "insured con-                (3) Property loaned to you;
         tract" for the ownership, maintenance or
                                                                  (4) Personal property in the care, custody or
         use of aircraft or watercraft; or
                                                                      control of the insured;
Page 4 of 16




                                            © ISO Properties, Inc., 2006                           CG 00 01 12 07
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 173 of 217


     (5) That particular part of real property on                 This exclusion does not apply to the loss of use
         which you or any contractors or subcon-                  of other property arising out of sudden and ac-
         tractors working directly or indirectly on               cidental physical injury to "your product" or
         your behalf are performing operations, if the            "your work" after it has been put to its intended
         "property damage" arises out of those op-                use.
         erations; or                                         n. Recall Of Products, Work Or Impaired
     (6) That particular part of any property that               Property
         must be restored, repaired or replaced be-               Damages claimed for any loss, cost or ex-
         cause "your work" was incorrectly per-                   pense incurred by you or others for the loss of
         formed on it.                                            use, withdrawal, recall, inspection, repair, re-
     Paragraphs (1), (3) and (4) of this exclusion do             placement, adjustment, removal or disposal of:
     not apply to "property damage" (other than                  (1) "Your product";
     damage by fire) to premises, including the con-
     tents of such premises, rented to you for a pe-             (2) "Your work"; or
     riod of 7 or fewer consecutive days. A separate             (3) "Impaired property";
     limit of insurance applies to Damage To Prem-
                                                                  if such product, work, or property is withdrawn
     ises Rented To You as described in Section III
                                                                  or recalled from the market or from use by any
     – Limits Of Insurance.
                                                                  person or organization because of a known or
     Paragraph (2) of this exclusion does not apply               suspected defect, deficiency, inadequacy or
     if the premises are "your work" and were never               dangerous condition in it.
     occupied, rented or held for rental by you.
                                                              o. Personal And Advertising Injury
     Paragraphs (3), (4), (5) and (6) of this exclu-
                                                                  "Bodily injury" arising out of "personal and ad-
     sion do not apply to liability assumed under a
                                                                  vertising injury".
     sidetrack agreement.
                                                              p. Electronic Data
     Paragraph (6) of this exclusion does not apply
     to "property damage" included in the "products-              Damages arising out of the loss of, loss of use
     completed operations hazard".                                of, damage to, corruption of, inability to access,
                                                                  or inability to manipulate electronic data.
   k. Damage To Your Product
                                                                  As used in this exclusion, electronic data
     "Property damage" to "your product" arising out              means information, facts or programs stored as
     of it or any part of it.                                     or on, created or used on, or transmitted to or
   l. Damage To Your Work                                         from computer software, including systems and
     "Property damage" to "your work" arising out of              applications software, hard or floppy disks, CD-
     it or any part of it and included in the "products-          ROMS, tapes, drives, cells, data processing
     completed operations hazard".                                devices or any other media which are used
                                                                  with electronically controlled equipment.
     This exclusion does not apply if the damaged
     work or the work out of which the damage                 q. Distribution Of Material In Violation Of
     arises was performed on your behalf by a sub-               Statutes
     contractor.                                                  "Bodily injury" or "property damage" arising di-
  m. Damage To Impaired Property Or Property                      rectly or indirectly out of any action or omission
     Not Physically Injured                                       that violates or is alleged to violate:
     "Property damage" to "impaired property" or                 (1) The Telephone Consumer Protection Act
     property that has not been physically injured,                  (TCPA), including any amendment of or
     arising out of:                                                 addition to such law; or
     (1) A defect, deficiency, inadequacy or danger-             (2) The CAN-SPAM Act of 2003, including any
         ous condition in "your product" or "your                    amendment of or addition to such law; or
         work"; or                                               (3) Any statute, ordinance or regulation, other
     (2) A delay or failure by you or anyone acting                  than the TCPA or CAN-SPAM Act of 2003,
         on your behalf to perform a contract or                     that prohibits or limits the sending, transmit-
         agreement in accordance with its terms.                     ting, communicating or distribution of mate-
                                                                     rial or information.




                                                                                                      Page 5 of 16



CG 00 01 12 07                             © ISO Properties, Inc., 2006
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 174 of 217


  Exclusions c. through n. do not apply to damage             c. Material Published Prior To Policy Period
  by fire to premises while rented to you or tempo-               "Personal and advertising injury" arising out of
  rarily occupied by you with permission of the                   oral or written publication of material whose
  owner. A separate limit of insurance applies to this            first publication took place before the beginning
  coverage as described in Section III – Limits Of                of the policy period.
  Insurance.
                                                              d. Criminal Acts
COVERAGE B PERSONAL AND ADVERTISING
INJURY LIABILITY                                                  "Personal and advertising injury" arising out of
                                                                  a criminal act committed by or at the direction
1. Insuring Agreement                                             of the insured.
  a. We will pay those sums that the insured be-              e. Contractual Liability
     comes legally obligated to pay as damages
     because of "personal and advertising injury" to              "Personal and advertising injury" for which the
     which this insurance applies. We will have the               insured has assumed liability in a contract or
     right and duty to defend the insured against                 agreement. This exclusion does not apply to li-
     any "suit" seeking those damages. However,                   ability for damages that the insured would have
     we will have no duty to defend the insured                   in the absence of the contract or agreement.
     against any "suit" seeking damages for "per-              f. Breach Of Contract
     sonal and advertising injury" to which this in-
                                                                  "Personal and advertising injury" arising out of
     surance does not apply. We may, at our discre-
                                                                  a breach of contract, except an implied con-
     tion, investigate any offense and settle any                 tract to use another's advertising idea in your
     claim or "suit" that may result. But:
                                                                  "advertisement".
     (1) The amount we will pay for damages is
                                                              g. Quality Or Performance Of Goods – Failure
         limited as described in Section III – Limits
                                                                 To Conform To Statements
         Of Insurance; and
                                                                  "Personal and advertising injury" arising out of
     (2) Our right and duty to defend end when we                 the failure of goods, products or services to
         have used up the applicable limit of insur-
                                                                  conform with any statement of quality or per-
         ance in the payment of judgments or set-
                                                                  formance made in your "advertisement".
         tlements under Coverages A or B or medi-
         cal expenses under Coverage C.                       h. Wrong Description Of Prices
     No other obligation or liability to pay sums or              "Personal and advertising injury" arising out of
     perform acts or services is covered unless ex-               the wrong description of the price of goods,
     plicitly provided for under Supplementary Pay-               products or services stated in your "advertise-
     ments – Coverages A and B.                                   ment".
  b. This insurance applies to "personal and adver-            i. Infringement Of Copyright, Patent,
     tising injury" caused by an offense arising out              Trademark Or Trade Secret
     of your business but only if the offense was                 "Personal and advertising injury" arising out of
     committed in the "coverage territory" during the             the infringement of copyright, patent, trade-
     policy period.                                               mark, trade secret or other intellectual property
2. Exclusions                                                     rights. Under this exclusion, such other intellec-
                                                                  tual property rights do not include the use of
  This insurance does not apply to:                               another's advertising idea in your "advertise-
  a. Knowing Violation Of Rights Of Another                       ment".
     "Personal and advertising injury" caused by or               However, this exclusion does not apply to in-
     at the direction of the insured with the knowl-              fringement, in your "advertisement", of copy-
     edge that the act would violate the rights of an-            right, trade dress or slogan.
     other and would inflict "personal and advertis-
                                                               j. Insureds In Media And Internet Type
     ing injury".                                                 Businesses
  b. Material Published With Knowledge Of                         "Personal and advertising injury" committed by
     Falsity
                                                                  an insured whose business is:
     "Personal and advertising injury" arising out of
                                                                 (1) Advertising, broadcasting, publishing or
     oral or written publication of material, if done by
                                                                     telecasting;
     or at the direction of the insured with knowl-
     edge of its falsity.                                        (2) Designing or determining content of web-
                                                                     sites for others; or

     Page 6 of 16




                                           © ISO Properties, Inc., 2006                           CG 00 01 12 07
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 175 of 217


     (3) An Internet search, access, content or                  (3) Insurrection, rebellion, revolution, usurped
         service provider.                                           power, or action taken by governmental
      However, this exclusion does not apply to                      authority in hindering or defending against
      Paragraphs 14.a., b. and c. of "personal and                   any of these.
      advertising injury" under the Definitions Sec-          p. Distribution Of Material In Violation Of
      tion.                                                      Statutes
      For the purposes of this exclusion, the placing             "Personal and advertising injury" arising di-
      of frames, borders or links, or advertising, for            rectly or indirectly out of any action or omission
      you or others anywhere on the Internet, is not              that violates or is alleged to violate:
      by itself, considered the business of advertis-            (1) The Telephone Consumer Protection Act
      ing, broadcasting, publishing or telecasting.                  (TCPA), including any amendment of or
   k. Electronic Chatrooms Or Bulletin Boards                        addition to such law; or
      "Personal and advertising injury" arising out of           (2) The CAN-SPAM Act of 2003, including any
      an electronic chatroom or bulletin board the in-               amendment of or addition to such law; or
      sured hosts, owns, or over which the insured               (3) Any statute, ordinance or regulation, other
      exercises control.                                             than the TCPA or CAN-SPAM Act of 2003,
   l. Unauthorized Use Of Another's Name Or                          that prohibits or limits the sending, transmit-
      Product                                                        ting, communicating or distribution of mate-
      "Personal and advertising injury" arising out of               rial or information.
      the unauthorized use of another's name or            COVERAGE C MEDICAL PAYMENTS
      product in your e-mail address, domain name          1. Insuring Agreement
      or metatag, or any other similar tactics to mis-
      lead another's potential customers.                     a. We will pay medical expenses as described
                                                                 below for "bodily injury" caused by an accident:
  m. Pollution
                                                                 (1) On premises you own or rent;
      "Personal and advertising injury" arising out of
      the actual, alleged or threatened discharge,               (2) On ways next to premises you own or rent;
      dispersal, seepage, migration, release or es-                  or
      cape of "pollutants" at any time.                          (3) Because of your operations;
   n. Pollution-Related                                           provided that:
      Any loss, cost or expense arising out of any:                 (a) The accident takes place in the "cover-
     (1) Request, demand, order or statutory or                         age territory" and during the policy pe-
         regulatory requirement that any insured or                     riod;
         others test for, monitor, clean up, remove,                (b) The expenses are incurred and reported
         contain, treat, detoxify or neutralize, or in                  to us within one year of the date of the
         any way respond to, or assess the effects                      accident; and
         of, "pollutants"; or
                                                                    (c) The injured person submits to examina-
     (2) Claim or suit by or on behalf of a govern-                     tion, at our expense, by physicians of
         mental authority for damages because of                        our choice as often as we reasonably
         testing for, monitoring, cleaning up, remov-                   require.
         ing, containing, treating, detoxifying or neu-
                                                              b. We will make these payments regardless of
         tralizing, or in any way responding to, or              fault. These payments will not exceed the ap-
         assessing the effects of, "pollutants".
                                                                 plicable limit of insurance. We will pay reason-
   o. War                                                        able expenses for:
      "Personal and advertising injury", however                 (1) First aid administered at the time of an
      caused, arising, directly or indirectly, out of:               accident;
     (1) War, including undeclared or civil war;                 (2) Necessary medical, surgical, x-ray and
     (2) Warlike action by a military force, including               dental services, including prosthetic de-
         action in hindering or defending against an                 vices; and
         actual or expected attack, by any govern-               (3) Necessary ambulance, hospital, profes-
         ment, sovereign or other authority using                    sional nursing and funeral services.
         military personnel or other agents; or


                                                                                                      Page 7 of 16




CG 00 01 12 07                             © ISO Properties, Inc., 2006
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 176 of 217


2. Exclusions                                                  f. Prejudgment interest awarded against the
   We will not pay expenses for "bodily injury":                  insured on that part of the judgment we pay. If
                                                                  we make an offer to pay the applicable limit of
   a. Any Insured                                                 insurance, we will not pay any prejudgment
      To any insured, except "volunteer workers".                 interest based on that period of time after the
                                                                  offer.
   b. Hired Person
                                                              g. All interest on the full amount of any judgment
      To a person hired to do work for or on behalf of
                                                                 that accrues after entry of the judgment and
      any insured or a tenant of any insured.
                                                                 before we have paid, offered to pay, or depos-
   c. Injury On Normally Occupied Premises                       ited in court the part of the judgment that is
      To a person injured on that part of premises               within the applicable limit of insurance.
      you own or rent that the person normally occu-          These payments will not reduce the limits of insur-
      pies.                                                   ance.
   d. Workers Compensation And Similar Laws                2. If we defend an insured against a "suit" and an
      To a person, whether or not an "employee" of            indemnitee of the insured is also named as a party
      any insured, if benefits for the "bodily injury"        to the "suit", we will defend that indemnitee if all of
      are payable or must be provided under a work-           the following conditions are met:
      ers' compensation or disability benefits law or a       a. The "suit" against the indemnitee seeks dam-
      similar law.                                               ages for which the insured has assumed the li-
   e. Athletics Activities                                       ability of the indemnitee in a contract or agree-
                                                                 ment that is an "insured contract";
      To a person injured while practicing, instructing
      or participating in any physical exercises or           b. This insurance applies to such liability as-
      games, sports, or athletic contests.                       sumed by the insured;
   f. Products-Completed Operations Hazard                    c. The obligation to defend, or the cost of the
                                                                 defense of, that indemnitee, has also been as-
      Included within the "products-completed opera-             sumed by the insured in the same "insured
      tions hazard".                                             contract";
   g. Coverage A Exclusions                                   d. The allegations in the "suit" and the information
      Excluded under Coverage A.                                 we know about the "occurrence" are such that
SUPPLEMENTARY PAYMENTS – COVERAGES A                             no conflict appears to exist between the inter-
AND B                                                            ests of the insured and the interests of the in-
                                                                 demnitee;
1. We will pay, with respect to any claim we investi-
   gate or settle, or any "suit" against an insured we        e. The indemnitee and the insured ask us to
   defend:                                                       conduct and control the defense of that indem-
                                                                 nitee against such "suit" and agree that we can
   a. All expenses we incur.                                     assign the same counsel to defend the insured
   b. Up to $250 for cost of bail bonds required                 and the indemnitee; and
      because of accidents or traffic law violations           f. The indemnitee:
      arising out of the use of any vehicle to which
      the Bodily Injury Liability Coverage applies. We           (1) Agrees in writing to:
      do not have to furnish these bonds.                           (a) Cooperate with us in the investigation,
   c. The cost of bonds to release attachments, but                     settlement or defense of the "suit";
      only for bond amounts within the applicable                   (b) Immediately send us copies of any de-
      limit of insurance. We do not have to furnish                     mands, notices, summonses or legal
      these bonds.                                                      papers received in connection with the
   d. All reasonable expenses incurred by the in-                       "suit";
      sured at our request to assist us in the investi-             (c) Notify any other insurer whose coverage
      gation or defense of the claim or "suit", includ-                 is available to the indemnitee; and
      ing actual loss of earnings up to $250 a day
                                                                    (d) Cooperate with us with respect to coor-
      because of time off from work.
                                                                        dinating other applicable insurance
   e. All court costs taxed against the insured in the                  available to the indemnitee; and
      "suit". However, these payments do not include
                                                                 (2) Provides us with written authorization to:
      attorneys' fees or attorneys' expenses taxed
      against the insured.                                          (a) Obtain records and other information
                                                                        related to the "suit"; and
Page 8 of 16




                                           © ISO Properties, Inc., 2006                            CG 00 01 12 07
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 177 of 217


         (b) Conduct and control the defense of the        2. Each of the following is also an insured:
             indemnitee in such "suit".                       a. Your "volunteer workers" only while performing
   So long as the above conditions are met, attor-               duties related to the conduct of your business,
   neys' fees incurred by us in the defense of that in-          or your "employees", other than either your
   demnitee, necessary litigation expenses incurred              "executive officers" (if you are an organization
   by us and necessary litigation expenses incurred              other than a partnership, joint venture or limited
   by the indemnitee at our request will be paid as              liability company) or your managers (if you are
   Supplementary Payments. Notwithstanding the                   a limited liability company), but only for acts
   provisions of Paragraph 2.b.(2) of Section I – Cov-           within the scope of their employment by you or
   erage A – Bodily Injury And Property Damage Li-               while performing duties related to the conduct
   ability, such payments will not be deemed to be               of your business. However, none of these "em-
   damages for "bodily injury" and "property damage"             ployees" or "volunteer workers" are insureds
   and will not reduce the limits of insurance.                  for:
   Our obligation to defend an insured's indemnitee              (1) "Bodily injury" or "personal and advertising
   and to pay for attorneys' fees and necessary litiga-              injury":
   tion expenses as Supplementary Payments ends                     (a) To you, to your partners or members (if
   when we have used up the applicable limit of in-                     you are a partnership or joint venture),
   surance in the payment of judgments or settle-                       to your members (if you are a limited li-
   ments or the conditions set forth above, or the                      ability company), to a co-"employee"
   terms of the agreement described in Paragraph f.                     while in the course of his or her em-
   above, are no longer met.                                            ployment or performing duties related to
SECTION II – WHO IS AN INSURED                                          the conduct of your business, or to your
1. If you are designated in the Declarations as:                        other "volunteer workers" while perform-
                                                                        ing duties related to the conduct of your
   a. An individual, you and your spouse are insur-                     business;
      eds, but only with respect to the conduct of a
      business of which you are the sole owner.                     (b) To the spouse, child, parent, brother or
                                                                        sister of that co-"employee" or "volun-
   b. A partnership or joint venture, you are an in-                    teer worker" as a consequence of Para-
      sured. Your members, your partners, and their                     graph (1)(a) above;
      spouses are also insureds, but only with re-
      spect to the conduct of your business.                        (c) For which there is any obligation to
                                                                        share damages with or repay someone
   c. A limited liability company, you are an insured.                  else who must pay damages because of
      Your members are also insureds, but only with                     the injury described in Paragraphs (1)(a)
      respect to the conduct of your business. Your                     or (b) above; or
      managers are insureds, but only with respect
      to their duties as your managers.                             (d) Arising out of his or her providing or
                                                                        failing to provide professional health
   d. An organization other than a partnership, joint                   care services.
      venture or limited liability company, you are an
      insured. Your "executive officers" and directors           (2) "Property damage" to property:
      are insureds, but only with respect to their du-              (a) Owned, occupied or used by,
      ties as your officers or directors. Your stock-               (b) Rented to, in the care, custody or con-
      holders are also insureds, but only with respect                  trol of, or over which physical control is
      to their liability as stockholders.                               being exercised for any purpose by
   e. A trust, you are an insured. Your trustees are                 you, any of your "employees", "volunteer
      also insureds, but only with respect to their du-              workers", any partner or member (if you are
      ties as trustees.                                              a partnership or joint venture), or any mem-
                                                                     ber (if you are a limited liability company).




                                                                                                     Page 9 of 16




CG 00 01 12 07                             © ISO Properties, Inc., 2006
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 178 of 217


   b. Any person (other than your "employee" or              3. The Products-Completed Operations Aggregate
      "volunteer worker"), or any organization while            Limit is the most we will pay under Coverage A for
      acting as your real estate manager.                       damages because of "bodily injury" and "property
   c. Any person or organization having proper                  damage" included in the "products-completed op-
      temporary custody of your property if you die,            erations hazard".
      but only:                                              4. Subject to Paragraph 2. above, the Personal and
      (1) With respect to liability arising out of the          Advertising Injury Limit is the most we will pay un-
          maintenance or use of that property; and              der Coverage B for the sum of all damages be-
                                                                cause of all "personal and advertising injury" sus-
      (2) Until your legal representative has been              tained by any one person or organization.
          appointed.
                                                             5. Subject to Paragraph 2. or 3. above, whichever ap-
   d. Your legal representative if you die, but only            plies, the Each Occurrence Limit is the most we
      with respect to duties as such. That represen-            will pay for the sum of:
      tative will have all your rights and duties under
      this Coverage Part.                                       a. Damages under Coverage A; and
3. Any organization you newly acquire or form, other            b. Medical expenses under Coverage C
   than a partnership, joint venture or limited liability       because of all "bodily injury" and "property dam-
   company, and over which you maintain ownership               age" arising out of any one "occurrence".
   or majority interest, will qualify as a Named In-         6. Subject to Paragraph 5. above, the Damage To
   sured if there is no other similar insurance avail-          Premises Rented To You Limit is the most we will
   able to that organization. However:                          pay under Coverage A for damages because of
   a. Coverage under this provision is afforded only            "property damage" to any one premises, while
      until the 90th day after you acquire or form the          rented to you, or in the case of damage by fire,
      organization or the end of the policy period,             while rented to you or temporarily occupied by you
      whichever is earlier;                                     with permission of the owner.
   b. Coverage A does not apply to "bodily injury" or        7. Subject to Paragraph 5. above, the Medical Ex-
      "property damage" that occurred before you                pense Limit is the most we will pay under Cover-
      acquired or formed the organization; and                  age C for all medical expenses because of "bodily
   c. Coverage B does not apply to "personal and                injury" sustained by any one person.
      advertising injury" arising out of an offense          The Limits of Insurance of this Coverage Part apply
      committed before you acquired or formed the            separately to each consecutive annual period and to
      organization.                                          any remaining period of less than 12 months, starting
No person or organization is an insured with respect         with the beginning of the policy period shown in the
to the conduct of any current or past partnership, joint     Declarations, unless the policy period is extended
venture or limited liability company that is not shown       after issuance for an additional period of less than 12
as a Named Insured in the Declarations.                      months. In that case, the additional period will be
                                                             deemed part of the last preceding period for purposes
SECTION III – LIMITS OF INSURANCE                            of determining the Limits of Insurance.
1. The Limits of Insurance shown in the Declarations         SECTION IV – COMMERCIAL GENERAL LIABILITY
   and the rules below fix the most we will pay re-          CONDITIONS
   gardless of the number of:
                                                             1. Bankruptcy
   a. Insureds;
                                                                Bankruptcy or insolvency of the insured or of the
   b. Claims made or "suits" brought; or                        insured's estate will not relieve us of our obliga-
   c. Persons or organizations making claims or                 tions under this Coverage Part.
      bringing "suits".                                      2. Duties In The Event Of Occurrence, Offense,
2. The General Aggregate Limit is the most we will              Claim Or Suit
   pay for the sum of:                                          a. You must see to it that we are notified as soon
   a. Medical expenses under Coverage C;                           as practicable of an "occurrence" or an offense
                                                                   which may result in a claim. To the extent pos-
   b. Damages under Coverage A, except damages
                                                                   sible, notice should include:
      because of "bodily injury" or "property damage"
      included in the "products-completed operations               (1) How, when and where the "occurrence" or
      hazard"; and                                                     offense took place;
   c. Damages under Coverage B.                                    (2) The names and addresses of any injured
                                                                       persons and witnesses; and

Page 10 of 16



                                             © ISO Properties, Inc., 2006                          CG 00 01 12 07
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 179 of 217


     (3) The nature and location of any injury or            4. Other Insurance
         damage arising out of the "occurrence" or              If other valid and collectible insurance is available
         offense.                                               to the insured for a loss we cover under Cover-
   b. If a claim is made or "suit" is brought against           ages A or B of this Coverage Part, our obligations
      any insured, you must:                                    are limited as follows:
     (1) Immediately record the specifics of the                a. Primary Insurance
         claim or "suit" and the date received; and                 This insurance is primary except when Para-
     (2) Notify us as soon as practicable.                          graph b. below applies. If this insurance is pri-
      You must see to it that we receive written no-                mary, our obligations are not affected unless
      tice of the claim or "suit" as soon as practica-              any of the other insurance is also primary.
      ble.                                                          Then, we will share with all that other insur-
                                                                    ance by the method described in Paragraph c.
   c. You and any other involved insured must:                      below.
     (1) Immediately send us copies of any de-                  b. Excess Insurance
         mands, notices, summonses or legal pa-
         pers received in connection with the claim                (1) This insurance is excess over:
         or "suit";                                                   (a) Any of the other insurance, whether
     (2) Authorize us to obtain records and other                         primary, excess, contingent or on any
         information;                                                     other basis:
     (3) Cooperate with us in the investigation or                           (i) That is Fire, Extended Coverage,
         settlement of the claim or defense against                              Builder's Risk, Installation Risk or
         the "suit"; and                                                         similar coverage for "your work";
     (4) Assist us, upon our request, in the en-                            (ii) That is Fire insurance for premises
         forcement of any right against any person                               rented to you or temporarily occu-
         or organization which may be liable to the                              pied by you with permission of the
         insured because of injury or damage to                                  owner;
         which this insurance may also apply.                               (iii) That is insurance purchased by you
   d. No insured will, except at that insured's own                               to cover your liability as a tenant for
      cost, voluntarily make a payment, assume any                                "property damage" to premises
      obligation, or incur any expense, other than for                            rented to you or temporarily occu-
      first aid, without our consent.                                             pied by you with permission of the
                                                                                  owner; or
3. Legal Action Against Us
                                                                            (iv) If the loss arises out of the mainte-
   No person or organization has a right under this                              nance or use of aircraft, "autos" or
   Coverage Part:                                                                watercraft to the extent not subject to
   a. To join us as a party or otherwise bring us into                           Exclusion g. of Section I – Coverage
      a "suit" asking for damages from an insured; or                            A – Bodily Injury And Property Dam-
                                                                                 age Liability.
   b. To sue us on this Coverage Part unless all of
      its terms have been fully complied with.                        (b) Any other primary insurance available to
                                                                          you covering liability for damages aris-
   A person or organization may sue us to recover on
   an agreed settlement or on a final judgment                            ing out of the premises or operations, or
                                                                          the products and completed operations,
   against an insured; but we will not be liable for
                                                                          for which you have been added as an
   damages that are not payable under the terms of
   this Coverage Part or that are in excess of the ap-                    additional insured by attachment of an
                                                                          endorsement.
   plicable limit of insurance. An agreed settlement
   means a settlement and release of liability signed              (2) When this insurance is excess, we will have
   by us, the insured and the claimant or the claim-                   no duty under Coverages A or B to defend
   ant's legal representative.                                         the insured against any "suit" if any other
                                                                       insurer has a duty to defend the insured
                                                                       against that "suit". If no other insurer de-
                                                                       fends, we will undertake to do so, but we
                                                                       will be entitled to the insured's rights
                                                                       against all those other insurers.


                                                                                                         Page 11 of 16




CG 00 01 12 07                               © ISO Properties, Inc., 2006
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 180 of 217


     (3) When this insurance is excess over other               b. Those statements are based upon representa-
         insurance, we will pay only our share of the              tions you made to us; and
         amount of the loss, if any, that exceeds the           c. We have issued this policy in reliance upon
         sum of:                                                   your representations.
         (a) The total amount that all such other            7. Separation Of Insureds
             insurance would pay for the loss in the
             absence of this insurance; and                     Except with respect to the Limits of Insurance, and
                                                                any rights or duties specifically assigned in this
        (b) The total of all deductible and self-               Coverage Part to the first Named Insured, this in-
            insured amounts under all that other in-            surance applies:
            surance.
                                                                a. As if each Named Insured were the only
     (4) We will share the remaining loss, if any,                 Named Insured; and
         with any other insurance that is not de-
         scribed in this Excess Insurance provision             b. Separately to each insured against whom claim
         and was not bought specifically to apply in               is made or "suit" is brought.
         excess of the Limits of Insurance shown in          8. Transfer Of Rights Of Recovery Against Others
         the Declarations of this Coverage Part.                To Us
   c. Method Of Sharing                                         If the insured has rights to recover all or part of
      If all of the other insurance permits contribution        any payment we have made under this Coverage
      by equal shares, we will follow this method               Part, those rights are transferred to us. The in-
      also. Under this approach each insurer con-               sured must do nothing after loss to impair them. At
      tributes equal amounts until it has paid its ap-          our request, the insured will bring "suit" or transfer
      plicable limit of insurance or none of the loss           those rights to us and help us enforce them.
      remains, whichever comes first.                        9. When We Do Not Renew
      If any of the other insurance does not permit             If we decide not to renew this Coverage Part, we
      contribution by equal shares, we will contribute          will mail or deliver to the first Named Insured
      by limits. Under this method, each insurer's              shown in the Declarations written notice of the
      share is based on the ratio of its applicable             nonrenewal not less than 30 days before the expi-
      limit of insurance to the total applicable limits of      ration date.
      insurance of all insurers.
                                                                If notice is mailed, proof of mailing will be sufficient
5. Premium Audit                                                proof of notice.
   a. We will compute all premiums for this Cover-           SECTION V – DEFINITIONS
      age Part in accordance with our rules and
                                                             1. "Advertisement" means a notice that is broadcast
      rates.
                                                                or published to the general public or specific mar-
   b. Premium shown in this Coverage Part as ad-                ket segments about your goods, products or ser-
      vance premium is a deposit premium only. At               vices for the purpose of attracting customers or
      the close of each audit period we will compute            supporters. For the purposes of this definition:
      the earned premium for that period and send
                                                                a. Notices that are published include material
      notice to the first Named Insured. The due date              placed on the Internet or on similar electronic
      for audit and retrospective premiums is the
                                                                   means of communication; and
      date shown as the due date on the bill. If the
      sum of the advance and audit premiums paid                b. Regarding web-sites, only that part of a web-
      for the policy period is greater than the earned             site that is about your goods, products or ser-
      premium, we will return the excess to the first              vices for the purposes of attracting customers
      Named Insured.                                               or supporters is considered an advertisement.
   c. The first Named Insured must keep records of           2. "Auto" means:
      the information we need for premium computa-              a. A land motor vehicle, trailer or semitrailer de-
      tion, and send us copies at such times as we                 signed for travel on public roads, including any
      may request.                                                 attached machinery or equipment; or
6. Representations                                              b. Any other land vehicle that is subject to a com-
   By accepting this policy, you agree:                            pulsory or financial responsibility law or other
                                                                   motor vehicle insurance law in the state where
   a. The statements in the Declarations are accu-                 it is licensed or principally garaged.
      rate and complete;
                                                                However, "auto" does not include "mobile equip-
                                                                ment".
Page 12 of 16




                                             © ISO Properties, Inc., 2006                             CG 00 01 12 07
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 181 of 217


3. "Bodily injury" means bodily injury, sickness or         9. "Insured contract" means:
   disease sustained by a person, including death re-          a. A contract for a lease of premises. However,
   sulting from any of these at any time.                         that portion of the contract for a lease of prem-
4. "Coverage territory" means:                                    ises that indemnifies any person or organiza-
   a. The United States of America (including its                 tion for damage by fire to premises while
      territories and possessions), Puerto Rico and               rented to you or temporarily occupied by you
      Canada;                                                     with permission of the owner is not an "insured
                                                                  contract";
   b. International waters or airspace, but only if the
      injury or damage occurs in the course of travel          b. A sidetrack agreement;
      or transportation between any places included            c. Any easement or license agreement, except in
      in Paragraph a. above; or                                   connection with construction or demolition op-
   c. All other parts of the world if the injury or dam-          erations on or within 50 feet of a railroad;
      age arises out of:                                       d. An obligation, as required by ordinance, to
     (1) Goods or products made or sold by you in                 indemnify a municipality, except in connection
         the territory described in Paragraph a.                  with work for a municipality;
         above;                                                e. An elevator maintenance agreement;
     (2) The activities of a person whose home is in            f. That part of any other contract or agreement
         the territory described in Paragraph a.                   pertaining to your business (including an in-
         above, but is away for a short time on your               demnification of a municipality in connection
         business; or                                              with work performed for a municipality) under
     (3) "Personal and advertising injury" offenses                which you assume the tort liability of another
         that take place through the Internet or simi-             party to pay for "bodily injury" or "property dam-
         lar electronic means of communication                     age" to a third person or organization. Tort li-
                                                                   ability means a liability that would be imposed
   provided the insured's responsibility to pay dam-               by law in the absence of any contract or
   ages is determined in a "suit" on the merits, in the            agreement.
   territory described in Paragraph a. above or in a
   settlement we agree to.                                         Paragraph f. does not include that part of any
                                                                   contract or agreement:
5. "Employee" includes a "leased worker". "Em-
   ployee" does not include a "temporary worker".                 (1) That indemnifies a railroad for "bodily injury"
                                                                      or "property damage" arising out of con-
6. "Executive officer" means a person holding any of                  struction or demolition operations, within 50
   the officer positions created by your charter, con-                feet of any railroad property and affecting
   stitution, by-laws or any other similar governing                  any railroad bridge or trestle, tracks, road-
   document.                                                          beds, tunnel, underpass or crossing;
7. "Hostile fire" means one which becomes uncon-                  (2) That indemnifies an architect, engineer or
   trollable or breaks out from where it was intended                 surveyor for injury or damage arising out of:
   to be.
                                                                     (a) Preparing, approving, or failing to pre-
8. "Impaired property" means tangible property, other                    pare or approve, maps, shop drawings,
   than "your product" or "your work", that cannot be                    opinions, reports, surveys, field orders,
   used or is less useful because:                                       change orders or drawings and specifi-
   a. It incorporates "your product" or "your work"                      cations; or
      that is known or thought to be defective, defi-                (b) Giving directions or instructions, or fail-
      cient, inadequate or dangerous; or                                 ing to give them, if that is the primary
   b. You have failed to fulfill the terms of a contract                 cause of the injury or damage; or
      or agreement;                                               (3) Under which the insured, if an architect,
   if such property can be restored to use by the re-                 engineer or surveyor, assumes liability for
   pair, replacement, adjustment or removal of "your                  an injury or damage arising out of the in-
   product" or "your work" or your fulfilling the terms               sured's rendering or failure to render pro-
   of the contract or agreement.                                      fessional services, including those listed in
                                                                      (2) above and supervisory, inspection, ar-
                                                                      chitectural or engineering activities.



                                                                                                     Page 13 of 16




CG 00 01 12 07                              © ISO Properties, Inc., 2006
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 182 of 217


10. "Leased worker" means a person leased to you by                 However, self-propelled vehicles with the fol-
    a labor leasing firm under an agreement between                 lowing types of permanently attached equip-
    you and the labor leasing firm, to perform duties               ment are not "mobile equipment" but will be
    related to the conduct of your business. "Leased                considered "autos":
    worker" does not include a "temporary worker".                 (1) Equipment designed primarily for:
11. "Loading or unloading" means the handling of                      (a) Snow removal;
    property:
                                                                      (b) Road maintenance, but not construction
   a. After it is moved from the place where it is                        or resurfacing; or
      accepted for movement into or onto an aircraft,
      watercraft or "auto";                                           (c) Street cleaning;
   b. While it is in or on an aircraft, watercraft or              (2) Cherry pickers and similar devices mounted
      "auto"; or                                                       on automobile or truck chassis and used to
                                                                       raise or lower workers; and
   c. While it is being moved from an aircraft, water-
      craft or "auto" to the place where it is finally de-         (3) Air compressors, pumps and generators,
      livered;                                                         including spraying, welding, building clean-
                                                                       ing, geophysical exploration, lighting and
   but "loading or unloading" does not include the                     well servicing equipment.
   movement of property by means of a mechanical
   device, other than a hand truck, that is not at-             However, "mobile equipment" does not include
   tached to the aircraft, watercraft or "auto".                any land vehicles that are subject to a compulsory
                                                                or financial responsibility law or other motor vehi-
12. "Mobile equipment" means any of the following               cle insurance law in the state where it is licensed
    types of land vehicles, including any attached ma-          or principally garaged. Land vehicles subject to a
    chinery or equipment:                                       compulsory or financial responsibility law or other
   a. Bulldozers, farm machinery, forklifts and other           motor vehicle insurance law are considered
      vehicles designed for use principally off public          "autos".
      roads;                                                 13. "Occurrence" means an accident, including con-
   b. Vehicles maintained for use solely on or next to           tinuous or repeated exposure to substantially the
      premises you own or rent;                                  same general harmful conditions.
   c. Vehicles that travel on crawler treads;                14. "Personal and advertising injury" means injury,
   d. Vehicles, whether self-propelled or not, main-             including consequential "bodily injury", arising out
      tained primarily to provide mobility to perma-             of one or more of the following offenses:
      nently mounted:                                           a. False arrest, detention or imprisonment;
      (1) Power cranes, shovels, loaders, diggers or            b. Malicious prosecution;
          drills; or                                            c. The wrongful eviction from, wrongful entry into,
      (2) Road construction or resurfacing equipment               or invasion of the right of private occupancy of
          such as graders, scrapers or rollers;                    a room, dwelling or premises that a person oc-
   e. Vehicles not described in Paragraph a., b., c.               cupies, committed by or on behalf of its owner,
      or d. above that are not self-propelled and are              landlord or lessor;
      maintained primarily to provide mobility to per-          d. Oral or written publication, in any manner, of
      manently attached equipment of the following                 material that slanders or libels a person or or-
      types:                                                       ganization or disparages a person's or organi-
      (1) Air compressors, pumps and generators,                   zation's goods, products or services;
          including spraying, welding, building clean-          e. Oral or written publication, in any manner, of
          ing, geophysical exploration, lighting and               material that violates a person's right of pri-
          well servicing equipment; or                             vacy;
      (2) Cherry pickers and similar devices used to             f. The use of another's advertising idea in your
          raise or lower workers;                                   "advertisement"; or
    f. Vehicles not described in Paragraph a., b., c.           g. Infringing upon another's copyright, trade dress
       or d. above maintained primarily for purposes               or slogan in your "advertisement".
       other than the transportation of persons or
       cargo.



      Page 14 of 16




                                             © ISO Properties, Inc., 2006                           CG 00 01 12 07
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 183 of 217


15. "Pollutants" mean any solid, liquid, gaseous or            b. Loss of use of tangible property that is not
    thermal irritant or contaminant, including smoke,             physically injured. All such loss of use shall be
    vapor, soot, fumes, acids, alkalis, chemicals and             deemed to occur at the time of the "occur-
    waste. Waste includes materials to be recycled,               rence" that caused it.
    reconditioned or reclaimed.                                For the purposes of this insurance, electronic data
16. "Products-completed operations hazard":                    is not tangible property.
   a. Includes all "bodily injury" and "property dam-          As used in this definition, electronic data means
      age" occurring away from premises you own or             information, facts or programs stored as or on,
      rent and arising out of "your product" or "your          created or used on, or transmitted to or from com-
      work" except:                                            puter software, including systems and applications
     (1) Products that are still in your physical pos-         software, hard or floppy disks, CD-ROMS, tapes,
         session; or                                           drives, cells, data processing devices or any other
                                                               media which are used with electronically controlled
     (2) Work that has not yet been completed or               equipment.
         abandoned. However, "your work" will be
         deemed completed at the earliest of the fol-       18. "Suit" means a civil proceeding in which damages
         lowing times:                                          because of "bodily injury", "property damage" or
                                                                "personal and advertising injury" to which this in-
         (a) When all of the work called for in your            surance applies are alleged. "Suit" includes:
             contract has been completed.
                                                               a. An arbitration proceeding in which such dam-
         (b) When all of the work to be done at the               ages are claimed and to which the insured
             job site has been completed if your con-             must submit or does submit with our consent;
             tract calls for work at more than one job            or
             site.
                                                               b. Any other alternative dispute resolution pro-
         (c) When that part of the work done at a job             ceeding in which such damages are claimed
             site has been put to its intended use by             and to which the insured submits with our con-
             any person or organization other than                sent.
             another contractor or subcontractor
             working on the same project.                   19. "Temporary worker" means a person who is fur-
                                                                nished to you to substitute for a permanent "em-
          Work that may need service, maintenance,              ployee" on leave or to meet seasonal or short-term
          correction, repair or replacement, but which          workload conditions.
          is otherwise complete, will be treated as
          completed.                                        20. "Volunteer worker" means a person who is not
                                                                your "employee", and who donates his or her work
   b. Does not include "bodily injury" or "property             and acts at the direction of and within the scope of
      damage" arising out of:                                   duties determined by you, and is not paid a fee,
     (1) The transportation of property, unless the             salary or other compensation by you or anyone
         injury or damage arises out of a condition in          else for their work performed for you.
         or on a vehicle not owned or operated by           21. "Your product":
         you, and that condition was created by the
         "loading or unloading" of that vehicle by any         a. Means:
         insured;                                                 (1) Any goods or products, other than real
     (2) The existence of tools, uninstalled equip-                   property, manufactured, sold, handled, dis-
         ment or abandoned or unused materials; or                    tributed or disposed of by:
     (3) Products or operations for which the classi-                (a) You;
         fication, listed in the Declarations or in a                (b) Others trading under your name; or
         policy schedule, states that products-                      (c) A person or organization whose busi-
         completed operations are subject to the                         ness or assets you have acquired; and
         General Aggregate Limit.
                                                                  (2) Containers (other than vehicles), materials,
17. "Property damage" means:                                          parts or equipment furnished in connection
   a. Physical injury to tangible property, including                 with such goods or products.
      all resulting loss of use of that property. All          b. Includes:
      such loss of use shall be deemed to occur at
      the time of the physical injury that caused it; or



                                                                                                     Page 15 of 16




CG 00 01 12 07                              © ISO Properties, Inc., 2006
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 184 of 217


      (1) Warranties or representations made at any               (2) Materials, parts or equipment furnished in
          time with respect to the fitness, quality, du-              connection with such work or operations.
          rability, performance or use of "your prod-          b. Includes:
          uct"; and
                                                                  (1) Warranties or representations made at any
      (2) The providing of or failure to provide warn-                time with respect to the fitness, quality, du-
          ings or instructions.                                       rability, performance or use of "your work",
   c. Does not include vending machines or other                      and
      property rented to or located for the use of oth-           (2) The providing of or failure to provide warn-
      ers but not sold.                                               ings or instructions.
22. "Your work":
   a. Means:
      (1) Work or operations performed by you or on
          your behalf; and




Page 16 of 16




                                            © ISO Properties, Inc., 2006                           CG 00 01 12 07
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 185 of 217


                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 00 68 05 09

      RECORDING AND DISTRIBUTION OF MATERIAL OR
      INFORMATION IN VIOLATION OF LAW EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. Exclusion q. of Paragraph 2. Exclusions of Sec-          B. Exclusion p. of Paragraph 2. Exclusions of Sec-
   tion I – Coverage A – Bodily Injury And Prop-               tion I – Coverage B – Personal And Advertising
   erty Damage Liability is replaced by the follow-            Injury Liability is replaced by the following:
   ing:                                                        2. Exclusions
   2. Exclusions                                                  This insurance does not apply to:
      This insurance does not apply to:                           p. Recording And Distribution Of Material
      q. Recording And Distribution Of Material                      Or Information In Violation Of Law
         Or Information In Violation Of Law                           "Personal and advertising injury" arising di-
         "Bodily injury" or "property damage" arising                 rectly or indirectly out of any action or omis-
         directly or indirectly out of any action or                  sion that violates or is alleged to violate:
         omission that violates or is alleged to vio-                (1) The Telephone Consumer Protection
         late:                                                           Act (TCPA), including any amendment
         (1) The Telephone Consumer Protection                           of or addition to such law;
             Act (TCPA), including any amendment                     (2) The CAN-SPAM Act of 2003, including
             of or addition to such law;                                 any amendment of or addition to such
         (2) The CAN-SPAM Act of 2003, including                         law;
             any amendment of or addition to such                    (3) The Fair Credit Reporting Act (FCRA),
             law;                                                        and any amendment of or addition to
         (3) The Fair Credit Reporting Act (FCRA),                       such law, including the Fair and Accu-
             and any amendment of or addition to                         rate Credit Transaction Act (FACTA); or
             such law, including the Fair and Accu-                  (4) Any federal, state or local statute, ordi-
             rate Credit Transaction Act (FACTA); or                     nance or regulation, other than the
         (4) Any federal, state or local statute, ordi-                  TCPA, CAN-SPAM Act of 2003 or
             nance or regulation, other than the                         FCRA and their amendments and addi-
             TCPA, CAN-SPAM Act of 2003 or                               tions, that addresses, prohibits, or limits
             FCRA and their amendments and addi-                         the printing, dissemination, disposal,
             tions, that addresses, prohibits, or limits                 collecting, recording, sending, transmit-
             the printing, dissemination, disposal,                      ting, communicating or distribution of
             collecting, recording, sending, transmit-                   material or information.
             ting, communicating or distribution of
             material or information.




CG 00 68 05 09                        © Insurance Services Office, Inc., 2008                          Page 1 of 1
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 186 of 217


                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 01 04 12 04

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NEW YORK CHANGES – PREMIUM AUDIT
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. Paragraph b. of the Premium Audit Condition              B. Except as provided in Paragraph A. above, the
   Section IV is replaced by the following:                    Examination Of Your Books And Records
   PREMIUM AUDIT                                               Common Policy Condition continues to apply.
      b. Premium shown in this Coverage Part as
         advance premium is a deposit premium
         only. At the close of each audit period we
         will compute the earned premium for that
         period and send notice to the first Named
         Insured. The due date for audit and retro-
         spective premiums is the date shown as
         the due date on the bill. An audit to deter-
         mine the final premium due or to be re-
         funded will be completed within 180 days
         after the expiration date of the policy. But
         the audit may be waived if the total annual
         premium attributable to the auditable ex-
         posure base is not reasonably expected to
         exceed $1500. If the sum of the advance
         and audit premiums paid for the policy
         term is greater than the earned premium,
         we will return the excess to the first
         Named Insured.




CG 01 04 12 04                             © ISO Properties, Inc., 2003                         Page 1 of 1
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 187 of 217


                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 01 63 07 11

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              NEW YORK CHANGES –
   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. Paragraph 1. Insuring Agreement of Section I –                   (3) Prior to the policy period, no insured
   Coverage A Bodily Injury And Property                                listed under Paragraph 1. of Section II –
   Damage Liability is replaced by the following:                       Who Is An Insured and no "employee"
   1. Insuring Agreement                                                authorized by you to give or receive
                                                                        notice of an "occurrence" or claim, knew
      a. We will pay those sums that the insured                        that the "bodily injury" or "property
         becomes legally obligated to pay as                            damage" had occurred, in whole or in
         damages because of "bodily injury" or                          part. If such a listed insured or
         "property damage" to which this insurance                      authorized "employee" knew, prior to the
         applies. We will have the right and duty to                    policy period, that the "bodily injury" or
         defend the insured against any "suit"                          "property damage" occurred, then any
         seeking those damages even if the                              continuation, change or resumption of
         allegations of the "suit" are groundless,                      such "bodily injury" or "property
         false or fraudulent. However, we will have                     damage" during or after the policy
         no duty to defend the insured against any                      period will be deemed to have been
         "suit" seeking damages for "bodily injury" or                  known prior to the policy period.
         "property damage" to which this insurance
         does not apply. We may, at our discretion,              c. "Bodily injury" or "property damage" which
         investigate any "occurrence" and settle any                occurs during the policy period and was
         claim or "suit" that may result. But:                      not, prior to the policy period, known to
                                                                    have occurred by any insured listed under
         (1) The amount we will pay for damages is                  Paragraph 1. of Section II – Who Is An
             limited as described in Section III –                  Insured or any "employee" authorized by
             Limits Of Insurance; and                               you to give or receive notice of an
         (2) Our right and duty to defend end when                  "occurrence" or claim, includes any
             we have used up the applicable limit of                continuation, change or resumption of that
             insurance in the payment of judgments                  "bodily injury" or "property damage" after
             or settlements under Coverages A or B                  the end of the policy period.
             or medical expenses under Coverage C.               d. "Bodily injury" or "property damage" will be
         No other obligation or liability to pay sums               deemed to have been known to have
         or perform acts or services is covered                     occurred at the earliest time when any
         unless explicitly provided for under                       insured listed under Paragraph 1. of
         Supplementary Payments – Coverages A                       Section II – Who Is An Insured or any
         and B.                                                     "employee" authorized by you to give or
                                                                    receive notice of an "occurrence" or claim:
      b. This insurance applies to "bodily injury" and
         "property damage" only if:                                 (1) Reports all, or any part, of the "bodily
                                                                        injury" or "property damage" to us or any
         (1) The "bodily injury" or "property damage"
                                                                        other insurer;
             is caused by an "occurrence" that takes
             place in the "coverage territory";                     (2) Receives a written or verbal demand or
                                                                        claim for damages because of the
         (2) The "bodily injury" or "property damage"
                                                                        "bodily injury" or "property damage"; or
             occurs during the policy period; and

                                                                                                     Page 1 of 3




CG 01 63 07 11                       © Insurance Services Office, Inc., 2010
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 188 of 217



        (3) Becomes aware by any other means                D. Paragraph 3. of Section IV – Commercial
            that "bodily injury" or "property damage"          General Liability Conditions is replaced by the
            has occurred or has begun to occur.                following:
      e. Damages because of "bodily injury" include            3. Legal Action Against Us
         damages claimed by any person or                         a. Except as provided in Paragraph b., no
         organization for care, loss of services or                  person or organization has a right under
         death resulting at any time from the "bodily                this Coverage Part:
         injury".
                                                                     (1) To join us as a party or otherwise bring
B. Paragraph 1.a. of Section I – Coverage B                              us into a "suit" asking for damages from
   Personal And Advertising Injury Liability is                          an insured; or
   replaced by the following:
                                                                     (2) To sue us on this Coverage Part unless
   1. Insuring Agreement                                                 all of its terms have been fully complied
      a. We will pay those sums that the insured                         with.
         becomes legally obligated to pay as                          A person or organization may sue us to
         damages because of "personal and                             recover on an agreed settlement or on a
         advertising injury" to which this insurance                  final judgment against an insured; but we
         applies. We will have the right and duty to                  will not be liable for damages that are not
         defend the insured against any "suit"                        payable under the terms of this Coverage
         seeking those damages even if the                            Part or that are in excess of the applicable
         allegations of the "suit" are groundless,                    limit of insurance. An agreed settlement
         false or fraudulent. However, we will have                   means a settlement and release of liability
         no duty to defend the insured against any                    signed by us, the insured and the claimant
         "suit" seeking damages for "personal and                     or the claimant's legal representative.
         advertising injury" to which this insurance
         does not apply. We may, at our discretion,               b. With respect to "bodily injury" and "personal
         investigate any offense and settle any claim                and advertising injury" claims, if we deny
         or "suit" that may result. But:                             coverage or do not admit liability because
                                                                     an insured or the injured person, someone
        (1) The amount we will pay for damages is                    acting for the injured person or other
            limited as described in Section III –                    claimant fails to give us written notice as
            Limits Of Insurance; and                                 soon as practicable, then the injured
        (2) Our right and duty to defend end when                    person, someone acting for the injured
            we have used up the applicable limit of                  person or other claimant may bring an
            insurance in the payment of judgments                    action against us, provided the sole
            or settlements under Coverages A and                     question is whether the denial of coverage
            B or medical expenses under Coverage                     or nonadmission of liability is based on the
            C.                                                       failure to provide timely notice.
         No other obligation or liability to pay sums                 However, the injured person, someone
         or perform acts or services is covered                       acting for the injured person or other
         unless explicitly provided for under                         claimant may not bring an action if within 60
         Supplementary Payments – Coverages A                         days after we deny coverage or do not
         and B.                                                       admit liability, we or an insured:
C. The following is added as Paragraph e. to the                     (1) Brings an action to declare the rights of
   Duties In The Event Of Occurrence, Offense,                           the parties under the policy; and
   Claim Or Suit Condition (Paragraph 2. of Section                  (2) Names the injured person, someone
   IV – Commercial General Liability Conditions):                        acting for the injured person or other
      e. Notice given by or on behalf of the insured,                    claimant as a party to the action.
         or written notice by or on behalf of the
         injured person or any other claimant, to any
         agent of ours in New York State, with
         particulars sufficient to identify the insured,
         shall be considered to be notice to us.



Page 2 of 3




                                      © Insurance Services Office, Inc., 2010                     CG 01 63 07 11
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 189 of 217



E. The following provision is added and supersedes             F. The definition of "loading or unloading" in the
   any provision to the contrary:                                 Definitions Section does not apply.
   Failure to give notice to us as required under this
   Coverage Part shall not invalidate any claim made
   by the insured, injured person or any other
   claimant, unless the failure to provide such timely
   notice has prejudiced us. However, no claim made
   by the insured, injured person or other claimant
   will be invalidated if it shall be shown not to have
   been reasonably possible to give such timely
   notice and that notice was given as soon as was
   reasonably possible thereafter.




                                                                                                     Page 3 of 3



CG 01 63 07 11                       © Insurance Services Office, Inc., 2010
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 190 of 217


                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 21 47 12 07

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,      B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily             Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                     sonal And Advertising Injury Liability:
   This insurance does not apply to:                         This insurance does not apply to:
   "Bodily injury" to:                                       "Personal and advertising injury" to:
  (1) A person arising out of any:                           (1) A person arising out of any:
     (a) Refusal to employ that person;                         (a) Refusal to employ that person;
     (b) Termination of that person's employment;               (b) Termination of that person's employment;
         or                                                         or
     (c) Employment-related practices, policies,                (c) Employment-related practices, policies,
         acts or omissions, such as coercion, demo-                 acts or omissions, such as coercion, demo-
         tion, evaluation, reassignment, discipline,                tion, evaluation, reassignment, discipline,
         defamation, harassment, humiliation, dis-                  defamation, harassment, humiliation, dis-
         crimination or malicious prosecution di-                   crimination or malicious prosecution di-
         rected at that person; or                                  rected at that person; or
  (2) The spouse, child, parent, brother or sister of        (2) The spouse, child, parent, brother or sister of
      that person as a consequence of "bodily injury"            that person as a consequence of "personal and
      to that person at whom any of the employment-              advertising injury" to that person at whom any
      related practices described in Paragraphs (a),             of the employment-related practices described
      (b), or (c) above is directed.                             in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                   This exclusion applies:
  (1) Whether the injury-causing event described in          (1) Whether the injury-causing event described in
      Paragraphs (a), (b) or (c) above occurs before             Paragraphs (a), (b) or (c) above occurs before
      employment, during employment or after em-                 employment, during employment or after em-
      ployment of that person;                                   ployment of that person;
  (2) Whether the insured may be liable as an em-            (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                       ployer or in any other capacity; and
  (3) To any obligation to share damages with or             (3) To any obligation to share damages with or
      repay someone else who must pay damages                    repay someone else who must pay damages
      because of the injury.                                     because of the injury.




CG 21 47 12 07                            © ISO Properties, Inc., 2006                               Page 1 of 1
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 191 of 217


                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 70 01 08

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


If aggregate insured losses attributable to terrorist      "Certified act of terrorism" means an act that is
acts certified under the federal Terrorism Risk            certified by the Secretary of the Treasury, in
Insurance Act exceed $100 billion in a Program Year        concurrence with the Secretary of State and the
(January 1 through December 31) and we have met            Attorney General of the United States, to be an act of
our insurer deductible under the Terrorism Risk            terrorism pursuant to the federal Terrorism Risk
Insurance Act, we shall not be liable for the payment      Insurance Act. The criteria contained in the Terrorism
of any portion of the amount of such losses that           Risk Insurance Act for a "certified act of terrorism"
exceeds $100 billion, and in such case insured losses      include the following:
up to that amount are subject to pro rata allocation in    1. The act resulted in insured losses in excess of $5
accordance with procedures established by the                 million in the aggregate, attributable to all types of
Secretary of the Treasury.                                    insurance subject to the Terrorism Risk Insurance
                                                              Act; and
                                                           2. The act is a violent act or an act that is dangerous
                                                              to human life, property or infrastructure and is
                                                              committed by an individual or individuals as part of
                                                              an effort to coerce the civilian population of the
                                                              United States or to influence the policy or affect
                                                              the conduct of the United States Government by
                                                              coercion.




CG 21 70 01 08                             © ISO Properties, Inc., 2007                                Page 1 of 1
              Case 1:17-cv-00554-DNH-CFH     Document 31-11 Filed 09/05/18 PageZBS
                    CAR.Cl'iR, ~~ 05J..fl9-m.U                                  1929632488
                                                                                     of 21700 5502701
       POLICY NUMBER: ZBS 9632488 00                                                  COMMERCIAL GENERAL LIABILITY
                                                                                                       CG2245 0798

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     EXCLUSION- SPECIFIED THERAPEUTIC OR
                             COSMETIC SERVICES
       This endorsement modifies insurance provided under the following:

          COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                              SCHEDULE

       Description Of Operations:
       Per Classification on Dec Page
       (If no entry appears above, information required to complete this endorsement will be shown in the Declarations as applica-
       ble to this endorsement)

       The following exclusion is added to Paragraph 2., Exclu-          With respect to any operation shown in the Schedule, this
       sions of Section 1- Coverage A- Bodily Injury And                 insurance does not apply to "bodily injury", "property
       Property Damage Liability and Paragraph 2., Exclu-                damage" or "personal and advertising injury" arising out
       sions of Section I- Coverage B- Personal And Adver-               of the rendering of or failure to render any service, treat-
       tising Injury Liability:                                          ment, advice or instruction for the purpose of appearance
                                                                         or skin enhancement, hair removal or replacement, or
                                                                         personal grooming or therapy.




       CG2245 0798                          Copyright, Insurance Services Office, Inc., 1997                       Page 1 ofl           D

0024
              Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 PageZBS
                                                                            193  of 21700 5502701
                                                                               9632488

       POLICY NUMBER: ZBS 9632488 00                                                   COMMERCIAL GENERAL LIABILITY
                                                                                                                    CG24070196

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 PRODUCTS/COMPLETED OPERATIONS HAZARD
                              REDEFINED
       This endorsement modifies insurance provided under the following:

          COMMERCIAL GENERAL LIABILITY COVERAGE PART
          PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                               SCHEDULE
       Description of Premises and Operations:
       See Declarations

       (If no en!Iy appears above, information required to complete this endorsement will be shown in the Declarations as applicable
       to this endorsement)


       With respect to "bodily injury" or "property damage" aris-          Paragraph a. of the definition of "Products-completed
       ing out of"your products" manufactured, sold, handled or            operations hazard" in the DEFINITIONS Section is re-
       distributed:                                                        placed by the following:                    ·
       1. On, from or in connection with the use of any premises              "Products-completed operations hazard":
          described in the Schedule, or                                        a. Includes all "bodily injury" and "property damage"
       2. In connection with the conduct of any operation de-                      that arises out of"yourproducts" if the "bodily in-
          scribed in the Schedule, when conducted by you or on                    jury11 or "property damage" occurs after you have
          your behalf,                                                            relinquished possession of those products.




       CG 24 07 0196                            Copyright. Insurance Services Office. Inc.• 1994                            Pagel ofl    0
0025
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 194 of 217


                                                                       COMMERCIAL GENERAL LIABILITY
                                                                                       CG 24 16 12 07

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               CANOES OR ROWBOATS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


1. Exclusion g. of Section I – Coverage A – Bodily        2. Section II – Who Is An Insured is amended to
   Injury And Property Damage Liability does not             include as an insured any person or organization
   apply to "bodily injury" or "property damage" aris-       legally responsible for the use of any such canoe
   ing out of any canoe or rowboat owned or used by          or rowboat you own, provided the actual use is
   or rented to the insured.                                 with your permission.




CG 24 16 12 07                         © ISO Properties, Inc., 2006                        Page 1 of 1
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 195 of 217


                                                                              COMMERCIAL GENERAL LIABILITY


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           NEW YORK CHANGES – TRANSFER OF
      DUTIES WHEN A LIMIT OF INSURANCE IS USED UP
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following Condition is added to COMMERCIAL                          We agree to take such steps, as we deem appropri-
GENERAL LIABILITY CONDITIONS (Section IV):                              ate, to avoid a default in, or continue the defense of,
Transfer of Duties When a Limit of Insurance Is Used                    such "suits" until such transfer is completed, pro-
Up.                                                                     vided the appropriate insured is cooperating in
                                                                        completing such transfer.
a. If we conclude that, based on "occurrences," offenses,
   claims or "suits" which have been reported to us and to              We will take no action whatsoever with respect to
   which this insurance may apply, the:                                 any claim or "suit" seeking damages that would
                                                                        have been subject to that limit, had it not been used
  (1) General Aggregate Limit (other than the Prod-                     up, if the claim or "suit" is reported to us after that
      ucts/Completed Operations Aggregate Limit);                       limit of insurance has been used up.
  (2) Products/Completed Operations Aggregate Limit;                (3) The first Named Insured, and any other insured
  (3) Personal and Advertising Injury Limit;                            involved in a "suit" seeking damages subject to that
  (4) Each Occurrence Limit; or                                         limit, must arrange for the defense of such "suit"
                                                                        within such time period as agreed to between the
  (5) Fire Damage Limit                                                 appropriate insured and us. Absent any such agree-
   is likely to be used up in the payment of judgments or               ment, arrangements for the defense of such "suit"
   settlements, we will notify the first Named Insured, in              must be made as soon as practicable.
   writing, to that effect.                                      c. The first Named Insured will reimburse us for expenses
b. When a limit of insurance described in paragraph a.              we incur in taking those steps we deem appropriate in
   above has actually been used up in the payment of                accordance with paragraph b.(2) above.
   judgments or settlements:                                         The duty of the first Named Insured to reimburse us will
  (1) We will notify the first Named Insured, in writing,            begin on:
      as soon as practicable, that:                                 (1) The date on which the applicable limit of insurance
      (a) Such a limit has actually been used up; and                   is used up, if we sent notice in accordance with
                                                                        paragraph a. above; or
      (b) Our duty to defend "suits" seeking damages
          subject to that limit has also ended.                     (2) The date on which we sent notice in accordance
                                                                        with paragraph b.(1) above, if we did not send no-
  (2) We will initiate, and cooperate in, the transfer of
                                                                        tice in accordance with paragraph a. above.
      control, to any appropriate insured, of all claims and
      "suits" seeking damages which are subject to that          d. The exhaustion of any limit of insurance by the pay-
      limit and which are reported to us before that limit          ments of judgments or settlements, and the resulting end
      is used up. That insured must cooperate in the trans-         of our duty to defend, will not be affected by our failure
      fer of control of said claims and "suits".                    to comply with any of the provisions of this Condition.




CG 26 21 10 91                        Copyright, Insurance Services Office, Inc., 1991                             Page 1 of 1
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 196 of 217



                                                                                                    IL 00 23 07 02

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                  (Broad Form)

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY NEW YORK DEPARTMENT OF
   TRANSPORTATION

1. The insurance does not apply:                              C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"            or "property damage" resulting from "hazard-
      or "property damage":                                       ous properties" of "nuclear material", if:
     (1) With respect to which an "insured" under                (1) The "nuclear material" (a) is at any "nuclear
          the policy is also an insured under a nu-                  facility" owned by, or operated by or on be-
          clear energy liability policy issued by Nu-                half of, an "insured" or (b) has been dis-
          clear Energy Liability Insurance Associa-                  charged or dispersed therefrom;
          tion, Mutual Atomic Energy Liability                   (2) The "nuclear material" is contained in
          Underwriters, Nuclear Insurance Associa-                   "spent fuel" or "waste" at any time pos-
          tion of Canada or any of their successors,                 sessed, handled, used, processed, stored,
          or would be an insured under any such                      transported or disposed of, by or on behalf
          policy but for its termination upon exhaus-                of an "insured"; or
          tion of its limit of liability; or                     (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                   arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                  of services, materials, parts or equipment in
          which (a) any person or organization is re-                connection with the planning, construction,
          quired to maintain financial protection pur-               maintenance, operation or use of any "nu-
          suant to the Atomic Energy Act of 1954, or                 clear facility", but if such facility is located
          any law amendatory thereof, or (b) the "in-                within the United States of America, its ter-
          sured" is, or had this policy not been issued              ritories or possessions or Canada, this ex-
          would be, entitled to indemnity from the                   clusion (3) applies only to "property dam-
          United States of America, or any agency                    age" to such "nuclear facility" and any
          thereof, under any agreement entered into                  property thereat.
          by the United States of America, or any          2. As used in this endorsement:
          agency thereof, with any person or organi-
          zation.                                             "Hazardous properties" includes radioactive, toxic
                                                              or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-           "Nuclear material" means "source material", "Spe-
      jury" resulting from the "hazardous properties"         cial nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.




IL 00 23 07 02                             © ISO Properties, Inc., 2001                                Page 1 of 2
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 197 of 217


   "Source material", "special nuclear material", and        (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                  essing, fabricating or alloying of "special nu-
   them in the Atomic Energy Act of 1954 or in any                clear material" if at any time the total amount of
   law amendatory thereof.                                        such material in the custody of the "insured" at
   "Spent fuel" means any fuel element or fuel com-               the premises where such equipment or device
   ponent, solid or liquid, which has been used or                is located consists of or contains more than 25
   exposed to radiation in a "nuclear reactor".                   grams of plutonium or uranium 233 or any
                                                                  combination thereof, or more than 250 grams
   "Waste" means any waste material (a) containing                of uranium 235;
   "by-product material" other than the tailings or
   wastes produced by the extraction or concentra-           (d) Any structure, basin, excavation, premises or
   tion of uranium or thorium from any ore processed              place prepared or used for the storage or dis-
   primarily for its "source material" content, and (b)           posal of "waste";
   resulting from the operation by any person or or-          and includes the site on which any of the forego-
   ganization of any "nuclear facility" included under        ing is located, all operations conducted on such
   the first two paragraphs of the definition of "nu-         site and all premises used for such operations.
   clear facility".                                           "Nuclear reactor" means any apparatus designed
   "Nuclear facility" means:                                  or used to sustain nuclear fission in a self-
  (a) Any "nuclear reactor";                                  supporting chain reaction or to contain a critical
                                                              mass of fissionable material.
  (b) Any equipment or device designed or used for
       (1) separating the isotopes of uranium or plu-         "Property damage" includes all forms of radioac-
       tonium, (2) processing or utilizing "spent fuel",      tive contamination of property.
       or (3) handling, processing or packaging
       "waste";




IL 00 23 07 02                             © ISO Properties, Inc., 2001                                Page 2 of 2
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 198 of 217


                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 00 33 12 07

                     LIQUOR LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.              (2) Prior to the policy period, no insured listed
Read the entire policy carefully to determine rights,                  under Paragraph 1. of Section II – Who Is
duties and what is and is not covered.                                 An Insured and no "employee" authorized
Throughout this policy the words "you" and "your"                      by you to give or receive notice of an "in-
refer to the Named Insured shown in the Declarations,                  jury" or claim, knew that the "injury" had oc-
and any other person or organization qualifying as a                   curred, in whole or in part. If such a listed
Named Insured under this policy. The words "we",                       insured or authorized "employee" knew,
"us" and "our" refer to the Company providing this                     prior to the policy period, that the "injury"
insurance.                                                             occurred, then any continuation, change or
                                                                       resumption of such "injury" during or after
The word "insured" means any person or organization                    the policy period will be deemed to have
qualifying as such under Section II – Who Is An In-                    been known prior to the policy period.
sured.
                                                                c. "Injury" which occurs during the policy period
Other words and phrases that appear in quotation                   and was not, prior to the policy period, known
marks have special meaning. Refer to Section V –                   to have occurred by any insured listed under
Definitions.                                                       Paragraph 1. of Section II – Who Is An Insured
SECTION I – LIQUOR LIABILITY COVERAGE                              or any "employee" authorized by you to give or
                                                                   receive notice of an "injury" or claim, includes
1. Insuring Agreement
                                                                   any continuation, change or resumption of that
    a. We will pay those sums that the insured be-                 "injury" after the end of the policy period.
        comes legally obligated to pay as damages
        because of "injury" to which this insurance ap-         d. "Injury" will be deemed to have been known to
                                                                   have occurred at the earliest time when any in-
        plies if liability for such "injury" is imposed on
        the insured by reason of the selling, serving or           sured listed under Paragraph 1. of Section II –
        furnishing of any alcoholic beverage. We will              Who Is An Insured or any "employee" author-
                                                                   ized by you to give or receive notice of an "in-
        have the right and duty to defend the insured
        against any "suit" seeking those damages.                  jury" or claim:
        However, we will have no duty to defend the               (1) Reports all, or any part, of the "injury" to us
        insured against any "suit" seeking damages for                 or any other insurer;
        "injury" to which this insurance does not apply.          (2) Receives a written or verbal demand or
        We may, at our discretion, investigate any "in-                claim for damages because of the "injury";
        jury" and settle any claim or "suit" that may re-              or
        sult. But:
                                                                  (3) Becomes aware by any other means that
       (1) The amount we will pay for damages is                       "injury" has occurred or has begun to occur.
            limited as described in Section III – Limits
            Of Insurance; and                                2. Exclusions
       (2) Our right and duty to defend ends when we            This insurance does not apply to:
            have used up the applicable limit of insur-         a. Expected Or Intended Injury
            ance in the payment of judgments or set-               "Injury" expected or intended from the stand-
            tlements.                                              point of the insured. This exclusion does not
        No other obligation or liability to pay sums or            apply to "bodily injury" resulting from the use of
        perform acts or services is covered unless ex-             reasonable force to protect persons or prop-
        plicitly provided for under Supplementary Pay-             erty.
        ments.                                                  b. Workers' Compensation And Similar Laws
    b. This insurance applies to "injury" only if:                 Any obligation of the insured under a workers'
       (1) The "injury" occurs during the policy period            compensation, disability benefits or unem-
            in the "coverage territory"; and                       ployment compensation law or any similar law.



                                                                                                        Page 1 of 6




CG 00 33 12 07                               © ISO Properties, Inc., 2006
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 199 of 217


   c. Employer's Liability                                          (3) Insurrection, rebellion, revolution, usurped
      "Bodily injury" to:                                                power, or action taken by governmental
                                                                         authority in hindering or defending against
     (1) An "employee" of the insured arising out of                     any of these.
          and in the course of:
                                                             SUPPLEMENTARY PAYMENTS
         (a) Employment by the insured; or
                                                             We will pay, with respect to any claim we investigate
         (b) Performing duties related to the conduct        or settle, or any "suit" against an insured we defend:
              of the insured's business; or
                                                             1. All expenses we incur.
     (2) The spouse, child, parent, brother or sister
          of that "employee" as a consequence of             2. The cost of bonds to release attachments, but only
          Paragraph (1) above.                                   for bond amounts within the applicable limit of in-
                                                                 surance. We do not have to furnish these bonds.
      This exclusion applies whether the insured
      may be liable as an employer or in any other           3. All reasonable expenses incurred by the insured at
      capacity and to any obligation to share dam-               our request to assist us in the investigation or de-
      ages with or repay someone else who must                   fense of the claim or "suit", including actual loss of
      pay damages because of the "injury".                       earnings up to $250 a day because of time off
                                                                 from work.
   d. Liquor License Not In Effect
                                                             4. All court costs taxed against the insured in the
      "Injury" arising out of any alcoholic beverage             "suit". However, these payments do not include at-
      sold, served or furnished while any required li-           torneys' fees or attorneys' expenses taxed against
      cense is not in effect.                                    the insured.
   e. Your Product                                           5. Prejudgment interest awarded against the insured
      "Injury" arising out of "your product". This ex-           on that part of the judgment we pay. If we make an
      clusion does not apply to "injury" for which the           offer to pay the applicable limit of insurance, we
      insured or the insured's indemnitees may be                will not pay any prejudgment interest based on
      held liable by reason of:                                  that period of time after the offer.
     (1) Causing or contributing to the intoxication of      6. All interest on the full amount of any judgment that
          any person;                                            accrues after entry of the judgment and before we
                                                                 have paid, offered to pay, or deposited in court the
     (2) The furnishing of alcoholic beverages to a
          person under the legal drinking age or un-             part of the judgment that is within the applicable
          der the influence of alcohol; or                       limit of insurance.
     (3) Any statute, ordinance or regulation relating       7. Expenses incurred by the insured for first aid ad-
                                                                 ministered to others at the time of an event to
          to the sale, gift, distribution or use of alco-
          holic beverages.                                       which this insurance applies.
   f. Other Insurance                                        These payments will not reduce the limits of insur-
                                                             ance.
      Any "injury" with respect to which other insur-
      ance is afforded, or would be afforded but for         SECTION II – WHO IS AN INSURED
      the exhaustion of the limits of insurance.             1. If you are designated in the Declarations as:
      This exclusion does not apply if the other in-             a. An individual, you and your spouse are insur-
      surance responds to liability for "injury" im-                 eds.
      posed on the insured by reason of the selling,             b. A partnership or joint venture, you are an in-
      serving or furnishing of any alcoholic beverage.               sured. Your members, your partners, and their
   g. War                                                            spouses are also insureds, but only with re-
                                                                     spect to the conduct of your business.
      "Injury", however caused, arising, directly or in-
      directly, out of:                                          c. A limited liability company, you are an insured.
     (1) War, including undeclared or civil war;                     Your members are also insureds, but only with
                                                                     respect to the conduct of your business. Your
     (2) Warlike action by a military force, including               managers are insureds, but only with respect
          action in hindering or defending against an                to their duties as your managers.
          actual or expected attack, by any govern-
          ment, sovereign or other authority using
          military personnel or other agents; or



Page 2 of 6



                                             © ISO Properties, Inc., 2006                            CG 00 33 12 07
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 200 of 217


   d. An organization other than a partnership, joint           c. Your legal representative if you die, but only
      venture or limited liability company, you are an              with respect to duties as such. That represen-
      insured. Your "executive officers" and directors              tative will have all your rights and duties under
      are insureds, but only with respect to their du-              this Coverage Part.
      ties as your officers or directors. Your stock-       3. Any organization you newly acquire or form, other
      holders are also insureds, but only with respect          than a partnership, joint venture or limited liability
      to their liability as stockholders.                       company, and over which you maintain ownership
2. Each of the following is also an insured:                    or majority interest, will qualify as a Named In-
   a. Your "employees", other than either your "ex-             sured if there is no other similar insurance avail-
      ecutive officers" (if you are an organization             able to that organization. However:
      other than a partnership, joint venture or limited        a. Coverage under this provision is afforded only
      liability company) or your managers (if you are               until the 90th day after you acquire or form the
      a limited liability company), but only for acts               organization or the end of the policy period,
      within the scope of their employment by you or                whichever is earlier; and
      while performing duties related to the conduct            b. Coverage does not apply to "injury" that oc-
      of your business. However, none of these "em-                 curred before you acquired or formed the or-
      ployees" is an insured for:                                   ganization.
     (1) "Injury":                                          No person or organization is an insured with respect
         (a) To you, to your partners or members (if        to the conduct of any current or past partnership, joint
               you are a partnership or joint venture),     venture or limited liability company that is not shown
               to your members (if you are a limited li-    as a Named Insured in the Declarations.
               ability company), or to a co-"employee"      SECTION III – LIMITS OF INSURANCE
               while that co-"employee" is either in the
               course of his or her employment or per-      1. The Limits of Insurance shown in the Declarations
               forming duties related to the conduct of         and the rules below fix the most we will pay re-
               your business;                                   gardless of the number of:
         (b) To the spouse, child, parent, brother or           a. Insureds;
               sister of that co-"employee" as a conse-         b. Claims made or "suits" brought; or
               quence of Paragraph (a) above; or                c. Persons or organizations making claims or
         (c) For which there is any obligation to                   bringing "suits".
               share damages with or repay someone          2. The Aggregate Limit is the most we will pay for all
               else who must pay damages because of
                                                                "injury" as the result of the selling, serving or fur-
               the injury described in Paragraphs (a) or        nishing of alcoholic beverages.
               (b) above.
                                                            3. Subject to the Aggregate Limit, the Each Common
     (2) "Property damage" to property:                         Cause Limit is the most we will pay for all "injury"
         (a) Owned or occupied by, or                           sustained by one or more persons or organiza-
         (b) Rented or loaned                                   tions as the result of the selling, serving or furnish-
                                                                ing of any alcoholic beverage to any one person.
          to that "employee", any of your other "em-
          ployees", by any of your partners or mem-         The Limits of Insurance of this Coverage Part apply
          bers (if you are a partnership or joint ven-      separately to each consecutive annual period and to
          ture), or by any of your members (if you are      any remaining period of less than 12 months, starting
          a limited liability company).                     with the beginning of the policy period shown in the
                                                            Declarations, unless the policy period is extended
   b. Any person or organization having proper              after issuance for an additional period of less than 12
      temporary custody of your property if you die,        months. In that case, the additional period will be
      but only:                                             deemed part of the last preceding period for purposes
     (1) With respect to liability arising out of the       of determining the Limits of Insurance.
          maintenance or use of that property; and          SECTION IV – LIQUOR LIABILITY CONDITIONS
     (2) Until your legal representative has been           1. Bankruptcy
          appointed.
                                                                Bankruptcy or insolvency of the insured or of the
                                                                insured's estate will not relieve us of our obliga-
                                                                tions under this Coverage Part.

                                                                                                         Page 3 of 6




CG 00 33 12 07                              © ISO Properties, Inc., 2006
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 201 of 217


2. Duties In The Event Of Injury, Claim Or Suit                A person or organization may sue us to recover on
   a. You must see to it that we are notified as soon          an agreed settlement or on a final judgment
      as practicable of an "injury" which may result in        against an insured; but we will not be liable for
      a claim. To the extent possible, notice should           damages that are not payable under the terms of
      include:                                                 this Coverage Part or that are in excess of the ap-
                                                               plicable limit of insurance. An agreed settlement
     (1) How, when and where the "injury" took                 means a settlement and release of liability signed
           place;                                              by us, the insured and the claimant or the claim-
     (2) The names and addresses of any injured                ant's legal representative.
           persons and witnesses; and                       4. Other Insurance
     (3) The nature and location of any "injury".              If other valid and collectible insurance is available
   b. If a claim is made or "suit" is brought against          to the insured for a loss we cover under this Cov-
      any insured, you must:                                   erage Part, our obligations are limited as follows:
     (1) Immediately record the specifics of the               a. Primary Insurance
           claim or "suit" and the date received; and              This insurance is primary. Our obligations are
     (2) Notify us as soon as practicable.                         not affected unless any of the other insurance
      You must see to it that we receive written no-               is also primary. Then, we will share with all that
                                                                   other insurance by the method described in b.
      tice of the claim or "suit" as soon as practica-
      ble.                                                         below.
   c. You and any other involved insured must:                 b. Method Of Sharing
     (1) Immediately send us copies of any de-                     If all of the other insurance permits contribution
           mands, notices, summonses or legal pa-                  by equal shares, we will follow this method
                                                                   also. Under this approach each insurer con-
           pers received in connection with the claim
           or "suit";                                              tributes equal amounts until it has paid its ap-
                                                                   plicable limit of insurance or none of the loss
     (2) Authorize us to obtain records and other                  remains, whichever comes first.
           information;
                                                                   If any of the other insurance does not permit
     (3) Cooperate with us in the investigation or                 contribution by equal shares, we will contribute
           settlement of the claim or defense against              by limits. Under this method, each insurer's
           the "suit"; and                                         share is based on the ratio of its applicable
     (4) Assist us, upon our request, in the en-                   limit of insurance to the total applicable limits of
           forcement of any right against any person               insurance of all insurers.
           or organization which may be liable to the       5. Premium Audit
           insured because of "injury" to which this in-
           surance may also apply.                             a. We will compute all premiums for this Cover-
                                                                   age Part in accordance with our rules and
   d. No insured will, except at that insured's own                rates.
      cost, voluntarily make a payment, assume any
      obligation, or incur any expense, other than for         b. Premium shown in this Coverage Part as ad-
      first aid, without our consent.                              vance premium is a deposit premium only. At
                                                                   the close of each audit period we will compute
3. Legal Action Against Us                                         the earned premium for that period and send
   No person or organization has a right under this                notice to the first Named Insured. The due date
   Coverage Part:                                                  for audit and retrospective premiums is the
                                                                   date shown as the due date on the bill. If the
   a. To join us as a party or otherwise bring us into             sum of the advance and audit premiums paid
      a "suit" asking for damages from an insured; or              for the policy period is greater than the earned
   b. To sue us on this Coverage Part unless all of                premium, we will return the excess to the first
      its terms have been fully complied with.                     Named Insured.




   Page 4 of 6




                                            © ISO Properties, Inc., 2006                             CG 00 33 12 07
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 202 of 217


   c. The first Named Insured must keep records of                 c. All other parts of the world if the "injury" arises
       the information we need for premium computa-                     out of:
       tion, and send us copies at such times as we                    (1) Goods or products made or sold by you in
       may request.                                                         the territory described in Paragraph a.
6. Representations                                                          above; or
   By accepting this policy, you agree:                                (2) The activities of a person whose home is in
   a. The statements in the Declarations are accu-                          the territory described in Paragraph a.
       rate and complete;                                                   above, but is away for a short time on your
                                                                            business
   b. Those statements are based upon representa-
       tions you made to us; and                                        provided the insured's responsibility to pay
                                                                        damages is determined in a "suit" on the mer-
   c. We have issued this policy in reliance upon                       its, in the territory described in Paragraph a.
       your representations.                                            above or in a settlement we agree to.
7. Separation Of Insureds                                     3.   "Employee" includes a "leased worker". "Em-
   Except with respect to the Limits of Insurance, and             ployee" does not include a "temporary worker".
   any rights or duties specifically assigned in this         4.   "Executive Officer" means a person holding any of
   Coverage Part to the first Named Insured, this in-              the officer positions created by your charter, con-
   surance applies:                                                stitution, by-laws or any other similar governing
   a. As if each Named Insured were the only                       document.
       Named Insured; and                                     5.   "Injury" means damages because of "bodily injury"
   b. Separately to each insured against whom claim                and "property damage", including damages for
       is made or "suit" is brought.                               care, loss of services or loss of support.
8. Transfer Of Rights Of Recovery Against Others              6.   "Leased worker" means a person leased to you by
   To Us                                                           a labor leasing firm under an agreement between
   If the insured has rights to recover all or part of             you and the labor leasing firm, to perform duties
   any payment we have made under this Coverage                    related to the conduct of your business. "Leased
                                                                   worker" does not include a "temporary worker".
   Part, those rights are transferred to us. The in-
   sured must do nothing after loss to impair them. At        7.   "Property damage" means:
   our request, the insured will bring "suit" or transfer          a. Physical injury to tangible property, including
   those rights to us and help us enforce them.                         all resulting loss of use of that property. All
9. When We Do Not Renew                                                 such loss of use shall be deemed to occur at
                                                                        the time of the physical injury that caused it; or
   If we decide not to renew this Coverage Part, we
   will mail or deliver to the first Named Insured                 b. Loss of use of tangible property that is not
   shown in the Declarations written notice of the                      physically injured. All such loss of use shall be
   nonrenewal not less than 30 days before the expi-                    deemed to occur at the time of the occurrence
   ration date.                                                         that caused it.
   If notice is mailed, proof of mailing will be sufficient   8.   "Suit" means a civil proceeding in which damages
   proof of notice.                                                because of "injury" to which this insurance applies
SECTION V – DEFINITIONS                                            are alleged. "Suit" includes:
1. "Bodily injury" means bodily injury, sickness or                a. An arbitration proceeding in which such dam-
                                                                        ages are claimed and to which the insured
   disease sustained by a person, including death re-
   sulting from any of these at any time.                               must submit or does submit with our consent;
                                                                        or
2. "Coverage territory" means:
                                                                   b. Any other alternative dispute resolution pro-
   a. The United States of America (including its                       ceeding in which such damages are claimed
       territories and possessions), Puerto Rico and                    and to which the insured submits with our con-
       Canada;                                                          sent.
   b. International waters or airspace, but only if the       9.   "Temporary worker" means a person who is fur-
       "injury" occurs in the course of travel or trans-           nished to you to substitute for a permanent "em-
       portation between any places included in                    ployee" on leave or to meet seasonal or short-term
       Paragraph a. above; or                                      workload conditions.



                                                                                                             Page 5 of 6



CG 00 33 12 07                                © ISO Properties, Inc., 2006
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 203 of 217


10. "Your product":                                          b. Includes:
    a. Means:                                                  (1) Warranties or representations made at any
      (1) Any goods or products, other than real                    time with respect to the fitness, quality, du-
           property, manufactured, sold, handled, dis-              rability, performance or use of "your prod-
           tributed or disposed of by:                              uct", and
          (a) You;                                             (2) The providing of or failure to provide warn-
                                                                    ings or instructions.
          (b) Others trading under your name; or
                                                             c. Does not include vending machines or other
          (c) A person or organization whose busi-              property rented to or located for the use of oth-
               ness or assets you have acquired; and            ers but not sold.
      (2) Containers (other than vehicles), materials,
           parts or equipment furnished in connection
           with such goods or products.




Page 6 of 6




                                          © ISO Properties, Inc., 2006                           CG 00 33 12 07
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 204 of 217


                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 00 64 12 02

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             WAR LIABILITY EXCLUSION
This endorsement modifies insurance provided under the following:

   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


The following exclusion is added:
   This insurance does not apply to:
   WAR
   Injury or damage, however caused, arising, directly
   or indirectly, out of:
   1. War, including undeclared or civil war; or
   2. Warlike action by a military force, including
      action in hindering or defending against an ac-
      tual or expected attack, by any government,
      sovereign or other authority using military per-
      sonnel or other agents; or
   3. Insurrection, rebellion, revolution, usurped
      power, or action taken by governmental author-
      ity in hindering or defending against any of
      these.




CG 00 64 12 02                             © ISO Properties, Inc., 2002                       Page 1 of 1
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 205 of 217


                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 01 04 12 04

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NEW YORK CHANGES – PREMIUM AUDIT
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. Paragraph b. of the Premium Audit Condition              B. Except as provided in Paragraph A. above, the
   Section IV is replaced by the following:                    Examination Of Your Books And Records
   PREMIUM AUDIT                                               Common Policy Condition continues to apply.
      b. Premium shown in this Coverage Part as
         advance premium is a deposit premium
         only. At the close of each audit period we
         will compute the earned premium for that
         period and send notice to the first Named
         Insured. The due date for audit and retro-
         spective premiums is the date shown as
         the due date on the bill. An audit to deter-
         mine the final premium due or to be re-
         funded will be completed within 180 days
         after the expiration date of the policy. But
         the audit may be waived if the total annual
         premium attributable to the auditable ex-
         posure base is not reasonably expected to
         exceed $1500. If the sum of the advance
         and audit premiums paid for the policy
         term is greater than the earned premium,
         we will return the excess to the first
         Named Insured.




CG 01 04 12 04                             © ISO Properties, Inc., 2003                         Page 1 of 1
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 206 of 217


                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 26 03 04 09

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         NEW YORK CHANGES –
                    LIQUOR LIABILITY COVERAGE FORM
This endorsement modifies insurance provided under the following:

   LIQUOR LIABILITY COVERAGE PART

A. Paragraph 1. Insuring Agreement of Section I is                   (2) Prior to the policy period, no insured
   replaced by the following:                                            listed under Paragraph 1. of Section II –
   1. Insuring Agreement                                                 Who Is An Insured and no "employee"
                                                                         authorized by you to give or receive no-
      a. We will pay those sums that the insured                         tice of an "injury" or claim, knew that the
         becomes legally obligated to pay as dam-                        "injury" had occurred, in whole or in part.
         ages because of "injury" to which this insur-                   If such a listed insured or authorized
         ance applies if liability for such "injury" is                  "employee" knew, prior to the policy pe-
         imposed on the insured by reason of the                         riod, that the "injury" occurred, then any
         selling, serving or furnishing of any alco-                     continuation, change or resumption of
         holic beverage. We will have the right and                      such "injury" during or after the policy
         duty to defend the insured against any                          period will be deemed to have been
         "suit" seeking those damages even if the al-                    known prior to the policy period.
         legations of the "suit" are groundless, false
         or fraudulent. However, we will have no                  c. "Injury" which occurs during the policy pe-
         duty to defend the insured against any                      riod and was not, prior to the policy period,
         "suit" seeking damages for "injury" to which                known to have occurred by any insured
         this insurance does not apply. We may, at                   listed under Paragraph 1. of Section II –
         our discretion, investigate any "injury" and                Who Is An Insured or any "employee" au-
         settle any claim or "suit" that may result.                 thorized by you to give or receive notice of
         But:                                                        an "injury" or claim, includes any continua-
                                                                     tion, change or resumption of that "injury"
         (1) The amount we will pay for damages is                   after the end of the policy period.
             limited as described in Section III – Lim-
             its Of Insurance; and                                d. "Injury" will be deemed to have been known
                                                                     to have occurred at the earliest time when
         (2) Our right and duty to defend end when                   any insured listed under Paragraph 1. of
             we have used up the applicable limit of                 Section II – Who Is An Insured or any "em-
             insurance in the payment of judgments                   ployee" authorized by you to give or receive
             or settlements.                                         notice of an "injury" or claim:
         No other obligation or liability to pay sums                (1) Reports all, or any part, of the "injury" to
         or perform acts or services is covered un-                      us or any other insurer;
         less explicitly provided for under Supple-
         mentary Payments.                                           (2) Receives a written or verbal demand or
                                                                         claim for damages because of the "in-
      b. This insurance applies to "injury" only if:                     jury"; or
         (1) The "injury" occurs during the policy                   (3) Becomes aware by any other means
             period in the "coverage territory"; and                     that "injury" has occurred or has begun
                                                                         to occur.




                                                                                                        Page 1 of 2




CG 26 03 04 09                        © Insurance Services Office, Inc., 2008
     Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 207 of 217


B. The following is added as Paragraph e. to Duties             b. With respect to "injury" claims related to
   In The Event Of Injury, Claim Or Suit under                     "bodily injury", if we deny coverage or do
   Paragraph 2. of Section IV – Liquor Liability                   not admit liability because an insured or the
   Conditions:                                                     injured person, someone acting for the in-
   2. Duties In The Event Of Injury, Claim Or Suit                 jured person or other claimant fails to give
                                                                   us written notice as soon as practicable,
      e. Notice given by or on behalf of the insured,              then the injured person, someone acting for
         or written notice by or on behalf of the in-              the injured person or other claimant may
         jured person or any other claimant, to any                bring an action against us, provided the
         agent of ours in New York State, with par-                sole question is whether the denial of cov-
         ticulars sufficient to identify the insured,              erage or nonadmission of liability is based
         shall be considered to be notice to us.                   on the failure to provide timely notice.
C. Paragraph 3. of Section IV – Liquor Liability                    However, the injured person, someone act-
   Conditions is replaced by the following:                         ing for the injured person or other claimant
   3. Legal Action Against Us                                       may not bring an action if within 60 days af-
                                                                    ter we deny coverage or do not admit liabil-
      a. Except as provided in Paragraph b., no
                                                                    ity, we or an insured:
         person or organization has a right under
         this Coverage Part:                                       (1) Brings an action to declare the rights of
                                                                       the parties under the policy; and
        (1) To join us as a party or otherwise bring
            us into a "suit" asking for damages from               (2) Names the injured person, someone
            an insured; or                                             acting for the injured person or other
                                                                       claimant as a party to the action.
        (2) To sue us on this Coverage Part unless
            all of its terms have been fully complied    D. The following provision is added and supersedes
            with.                                           any provision to the contrary:
         A person or organization may sue us to re-          Failure to give notice to us as required under this
         cover on an agreed settlement or on a final         Coverage Part shall not invalidate any claim made
         judgment against an insured; but we will not        by the insured, injured person or any other claim-
         be liable for damages that are not payable          ant, unless the failure to provide such timely notice
         under the terms of this Coverage Part or            has prejudiced us. However, no claim made by the
         that are in excess of the applicable limit of       insured, injured person or other claimant will be
         insurance. An agreed settlement means a             invalidated if it shall be shown not to have been
         settlement and release of liability signed by       reasonably possible to give such timely notice and
         us, the insured and the claimant or the             that notice was given as soon as was reasonably
         claimant's legal representative.                    possible thereafter.




Page 2 of 2




                                    © Insurance Services Office, Inc., 2008                      CG 26 03 04 09
      Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 208 of 217


                                                                               COMMERCIAL GENERAL LIABILITY
                                                                                               CG 26 35 12 93

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           NEW YORK CHANGES – TRANSFER OF DUTIES
            WHEN A LIMIT OF INSURANCE IS USED UP
This endorsement modifies insurance under the following:

   LIQUOR LIABILITY COVERAGE PART

The following Condition is added to LIQUOR LIABILITY                     We will take no action whatsoever with respect to
CONDITIONS (Section IV):                                                 any claim or "suit" seeking damages that would
Transfer of Duties When a Limit of Insurance Is Used                     have been subject to that limit, had it not been used
Up.                                                                      up, if the claim or "suit" is reported to us after that
                                                                         limit of insurance has been used up.
a. If we conclude that, based on "injuries", claims or
   "suits" which have been reported to us and to which this          (3) The first Named Insured, and any other insured
   insurance may apply, the Aggregate Limit or the Each                  involved in a "suit" seeking damages subject to that
   Common Cause Limit is likely to be used up in the                     limit, must arrange for the defense of such "suit"
   payment of judgments or settlements, we will notify the               within such time period as agreed to between the
   first Named Insured, in writing, to that effect.                      appropriate insured and us. Absent any such agree-
                                                                         ment, arrangements for the defense of such "suit"
b. When a limit of insurance described in paragraph a.                   must be made as soon as practicable.
   above has actually been used up in the payment of
   judgments or settlements:                                      c. The first Named Insured will reimburse us for expenses
                                                                     we incur in taking those steps we deem appropriate in
  (1) We will notify the first Named Insured, in writing,            accordance with paragraph b.(2) above.
      as soon as practicable, that:
                                                                      The duty of the first Named Insured to reimburse us will
      (a) Such a limit has actually been used up; and                 begin on:
      (b) Our duty to defend "suits" seeking damages                 (1) The date on which the applicable limit of insurance
          subject to that limit has also ended.                          is used up, if we sent notice in accordance with
  (2) We will initiate, and cooperate in, the transfer of                paragraph a. above; or
      control, to any appropriate insured, of all claims and         (2) The date on which we sent notice in accordance
      "suits" seeking damages which are subject to that                  with paragraph b.(1) above, if we did not send no-
      limit and which are reported to us before that limit               tice in accordance with paragraph a. above.
      is used up. That insured must cooperate in the trans-
      fer of control of said claims and "suits".                  d. The exhaustion of any limit of insurance by the pay-
                                                                     ments of judgments or settlements, and the resulting end
       We agree to take such steps, as we deem appropri-             of our duty to defend, will not be affected by our failure
       ate, to avoid a default in, or continue the defense of,       to comply with any of the provisions of this Condition.
       such "suits" until such transfer is completed, pro-
       vided the appropriate insured is cooperating in
       completing such transfer.




CG 26 35 12 93                         Copyright, Insurance Services Office, Inc., 1993                             Page 1 of 1
Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 209 of 217
              Case 1:17-cv-00554-DNH-CFH
                     GEORIT, 2066981, 1937, 11--{)4-14Document 31-11 Filed 09/05/18 Page 210 of 217




                                                                                                ~
                                                                                                 ~\\Hanover
                                                                                                     Insurance Group.

                                            Policy Change# 1         Effective 08/01/2014

              This supersedes any previous declarations bearing the same policy number for this policy period

                         Citizens Insurance Company Of America 440 Lincoln Street, Worcester
                                                        MA 01605
                                                  Commercial Line Policy
                                                   Common Declarations                          CM
   Policy Number                     Policy Period              Coverage is Provided in the:  Agency Code
                       From                          To
  ZBS 9632488 02       08/01/2014            08/01/2015         Citizens Insurance Company Of 5502701
                                                                            America

   Named Insured and Address :                      Agent:
   ALBANY AIRPORT HIE LLC                            ARTHUR J GALLAGHER RISK
   400 HIE LLC &/OR                                  CAPITAL BAUER
   7A JOHNSON RD                                     677 BROADWAY, 4TH FLOOR
   LATHAM NY 12110                                   ALBANY NY 12207


                Branch : New York Region: Upstate
          Policy Period : From 08/01/2014 To 08/01/2015
                          12:01 A.M. Standard Time at Your Mailing Address Shown Above.
   Business Description : Hotels
           Legal Entity : Limited Liability Corporation


  In Consideration of the premium, insurance is provided the Name Insured with respect to those premises described in the
  attached schedule(s) for which a specific limit of insurance is shown. This is subject to all terms of this policy including
  Common Policy Conditions. Coverage Parts, Forms and Endorsements may be subject to adjustment and/or a policy
  minimum premium.

                       Commercial Property Coverage                                             $25,962.00
               Commercial General Liability Coverage                                            $23,538.00
                 Commercial Inland Marine Coverage                                             Not Covered
                          Commercial Crime Coverage                                            Not Covered
                           Commercial Auto Coverage                                            Not Covered
                            Total Surcharge Premium                                                $162.48
              Additional Premium For Policy Minimum                                                    N/A
                                              •• Total                                          $49,662.48

        Additional/Return Premium for Endorsement:                                                      N/A

       **INCLUDES PREMIUM, IF ANY, FOR TERRORISM; REFER TO DISCLOSURE NOTICE

  Countersigned - - - - - - - - - - - - - - - - By - - - - - - - - - - - - - - - - - - - -

                                                                                                         10 Pay - 20% Down

  Group Number ZBD



   401-0154                                                 Page 1                                            Issued 10/31/2014
                                                            Branch

0930
              Case 1:17-cv-00554-DNH-CFH
                    GEORIT,206698l,l938, 11~4-14Document 31-11 Filed 09/05/18 Page 211 of 217


                                                                                    ~\\Hanover
                                                                                    ~   Insurance Group.

   ALBANY AIRPORT HIE LLC                       ZBS 9632488 02

                                         ARTHUR J GALLAGHER RISK

                                 This supersedes any previous declaration bearing
                                   the same policy number for this policy period

                                       Commercial Lines Surcharges


        State:   New York

        New York Fire Fee Premium:                                                        $162.48


        Total New York Surcharge Premium:                                                 $162.48




   401-0154                                            Page 2                                Issued 10/31/2014
                                                       Branch

0931
              Case 1:17-cv-00554-DNH-CFH
                     GEORIT.2066981,l939, 1Hl4-14Document 31-11 Filed 09/05/18 Page 212 of 217



                                                                                            ~
                                                                                             ~\\Hanover
                                                                                                 Insurance Group.

   ALBANY AIRPORT HIE LLC                               ZBS 9632488 02

                                                 ARTHUR J GALLAGHER RISK


                                      This supersedes any previous declaration bearing
                                        the same policy number for this policy period

                                                     Endorsement Recap


   Endorsement Number:            1                            Effective:                08/01/2014

   Reason for Endorsement:
   Multiple Changes

   1. Add Additional Name Insureds


                               Schedule of Additional Interest Changes
  Level       LOC     Detail          Chg Type         Value
  Pol                 Type            Added            Additional Named Insured
                      Name                             Albany Airport HIE LLC
                      Address 1                        DBA Albany Airport Hotel
                      State                            -Select-
  Pol                 Type            Added            Additional Named Insured
                      Name                             946 Loudon LLC
                      State                            -Select-
  Pol                 Type            Added            Additional Named Insured
                      Name                             400 Old Loudon Road Realty LLC
                      State                            -Select-
  Pol                 Type            Added            Additional Named Insured
                      Name                             Bullock Hospitality LLC
                      State                            -Select-
  Pol                 Type            Added            Additional Named Insured
                      Name                             400 HIE LLC, DBA Albany
                      Address 1                        Airport Holiday Inn Express
                      State                           -Select-
  Pol               Type              Added           Additional Named Insured



   401-0154                                               Page 3                                      Issued 10/31/2014
                                                          Branch

0932
              Case 1:17-cv-00554-DNH-CFH
                    <iEORIT. 2066981, 1940, 11-04-14Document 31-11 Filed 09/05/18 Page 213 of 217



                                                                               ~
                                                                                &\\Hanover
                                                                                    Insurance Group.

   ALBANY AIRPORT HIE LLC                     ZBS 9632488 02

                                         ARTHUR J GALLAGHER RISK


                         Schedule of Additional Interest Changes


                 Name                          & Suites
                 State                         -Select-
 Pol             Type            Added         Additional Named Insured
                 Name                          Tuscany Management LLC
                 State                         -Select-
 Pol             Type            Added         Additional Named Insured
                 Name                          Bullock Boys LLC
                 Address 1                     DBA on Tap
                 State                         -Select-
 Pol             Type            Added         Additional Named Insured
                 Name                          Bullock Boys LLC
                 Address 1                     DBA Gazebo Banquet Hall
                 State                         -Select-
 Pol             Type            Added         Additional Named Insured
                 Name                          & Rentals
                 State                         -Select-




   401-0154                                         Page 4                                Issued 10/31/2014

                                                    Branch

0933
Case 1:17-cv-00554-DNH-CFH Document 31-11 Filed 09/05/18 Page 214 of 217
              Case 1:17-cv-00554-DNH-CFH
                    Vo/1LASH,2172l43, 0049,,03~6-15Document 31-11 Filed 09/05/18 Page 215 of 217



                                                                                                ~
                                                                                                 &\\Hanover
                                                                                                     Insurance Group.

                                            Policy Change # 2        Effective 03/02/2015

              This supersedes any previous declarations bearing the same policy number for this policy period

                         Citizens Insurance Company Of America 440 Lincoln Street, Worcester
                                                        MA 01605
                                                  Commercial Line Policy
                                                   Common Declarations                          CM
   Policy Number                     Policy Period              Coverage is Provided in the:  Agency Code
                       From                          To
  ZBS 9632488 02       08/01/2014            08/01/2015         Citizens Insurance Company Of 5502701
                                                                            America

   Named Insured and Address :                       Agent:
   ALBANY AIRPORT HIE LLC                            ARTHUR J GALLAGHER RISK
   400 HIE LLC &/OR                                  CAPITAL BAUER
   6 JOHNSON ROAD                                    677 BROADWAY, 4TH FLOOR
   LATHAM NY 12110                                   ALBANY NY 12207


                Branch : New York Region: Upstate
          Policy Period : From 08/01/2014 To 08/01/2015
                          12:01 A.M. Standard Time at Your Mailing Address Shown Above.
   Business Description : Hotels
           Legal Entity : Limited Liability Corporation


  In Consideration of the premium, insurance is provided the Name Insured with respect to those premises described in the
  attached schedule(s} for which a specific limit of insurance is shown. This is subject to all terms of this policy including
  Common Policy Conditions. Coverage Parts, Forms and Endorsements may be subject to adjustment and/or a policy
  minimum premium.

                       Commercial Property Coverage                                             $25,962.00
               Commercial General Liability Coverage                                            $23,538.00
                  Commercial Inland Marine Coverage                                            Not Covered
                          Commercial Crime Coverage                                            Not Covered
                           Commercial Auto Coverage                                            Not Covered
                            Total Surcharge Premium                                                $162.48
              Additional Premium For Policy Minimum                                                    N/A
                                              **Total                                           $49,662.48

        Additional/Return Premium for Endorsement:                                                      N/A

       **INCLUDES PREMIUM, IF ANY, FOR TERRORISM; REFER TO DISCLOSURE NOTICE

  Countersigned - - - - - - - - - - - - - - - - By - - - - - - - - - - - - - - - - - - -

                                                                                                         10 Pay- 20% Down

  Group Number ZBD




   401-0154                                                 Page 1                                            Issued 03/03/2015
                                                            Branch

1347
              Case 1:17-cv-00554-DNH-CFH
                    Voi"ILASH. 217214:>, 0050. 03-D6-l5Document 31-11 Filed 09/05/18 Page 216 of 217


                                                                                      ~\\Hanover
                                                                                      ~   Insurance Group.

   ALBANY AIRPORT HIE LLC                          ZBS 9632488 02

                                           ARTHUR J GALLAGHER RISK

                                   This supersedes any previous declaration bearing
                                     the same policy number for this policy period

                                          Commercial Lines Surcharges



        State:     New York

        New York Fire Fee Premium:                                                          $162.48


        Total New York Surcharge Premium:                                                   $162.48




   401-0154                                              Page 2                                Issued 03/03/2015
                                                         Branch

1348
              Case 1:17-cv-00554-DNH-CFH
                    WlLASH, .2172143.0051,03-06-15Document 31-11 Filed 09/05/18 Page 217 of 217



                                                                                         ~
                                                                                          &\\Hanover
                                                                                              Insurance Group.

   ALBANY AIRPORT HIE LLC                            ZBS 9632488 02

                                             ARTHUR J GALLAGHER RISK


                                   This supersedes any previous declaration bearing
                                     the same policy number for this policy period


                                                  Endorsement Recap


   Endorsement Number:        2                            Effective:                 03/02/2015


   Reason for Endorsement:
   Amend Insured Address

                                    Named Insured Changes

                Detail            ChgType          Value
                Address 2         Amended          6 JOHNSON ROAD




   401-0154                                            Page 3                                      Issued 03/03/2015
                                                        Branch

1349
